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          Subject to any limits that may be imposed on Georgia Gulf in connection with the Transactions, and
     before or after consummating the Transactions, Georgia Gulf may evaluate asset dispositions, asset
     acquisitions, joint ventures, and other transactions that may impact its results of operations, and which may
     not result ill Georgia Gulf achieving the expected results therefrom.
           From time to time before and after the Transactions, and subject to any applicable res11ictions arising from
     the Transactions or otherwise, Georgia Gulf may enter into agreements to dispose of ce11ain assets. However,
     Georgia Gulf cannot assure you that it will be able to dispose of any such assets at any anticipated p1ices, or at
     all, or that any such sale will occur during any anticipated time frame. In addition, subject to any applicable
     restrictions arising from the Transactions or otherwise, Georgia Gulf may engage in business combinations,
     purchases of assets or contractual arrangements or joint ventures. Subject to any applicable restrictions arising
     from the Transactions or otherwise, some of these transactions may be financed with additional borrowings by
     Georgia Gulf. The integration of any business Georgia Gulf may acquire may be disruptive to Georgia Gulf and
     may result in a significant di.version of management attention and operational resources. Additionally, Georgia
     Gulf may suffer a loss of key employees, customers or suppliers, loss of revenues, increases in costs or other
     difficulties . If the expected efficiencies and synergies from any transactions are not fully realized, Georgia Gulf's
     results of operations could be adversely affected, because of the costs associated with such transactions or
     otherwise. Other transactions may advance future cash flows from some of Georgia Gulf's businesses, thereby
     yielding increased short-term liquidity, but consequently resulting in lower cash flows from these operations over
     the longer term. The failure to realize the expected long-term benefits of any one or more of these transactions
     could have a material adverse effect on Georgia Gulf's financial condition or results of operations.


          Participation i11 joint ve11tures exposes Georgia Gulf to a number of risks, including risks of shared
     control.
           From time to time Georgia Gulf enters into joint ventures, such as its building products strategic joint
     venture arrangements with several customers and, following the consummation of the Transactions, Georgia Gulf
     will have ownership interest in TCI and the joint venttu-e between the PPG Chlor-alkali and De1ivatives Business
     and Entergy. Georgia Gulf expects that it will evaluate oppo11unities to enter into additional joint ventures in the
     future, subject to any limits that may be imposed on Georgia Gulf in connection with the Transactions or
     otherwise. The nature of a joint venture requires Georgia Gulf to share control with unaffiliated third parties. If
     there are differences in views among joint venture pmiicipants in how to operate the joint venttu-e that result in
     delayed decisions or the failtu-e to make decisions, or its joint venture paitners do not fulfill their obligations, the
     affected joint venttu-e may not be able to operate according to its business plan and fulfill its obligations. In that
     case, Georgia Gulf may be required to write down the value of its investment in a joint venture, increase the level
     of financial or other commitments to the joint venture or, if Georgia Gulf has contractual agreements with the
     joint venture, its operations may be materially adversely affected. Any of the foregoing could have a material
     adverse effect on Georgia Gulf's financial condition, results of operations or cash flows.


          Fluctuatio11s in foreign currency excha11ge a11d interest rates could affect Georgia Gulf's co11solidated
     financial results.
           Georgia Gulf currently earns, and expects to continue to em11, revenues, pays expenses, owns assets and
     incurs liabilities in counllies using currencies other than the U.S. dollar. Because Georgia Gulfs consolidated
     financial statements m·e presented in U.S. dollm·s, it must 11·anslate revenues and expenses into U.S. dollm·s at the
     average exchange rate dtu-ing each repo1ting pe1iod, as well as assets and liabilities into U.S. dollars at exchange
     rates in effect at the end of each reporting pe1iod. Therefore, increases or decreases in the value of the U.S. dollar
     against other major currencies will affect Georgia Gulfs net revenues, operating income and the value of balance
     sheet items denominated in foreign currencies. Because of the geographic diversity of Georgia Gulf's operations,
     weaknesses in various currencies might occur in one or many of such currencies over time. From time to time,
     Georgia Gulf may use derivative financial instruments to further reduce its net exposure to currency exchange
     rate fluctuations. However, Georgia Gulf cannot assure you that fluctuations in foreign currency exchange rates,

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     particularly the strengthening of the U.S . dollar against major currencies, would not mate1ially adversely affect
     its financial results.

          In addition, Georgia Gulf is exposed to volatility in interest rates. When approp1iate, Georgia Gulf may use
     derivative financial instruments to reduce its exposure to interest rate risks. Georgia Gulf cannot assure you,
     however, that its financial iisk management program will be successful in reducing the risks inherent in
     exposures to interest rate fluctuations.




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                     CAUTIONARY STATEMENT ON FORWARD-LOOKING STATEMENTS

           This document contains and incorporates by reference certain statements relating to future events and each
     of PPG's, Splitco's and Georgia Gulf's intentions, beliefs, expectations, and predictions for the future. Any such
     statements other than statements of historical fact are forward-looking statements within the meaning of the
     Securities Act and the Securities Exchange Act. Words or phrases such as "will likely result," ·'are expected to,"
     "will continue," ''is anticipated," ·'we believe," "we expect," "estimate," ·'project," ·'may," ·'will," "intend,"
     "plan," "believe," "target," ·'forecast," "would" or ·'could" (including the negative variations thereof) or similar
     terminology used in connection with any discussion of future plans, actions or events, including with respect to
     the Transactions, generally identify forward-looking statements. These forward-looking statements include, but
     are not limited to, statements regarding expected benefits of the Transactions, integration plans and expected
     synergies therefrom, the expected timing of consummation of the Transactions, and each of PPG's, Splitco's and
     Georgia Gulf's anticipated future financial and operating performance and results, including its estimates for
     growth. These statements are based on the current expectations of management of each of PPG, Splitco and
     Georgia Gulf. There are a number of risks and uncertainties that could cause each company's actual results to
     differ materially from the forward-looking statements included in this document. These risks and uncertainties
     include risks relating to (1) Georgia Gulf's ability to obtain requisite shareholder approval to complete the
     Transactions, (2) PPG's being unable to obtain the necessary tax authority and other regulatory approvals
     required to complete the Transactions, or such required approvals delaying the Transactions or resulting in the
     imposition of conditions that could have a material adverse effect on the combined company or causing the
     companies to abandon the Transactions, (3) other conditions to the closing of the Transactions not being
     satisfied, (4) a material adverse change, event or occurrence affecting Georgia Gulf or the PPG Chlor-alkali and
     Derivatives Business p1ior to the closing of the Transactions delaying the Transactions or causing the companies
     to abandon the Transactions, (5) problems aiising in successfully integrating the PPG Chlor-alkali and
     Derivatives Business and Georgia Gulf, which may result in the combined company not operating as effectively
     and efficiently as expected, (6) the possibility that the Transactions may involve other unexpected costs,
     liabilities or delays, (7) the businesses of each respective company being negatively impacted as a result of
     uncertainty surrounding the Transactions, (8) disruptions from the Transactions harming relationships with
     customers, employees or suppliers, and (9) unce11ainties regarding (i) future prices, (ii) industry capacity levels
     and demand for each company's products, (iii) raw materials and energy costs and availability, feedstock
     availability and p1ices, (iv) changes in governmental and environmental regulations, the adoption of new laws or
     regulations that may make it more difficult or expensive to operate each company's businesses or manufacttu-e its
     products before or after the Transactions, {v) each company's ability to generate sufficient cash flows from its
     businesses before and after the Transactions, (vi) future economic conditions in the specific industiies to which
     its respective products are sold and (vii) global economic conditions.

           In light of these risks, uncertainties, assumptions and other factors, the forward-looking statements
     discussed in this document may not occur. Other unknown or unpredictable factors could also have a material
     adverse effect on each of PPG's, Splitco's and Georgia Gulf's actual future results, performance, or
     achievements. For a further discussion of these and other risks and uncertainties, see the section of this document
     entitled "Risk Factors." As a result of the foregoing, readers are cautioned not to place undue reliance on these
     forward-looking statements, which speak only as of the date of this document. None of PPG, Splitco or Georgia
     Gulf undertakes, and each expressly disclaims, any duty to update any forward-looking statement whether as a
     result of new information, future events, or changes in its respective expectations, except as required by law.




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                                                THIS EXCHANGE OFFER

     Terms of' this Exchange Offer
     General
     PPG is offe1ing to exchange all shares of Splitco common stock that are owned by PPG for shares of PPG
     common stock, at an exchange ratio to be calculated in the manner described below, on the terms and conditions
     and subject to the limitations described below and in the letter of transmittal (including the instructions thereto)
     filed as an exhibit to the registration statement of which this document forms a part, by 12:00 midnight, New
     York City time, on                 , 2012, unless this exchange offer is extended or terminated. The last day on
     which tenders will be accepted, whether on                  , 2012 or any later date to which this exchange offer is
     extended, is referred to in this document as the "expiration date." You may tender all, some or none of your
     shares of PPG common stock.

     Approximately 35,200,000 shares of Splitco common stock will be held by PPG upon completion of the
     Separation, subject to adjustment under certain circumstances. The number of shares of PPG common stock that
     will be accepted if this exchange offer is completed will depend on the final exchange ratio, the number of shares
     of Splitco common stock offered and the number of shares of PPG common stock tendered.

     PPG's obligation to complete this exchange offer is subject to important conditions that are described in the
     section entitled "- Conditions for Consummation of this Exchange Offer."

     For each share of PPG common stock that you validly tender in this exchange offer and do not properly withdraw
     and that are accepted, you will receive a number of shares of Splitco common stock at a      % discount to the
     per- share value of Georgia Gulf common stock, calculated as set fo1ih below, subject to an upper limit of
     shares of Splitco common stock per share of PPG common stock. Stated another way, subject to the upper limit
     desc1ibed below, for each $1 .00 of PPG common stock accepted in this exchange offer, you will receive
     approximately$           of Splitco common stock.

     The final calculated per- share values will be equal to:

     (i) with respect to PPG common stock, the simple mithmetic average of the daily VW AP of PPG common stock
     on the NYSE for each of the Valuation Dates, as reported to PPG by Bloomberg L.P. for the equity ticker PPG;
     and

     (ii) with respect to Splitco common stock, the simple arithmetic average of the daily VW AP of Georgia Gulf
     common stock on the NYSE for each of the Valuation Dates, as reported to PPG by Bloomberg L.P. on the
     equity ticker GGC.

     The daily VW AP provided by Bloomberg L.P. may be different from other sources of volume- weighted average
     prices or investors' or security holders' own calculations of volume- weighted average prices. PPG will
     determine such calculations of the per- share values of PPG common stock and Splitco common stock, and such
     determination will be final.

     If the upper limit on the number of shares that can be received for each share of PPG common stock tendered is
     in effect at the expiration of the exchange offer period, then the exchange ratio will be fixed at the limit and a
     Mandatory Extension of this exchange offer will be made until 12:00 midnight, New York City time, on the
     second trading day following the originally contemplated expiration date. See "- Extension; Termination;
     Amendment- Mandatory Extension.''




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     Upper Limit
     Tue number of shares you can receive is subject to an upper limit of           shares of Splitco common stock for
     each share of PPG common stock accepted in this exchange offer. If the upper limit is in effect, a stockholder
     will receive less than$        of Splitco common stock for each $1.00 of PPG common stock that the stockholder
     validly tenders, that is not properly withdrawn and that is accepted in the exchange offer, and the stockholder
     could receive much less. This limit was calculated based on a        % discount for Splitco common stock based
     on the closing prices of PPG common stock and Georgia Gulf common stock on                 , 2012 (the day before
     the date of this docmnent). PPG set this limit to ensure that an unusual or unexpected drop in the trading price of
     Georgia Gulf common stock, relative to the trading price of PPG common stock, would not result in an Lmduly
     high number of shares of Splitco common stock being exchanged for each share of PPG common stock accepted
     in this exchange offer.


     Pricing Mechanism
     Tue terms of this exchange offer are designed to result in your receiving$      of Splitco common stock for each
     $1 .00 of PPG common stock validly tendered, not properly withdrawn and accepted in this exchange offer, based
     on the calculated per- share values described above. This exchange offer does not provide for a minimmn
     exchange ratio because a minimum exchange ratio could result in the shares of Splitco common stock exchanged
     for each $1 .00 of PPG common stock being valued higher than approximately $         . Regardless of the final
     exchange ratio, the terms of this exchange offer would always result in your receiving approximately$         of
     Splitco common stock for each $1.00 of PPG common stock, so long as the upper limit is not in effect. See the
     table on page     for purposes of illustration.

     Subject to the upper limit described above, for each $1 .00 of PPG common stock accepted in this exchange offer,
     you will receive approximately $       of Splitco common stock. The following formula will be used to calculate
     the number of shares of Splitco common stock you will receive for shares of PPG common stock accepted in this
     exchange offer:

     Number of shares of          Number of shares of                 (a)        and   (b) 100% of the calculated per-
     Splitco common stock =       PPG common stock                                         share value of PPG
                                  tendered and accepted,                                   common stock divided by
                                  multiplied by the lesser of:                                % of the calculated per-
                                                                                           share value of Splitco
                                                                                           common stock (calculated
                                                                                           as described below)

     Tue calculated per- share value of a share of PPG common stock for purposes of this exchange offer will equal
     the simple aiithmetic average of the daily VW AP of PPG common stock on the NYSE on each of the Valuation
     Dates. Tue calculated per- share value of a share of Splitco common stock for purposes of this exchange offer
     will equal the simple mithmetic average of the daily VW AP of Georgia Gulf common stock on the NYSE on
     each of the Valuation Dates.

     If the upper limit is in effect, the exchange ratio will be fixed and the calculated per- share values of PPG
     common stock and Splitco common stock based on the daily VW AP of PPG common stock and Georgia Gulf
     common stock during the Mandatory Extension will no longer affect the exchange ratio. To help illustrate the
     way this calculation works, below are two examples:
     Example 1: Assuming that the average of the daily VW AP on the Valuation Dates is $             per share of PPG
     common stock and$            per share of Georgia Gulf common stock, you would receive              shares
     ($        divided by      % of$           ) of Splitco common stock for each shm·e of PPG common stock
     accepted in this exchange offer. In this example, the upper limit of        shares of Splitco common stock for
     each shm·e of PPG common stock would not apply.

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     Example 2: Assuming that the average of the daily VW AP on the Valuation Dates is$              per share of PPG
     common stock and$              per share of Georgia Gulf common stock, the limit would apply and you would only
     receive         shares of Splitco common stock for each share of PPG common stock accepted in this exchange
     offer because the limit is less than         ($       divided by     % of$          ) of Splitco common stock for
     each share of PPG common stock. Because the upper limit would apply, this exchange offer would be
     automatically extended until 12:00 midnight, New York City time, on the second trading day following the
     originally contemplated expiration date, and the exchange ratio would be fixed at the upper limit.


     Indicative Per-Share Values
     You will be able to review indicative exchange ratios and calculated per- share values of PPG common stock and
     Splitco common stock and the final exchange ratio used to determine the number of shares of Splitco common
     stock to be exchanged per share of PPG common stock. Indicative exchange ratios and calculated per- share
     values of PPG common stock and Splitco common stock will be available by contacting the information agent at
     the toll-free number provided on the back cover of this prospectus on each day of the exchange offer period prior
     to the announcement of the final exchange ratio.

     From the commencement of this exchange offer until the first Valuation Date, the indicative calculated per- share
     values will be calculated as though that day were the expiration date of this exchange offer, of (i) PPG common
     stock, which will equal the simple arithmetic average of the daily VW AP of PPG common stock, as calculated by
     PPG, on each of the three prior trading days and (ii) Splitco common stock, which will equal the simple
     mithmetic average of the daily VW AP of Georgia Gulf common stock, as calculated by PPG, on each of the three
     prior trading days.

     On each of the Valuation Dates, when the values of PPG common stock and Splitco common stock are calculated
     for the purposes of this exchange offer, the information agent will provide the indicative calculated per-share
     values of PPG common stock and Splitco common stock, as calculated by PPG, which will equal, with respect to
     each stock, (i) on the first Valuation Date, the intra-day VWAP dming the elapsed po11ion of that day, (ii) on the
     second Valuation Date, the intra-day VW AP during the elapsed portion of that day averaged with the actual
     daily VWAP on the first Valuation Date and (iii) on the third Valuation Date, the intra-day VWAP dming the
     elapsed portion of that day averaged with the actual daily VW AP on the first Valuation Date and with the actual
     daily VWAP on the second Valuation Date. ''Intra-day VW AP" means VW AP for the pe1iod beginning at the
     official open of trading on the NYSE and ending as of the specific time in such day. On each of the Valuation
     Dates, the indicative calculated per-share values and indicative exchange ratio calculated using such values will
     be provided by the information agent at the toll-free number provided on the back of this prospectus.


     Final Exchange Ratio
     Tue final exchange ratio that shows the number of shares of Splitco common stock that you will receive for each
     share of PPG common stock accepted in this exchange offer will be available at www.              .com/
                 I and announced by press release by 4:30 p.m., New York City time, on              , 2012, unless
     this exchange offer is extended or terminated.

     You may also contact the information agent to obtain these indicative exchange ratios and the final exchange
     ratio at its toll- free number provided on the back cover of this document.

     Each of the daily VW APs, intra-day VW APs, calculated per- share values and the final exchange ratio will be
     rounded to four decimal places.

     If a mm·ket disruption event occurs with respect to PPG common stock or Georgia Gulf common stock on any of
     the Valuation Dates, the calculated per-share value of PPG common stock and Splitco common stock will be
     determined using the daily VW AP of PPG common stock and Georgia Gulf common stock on the preceding

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     trading day or days, as the case may be, on which no market disruption event occmTed with respect to both PPG
     common stock and Georgia Gulf common stock. See ·'- Conditions for Consummation of this Exchange Offer."

     Since this exchange offer is scheduled to expire at 12:00 midnight, New York City time, on the last day of the
     exchange offer period, and the final exchange ratio will be announced by 4:30 p.m., New York City time, on the
     expiration date of this exchange offer, you will be able to tender or withdraw your shares of PPG common stock
     after the final exchange ratio is determined. For more information on validly tendering and properly withdrawing
     your shares, see "- Procedures for Tendering" and "- Withdrawal Rights."

     For the purposes of illustration, the table below indicates the number of shares of Splitco common stock that you
     would receive per share of PPG common stock, calculated on the basis described above and taking into account
     the limit described above, assuming a range of averages of the daily VW AP of PPG common stock and Georgia
     Gulf common stock on the Valuation Dates. The first row of the table below shows the indicative calculated per-
     share values of PPG common stock and Splitco common stock and the indicative exchange ratio that would have
     been in effect following the official close of trading on the NYSE on               , 2012, based on the daily
     VW APs of PPG common stock and Georgia Gulf common stock on                        , 2012,             , 2012 and
                  , 2012. The table also shows the effects of a        % increase or decrease in either or both the
     calculated per- share values of PPG common stock and Splitco common stock based on changes relative to the
     values of              , 2012.

                                                                                                   Shares or
                                                                                               Splitco common
                                                                                                  stock to be
                                                              Calculated      Calculated         received per
                                                               per-share       per-share        share of PPG
                                        Georgia G ulf        value of PPG   value or Splitco    common stock     Calcul ated
     PPG common stock                  common stock         common stock    common stock           tendered     Value Ratio(!)

     As of              '2012    As of          '2012
     Down      %                 Up     %
     Down      %                 Unchanged
     Down      %                 Down      %
     Unchanged                   Up     %
     Unchanged                   Down      %
     Up     %                    Up     %
     Up     %                    Unchanged
     Up     %                    Down      %(2)

     (1) The Calculated Value Ratio equals (i) the calculated per-share value of Splitco common stock multiplied by
         the exchange ratio, divided by (ii) the calculated per-share value of PPG common stock.
     (2) In this scenario, the upper limit is in effect. Absent the upper limit, the exchange ratio would have been
         shares of Splitco common stock per share of PPG common stock validly tendered and accepted in this
         exchange offer. In this scenario, PPG would announce that the upper limit on the number of shares that can be
         received for each share of PPG common stock tendered is in effect at the expiration of the exchange offer
         period no later than 4:30 p.m., New York City time, on the expiration date, the exchange ratio would be fixed
         at the upper limit and this exchange offer would be extended until 12:00 midnight, New York City time, on the
         second trading day following the originally scheduled expiration date.

     During the three- month period of            , 2012 through          , 2012, the highest closing price of PPG common
     stock on the NYSE was $           and the lowest closing price of Georgia Gulf common stock on the NYSE was
     $      . If the calculated per- share values of PPG common stock and Splitco common stock equaled these closing
     prices, you would receive only the limit of            shares of Splitco common stock for each share of PPG
     common stock tendered, and the value of such shares of Splitco common stock, based on the Georgia Gulf
     common stock p1ice, would have been less than the value of PPG common stock accepted for exchange
     (approximately$          of Splitco common stock for each $1.00 of PPG common stock accepted for exchange).

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     If the trading price of PPG common stock were to increase during the last two trading days p1ior to the expiration
     of this exchange offer, the average PPG stock p1ice used to calculate the exchange ratio would likely be lower
     than the closing p1ice of PPG common stock on the expiration date of this exchange offer. As a result, you may
     receive fewer shares of Splitco common stock, and therefore effectively fewer shares of Georgia Gulf common
     stock, for each $1.00 of PPG common stock than you would have if that per- share value were calculated on the
     basis of the closing p1ice of PPG common stock on the expiration date of this exchange offer. Similarly, if the
     trading p1ice of Georgia Gulf common stock were to decrease during the last two trading days p1ior to the
     expiration of this exchange offer, the average Splitco common stock used to calculate the exchange ratio would
     likely be higher than the closing price of Georgia Gulf common stock on the expiration date of this exchange
     offer, or on the basis of an averaging period that included the last two days of the exchange offer period. This
     could also result in your receiving fewer shares of Splitco common stock, and therefore effectively fewer shares
     of Georgia Gulf common stock, for each $1 .00 of PPG common stock than you would otherwise receive if that
     per- share value were calculated on the basis of the closing price of Georgia Gulf common stock on the expiration
     date of this exchange offer, or on the basis of an averaging period that included the last two days of the exchange
     offer period.

     Tue number of shares of PPG common stock that may be accepted in this exchange offer may be subject to
     proration. Depending on the number of shares of PPG common stock validly tendered, and not properly
     withdrawn in this exchange offer, and the final exchange ratio, determined as described above, PPG may have to
     limit the number of shares of PPG common stock that it accepts in this exchange offer through a proration
     process. Any proration of the number of shares accepted in this exchange offer will be determined on the basis of
     the proration mechanics desc1ibed below under "- Proration; Tenders for Exchange by Holders of Fewer than
     100 Shares of PPG Common Stock."

     This document and related documents are being sent to:
               persons who directly held shares of PPG common stock on        , 2012. On that date, there were
                       shares of PPG common stock outstanding, which were held of record by approximately
               shareholders; and
          •    brokers, banks and similar persons whose names or the names of whose nominees appear on PPG's
               shareholder list or, if applicable, who are listed as participants in a cleating agency's secmity position
               listing for subsequent transmittal to beneficial owners of PPG common stock.


     Proration; Tenders for Exchange by Holders of Fewer than JOO Shares of PPG Common Stock
     If, upon the expiration of this exchange offer, PPG shareholders have validly tendered and not properly
     withdrawn more shares of PPG common stock than PPG is able to accept for exchange (taking into account the
     exchange ratio and the total number of shares of Splitco common stock owned by PPG), PPG will accept for
     exchange the PPG common stock validly tendered and not properly withdrawn by each tendering shareholder on
     a pro rata basis, based on the proportion that the total number of shares of PPG common stock to be accepted
     bears to the total number of shares of PPG common stock validly tendered and not properly withdrawn (rounded
     to the nearest whole number of shares of PPG common stock), and subject to any adjustment necessary to ensure
     the exchange of all shares of Splitco common stock owned by PPG, except for tenders of odd- lots, as described
     below.

     Except as otherwise provided in this section, beneficial holders of less than 100 shares of PPG common stock
     who validly tender all of their shares will not be subject to proration if this exchange offer is oversubscribed.
     Beneficial holders of more than 100 shares of PPG common stock are not eligible for this preference.

     Any beneficial holder of less than 100 shares of PPG common stock who wishes to tender all of the shares must
     complete the box entitled "Odd- Lot Shares" on the letter of transmittal. If your odd- lot shares are held by a
     broker for your account, you can contact your broker and request the preferential treatment.

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     PPG will announce the preliminary proration factor by press release as promptly as practicable after the
     expiration date. Upon detennining the number of shares of PPG common stock validly tendered for exchange,
     PPG will announce the final results, including the final proration factor.

     Any shares of PPG common stock not accepted for exchange in this exchange offer as a result of proration or
     otherwise will be returned to the tende1ing shareholder promptly after the final proration factor is dete1mined.

     For purposes of this exchange offer, a "business day" means any day other than a Saturday, Sunday or U.S.
     federal holiday and consists of the time pe1iod from 12:01 a.m. through 12:00 midnight, New York City time.

     Fractional Shares
     Immediately following the consummation of this exchange offer, Merger Sub will be merged with and into
     Splitco, whereby Splitco will continue as the surviving company and a wholly-owned subsidiary of Georgia Gulf.
     Each outstanding share of Splitco common stock will be converted into the iight to receive a number of shares of
     Georgia Gulf common stock equal to (a) the greater of (i) 35,200,000 shares of Georgia Gulf common stock or
     (ii) the product of (x) the number of shares of Georgia Gulf common stock issued and outstanding immediately
     prior to the effective time of the Merger multiplied by (y) 1.02020202, divided by {b) the number of shares of
     Splitco common stock issued and outstanding immediately prior to the effective time of the Merger, while the
     shares of Splitco common stock will automatically be canceled and retired and will cease to exist. In this
     conversion of shares of Splitco common stock into shares of Georgia Gulf common stock, no fractional shares of
     Georgia Gulf common stock will be delivered to holders of Splitco common stock. All fractional shares of
     Georgia Gulf common stock that a holder of shares of Splitco common stock would otherwise be entitled to
     receive as a result of the Merger will be aggregated by the transfer agent. The transfer agent will cause the whole
     shares obtained thereby to be sold on behalf of such holders of shares of Splitco common stock that would
     otherwise be entitled to receive such fractional shares of Georgia Gulf common stock in the Merger, in the open
     market or otherwise as reasonably directed by PPG, and in no case later than five business days after the Merger.
     The transfer agent will make available the net proceeds thereof, after deducting any required withholding taxes
     and brokerage charges, commissions and transfer taxes, on a pro rata basis, without interest, as soon as
     practicable to the holders of Splitco common stock that would otherwise be entitled to receive such fractional
     shares of Georgia Gulf common stock in the Merger. The amount of cash necessary to make the payments in lieu
     of any fractional shares will be made available to the transfer agent by Georgia Gulf.

     Exchange of Shares of PPG Common Stock
     Upon the terms and subject to the conditions of this exchange offer (including, if this exchange offer is extended
     or amended, the terms and conditions of the extension or amendment), PPG will accept for exchange, and will
     exchange, for shares of Splitco common stock owned by PPG, the PPG common stock validly tendered, and not
     properly withdrawn, prior to the expiration of this exchange offer, promptly after the expiration date.

     The exchange of PPG common stock tendered and accepted for exchange pursuant to this exchange offer will be
     made only after timely receipt by the exchange offer agent of (a)(i) certificates representing all physically
     tendered shares of PPG common stock or (ii) in the case of shares delivered by book-entry transfer through The
     Depository Trust Company, confirmation of a book-entry transfer of those shares of PPG common stock in the
     exchange offer agent's account at The Depository Trust Company, in each case pursuant to the procedures set
     forth in the section below entitled "- Procedures for Tendering," (b) the letter of transmittal for PPG common
     stock, properly completed and duly executed (or a manually signed facsimile of that document), with any
     required signature guarantees, or, in the case of a book-entry transfer through The Depository Trust Company, an
     agent's message and (c) any other required documents.

     For purposes of this exchange offer, PPG will be deemed to have accepted for exchange, and thereby exchanged,
     PPG common stock validly tendered and not properly withdrawn if and when PPG notifies the exchange offer
     agent of its acceptance of the tenders of those shares of PPG common stock pLu-suant to this exchange offer.

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     Upon the consummation of this exchange offer, PPG will deliver to the exchange offer agent a global certificate
     representing all of the Splitco common stock being distributed in this exchange offer, with instructions to hold
     the shares of Splitco common stock in trust for the holders of PPG common stock validly tendered and not
     withdrawn as of the record date for a pro rata distribution and, to the extent necessary, dividend (as described
     below under "-Dividend and Distiibution of Any Shares of Splitco Common Stock Remaining after this
     Exchange Offer"), if any. Georgia Gulf will deposit with the transfer agent for the benefit of persons who
     received shares of Splitco common stock in this exchange offer ce1tificates or book-entry autho1izations
     representing shares of Georgia Gulf common stock, with irrevocable instructions to hold the shares of Georgia
     Gulf common stock in trust for the holders of Splitco common stock.

     Upon surrender of the documents required by the 11·ansfer agent, duly executed, each former holder of Splitco
     common stock will receive from the transfer agent in exchange therefor shares of Georgia Gulf common stock
     and/or cash in lieu of fractional shares, as the case may be. You will not receive any interest on any cash paid to
     you, even if there is a delay in making the payment.

     If PPG does not accept for exchange any tendered PPG common stock for any reason pursuant to the terms and
     conditions of this exchange offer, the exchange offer agent (a) in the case of shares of PPG common stock held in
     certificated form, will return certificates representing such shares without expense to the tendering shareholder
     and (b) in the case of shares tendered by book-entry transfer pursuant to the procedures set forth below in the
     section entitled "- Procedure for Tendering,'' such shares will be credited to an account maintained within The
     Depository Trust Company, in each case promptly following expiration or termination of this exchange offer.

     Procedures for Tendering
     Shares Held in Certificated Form/Book-Entry DRS and/or Direct Purchase Plan
     If you hold certificates representing shares of PPG common stock, or if your shares of PPG common stock are
     held in book-entry via the Direct Registration System ("DRS"), you must deliver to the exchange offer agent at
     the address listed on the letter of transmittal a properly completed and duly executed letter of transmittal (or a
     manually executed facsimile of that document), along with any required signature guarantees and any other
     required documents, and the certificates representing the shares of PPG common stock tendered.

     Shares Held Through a Broker, Dealer, Commercial Bank, Trust Company or Similar Institution
     If you hold shares of PPG common stock through a broker, dealer, commercial bank, trust company or similar
     institution and wish to tender your shares of PPG common stock in this exchange offer, you should follow the
     instructions sent to you separately by that institution. In this case, you should not use a letter of transmittal to
     direct the tender of your PPG common stock. If that institution holds shares of PPG common stock through The
     Depository Trust Company, it must notify The Depository Trust Company and cause it to transfer the shares into
     the exchange offer agent's account in accordance with The Depository Trust Company's procedm·es. The
     institution must also ensure that the exchange offer agent receives an agent's message from The Depository Trust
     Company confirming the book-entry 11·ansfer of your PPG common stock. A tender by book-entry 11·ansfer will
     be completed upon receipt by the exchange offer agent of an agent's message, book-entry confirmation from The
     Depository Trust Company and any other required documents.

     The term "agent's message'' means a message, transmitted by The Depository Trust Company to, and received
     by, the exchange offer agent and forming a part of a book-entry confirmation, which states that The Depository
     Trust Company has received an express acknowledgment from the participant in The Depository Trust Company
     tendering the shares of PPG common stock which are the subject of the book- entry confirmation, that the
     participant has received and agrees to be bound by the terms of the letter of transmittal (including the instructions
     thereto) and that PPG may enforce that agreement against the paiticipant.

     The exchange offer agent will establish an account with respect to the shares of PPG common stock at The
     Depository Trust Company for purposes of this exchange offer, and any eligible institution that is a participant in

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     The Depository Trust Company may make book-entry delivery of shares of PPG common stock by causing The
     Depository Trust Company to transfer such shares into the exchange offer agent's account at The Depository
     Trust Company in accordance with The Depository Trust Company' s procedure for the transfer. Delivery of
     documents to The Depository Trust Company does not constitute delivery to the exchange offer agent.


     General Instructions
     Do not send letters of transmittal and certificates representing PPG common s tock to PPG, Georgia Gull',
     Splitco or the information agent. Letters of transmittal for PPG common stock and certificates representing
     PPG common stock should be sent to the exchange offer agent at an address listed on the letter of transmittal.
     Trustees, executors, administrators, guardians, attorneys- in- fact, officers of corporations or others acting in a
     fiduciary or representative capacity who sign a letter of transmittal or any certificates or stock powers must
     indicate the capacity in which they are signing and must submit evidence of their power to act in that capacity
     unless waived by PPG.

     Whether you tender your PPG common stock by delivery of certificates or through your broker, the exchange
     offer agent must receive the letter of transmittal for PPG common stock and the certificates representing your
     PPG common stock at the address set forth on the back cover of this document prior to the expiration of this
     exchange offer. Alternatively, in case of a book-entry transfer of PPG common stock through The Depository
     Trust Company, the exchange offer agent must receive the agent's message and a book- entry confirmation.

     Letters of' transmittal for PPG common stock and certificates representing PPG common stock must be
     received by the exchange offer agent. Please read carefully the instructions to the letter of' transmittal you
     have been sent. You should contact the information agent if you have any questions regarding tendering
     your PPG common stock.


     Signature Guarantees
     Signatures on all letters of transmittal for PPG common stock must be guaranteed by a firm which is a member of
     the Secmities Transfer Agents Medallion Program, or by any other "eligible guarantor institution," as such term
     is defined in Rule 17Ad- 15 under the Securities Exchange Act of 1934, as amended, {the "Exchange Act") (each
     of the foregoing being a ''U.S. eligible institution"), except in cases in which shares of PPG common stock are
     tendered either (1) by a registered shareholder who has not completed the box entitled ''Special Issuance
     Instructions" on the letter of transmittal or (2) for the account of a U.S. eligible institution.

     If the shares of PPG common stock are registered in the name of a person other than the person who signs the
     letter of transmittal, the certificates must be endorsed or accompanied by appropriate stock powers, in either case
     signed exactly as the name or names of the registered owner or owners appear on the certificates, with the
     signature(s) on the certificates or stock powers guaranteed by an eligible institution.


     Guaranteed Delivery Procedures
     If you wish to tender shares of PPG common stock pursuant to this exchange offer but (i) your certificates are not
     immediately available, (ii) you cannot deliver the shares or other required documents to the exchange offer agent
     on or before the expiration date of this exchange offer or (iii) you cannot comply with the procedures for book-
     entry transfer through The Depository Trust Company on a timely basis, you may still tender your PPG common
     stock, so long as all of the following conditions are satisfied:
          •    you must make your tender by or through a U.S. eligible institution;
          •    on or before the expiration date, the exchange offer agent must receive a properly completed and duly
               executed notice of guaranteed delivery, substantially in the form made available by PPG, in the manner
               provided below; and

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          •    within three NYSE trading days after the date of execution of such notice of guaranteed deli very, the
               exchange offer agent must receive (i) (A) certificates representing all physically tendered shares of
               PPG common stock and (B) in the case of shares delivered by book-entry transfer through The
               Depository Trust Company, confimrntion of a book-entry transfer of those shares of PPG common
               stock in the exchange offer agent's account at The Depository Trnst Company; (ii) a letter of
               transmittal for shares of PPG common stock properly completed and duly executed (including any
               signature guarantees that may be required) or, in the case of shares delivered by book-entry transfer
               through The Depository Trust Company, an agent's message; and (iii) any other required documents.

     Registered shareholders (including any participant in The Depository Trust Company whose name appears on a
     security position listing of The Depository Trust Company as the owner of PPG common stock) may transmit the
     notice of guaranteed delivery by facsimile transmission or mail it to the exchange offer agent. If you hold PPG
     common stock through a broker, dealer, commercial bank, trust company or similar institution, that institution
     must submit any notice of guaranteed delivery on your behalf.

     Tendering Your Shares After the Final Exchange Ratio Has Been Determined
     Subject to a Mandatory Extension, the final exchange ratio will be available no later than 4:30 p.m., New York
     City time, on the expiration date of this exchange offer. If you are a registered shareholder of PPG common
     stock, then it is unlikely that you will be able to deliver an 01iginal executed letter of transmittal (and, in the case
     of certificated shares, your share certificates) to the exchange offer agent p1ior to the expiration of this exchange
     offer at 12:00 midnight, New York City time, on the expiration date. Accordingly, in such a case, if you wish to
     tender your shares after the final exchange ratio has been determined, you will generally need to do so by means
     of delivering a notice of guaranteed delivery and complying with the guaranteed delivery procedures described
     above. If you hold PPG common stock through a broker, dealer, commercial bank, trust company or similar
     institution, that institution must tender your shares on your behalf.

     The Depository Trust Company is expected to remain open until 5:00 p.m., New York City time, and institutions
     may be able to process tenders for PPG common stock through The Depository Trust Company during that time
     (although there is no assurance that this will be the case). Once The Depository Trnst Company has closed,
     participants in The Depository Trust Company whose name appears on a Depository Trust Company security
     position listing as the owner of PPG common stock will still be able to tender their PPG common stock by
     delivering a notice of guaranteed delivery to the exchange offer agent via facsimile.

     If you hold PPG common stock through a broker, dealer, commercial bank, trust company or similar institution,
     th:it institution must suhmit ~my notice of gm1rnnteerl rlelivery on your hehalf. Tt will genernlly not he possihle to
     direct such an institution to submit a notice of guaranteed deli very once that institution has closed for the day. In
     addition, any such institution, if it is not an eligible institution, will need to obtain a Medallion guarantee from an
     eligible institution in the form set forth in the applicable notice of guaranteed delivery in connection with the
     delivery of those shares.

     If the upper limit on the number of shares that can be received for each share of PPG common stock validly
     tendered is in effect at the expiration of the exchange offer period, then the exchange ratio will be fixed at the
     limit and a Mandatory Extension of this exchange offer will be made until 12:00 midnight, New York City time,
     on the second trading day following the originally contemplated expiration date to permit shareholders to tender
     their PPG common stock during those days. Any changes in the prices of PPG common stock or Georgia Gulf
     common stock on those additional days of this exchange offer will not, however, affect the exchange ratio.

     Effect of Tenders
     A tender of PPG common stock pursuant to any of the procedures desc1ibed above will constitute your
     acceptance of the terms and conditions of this exchange offer as well as your representation and warranty to PPG
     that (1) you have the full power and autho1ity to tender, sell, assign and transfer the tendered shares (and any and

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     all other shares of PPG common stock or other secmities issued or issuable in respect of such shares), (2) when
     the same are accepted for exchange, PPG will acquire good and unencumbered title to such shares, free and clear
     of all liens, restrictions, charges and encumbrances and not subject to any adverse claims and (3) you own the
     shares being te ndered within the meaning of Rule 14e-4 promulgated under the Exchange Act.

     It is a violation of Rule l 4e-4 under the Exchange Act for a person, directly or indirectly, to tender PPG common
     stock for such person's own account unless, at the time of tender, the person so te ndeting ( l) has a net long
     position equal to or greater than the amount of (a) shares of PPG common stock tendered or (b) other securities
     immediately convertible into or exchangeable or exercisable for the shares of PPG common stock tendered and
     such person will acquire such shares for tender by conversion, exchange or exercise and (2) will cause such
     shares to be delivered in accordance with the terms of this document. Rule 14e-4 provides a similar restriction
     applicable to the tender of guarantee of a tender on behalf of another person.

     The exchange of PPG common stock validly tendered and accepted for exchange pursuant to this exchange offer
     will be made only after timely receipt by the exchange offer agent of (a)(i) certificates representing all physically
     tendered shares of PPG common stock or (ii) in the case of shares delivered by book-entry transfer through The
     Depository Trust Company, confirmation of a book- entry transfer of those shares of PPG common stock in the
     exchange offer agent's account at T he Depository Trust Company, (b) the letter of transmittal for PPG common
     stock, properly completed and duly executed (or a manually signed facsimile of that document), with any
     required signature guarantees, or, in the case of a book-entry transfer through The Depository Trust Company, an
     agent's message and (c) any other required documents.


     Appointment of Attorneys- in- Fact and Proxies
     By executing a letter of transmittal as set fotih above, you irrevocably appoint PPG's designees as your
     attorneys- in- fact and proxies, each with full power of substitution, to the full extent of your tights with respect to
     your PPG common stock tendered and accepted for exchange by PPG and with respect to any and all other PPG
     common stock and other secmities issued or issuable in respect of the PPG common stock on or after the
     expiration of the exchange offer. That appointment is effective when and only to the extent that PPG deposits the
     shares of Splitco common stock for the shares of PPG common stock that you have tendered with the exchange
     offer agent. All such proxies will be considered coupled with an interest in the tendered shares of PPG common
     stock and therefore will not be revocable. Upon the effectiveness of such appointment, all ptior proxies that you
     have given will be revoked and you may not give any subsequent proxies (and, if given, they will not be deemed
     effective). PPG's designees will, with respect to the shares of PPG common stock for which the appointment is
     effective, be empowered, among other things, to exercise all of your voting and other tights as they, in their sole
     discretion, deem proper. PPG reserves the right to require that, in order for PPG common stock to be deemed
     validly tendered, immediately upon PPG's acceptance for exchange of those shares of PPG common stock, PPG
     must be able to exercise full voting rights with respect to such shares.


     Determination of Validity
     PPG will determine questions as to the validity, form, eligibility (including time of receipt) and acceptance for
     exchange of any tender of PPG common stock, in PPG's sole discretion, and its determination will be final and
     binding. PPG reserves the absolute right to reject any and all tenders of PPG common stock that it determines are
     not in proper form or the acceptance of or exchange for which may, in the opinion of its counsel, be unlawful.
     PPG also reserves the absolute right to waive any of the conditions of this exchange offer, or any defect or
     irregularity in the tender of any shares of PPG common stock. No tender of PPG common stock is valid until
     all defects and irregularities in tenders of PPG common stock have been cured or waived. Neither PPG nor
     the exchange offer agent, the information agent or any other person is under any duty to give notification
     of' any defects or irregularities in the tender of' any PPG common stock or will incur any liability for
     failure to give any s uch notification. PPG's interpretation of' the terms and conditions of this exchange
     offer (including the letter of transmittal and instructions thereto) will be final and binding.

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     Binding Agreement
     Tue tender of PPG common stock pursuant to any of the procedures described above will constitute a binding
     agreement bel\veen PPG and you upon the terms of and subject to the conditions to this exchange offer.

     The method of delivery of share certificates of PPG common stock and all other required documents,
     including delivery through The Depository Trust Company, is at your option and risk, and the delivery
     will be deemed made only when actually received by the exchange offer agent. If delivery is by mail, it is
     recommended that you use registered mail with return receipt requested, properly insured. In all cases,
     you should allow suflicient time to ensure timely delivery.

     Partial Tenders
     If you tender fewer than all the shares of PPG common stock evidenced by any share certificate you deliver to
     the exchange agent, then you will need to fill in the number of shares that you are tendering in the box entitled
     "Total Shares of Common Stock Tendered" under the heading ''Description of Tendered Shares" in the table on
     the second page of the letter of transmittal. In those cases, as soon as practicable after the expiration date, the
     exchange agent will credit the remainder of the shares of common stock that were evidenced by the certificate(s)
     but not tendered to a DRS account in the name of the registered holder maintained by PPG's transfer agent,
     unless otherwise provided in ''Special Delivery Instructions" in the letter of transmittal. Unless you indicate
     otherwise in your letter of transmittal, all of the shares of PPG common stock represented by share certificates
     you deliver to the exchange agent will be deemed to have been validly tendered. No share certificates are
     expected to be delivered to you, including in respect of any shares delivered to the exchange agent that were
     previously in certificated form, except for share certificates representing shares not accepted in this exchange
     offer.


     Lost, Stolen or Destroyed Certificates
     If your certificate(s) representing PPG common stock have been mutilated, destroyed, lost or stolen and you wish
     to tender your shares, you will need to complete an affidavit of lost, stolen or destroyed certificate(s) (the
     "Affidavit") that you may request by checking a box on the letter of transmittal for PPG common stock. You will
     also need to post a surety bond for your lost, stolen or destroyed shares of PPG common stock and pay a service
     fee. Upon receipt of the completed applicable letter of transmittal with the completed Affidavit, the surety bond
     payment and the service fee, your shares of PPG common stock will be considered tendered in this exchange
     offer.


     Withdrawal Rights
     Shares of PPG common stock validly tendered pursuant to this exchange offer may be withdrawn at any time
     before 12:00 midnight, New York City time, on the expiration date and, unless PPG has previously accepted such
     shares pm·suant to this exchange offer, may also be withdrawn at any time after the expiration of 40 business
     days from the commencement of this exchange offer. Once PPG accepts PPG common stock pm·suant to this
     exchange offer, your tender is iITevocable.

     For a withdrawal of PPG common stock to be effective, the exchange offer agent must receive from you a written
     notice of withdrawal at one of its addresses set forth on the back cover of this document, and your notice must
     include your name and the number of shares of PPG common stock to be withdrawn, as well as the name of the
     registered bolder, if it is different from that of the person who tendered those shares.

     If certificates have been delivered or otherwise identified to the exchange offer agent, the name of the registered
     holder and the serial numbers of the particular certificates evidencing the PPG common stock must also be
     furnished to the exchange offer agent, as stated above, prior to the physical release of the certificates. If shares of
     PPG common stock have been tendered pursuant to the procedures for book-entry tender discussed in the section

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     entitled "-Procedures for Tendering," any notice of withdrawal must specify the name and number of the
     account at The Depository Trust Company to be credited with the withdrawn shares and must otherwise comply
     with the procedures of The Depository Trust Company.

     PPG will decide all questions as to the form and validity (including time of receipt) of any notice of
     withdrawal, in its sole discretion, and its decision will be final and binding. Neither PPG nor the exchange
     offer agent, the information agent nor any other person will be under any duty to give notification of any
     defeets or irregularities in any notice of withdrawal or will inenr any liability for failure to give any
     notification.

     Any PPG common stock properly withdrawn will be deemed not to have been validly tendered for purposes of
     this exchange offer. However, you may re- tender withdrawn PPG common stock by following one of the
     procedures discussed in the section entitled "- Procedures for Tendering'' at any time prior to the expiration of
     this exchange offer (or pursuant to the instructions sent to you separately).

     Except for the withdrawal rights described above, any tender made under this exchange offer is irrevocable.


     Withdrawing Your Shares After the Final Exchange Ratio Has Been Determined
     Subject to a Mandatory Extension, the final exchange ratio will be available no later than 4:30 p.m., New York
     City time, on the expiration date of this exchange offer. If you are a registered shareholder of PPG common stock
     (which includes persons holding certificated shares) and you wish to withdraw your shares after the final
     exchange ratio has been dete1mined, then you must deliver a written notice of withdrawal or facsimile
     transmission notice of withdrawal to the exchange offer agent prior to 12:00 midnight, New York City time, on
     the expiration date. Medallion guarantees will not be required for such withdrawal notices. If you hold PPG
     common stock through a broker, dealer, commercial bank, trust company or similar institution, any notice of
     withdrawal must be delivered by that institution on your behalf.

     The Depository Trust Company is expected to remain open until 5:00 p.m., New York City time, and institutions
     may be able to process withdrawals of PPG common stock through The Depository Trust Company dming that
     time (although there can be no assurance that this will be the case). Once The Depository Trust Company has
     closed, if you beneficially own shares of PPG common stock that were previously delivered through The
     Depository Trust Company, then in order to properly withdraw your shares the institution through which your
     shares are held must deliver a w1itten notice of withdrawal or facsimile transmission notice of withdrawal to the
     exchange offer agent prior to 12:00 midnight, New York City time, on the expiration date. Such notice of
     withdrawal must be in the form of The Depository Trust Company's notice of withdrawal, must specify the name
     and number of the account at The Depository Trust Company to be credited with the withdrawn shares and must
     otherwise comply with The Depository Trust Company's procedures. Shares can be properly withdrawn only if
     the exchange offer agent receives a withdrawal notice directly from the relevant institution that tendered the
     shares through The Depository Trust Company.

     If the upper limit on the number of shares of Splitco common stock that can be exchanged for each share of PPG
     common stock tendered is in effect at the expiration of the exchange offer period, then the exchange ratio will be
     fixed at the limit and a Mandatory Extension of this exchange offer will be made until 12:00 midnight, New York
     City time, on the second trading day following the originally contemplated expiration date, which will permit
     shareholders to properly withdraw their shares of PPG common stock during those days.


     Book-Entry Accounts
     Ce11ificates representing shares of Splitco common stock will not be issued to holders of PPG common stock
     pursuant to this exchange offer. Rather than issuing ce1tificates representing such shares of Splitco common
     stock to tende1ing holders of PPG common stock, the exchange offer agent will cause shares of Splitco common

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     stock to be credited to records maintained by the exchange offer agent for the benefit of the respective holders.
     Immediately following the consummation of this exchange offer, Merger Sub will in the Merger be merged with
     and into Splitco and each share of Splitco common stock will be convet1ed into the right to receive Georgia Gulf
     common stock and cash in lieu of fractional shares. In connection with the exchange offer, you will receive a
     letter of transmittal and instructions for use in effecting surrender of any certificates in exchange for Georgia
     Gulf common stock and cash in lieu of fractional shares. As promptly as practicable following the Merger and
     PPG's notice and determination of the final proration factor, if any, Georgia Gulf's transfer agent will credit the
     shares of Georgia Gulf common stock into which the shares of Splitco common stock have been converted to
     book-entry accounts maintained for the benefit of the PPG shareholders who received shares of Splitco common
     stock in the exchange offer or as a pro rata distribution, if any, and will send these holders a statement evidencing
     their holdings of shares of Georgia Gulf common stock.


     Extension; Tennination; Amendment
     Extension, Termination or Amendment by PPG
     PPG expressly reserves the tight, in its sole discretion, at any time and from time to time to extend the petiod of
     time dming which this exchange offer is open and thereby delay acceptance for payment of, and the payment for,
     any shares of PPG common stock validly tendered and not properly withdrawn in this exchange offer. For
     example, this exchange offer can be extended if any of the conditions for consummation of this exchange offer
     desc1ibed in the next section entitled "- Conditions for Consummation of this Exchange Offer" are not satisfied
     or waived prior to the expiration of this exchange offer.

     PPG expressly reserves the tight, in its sole discretion, to amend the terms of this exchange offer in any respect
     prior to the expiration date, except that PPG does not intend to extend this exchange offer other than in the
     circumstances described above.

     If PPG matetially changes the terms of or infonnation concerning this exchange offer, it will extend this
     exchange offer if required by law. The SEC has stated that, as a general rule, it believes that an offer should
     remain open for a minimum of five business days from the date that notice of the material change is first given.
     The length of time will depend on the particular facts and circumstances.

     As required by law, this exchange offer will be extended so that it remains open for a minimum of ten business
     days following the announcement if:
               PPG changes the method for calculating the number of shares of Splitco common stock offered in
               exchange for each share of PPG common stock; and
          •    this exchange offer is scheduled to expire within ten business days of announcing any such change.

     If PPG extends this exchange offer, is delayed in accepting for exchange any shares of PPG common stock or is
     unable to accept for exchange any shares of PPG common stock under this exchange offer for any reason, then,
     without affecting PPG's rights under this exchange offer, the exchange offer agent may retain all shares of PPG
     common stock tendered on PPG's behalf. These shares of PPG common stock may not be withdrawn except as
     provided in the section entitled "-Withdrawal Rights.''

     PPG's reservation of the right to delay acceptance of any shares of PPG common stock is subject to applicable
     law, which requires that PPG pay the consideration offered or return the shares of PPG common stock deposited
     promptly after the termination or withdrawal of this exchange offer.

     PPG will issue a press release or other public announcement no later than 9:00 a.m., New York City Time, on the
     next business day following any extension, amendment, non- acceptance or termination of the previously
     scheduled expiration date.

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     Mandatory Extension
     PPG will announce whether the limit on the number of shares that can be received for each share of PPG
     common stock tendered is in effect at the expiration of the exchange offer period, at www.       .com/       I and by
     press release, no later than 4:30 p.m., New York City time, on the expiration date. If the upper limit is in effect at
     that time, then the exchange ratio will be fixed at the limit and a Mandatory Extension will be made until 12:00
     midnight, New York City time, on the second trading day following the originally contemplated expiration date
     to permit shareholders to tender or withdraw their PPG common stock during those days. PPG will issue a press
     release or other public announcement no later than 9:00 a.m., New York City time, on the next business day
     following any such Mandatory Extension.


     Method of Public Announcement
           Subject to applicable law (including Rules 13e-4(d), 13e-4{e)(3) and 14e-l under the Exchange Act, which
     require that any material change in the infonnation published, sent or given to shareholders in connection with
     this exchange offer be promptly disclosed to shareholders in a manner reasonably designed to inform them of the
     change) and without limiting the manner in which PPG may choose to make any public annom1cement, PPG
     assumes no obligation to publish, advertise or otherwise communicate any such public announcement other than
     by making a release to Business Wire.


     Conditions for Consummation of' this Exchange Offer
     PPG will not be required to complete this exchange offer and may extend or terminate this exchange offer, if, at
     the scheduled expiration date:
          •    the registration statements on Forms S-4 and S-1 of which this document is a part will not have become
               effective under the Securities Act of 1933 or any stop order suspending the effectiveness of such
               registration statement has been issued and is in effect;
               the shares of Georgia Gulf common stock to be issued in the Merger will not have been authorized for
               listing on the New York Stock Exchange;

          •    a shareholder of Splitco (individually or together with all members of any "group", as defined in the
               Exchange Act), after giving effect to this exchange offer and the Merger, will hold greater than 20% of
               the outstanding shares of Georgia Gulf common stock;
               any condition precedent to the consummation of the Transactions (other than this exchange offer)
               pursuant to the Merger Agreement has not been fulfilled or waived (except for the conditions precedent
               that will be fulfilled at the time of the consummation of the Transactions) or for any reason the
               Transactions (other than this exchange offer) cannot be consummated promptly after consummation of
               this exchange offer (see "The Merger Agreement- Conditions to the Merger");
          •    the Merger Agreement or the Separation Agreement has been terminated;

          •    any condition or event occurs, or PPG reasonably expects any condition or event to OCCLff, which PPG
               determines would or would be reasonably likely to cause the exchange offer and any pro rata dividend
               of Splitco common stock disuibuted to PPG shareholders if the exchange offer is undersubscribed to be
               taxable to PPG or its shareholders under U.S. federal income tax laws; or
               any of the following conditions or events has occurred, or PPG reasonably expects any of the following
               conditions or events to occur:
                    any injunction, order, stay, judgment or decree is issued by any court, government, governmental
                    authority or other regulatory or administrative authority having jurisdiction over PPG, Splitco or
                    Georgia Gulf and is in effect, or any law, statute, rule, regulation, legislation, interpretation,

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                    governmental order or injunction will have been enacted or enforced, any of which would
                    reasonably be likely to restrain, prohibit or delay consummation of this exchange offer;
               •    any general suspension of trading in, or limitation on p1ices for, securities on any national
                    secmities exchange or in the over-the-counter market in the United States;
               •    any extraordinary or mate1ial adverse change in U.S. financial markets generally, including, without
                    limitation, a decline of at least 15% in either the Dow Jones Average of Industrial Stocks or the
                    Standard & Poor's 500 Index within a pe1iod of 60 consecutive days or less occurring after
                                  , 2012;
                    a declaration of a banking moratorium or any suspension of payments in respect of banks in the
                    United States;
                    a commencement of a war (whether declared or undeclared), armed hostilities or other national or
                    international calamity or act of terrorism, directly or indirectly involving the United States, which
                    would reasonably be expected to affect materially and adversely, or to delay materially, the
                    consummation of this exchange offer;
                    if any of the situations above exists as of the commencement of this exchange offer, any material
                    deterioration of the situation; or
                    a market disruption event (as defined below) occurs with respect to shares of PPG common stock
                    or Georgia Gulf common stock on any of the Valuation Dates and such market disruption event
                    has, in PPG's reasonable judgment, impaired the benefits of this exchange offer.

     Each of the foregoing conditions to the consummation of the exchange offer is independent of any other
     condition; the exclusion of any event from a particular condition above does not mean that such event may not be
     included in another condition.

     If any of the above events occurs, PPG may:
               terminate this exchange offer and promptly return all tendered shares of PPG common stock to
               tendering shareholders;
               extend this exchange offer and, subject to the withdrawal rights described in the section entitled
               "- Withdrawal Rights," retain all tendered shares of PPG common stock until the extended exchange
               offer expires;
               amend the terms of the exchange offer; or
               waive or amend any unsatisfied condition and, subject to any requirement to extend the period of time
               during which this exchange offer is open, complete this exchange offer.

     These conditions are for the sole benefit of PPG. PPG may assert these conditions with respect to all or any
     portion of this exchange offer regardless of the circumstances giving rise to them. PPG expressly reserves the
     right, in its sole discretion, to waive any condition in whole or in part at any time. PPG's failure to exercise its
     rights under any of the above conditions does not represent a waiver of these rights. Each right is an ongoing
     right which may be asserted at any time. However, all conditions for consummation of this exchange offer must
     be satisfied or waived by PPG prior to the expiration of this exchange offer.

     A market disruption event with respect to either PPG common stock or Georgia Gulf common stock means a
     suspension, absence or material limitation of trading of PPG common stock or Georgia Gulf common stock on
     the NYSE for more than two hours of trading or a breakdown or failure in the price and trade reporting systems
     of the NYSE as a result of which the reported trading prices for PPG common stock or Georgia Gulf common
     stock on the NYSE during any half-hour trading period dming the p1incipal trading session in the NYSE are
     materially inaccurate, as determined by PPG or the exchange offer agent in its sole discretion, on the day with
     respect to which such determination is being made. For purposes of such detennination, a limitation on the hours

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     or number of days of trading will not constitute a market disruption event if it results from an announced change
     in the regular business hours of the NYSE.

     Material U.S. Federal Income Tax Consequences of' the Distribution and the Merger
     The following discusses the mate1ial U.S. federal income tax consequences of the Disnibution {which includes
     this exchange offer) and the Merger. The discussion that follows is based on the Code, Treasury regulations
     promulgated under the Code, and judicial and administrative interpretations thereof, all as in effect as of the date
     of this document, all of which are subject to change at any time, possibly with retroactive effect. The discussion
     assumes that the Distribution, the Merger and certain related Transactions will be consummated in accordance
     with the Separation Agreement and the Merger Agreement and as further described in this document. This is not
     a complete description of all of the tax consequences of the Distribution, the Merger and related Transactions
     and, in particular, may not address U.S. federal income tax considerations applicable to PPG shareholders subject
     to special treatment under the U.S. federal income tax law, such as financial institutions, dealers in securities,
     traders in securities who elect to apply a mark- to- market method of accounting, insurance companies, tax-
     exempt entities, partnerships and other pass- through entities, holders who acquired their PPG common stock as
     compensation, and holders who hold PPG common stock as part of a "hedge," "straddle," "conversion'' or
     "constructive sale" transaction. This discussion does not address the tax consequences to any person who actually
     or constructively owns more than 5% of PPG common stock

     This discussion is limited to shareholders of PPG that are "U.S. holders.'' For purposes of this document, a "U.S.
     holder" means a shareholder of PPG other than an entity or arrangement treated as a partnership for U.S. federal
     income tax pm·poses, that for U.S. federal income tax purposes is:
          •    an individual who is a citizen or resident of the United States;
          •    a corporation (or other entity taxable as a corporation for U.S . federal income tax purposes) created or
               organized in or under the laws of the United States or of any political subdivision thereof;
          •    an estate, the income of which is subject to U.S. federal income taxation regardless of its source; or
          •    a trust if it (i) is subject to the p1imary supervision of a comt within the United States and one or more
               U.S. persons have the autho1ity to control all substantial decisions of the trust or (ii) was in existence
               on August 20, 1996, and has properly elected m1der applicable U.S. Treasury regulations to be n·eated
               as a U.S. person.

     If an entity or arrangement treated as a pait nership for U.S. federal income tax purposes holds PPG common
     stock, the tax treatment of a pait ner in such entity or arrangement generally will depend on the status of the
     partner and the activities of the partnership. If you are a parmer in a partnership holding PPG common stock,
     please consult your tax advisor.

     In addition, this discussion does not address the U.S. federal income tax consequences to PPG shareholders who
     do not hold common stock of PPG as a capital asset for U.S. federal income tax purposes. No information is
     provided in this document with respect to the tax consequences of the Distribution, the Merger and related
     Transactions under any applicable foreign, state or local laws.

     PPG shareholders are urged to consult with their own tax advisors regarding the tax consequences of the
     Distribution, the Merger and related Transactions to them, as applicable, including the effects of U.S.
     federal, state, local, foreign and other tax laws.

     The Distribution
     The consummation of the Distribution and related transactions are conditioned upon the receipt of (1) a private
     letter ruling from the IRS substantially to the effect that (i) the Distribution, together with certain related
     transactions, will qualify as a ''reorganization" within the meaning of Section 368(a)( l)(D) of the Code and
     (ii) PPG will not recognize gain or loss for U.S. federal income tax purposes in connection with the receipt of the

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     Debt Secmities or the consummation of the Debt Exchange {the "P1ivate Letter Ruling"), and (2) the Distribution
     Tax Opinion. The Private Letter Ruling and the Disnibution Tax Opinion will be based on, among other things,
     certain facts, assumptions as well as the accuracy of ce11ain representations, statements and undertakings made to
     the IRS and to com1sel. If any of these representations, statements or unde11akings are, or become, inaccurate or
     incomplete, the Private Letter Ruling and the Disnibution Tax Opinion may be invalid.

     Although a p1ivate letter ruling from the IRS generally is binding on the IRS, PPG and Splitco will not be able to
     rely on the Private Letter Ruling if the factual representations made to the IRS in connection with the request for
     the Private Letter Ruling are untrue or incomplete in any material respect, or if undertakings made to the IRS in
     connection with the request for the Private Letter Ruling have been violated. Further, the IRS will not rule that
     the Distribution satisfies every requirement for a tax-free split-off or spin-off, and PPG will rely solely on the
     Distribution Tax Opinion for comfort that such additional requirements are satisfied. The Distribution Tax
     Opinion will be based on, among other things, the Private Letter Ruling as to the matters addressed by the ruling,
     current law and certain representations and assumptions as to factual matters made by PPG, Splitco, Georgia
     Gulf and Merger Sub. Any change in currently applicable law, which may be retroactive, or the failure of any
     representation or assumption to be true, correct and complete in all material respects, could adversely affect the
     conclusions reached by counsel in its opinion. An opinion of counsel represents counsel's best legal judgment, is
     not binding on the IRS or the courts, and the IRS or the courts may not agree with the conclusions reached in the
     opinion.

     On the basis that the Distribution, together with certain related transactions, qualifies as a "reorganization" for
     U.S. federal income tax purposes under Sections 355 and 368(a)(l){D) of the Code, in general, for U.S. federal
     income tax pm·poses: (i) the Disnibution will not result in the recognition of income, gain or loss to PPG, except
     for taxable income or gain possibly arising as a result of ce11ain intercompany transactions; (ii) no gain or loss
     will be recognized by, and no amount will be included in the income of, U.S. holders of PPG common stock
     upon the receipt of Splitco common stock in this exchange offer or in any pro rata distiibution of Splitco
     common stock distributed to holders of PPG common stock if this exchange offer is undersubsc1ibed (or if PPG
     determines not to consummate the exchange offer); (iii) in a split-off, the aggregate tax basis of the shares of
     Splitco common stock (including fractional shares) issued to a holder of PPG common stock will equal the
     aggregate tax basis of the shares of PPG common stock exchanged therefor; (iv) the aggregate tax basis of any
     shares of Splitco common stock (including fractional shares) issued as a pro rata distiibution to holders of PPG
     common stock if this exchange offer is undersubscribed (or if PPG determines not to consummate the exchange
     offer) will be determined by allocating the aggregate tax basis of such holder in the shares of PPG common stock
     with respect to which the pro rata distribution is made immediately before such distribution between such PPG
     common stock and the Splitco common stock in proportion to the relative fair market value of each immediately
     following such distribution; and (v) the holding period of any shares of Splitco common stock received by a
     holder of PPG common stock will include the holding period at the time of the consummation of this exchange
     offer of the shares of PPG common stock with respect to which the shares of Splitco common stock were
     received, provided that the PPG common stock is held as a capital asset on the date of the consummation of this
     exchange offer.

     In general, if the Distribution does not qualify as a tax-free transaction under Sections 368(a)(l)(D) and 355 of
     the Code, the exchange offer would be treated as a taxable exchange to PPG shareholders who receive Splitco
     common stock in the exchange offer and the pro rata distribution of Splitco common stock if this exchange offer
     is undersubscribed (or if PPG determines not to consummate the exchange offer) would be treated as a taxable
     dividend to PPG shareholders who receive such distribution in an amount equal to the fair market value of the
     Splitco common stock received, to the extent of such PPG shareholder's ratable share of PPG's earnings and
     profits. In addition, if the Distribution does not qualify as a tax-free transaction under Sections 368(a)(l)(D) and
     355, PPG would have taxable gain, which could result in significant tax to PPG.

     Even if the Distribution were otherwise to qualify as a tax-free u·ansaction under Sections 368(a)(l)(D) and 355
     of the Code, the Disnibution will be taxable to PPG {but not to PPG shareholders) pursuant to Section 355(e) of

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     the Code if there is a 50% or greater change in ownership of either PPG, or Splitco (including stock of Georgia
     Gulf after the Merger), directly or indirectly, as pmi of a plan or se1ies of related transactions that include the
     Distribution. For this purpose, any acquisitions of PPG, Splitco or Georgia Gulf stock within the pe1iod
     beginning two yem·s before the Distribution and ending two years after the Distiibution are presumed to be part
     of such a plan, although PPG, Splitco or Georgia Gulf may be able to rebut that presumption. Further, for
     purposes of this test, the Merger will be treated as pmi of such a plan, but the Merger standing alone should not
     cause the Distiibution to be taxable to PPG under Section 355(e) of the Code because PPG shm·eholders will own
     at least 50.5% of Georgia Gulf common stock following the Merger. However, if the IRS were to determine that
     other acquisitions of PPG, Splitco or Georgia Gulf stock, either before or after the Distribution, were part of a
     plan or series of related transactions that included the Distribution, such determination could result in the
     recognition of very substantial amount of gain by PPG under Section 355(e) of the Code, which could result in
     significant tax to PPG. In connection with the Private Letter Ruling and the Distribution Tax Opinion, PPG and
     Georgia Gulf have represented or will represent that the Distribution is not part of any such plan or series of
     related transactions.

     In certain circumstances and subject to certain limitations, under the Tax Matters Agreement among PPG, Splitco
     and Georgia Gulf, Splitco is required to indemnify PPG against taxes on the Distribution that arise as a result of a
     certain disqualifying actions or as a result of changes in ownership of the stock of Georgia Gulf or Splitco after
     the Transactions. If PPG were to recognize a gain on the Distribution for reasons not related to a disqualifying
     action by Splitco or Georgia Gulf, PPG would not be entitled to be indemnified under the Tax Matters
     Agreement and the resulting tax to PPG could have a material adverse effect on PPG. If Splitco is required to
     indemnify PPG in the event the Distribution is taxable, this indemnification obligation would be substantial and
     could have a mate1ial adverse effect on Georgia Gulf. See ''Other Agreements- Tax Matters Agreement" for a
     summm)' of the Tax Matters Agreement.


     The Merger
     The obligations of PPG, Splitco, Georgia Gulf and Merger Sub to consummate the Merger are conditioned,
     respectively, on PPG's and Splitco's receipt of the Private Letter Ruling and the Distribution Tax Opinion and
     PPG's and Georgia Gulf's receipt of a tax opinion from their respective tax counsel, in each case substantially to
     the effect that the Merger will be o·eated as a ·'reorganization" within the meaning of Section 368{a) of the Code
     (the ''Merger Tax Opinions"). These opinions will be based on, among other things, ce11ain representations and
     assumptions as to factual matters made by PPG, Splitco, Georgia Gulf, and Merger Sub. The failure of any
     factual representation or assumption to be true, correct and complete in all mate1ial respects could adversely
     affect the validity of the opinions. An opinion of counsel represents counsel's best legal judgment, is not binding
     on the IRS or the courts, and the IRS or the courts may not agree with the conclusions reached in the opinion. In
     addition, the Distribution Tax Opinion and Merger Tax Opinions will be based on current law, and cannot be
     relied on if current law changes with retroactive effect.

     On the basis the Merger qualifies as a "reorganization" within the meaning of Section 368(a) of the Code, in
     general, for U.S. federal income tax purposes: (i) no gain or loss will be recognized by, and no amount will be
     included in the income of, U.S. holders of Splitco common stock upon the receipt of Georgia Gulf common stock
     in the Merger, except for any gain or loss recognized with respect to cash received in lieu of a fractional share of
     Georgia Gulf common stock; (ii) gain or loss will be recognized by holders of Splitco common stock on any cash
     received in lieu of a fractional share of Georgia Gulf common stock in the Merger equal to the difference
     between the amount of cash received in lieu of the fractional share and the holder's tax basis in the fractional
     share of Georgia Gulf common stock (determined in the manner described in clause (iii) or (iv), as applicable
     under the section entitled "- The Distribution"; such gain or loss will be long- term capital gain or loss if the
     holder's holding period for all of its Splitco common stock (determined in the manner described in clause
     (v) under the section entitled ·'- The Distribution") is more than one yem· as of the closing date of Merger, and
     the deductibility of capital losses is subject to limitations under the Code; (iii) the tax basis of Georgia Gulf
     common stock received in the Merger, including any fractional share of Georgia Gulf common stock deemed

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     received, will be the same as the tax basis in the shares of Splitco common stock deemed exchanged therefor; and
     (iv) the holding pe1iod of Georgia Gulf common stock received by a holder of Splitco common stock in the
     Merger will include the holding period of the Splitco common stock exchanged therefor.


     Information Reporting and Backup Withholding
     U.S. Treasury regulations generally require holders who own at least five percent of the total outstanding stock of
     PPG and who receive Splitco common stock pursuant to the Distribution and holders who own at least one
     percent of the total outstanding stock of Splitco and who receive Georgia Gulf common stock pursuant to the
     Merger to attach to his, her or its U.S. federal income tax return for the year in which the Distribution and the
     Merger occur a detailed statement setting forth certain information relating to the tax-free nature of the
     Distribution and the Merger, as the case may be. PPG and/or Georgia Gulf will provide the appropriate
     information to each holder upon request, and each such holder is required to retain permanent records of this
     information.

     In addition, payments of cash to a holder of Splitco common stock in lieu of fractional shares of Georgia Gulf
     common stock in the Merger may be subject to information reporting, unless the holder provides proof of an
     applicable exemption. Such payments that are subject to information reporting may also be subject to backup
     withholding (currently at a rate of 28 percent), unless such holder provides a correct taxpayer identification
     number and otherwise complies with the requirements of the backup withholding rules. Backup withholding does
     not constitute an additional tax, but merely an advance payment, which may be refunded or credited against a
     holder's U.S. federal income tax liability, provided the required information is timely supplied to the IRS.

     THE FOREGOING IS A SUMMARY OF THE MATERIAL U.S. FEDERAL INCOME TAX
     CONSEQUENCES OF THE DISTRIBUTION AND THE MERGER UNDER CURRENT LAW AND FOR
     GENERAL INFORMATION ONLY. THE FOREGOING DOES NOT PURPORT TO ADDRESS ALL U.S.
     FEDERAL INCOME TAX CONSEQUENCES OR TAX CONSEQUENCES THAT MAY ARISE UNDER
     THE TAX LAWS OR THAT MAY APPLY TO PARTICULAR CATEGORIES OF SHAREHOLDERS. EACH
     PPG SHAREHOLDER SHOULD CONSULT HIS, HER OR ITS OWN TAX ADVISOR AS TO THE
     PARTICULAR TAX CONSEQUENCES OF THE DISTRIBUTION AND THE MERGER TO SUCH
     SHAREHOLDER, INCLUDING THE APPLICATION OF U.S . FEDERAL, STATE, LOCAL AND FOREIGN
     TAX LAWS, AND THE FFECT OF POSSIBLE CHANGES IN TAX LAWS THAT MAY AFFECT THE TAX
     CONSEQUENCES DESCRIBED ABOVE.


     Treatment of Specified PPG Compensatory Equity-Based A wards Held by Current Splitco Employees
     Each option to purchase shares of PPG common stock held by a current employee of the PPG Chlor-alkali and
     Derivatives Business that is scheduled to vest after December 31 , 2013 will be converted into an option to
     purchase shares of Georgia Gulf common stock. Each such option will otherwise be subject to the same terms
     and conditions after the Merger as the terms and conditions applicable to such PPG option immediately prior to
     the Merger, subject to an adjustment to maintain the spread value of such option immediately before and after the
     Merger. The total number of shares of PPG common stock covered by PPG options that will convert into Georgia
     Gulf options will not exceed 75,700.

     Each PPG performance based restricted stock unit granted in 2011 and 2012, the vesting of which is based upon
     continued service and the satisfaction of performance goals, that is held by a current employee of the PPG Chlor-
     alkali and Derivatives Business will be converted into a restricted stock unit award of Georgia Gulf, the vesting
     of which will be based upon continued service and not the satisfaction of performance goals. The conversion of
     each PPG performance based restricted stock unit award into a restricted stock tmit award of Georgia Gulf will
     be based on 150% of the target number of shares of PPG common stock subject to the award. Except as noted
     above, each converted restiicted stock unit will be subject to the same terms and conditions applicable to such
     award immediately before the Merger and after the Merger, subject to an adjustment to maintain the value of the

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     awards immediately before and after the Merger. The total number of shares of PPG common stock covered by
     PPG pe1fonnance based restiicted stock unit awards that will conve11 into Georgia Gulf restricted stock units will
     not exceed 25,750.


     Fees and Expenses
     PPG has retained          to act as the information agent and            to act as the exchange offer agent in
     connection with this exchange offer. The information agent may contact holders of PPG common stock by mail,
     e- mail, telephone, facsimile transmission and personal interviews and may req uest brokers, dealers and other
     nominee shareholders to forward materials relating to this exchange offer to beneficial owners. The information
     agent and the exchange offer agent each will receive reasonable compensation for their respective services, will
     be reimbursed for reasonable out-of- pocket expenses and will be indemnified against specified liabilities in
     connection with their services, including liabilities under the federal securities laws.

     None of the information agent or the exchange offer agent has been retained to make solicitations or
     recommendations with respect to this exchange offer. The fees they receive will not be based on the number of
     shares of PPG common stock te ndered under this exchange offer.

     PPG will not pay any fees or commissions to any broker or dealer or any other person for soliciting tenders of
     PPG common stock under this exchange offer. PPG will, upon request, reimburse brokers, dealers, commercial
     banks and trust companies for reasonable and necessary costs and expenses incurred by them in forwarding
     materials to their customers.

     No broker, dealer, bank, trust company or fiduciary will be deemed to be PPG's agent or the agent of
     Splitco, the information agent or the exchange offer agent for purposes of this exchange offer.


     Legal Limitations
     This document is not an offer to sell or exchange and it is not a solicitation of an offer to buy any shares of
     Splitco common stock in any j urisdiction in which the offer, sale or exchange is not permitted. After the
     consummation of this exchange offer and prior to the Merger it will not be possible to trade the shares of Splitco
     common stock.


     Certain Matters Relating to Non-U.S. Jurisdictions
     Countiies outside the United States generally have their own legal requirements that govern securities offerings
     made to persons resident in those countiies and often impose stringent requirements about the form and conte nt
     of offers made to the general public. None of PPG, Splitco or Georgia Gulf have taken any action under non-U.S.
     regulations to facilitate a public offer to exchange the shares of Splitco common stock outside the United States.
     Accordingly, the ability of any non-U.S. person to tender shares of PPG common stock in the exchange offer will
     depend on whether there is an exemption available under the laws of such person's home country that would
     permit the person to participate in the exchange offer without the need for PPG to take any action to facilitate a
     public offe1ing in that counll)'. For example, some countiies exempt a·ansactions from the rules governing public
     offerings if they involve persons who meet ce11ain eligibility requirements relating to their status as sophisticated
     or professional investors.

     Non-U.S. shareholders should consult their advisors in considering whether they may participate in the exchange
     offer in accordance with the laws of their home countiies and, if they do participate, whether there are any
     restiictions or limitations on transactions in the shares of Splitco common stock (or Georgia Gulf common
     shares) that may apply in their home countries. PPG, Georgia Gulf and Splitco cannot provide any asstu-ance
     about whether such limitations may exist.

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     Distribution of' Any Shares of' Splitco Common Stock Remaining After This Exchange Offer
     All shares of Splitco common stock owned by PPG that are not exchanged in this exchange offer will be
     distributed as a pro rata distribution to holders of PPG common stock as of the distribution record date.

     Upon consummation of this exchange offer, PPG will irrevocably deliver to the exchange offer agent a global
     certificate representing all of the Splitco common stock being exchanged in this exchange offer, with irrevocable
     instructions to hold the shares of Splitco common stock in trust for the holders of shares of PPG common stock
     validly tendered and not properly withdrawn in the exchange otter and, in the case ot a pro rata distribution, it
     any, PPG shareholders whose shares of PPG common stock remain outstanding after the consummation of the
     exchange offer. Georgia Gulf will deposit with the transfer agent for the benefit of persons who received shares
     of Splitco common stock in this exchange offer certificates or book-entry autho1izations representing Georgia
     Gulf common stock, with irrevocable instructions to hold the shares of Georgia Gulf common stock in trust for
     the holders of Splitco common stock. Shares of Georgia Gulf common stock will be delivered immediately
     following the expiration of this exchange offer, the acceptance of PPG common stock for exchange, the
     determination of the final proration factor, if any, and the Merger has become effective, pursuant to the
     procedures determined by the exchange offer agent and the transfer agent. See "This Exchange Offer- Terms of
     this Exchange Offer- Exchange of Shares of PPG Common Stock."

     If this exchange offer is terminated by PPG without the exchange of shares, but the conditions for consummation
     of the Transactions have otherwise been satisfied, PPG intends to distiibute all shares of Splitco common stock
     owned by PPG on a pro rata basis to holders of PPG common stock, with a record date to be announced by PPG.




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                                         INFORMATION ON GEORGIA GULF

     Overview
          Georgia Gulf Corporation (a Delaware company incorporated in 1983) is a leading, integrated North
     American manufacturer and international marketer of chemicals and building products. Georgia Gulf
     manufactures two chemical lines, chlorovinyls and aromatics, as well as vinyl-based building and home
     improvement products. Georgia Gulf, headquartered in Atlanta, Georgia, has manu:factming facilities located
     throughout North America to provide industry-leading service to customers.

          Georgia Gulf operates through three reportable segments: chlorovinyls products; building products; and
     aromatics products. These three reportable segments reflect the organization used by its management for
     purposes of allocating resources and assessing performance. The chlorovinyls segment consists of a highly
     integrated chain of products, which includes chlorine, caustic soda, ethylene dichloride, vinyl chloride monomer
     and vinyl resins, vinyl compounds and compound additives and plasticizers. Georgia Gulf's building products
     segment manufactures window and door profiles, mouldings, siding, pipe and pipe fittings and deck and rail
     products and markets vinyl-based building and home improvement products under the Royal Building Products
     and Exterior Portfolio brand names. The aromatics segment consists of cumene and the co-products phenol and
     acetone.

          For the year ended December 31, 2011 and the six months ended June 30, 2012, Georgia Gulf had
     $3,222.9 million and $1 ,727.6 million in net sales, respectively.


     Georgia Gulf's Business After the Transactions
           The combination of the PPG Chlor-alkali and Derivatives Business with Georgia Gulfs existing business is
     intended to make Georgia Gulf an integrated leader across the chlorovinyls chain. Based on industry data from
     IHS Chemical (formerly known as Chemicals Market Associates Incorporated), Georgia Gulf also anticipates
     that the Transactions will create: (1) the third largest chlorine producer in North America; (2) the second largest
     vinyl chloride monomer ("VCM'') producer in North America; (3) the fourth largest polyvinyl chloride ("PVC'')
     producer in North America; and (4) one of the lowest-cost chlor-alkali producers in the world due to Georgia
     Gulf's access to low-cost North American natural gas, with approximately 70% integration to natural gas fired
     cogeneration. Georgia Gulf expects the Transactions to increase its total annual revenues to approximately
     $5 billion, as compared to net sales of approximately $3.3 billion for the twelve months ended June 30, 2012.

          Georgia Gulf believes that the Transactions suppo11 the following key elements of its strategy:
          •    Increased integration and diversification of Georgia Gulf's product portfolio. A key element of
               Georgia Gulf's strategy has been to increase its level of integration in chlorovinyls. Georgia Gulf
               expects the Transactions to significantly increase its chlorine and caustic production flexibility and
               capacity. As a result, Georgia Gulf expects the Transactions to result in a more integrated business that
               will improve its operating rates throughout the cycle. Georgia Gulf expects that it will be able to satisfy
               all of its internal chlo1ine-based product requirements with a reduced potential for negative impacts
               from any planned or unplanned production outages due to the operational flexibility provided by
               production at multiple facilities, and that it will be able to fmiher diversify into chlorinated solvents
               and add a number of chlo1i ne-based products to its portfolio. This increased integration in chlorovinyls
               should strengthen Georgia Gulf's position in chlo1ine based-products, including allowing it to increase
               revenues from sales of a more diversified line of products.
               Focus on organic growth in domestic and export markets. Georgia Gulf expects that increased chlorine
               production capacity will create new opportunities for organic growth that were not available to it as a
               standalone company. Histo1ically, Georgia Gulf has been limited in its ability to organically grow its
               VCM and PVC businesses due to a lack of chlo1i ne production capacity. Georgia Gulf believes that the
               increased chlorine production capacity arising from the acquisition of the PPG Chlor-alkali and

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               Derivatives Business will enable it to increase its VCM and PVC production capacity and related sales
               to domestic and expo11 markets in the future. Georgia Gulf believes it will be well-positioned to
               capitalize on these increased opportunities, pmiicularly due to the cost advantaged No1ih Ame1ican
               nattu-al gas position and the proximity of Georgia Gulf's facilities to lm·ge Gulf Coast po11s. As a result,
               Georgia Gulf anticipates that significantly greater caustic production capacity will lead to increased
               sales of caustic soda.

           Prior to consummation of the Transactions, certain functions (such as purchasing, information systems.
     sales, logistics and distribution) for the PPG Chlor-alkali and De1ivatives Business have generally been
     performed under PPG's centralized systems and, in some cases, under contracts that are also used for PPG's
     other businesses which are not being assigned to Splitco as a part of the Transactions. To enable Georgia Gulf to
     manage an orderly transition in its operation of the PPG Chlor-alkali and Derivatives Business, Splitco and PPG
     will enter into the Transition Services Agreement. Ptu-suant to the Transition Services Agreement, PPG or its
     affiliates will generally provide Splitco with services pe1formed by PPG's centralized system and use
     commercially reasonable effo11s dming the transition period to provide the benefits of any contracts that cannot
     be assigned. See ''Other Agreements- Transition Services Agreement."

     Georgia Gulf's Liquidity and Capital Resources After the Transactions
           As of June 30, 2012, Georgia Gulf had total assets of $1,723.5 million and long-term debt of approximately
     $497.6 million, net of original issue discount, with none of the debt due currently. Following the consummation
     of the Transactions, Georgia Gulf's total assets and liabilities will increase significantly. As of June 30, 2012 on
     a proforma basis, Georgia Gulf would have had total assets of $5,048.4 million, current liabilities of
     approximately $529.l million and long-tenn debt of approximately $1,397.6 million. Georgia Gulf also expects
     its cash from operations to increase significantly as a result of the consummation of the Transactions and the
     integration of the PPG Chlor-alkali and De1ivatives Business.

          Georgia Gulf made capital expenditures of approximately $83.4 million for the twelve months ended
     June 30, 2012. Following the consummation of the Transactions, Georgia Gulf expects capital expenditures to be
     approximately $165 .0 million on a proforma basis for the year ending December 31 , 2013. This expected
     increase in capital expenditures is directly related to the expected increase in Georgia Gulf's asset base.
     Similarly, Georgia Gulf's cash from operations was approximately $244.9 million for the twelve months ended
     June 30, 2012. Following the consummation of the Transactions, Georgia Gulf expects cash from operations to
     be approximately $394.0 million for the year ending December 31 , 2013.

         Georgia Gulf believes that the combination of the operations, purchasing and logistics networks of the PPG
     Chlor-alkali and De1ivatives Business with Georgia Gulf's existing business will result in approximately
     $115 million in annualized cost synergies, expected to be realized within two years from the closing of the
     Transactions, although no asstu-ances of the timing or amount of synergies able to be captured, or the costs
     necessary to achieve those synergies, can be provided.

           Following the consummation of the Transactions, the approximately $225.0 million in borrowings under the
     Term Facility and approximately $675 .0 million in Debt Securities will be the debt obligations of Splitco, a
     wholly-owned subsidiary of Georgia Gulf, and these obligations will be guaranteed by Georgia Gulf and certain
     of its subsidiaries. In addition, Georgia Gulf expects to enter into the New ABL Revolver (as described in the
     section of this document entitled "Debt Financing- New ABL Revolver'') which is expected to, among other
     things, increase revolver availability to $500.0 million.

          In the Transactions, Georgia Gulf, through Splitco, will assume substantial tax-qualified and non tax-
     qualified pension obligations related to employees and retirees of the PPG Chlor-alkali and De1ivatives Business.
     In connection therewith, the legally required level of pension assets will be transferred from the tax-qualified
     PPG pension plans to the new pension plans to be established by Georgia Gulf in respect of those liabilities. In
     addition to the standard minimum funding requirements, the Pension Act requires companies with tax-qualified

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     defined benefit pension plans to make conllibutions to such plans as frequently as qum1erly in order to meet the
     "funding target" for such plans, as defi ned in the Pension Act. The failure to meet a funding target could result in
     the imposition of fines or penalties. Funding obligations with respect to tax-qualified pension plans change due
     to, among other things, the actual investment return on plan assets. Continued volatility in the capital markets
     may have a further negative impact on the funded status of tax-qualified pension plans, which may in tum
     increase attendant funding obligations. Given the amount of pension assets transfeITed from the tax-qualified
     PPG pension plans to the new pension plans to be established by Georgia Gulf, and subject to the foregoing
     variables, and the uncertainties associated therewith, it is possible that Georgia Gulf could be required to make
     substantial contributions in future years to the new pension plans. These contributions could restrict available
     cash for Georgia Gulf's operations, capital expenditures and other requirements, and may materially adversely
     affect its financial condition and liquidity. In addition, the nonqualified pension liabilities to be assumed Georgia
     Gulf are unfunded and no assets will be transferred by PPG to Georgia Gulf in respect of these liabilities. These
     obligations will require annual funding that could restrict cash available to Georgia Gulf for other purposes.

          Georgia Gulf anticipates that its primary sources of liquidity for working capital and operating activities,
     including any future acquisitions, will be cash provided by operations, and availability under the New ABL
     Revolver. Georgia Gulf expects these sources of liquidity will be sufficient to make required payments of interest
     on Georgia Gulf debt and fund working capital and capital expenditure requirements. Georgia Gulf expects that it
     will be able to comply with the financial covenants of the New ABL Revolver and the Term Facility and the
     covenants under the indentures for the 9 percent notes and the Debt Securities.

           For more information on the PPG Chlor-alkali and Derivatives Business's and Georgia Gulfs existing
     sources of liquidity, see the section of this document entitled "Management's Discussion and Analysis of
     Financial Condition and Results of Operations for the PPG Chlor-alkali and Derivatives Business'' and the
     section entitled "Management's Discussion and Analysis of Financial Condition and Results of Operations"
     included in Georgia Gulf's annual report on Form 10-K for the year ended December 31 , 2011 and quarterly
     report on Form 10-Q for the quarter ended June 30, 2012, each filed with the SEC and incorporated by reference
     into this document. See "Where You Can Find More Information; Incorporation by Reference.''


     Directors and Officers of Georgia Gulf Before and After the Transactions
          Board of Directors
          T he Merger Agreement provides that in connection with the Merger, Georgia Gulf will increase the size of
     its board of directors by three members, and that three individuals selected by PPG and approved by the
     Nominating and Governance Committee of the board of directors of Georgia Gulf will be appointed to fill the
     vacancies. In accordance with the Merger Agreement, these individuals will also be nominated for re-election to
     the board of directors of Georgia Gulf at Georgia Gulfs 2013 annual meeting of stockholders.

          Listed below is the biographical information for each person who is currently a member of the board of
     directors of Georgia Gulf.

          Paul D. Carrico, age 61, has been a director and has served as Georgia Gulf's President and Chief Executive
     Officer since February 2008. Prior thereto, he had served as Vice President, Chemicals and Vinyls of Georgia
     Gulf since October 2006, Vice President, Polymer Group of Georgia Gulf from May 2005 until October 2006
     and Business Manager, Resin Di vision of Georgia G ulf from 1999, when he joined Georgia Gulf, until May
     2005. Mr. Carrico earned a Masters degree in Engineering from the University of Louisville and a Masters
     degree in Management from Massachusetts Institute of Technology.

          T . Kevin DeNicola, age 58, has served as a director since September 2009. Mr. DeNicola served as Chief
     Financial Officer of Kior, Inc., a biofuels business, from November 2009 until Janum)' 2011 . Prior to that role, he
     was Senior Vice President and Chief Financial Officer at KBR, Inc., a leading global enginee1ing, constm ction
     and services company suppo11ing the energy, hydrocarbon, government services and civil infrastructure sectors

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     from June 2008 through September 2009. Prior to this role, he served in various positions, including Senior Vice
     President and Chief Financial Officer at Lyondell Chemical Company (''Lyondell") from May 2002 to December
     2007. Subsequent to Mr. DeNicola's departure from Lyondell after its acquisition by Basell AF S.C.A., but
     within the two-year period thereafter, Lyondell Basell filed a petition for reorganization under the Federal
     bankruptcy laws. Mr. DeNicola earned a Masters degree in Chemical Enginee1ing from the University of
     Virginia and a Masters of Business Administration from Rice University. Mr. DeNicola is a director of
     Come1ica, Incorporated.

          Patrick J. Fleming, age 68, has served as a director since February 2000 and served as non-executive
     Chairman of the board of directors from February 2008 until January 2010. In addition, Mr. Fleming served as
     chairman of the compensation committee from May 2004 until Febrnary 2008. Mr. Fleming has been a self-
     employed energy consultant since retiring from Texaco Inc. in January 2000. In 1998 and 1999, he served as the
     Managing Director and Chief Executive Officer of Calortex Inc., a joint venture between Texaco, Calor Gas and
     Nuon International, and resided in the United Kingdom. From 1994 to December 1997, Mr. Fleming was
     President of Texaco Natural Gas, Inc. Mr. Fleming earned a Masters of Business Administration from Xavier
     University and a Bachelor of Arts degree in Economics from Muskingum College.

          Robert M. Gervis, age 52, has served as a director since September 2009. He founded Epilogue, LLC, a
     private advisory firm, and has served as the Managing Member and President since April 2009. Prior to this role,
     he served in various senior executive positions at Fidelity Investments from 1994 to March 2009; and before
     Fidelity, Mr. Gervis was a partner in the international law firm of Weil, Gotshal & Manges. Mr. Gervis earned a
     Juris Doctorate from The George Washington University and a Bachelor's degree in Industrial Engineering from
     Lehigh University. Mr. Gervis is also a CFA charterholder. Mr. Gervis is a director of Aspen Aerogels, Inc., a
     manufacturer of aerogel insulation products sold to the oil and gas, cryogenic transportation, building and
     construction, military and aerospace industiies.

          Stephen E. Macadam, age 52, has served as a director since September 2009. He has been Chief Executive
     Officer and a director of Enpro Industries, Inc., a leading provider of engineered industiial products for
     processing, general manufacturing and other industries worldwide, since April 2008. P1ior to this role, he served
     as Chief Executive Officer of BlueLinx Holdings, a leading distiibutor of building products in the United States,
     from October 2005 until February 2008, and as Chief Executive Officer of Consolidated Container Company
     from August 2001 to October 2005 . Prior to August 2001, Mr. Macadam served as Executive Vice President,
     Pulp and Paperboard, of Georgia-Pacific Corporation beginning in 1998. Mr. Macadam earned a Masters degree
     in Finance from Boston College and a Masters of Business Administration from Harvard Business School.

          Mark L. Noetzel, age 55, has served as a director since September 2009 and as the non-executive Chaimian
     of the Board since January 2010. He was President and CEO of Cilion, Inc., a venture capital backed renewable
     fuel company, from August 2007 to May 2009. Prior to this role, he had served in several senior positions at BP
     pk, including Group Vice President, Global Retail, from 2003 until 2007, Group Vice President, B2B Fuels and
     New Markets, during 2001 and 2002 and Group Vice President, Chemicals, from 1998 until 2001. Prior to those
     senior management roles with BP pk, Mr. Noetzel served in other management and non-management roles with
     Amoco from 1981 until BP plc acquired Amoco in 1998. Mr. Noetzel earned a Bachelor's degree from Yale
     University and a Masters of Business Administration from the Wharton School at the University of Pennsylvania.
     Mr. Noetzel is chairman of the board of directors of Aspen Aerogels, Inc., a manufacturer of aerogel insulation
     products sold to the oil and gas, cryogenic transportation, building and construction, military and aerospace
     industries. In addition, he serves on the board of Siluria Technologies, Inc., which has developed a proprietary
     process technology which directly converts natural gas to ethylene.

          David N. Weinstein, age 53, has served as a director since September 2009. He has been a business consultant
     specializing in reorganization activities since September 2008. Prior thereto, Mr. Weinstein served as Managing
     Director and Group Head, Debt Capital Markets-High Yield and Leverage Finance at Calyon Securities, a global
     provider of conunercial and investment banking products and services for corporations and institutional clients, from
     March 2007 to August 2008. Before assmning that role, Mr. Weinstein was a consultant specializing in business

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     reorganization and capital market activities from September 2004 to February 2007. Piior thereto, Mr. Weinstein was a
     Managing Director and Head of High Yield Capital Markets at BNP Paribas, BankBoston Securities and Chase
     Secmities, Inc., and head of the capital markets group in the High Yield Department at Lehman Brothers.
     Mr. Weinstein earned a Bachelor's degree from Brandeis University and a Jmis Doctorate from Colmnbia University
     School of Law. Mr. Weinstein served as the Chaiiman of the board of directors of Pioneer Companies, Inc. from
     January 2002 to December 2005, the Chainnan of the board of directors of York Research Corp. from November 2002
     to J m1e 2004, and as a director oflnterst.ate Bake1ies Corporation from August 2006 to January 2007. Mr. Weinstein is
     a director of Granite Broadcasting Corporation, Horizon Lines, Inc . and De.epOcean Group Holding AS.

          Listed below is the biographical information for the individual who has been identified to Georgia Gulf by
     PPG as an individual to be selected by PPG for appointment to the board of directors of Georgia Gulf upon the
     closing of the Transactions. Prior to the closing of the Transactions, and in accordance with the terms of the
     Merger Agreement, PPG will select two additional individuals to be appointed to Georgia Gulf's board of
     directors.

          Michael H. McGaITy, age 54, is an executive vice president of PPG with responsibility for the PPG Chlor-
     alkali and Derivatives Business through the consmnmation of the Merger, as well as PPG's global aerospace
     products and automotive refinish businesses. Mr. McGarry also has responsibility for PPG's Asia Pacific region
     and its global infonnation technology and environment.al, health and safety functions. He held the position of
     Senior Vice President, Commodity Chemicals, of PPG from 2008 until August 2012, and of Vice President,
     Coatings, Europe and Managing Director, PPG Europe from July 2006 until June 2008. P1ior to that, he served as
     Vice President, Chlor-Alkali and De1ivatives of PPG from March 2004 through June 2006. Mr. McGan)' is
     remainillg ill the employ of PPG after the Merger. He is a graduate of The University of Texas at Austin with a
     Bachelor's Degree in Mechanical Engineering.

          Executive Officers
          The executive officers of Georgia Gulf immediately p1ior to the consummation of the Merger are expected
     to be the executive officers of Georgia Gulf immediately following the consummation of the Merger. Listed
     below is the biographical information for each person who is cm-rently an executive officer of Georgia Gulf.

          Joseph C. Breunig, 50, has served as Executive Vice President, Chemicals, since August 2010. Before then
     he was employed by BASF Corporation where since 2005, he held the position of Executive Vice President and
     President of Market and Busilless Development for North America.

          Paul D. Carrico, 61, has been a director and has served as Georgia Gulf's President and Chief Executive
     Officer since February, 2008. Before then, he had served as Vice President, Chemicals and Vinyls since October
     2006, Vice President, Polymer Group from May 2005 until October 2006, and Business Manager, Resill Division
     from 1999, when he joined Georgia Gulf, until May 2005.

         T imothy Mann, Jr., 46, has served as Executive Vice President, General Counsel and Secretary since July
     2012. Before that time, he was a partner at the international law firm of Jones Day, where his practice focused
     primarily on public and private merger and acquisition activities and corporate governance, including executive
     compensation and general corporate counselillg.

          Mark J. Orcutt, 56, has served as Executive Vice President, Building Products since December 2008. Before
     then, he was employed by PPG Industiies, Inc., most recently as Vice President Pe1formance Glazing since 2003.

          Gregory C. Thompson, 56, has served as Chief Fillancial Officer slice February 2008. Before then, he
     served as Senior Vice President and Chief Fillancial Officer of Invacare Corporation, a medical equipment
     manufacturer, slice 2002.

         James L. Worrell, 57, has served as Vice President, Hmnan Resources, since September 2006. Before then,
     Mr. Worrell served as the Director of Human ResOLU'Ces since 1993, prior to which he was a Manager of Human
     Resources since Georgia Gulf's inception.

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                                                INFORMATION ON PPG

     PPG, incorporated in Pennsylvania in 1883, is a diversified manufacturer comprised of six reportable segments:
     Performance Coatings, Industrial Coatings, Architectural Coatings- EMEA (Europe, Middle East and Africa),
     Optical and Specialty Materials, Commodity Chemicals, and Glass.

     PPG's net sales in 2011 totaled $14,885 million and 2011 net income was $1 ,095 million. PPG's corporate
     headquarters is located in Pittsburgh, Pennsylvania. PPG has manufacturing facilities, sales offices, research and
     development centers and distribution centers located throughout the world. At December 31, 2011 PPG operated
     128 manufacturing facilities in 45 countries. PPG's internet address is http://www.ppg.com. The information on
     PPG's website is not incorporated by reference into or a part of this document.


     Performance Coatings, Industrial Coatings and Architectural Coatings-EMEA
     PPG is a major global supplier of protective and decorative coatings. The Performance Coatings, Industrial
     Coatings and Architectural Coatings- EMEA reportable segments supply protective and decorative finishes for
     customers in a wide array of end use markets, including industrial equipment, appliances and packaging; factory-
     finished aluminum extrusions and steel and aluminum coils; marine and aircraft equipment; automotive original
     equipment; and other industrial and consumer products. In addition to supplying finishes to the automotive
     original equipment market (" OEM"), PPG supplies refinishes to the automotive aftermarket. PPG also serves
     commercial and residential new build and maintenance markets by supplying coatings to painting and
     maintenance contractors and directly to consmners for decoration and maintenance.

     Tue Performance Coatings reportable segment is comprised of the refinish, aerospace, protective and marine and
     architectural- Americas and Asia Pacific coatings businesses.

     Tue refinish coatings business supplies coatings products for automotive and commercial transpo1i/fleet repair
     and refurbishing, light industrial coatings for a wide array of markets and specialty coatings for signs. These
     products are sold p1imarily through independent distiibutors.

     Tue aerospace coatings business supplies sealants, coatings, technical cleaners and transparencies for
     commercial, military, regional jet and general aviation aircraft and transparent armor for military land vehicles.
     PPG supplies products to aircraft manufacturers and maintenance and aftermarket customers around the world
     both on a direct basis and through a company-owned distribution net\vork.

     Tue protective and marine coatings business supplies coatings and finishes for the protection of metals and
     structures to metal fabricators, heavy duty maintenance contractors and manufacturers of ships, bridges, rail cars
     and shipping containers. These products are sold through the company-owned architectural coatings stores,
     independent distributors and directly to customers.

     Tue architectural coatings- Ame1icas and Asia Pacific business p1imarily produces coatings used by painting
     and maintenance contractors and by consumers for decoration and maintenance of residential and commercial
     building structures. These coatings are sold under a number of brands. Architectural coatings- Ame1icas and
     Asia Pacific products are sold through a combination of company-owned stores, home centers, paint dealers, and
     independent distributors and directly to customers. The architectural coatings- Ame1icas and Asia Pacific
     business operates about 400 company-owned stores in No1th America and about 40 company-owned stores in
     Australia.

     Tue Industrial Coatings reportable segment is comprised of the automotive OEM, industrial and packaging
     coatings businesses. Industrial, automotive OEM and packaging coatings are formulated specifically for the
     customers' needs and application methods.

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     The industrial and automotive OEM coatings businesses sell directly to a vaiiety of manufactming companies.
     PPG also supplies adhesives and sealants for the automotive industry and metal pretreatments and related
     chemicals for industrial and automotive applications. PPG has established alliances with Kansai Paint, Helios
     Group and Asian Paints Ltd. to serve certain automotive original equipment manufacturers in various regions of
     the world.

     The packaging coatings business supplies coatings and inks to the manufacturers of aerosol, food and beverage
     containers.

     The Architectural Coatings- EMEA business supplies a variety of coatings under a number of brands and
     purchased sundries to painting contractors and consumers in Europe, the Middle East and Africa. Architectural
     Coatings- EMEA products are sold through a combination of about 650 company-owned stores, home centers,
     paint dealers, and independent distributors and directly to customers.


     Optical and Specialty Materials
     PPG's Optical and Specialty Materials reportable segment is comprised of the optical products and silicas
     businesses. The primary Optical and Specialty Materials products are Transitions® lenses, optical lens materials
     and high performance sunlenses; amorphous precipitated silicas for tire, battery separator and other end-use
     markets; and Teslin® substrate used in such applications as radio frequency identification (RFID) tags and labels,
     e-passports, drivers' licenses and identification cards. Transitions® lenses are processed and distributed by PPG's
     51 %-owned joint venture with Essilor International.


     Commodity Chemicals
     As discussed fmiher under ''Infonnation on the PPG Chlor-alkali and Derivatives Business", PPG is a producer
     and supplier of chlor-alkali and de1ivative products, including chlorine, caustic soda, vinyl chlo1ide monomer,
     chlo1inated solvents, calcium hypochlo1ite, ethylene dichloride, hydrochlo1ic acid, ethyl chloride, hydrogen and
     phosgene derivatives. Substantially all assets and liabilities of the Commodity Chemicals segment will be
     transferred to Splitco p1ior to the Distribution in connection with the Separation.


     Glass
     The Glass repo11able business segment is comp1ised of the flat glass and fiber glass businesses. PPG is a
     producer of flat glass in No1ih Ame1ica and a global producer of continuous-strand fiber glass. PPG's major
     markets are commercial and residential construction and the wind energy, energy infrastructure, transportation
     and electronics industries. Most glass products are sold directly to manufacturing companies. PPG manufactures
     flat glass by the float process and fiber glass by the continuous-strand process.

     For a more detailed description of PPG's business, see PPG's Annual Report on Form 10-K for the year ended
     December 31 , 2011 , which has been filed with the SEC and is incorporated by reference into this document. See
     "Where You Can Find More Information; Incorporation by Reference."




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                INFORMATION ON THE PPG CHLOR-ALKALI AND DERIVATIVES BUSINESS

     General
     Tue PPG Chlor-alkali and Derivatives Business is a producer and supplier of basic chemicals. The PPG
     Chlor-alkali and Derivatives Business produces chlor-alkali and derivative products, including chlorine, caustic
     soda, VCM, chlorinated solvents, calcium hypochlorite, ethylene dichloride, HCl and phosgene derivatives. Most
     of these products are sold directly to manufacturing companies in the chemical processing, plastics, paper,
     minerals, metals, agiicultural products and water treatment indusuies.


     Products
     Chlor-alkali Products. Chlor-alkali products include caustic soda, chlo1ine, hydrogen and muriatic acid. Caustic
     soda is an essential ingredient in a vmiety of industrial applications and is used in the manufacturing of pulp and
     paper, soap and detergent, textiles, aluminum and petrochemical refining. Chlorine is well known for its
     disinfecting ability and is an essential reagent in the chemical industry and serves as an impo11ant element in
     thousands of products, including PVC, VCM, titanium dioxide, epoxy resins, bleach and pool chemicals.
     Approximately 40 percent of the chlorine production of the PPG Chlor-alkali and Derivatives Business is used in
     the manufacture of PVC. PVC is a plastic used in applications such as vinyl siding, plumbing and automotive
     parts. Mmiatic acid (also called hydrochloric acid) is used in chemicals and phm1naceutical production, food
     processing, steel pickling and natural gas and oil production.

     Chlorinated Ethylenes. Chlo1inated ethylene products include ethyl chlo1ide, ethylene dichlo1ide,
     perchloroethylene, llichloroethylene, ni-ethane®, VersaTRANS® and vinyl chlo1ide monomer. Ethyl chloride
     serves as a base or intermediate in vmious coatings, fi lms, plastics and gasoline additives. Ethylene dichlo1ide is
     primarily used as an intennediate for making vinyl chlo1ide. Trichloroethylene is a chlorinated solvent that is an
     excellent degreaser and an essential component for refiigerants. Perchloroethylene is a chlo1i nated solvent that is
     used extensively by dry cleaning plants. Other applications for perchloroethylene include vapor degi·easing, and
     use as a chemical intennediate and processing solvent. VCM is polyme1ized to PVC. The PPG Chlor-alkali and
     Derivatives Business's specialty solvents are also used for high perfonnance polymers, elecn·onics cleaning,
     precision cleaning, and certain metal cleaning applications.

     Calcium Hypochlorite. Calcium hypochlorite is an important general purpose sanitizer that is used in a range of
     water treatment applications, including swimming pools, drinking water, wastewater, safety and irrigation. The
     PPG Chlor-alkali and Derivatives Business's products include the Accu-Tab® chlorination system, which
     combines patented erosion feeder chlo1inator technology with proprietary calcium hypochlo1ite tablets, offe1ing a
     chlo1i nation solution for indusnial and swimming pool applications.

     Specialty Phosgene Derivatives. The PPG Chlor-al.kali and Derivatives Business's phosgene derivatives are
     specialty chemicals that are used in the production of agricultural chemicals, organic chemicals, pharmaceuticals
     and plastics.


     Manufacturing and Facilities
     Chlorine and caustic soda are produced by subjecting a brine (sodium chloride) solution to an electric current,
     creating a chemical reaction that results in chlorine gas, hydrogen gas and caustic soda (sodium hydroxide).
     These co-prod ucts are produced simultaneously, and in a fixed ratio of 1.0 ton of chlorine to 1.1 tons of caustic
     soda and 0.03 tons of hydrogen. A portion of these products are used internally in the PPG Chlor-al.kali and
     Derivatives Business to produce the PPG Chlor-alkali and Derivatives Business's other chlor-alkali products.
     These other products, along with the chlo1i nated ethylenes, calcimn hypochlorite and specialty phosgene
     derivative products, are sold to third parties, primarily manu:factming companies in the chemical processing,
     plastics (including PVC), paper, minerals, metals and water treatment industries.

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     With sales, marketing, customer service, logistics, production planning, finance and research and development
     based in Monroeville, Pennsylvania, the PPG Chlor-alkali and Derivatives Business owns and operates plants in
     Lake Charles, Louisiana; Natrium, West Virginia; La Porte, Texas; Longview, Washington; Beauharnois,
     Quebec; and Kaohsiung, Taiwan. PPG considers these facilities to be suitable and adequate for the purposes for
     which they are intended and have sufficient capacity to conduct business. Except as noted below, each of these
     facilities will be transferred to Splitco p1ior to the Disnibution.

     The Monroeville facility houses the PPG Chlor-alkali and Derivatives Business's management, customer service
     and research and development operations. This facility also houses ce11ain other PPG operations that will not be
     transferred to Splitco p1ior to the Distribution. As such, PPG and Splitco will enter into the Monroeville Shared
     Facilities Agreement that will govern the sharing of this facility after the closing of the Transactions for a
     minimum of one year (see ·'Other Agreements- Mom·oeville Shared Facilities Agreement" for a more detailed
     desCiiption of this agreement).

     The Lake Charles facility produces various forms of caustic soda, chlorine, hydrogen, muriatic acid, ethyl
     chloride, ethylene dichloride, perchloroethylene, trichloroethylene, tri-ethane® solvent, and VersaTRANS®
     solvent. This facility also produces VCM through PHH Monomers, LLC (" PHH"), a joint venture with Georgia
     Gulf. In connection with the Merger, PPG' s interest in this joint venture will be transferred to Splitco and,
     following the completion of the Transactions, PHH will be wholly-owned by Georgia Gulf. Electricity and steam
     for the Lake Charles facility are produced by both PPG-owned power plant assets as well as toll produced for the
     PPG Chlor-alkali and Derivatives Business by RS Cogen, L.L.C. ("RS Cogen''), a joint venture in which PPG
     owns a 50 percent interest. PPG's 50 percent interest in RS Cogen will be transferred to Splitco prior to the
     Distribution in connection with the Separation and, following the completion of the Transactions, will be owned
     by Georgia Gulf. RS Cogen operates a process steam, natural gas-fired cogeneration facility adjacent to the PPG
     Chlor-alkali and De1ivatives Business's Lake Charles facility. The PPG Chlor-alkali and Derivatives Business 's
     future commitment to pm·chase elecnicity and steam from RS Cogen approximates $23 million per year, subject
     to contractually defined inflation adjustments, for the next 11 years. The PPG Chlor-alkali and Derivatives
     Business' pm·chases of electiicity and steam from RS Cogen for the years ended December 31, 2011, 20 l 0 and
     2009 were approximately $23 million in each year. PPG will continue to manufacture silicas at the Lake Charles
     Facility as part of its optical and specialty materials business. PPG and Splitco will enter into a Shared Facilities,
     Services and Supply Agreement that will govern the sharing of the Lake Charles facility between PPG and
     Splitco after the closing of the Transactions (see " Other Agreements- Shared Facilities, Services and Supply
     Agreement" for a more detailed description of this agreement).

     The Natrium facility produces calcium hypochlorite, various forms of caustic soda, chlorine, hydrogen and
     muriatic acid.

     The LaPorte facility produces phosgene derivatives, muriatic acid and other specialty chemicals.

     The Longview facility produces caustic soda, chlo1ine, hydrogen and mmiatic acid.

     The Beauharnois facility produces sodium hypochlorite, caustic soda, chlorine and muriatic acid.

     The Kaohsiung facility is operated by Taiwan Chlorine Industries, Ltd. ("TCI"), a joint venture be tween PPG and
     China Petrochemical Development Corporation, in which PPG owns a 60 percent interest. This facility produces
     sodium hypochlorite, caustic soda, chlorine, hydrogen and muriatic acid. The operation of a facility outside of the
     United States exposes PPG to a number of risks not present in domestic operations, including, but not limited to,
     limitations on the repatriation of profits, if any, less developed or protective laws relating to intellectual property
     and manu:factming, risks relating to governmental intervention, potential adverse actions directed towards
     non-citizen owners, and others. For more information about the a·ansfer of PPG's interest in TCI to Splitco, see
     "The Separation Agreement- Transfer of the TCI Interests".

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     Sales and Distribution
     The PPG Chlor-alkali and Derivatives Business markets all of its products p1immily through a direct sales force .
     The PPG Chlor-alkali and Derivatives Business's p1imary customers are major chemical companies, industrial
     end-users, and distiibutors. In 2011, the PPG Chlor-alkali and De1ivatives Business's top ten customers
     accounted for 36 percent of its sales. The majo1ity of products are shipped from a production facility directly to
     the customer via ti11ck, rail, barge and/or ship. The remaining products m·e shipped from production facilities to
     third party chemical terminals and wm·ehouses until being sold to customers. Histo1ically, approximately
     80 percent of the PPG Chlor-alkali and Derivatives Business's sales are to customers located in North America.


     Raw Materials and Energy
     The PPG Chlor-alkali and Derivatives Business's primary raw materials are brine and ethylene. Natural gas is
     also a significant production input cost for the PPG Chlor-alkali and Derivatives Business's products. The PPG
     Chlor-alkali and Derivatives Business purchases 40-to-50 trillion BTUs of natural gas each year. Inclusive of the
     impact of PPG's natural gas hedging activities, PPG's 2011 natural gas unit cost decreased 15 percent in the U.S.
     compared to 2010, reflecting higher natural gas supply stemming from the success of shale gas drilling. During
     2011, the PPG Chlor-alkali and Derivatives Business's costs for ethylene increased substantially compared to
     2010, driven by a combination of tight supplies due to production outages and increased global demand,
     particularly in U.S. exports of ethylene derivative products. The 2011 ethylene cost increase was partially offset
     by the lower cost of natural gas. Most of the raw materials and energy used in production are purchased from
     outside sources, and the PPG Chlor-alkali and Derivatives Business has made, and plans to continue to make,
     supply m-rangements to meet the planned operating requirements for the future. Supply of c1itical raw mate1ials
     and energy is managed by establishing conti·acts with multiple sources when possible.


     Resea rch and Development
     The PPG Chlor-alkali and Derivatives Business spends on average $2 million annually in research and
     development, representing less than 1% of sales. Current research and development is focused on electi·olytic cell
     technology, catalyst optimization for chlorinated derivatives, energy reduction, process optimization and new
     product development and Tephram® licensing suppo11.

     The development of Tephram® non-asbestos diaphragms has been the most significant contribution of the PPG
     Chlor-alkali and De1ivatives Business resem·ch and development. This product has enabled significant cost
     savings for the business, eliminated asbestos usage in the plants and provided licensing and sales
     income. Calcium hypochlorite research is focused on new product development, new applications, and product
     modifications. The most significant development has been the proprietary Accu-Tab® system that combines
     patented erosion feeder chlorinator technology with proprietary calcium hypochlorite tablets.


     Seasonality
     The PPG Chlor-alkali and Derivatives Business's sales are affected by the cyclicality of the economy and the
     seasonality of the construction industry. The chlor-alkali industry is cyclical, both as a result of changes in
     demand for each of the co-products and as a result of changes in manufacturing capacity. Because chlorine and
     caustic soda are produced in a fixed ratio, the supply of one product can be constrained both by manufacturing
     capacity and/or by the ability to sell the co-product. Prices for both products respond rapidly to changes in supply
     and demand. The PPG Chlor-alkali and Derivatives Business experiences its highest level of activity during the
     spring and summer months. Thus, the PPG Chlor-alkali and Derivatives Business's second and third quarter
     operating results m·e typically the strongest. The PPG Chlor-alkali and De1ivatives Business's first and fomih
     qum1er operating results usually reflect a decrease in construction activity and water treatment due mainly to
     weather patterns in those pe1iods.

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     Competition
     Tue PPG Chlor-alkali and Derivatives Business currently competes primarily with the following other major
     domestic producers of chlor-alkali products: The Dow Chemical Company, Formosa Plastics Corporation,
     U.S.A., Occidental Chemical Corporation, Olin Corporation, Shintech, Inc. and Westlake Chemical Corporation.
     Tue price of imported versus domestically produced caustic soda can also impact the supply of product available
     in the marketplace. Price, product availability, product quality, distribution capabilities, and customer service are
     the key competitive factors.

     Regulation and Environmental Matters
     Tue PPG Chlor-alkali and Derivatives Business is subject to vaiious federal, state, local and foreign laws relating
     to the protection of the environment, hmnan health and safety, and the use and shipment of chemicals.

     In March 2011, the United States Environmental Protection Agency (''USEPA") proposed amendments to the
     national emission standards for hazardous air pollutants for mercury emissions from mercm)' cell chlor-alkali
     plants known as the Mercury MACT regulations. USEPA's proposed amendments would require improvements
     in work practices to reduce fugitive emissions and would result in reduced levels of mercury emissions while still
     allowing the mercm)' cell facilities to continue to operate. The PPG Chlor-alkali and De1ivatives Business
     currently operates a 200 ton-per-day mercm)' cell production m1it at its Natiium, West Virginia facility, which
     constitutes approximately 4% of the PPG Chlor-alkali and De1ivatives Business's total chlor-alkali production
     capacity. No assurances as to the timing or content of the final rule, or its ultimate impact on the PPG Chlor-
     alkali and Derivatives Business, can be provided.

     Separately, the PPG Chlor-alkali and Derivatives Business discharges its wastewater from its Nanium, West
     Virginia facility into the Ohio River pursuant to a National Pollution Discharge Elimination System (''NPDES")
     permit issued by the West Virginia Depaitment of Environmental Protection (''WVDEP"). Because it discharges
     into the Ohio River, PPG's NPDES permit terms must confonn to water quality standards in the Ohio River set
     by the Ohio River Valley Water Sanitation Commission ("ORSANCO"). ORSANCO has adopted an ambient
     water column standard criterion for mercm)' in the Ohio River and in 2009, adopted new standards that prohibit,
     as of October 16, 2013, the use of a "mixing zone" as used by, among others, the PPG Chlor-alkali and
     Derivatives Business to meet the standards for ce1tain bioaccumulative chemicals, including mercm)'. In
     September 2011, PPG submitted a request, on behalf of the PPG Chlor-alkali and Derivatives Business, for a
     variance from the mixing zone prohibition in ORSANCO's Pollution Conti·ol Standards. PPG, on behalf of the
     PPG Chlor-alkali and De1ivatives Business, has requested continued use of a mixing zone for mercury through
     the life of the current permit, which is valid through January 2014 and for any subsequent permits. ORSANCO
     issued a preliminary decision which approved PPG's request and ORSANCO accepted public comments on its
     preliminary decision through July 31, 2012. No assurances as to the timing or content of the final decision can be
     provided, and any decision may require the PPG Chlor-alkali and Derivatives Business to incur material costs to
     remain in compliance with the regulation, or could materially impair the ability of the PPG Chlor-alkali and
     Derivatives Business to operate its Natrium, West Virginia facility .

     In March 2011 , the US EPA issued Clean Air Act emissions standards for large and small boilers and incinerators
     that burn solid waste known as the Boiler MACT regulations. These regulations are aimed at controlling
     emissions of toxic air contaminants. As a result of numerous petitions from both industry and environmental
     groups, the USEPA was required to reconsider its March 2011 final rule. On December 23, 2011, the USEPA's
     Proposed Rule reconsidering the Boiler MACT regulations was published in the Federal Register. The USEPA
     has indicated its intent to issue the final regulations in 2012 requiring that covered facilities achieve compliance
     within three years. Tue 115 megawatt coal fired power plant at the PPG Chlor-alkali and Derivatives Business's
     Natrium, West Virginia facility would be the source most significantly impacted by the Boiler MACT
     regulations. The PPG Chlor-alkali and De1ivatives Business continues to evaluate alternative paths of either
     reu·ofitting the Natrium boilers to burn nattu-al gas or to engineer and install pollution conti·ol equipment. Tue
     estimated potential cost for these capital improvements at the Natiium facility could be in the $15-$30 million

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     range. No assurances as to the timing or content of the final rule, or its ultimate impact on the PPG Chlor-alkali
     and Derivatives Business, can be provided.

     In Lake Charles, Louisiana, USEPA completed an investigation of contamination levels in the Calcasieu River
     Estuary and issued a Final Remedial Investigation Report in September 2003, which incorporates the Human
     Health and Ecological Risk Assessments, indicating that elevated levels of 1isk exist in the estuary. The PPG
     Chlor-alkali and De1ivatives Business and other potentially responsible parties completed a feasibility study
     under the authority of the Louisiana Department of Environmental Quality (''LDEQ"). The PPG Chlor-alkali and
     Derivatives Business's exposure with respect to the Calcasieu River Estuary is focused on the lower few miles of
     Bayou d'Inde, a small tributary to the Calcasieu River Estuary near the Lake Charles facility, and about 150 to
     200 acres of adjacent marshes. The PPG Chlor-alkali and Derivatives Business and three other potentially
     responsible parties submitted a draft remediation feasibility study report to the LDEQ. The proposed remedial
     alternatives include sediment dredging, sediment capping, and biomonitoring of fish and shellfish. Principal
     contaminants of concern which may require remediation include various metals, dioxins and furans, and
     polycblorinated biphenyls. In March 2011 , LDEQ issued a final decision document for the Bayou d'Inde area.
     The decision document includes LDEQ's selection ofremedial alternatives for the Bayou d'Inde area and is in
     accordance with those recommended in the feasibility study.

     In June 2011, the agency proposed entering into a new Cooperative Agreement with the four companies to
     implement the remedy for Bayou d'Inde based on the final decision document, and transmitted a draft document
     for the companies' consideration. At the same time, the companies initiated discussions among themselves on
     allocation of costs associated with remedy implementation. In October 2011, one of the three other potentially
     responsible paities that had paiticipated in funding the feasibility study withdrew from further discussions with
     LDEQ regarding implementation of the remedy. The withdrawal of this paity is not expected to have an effect on
     the cost to the PPG Chlor-alkali and De1ivatives Business, to complete this remedy implementation. The PPG
     Chlor-alkali and De1ivatives Business and the two remaining parties have continued to discuss the proposed
     Cooperative Agreement with the LDEQ. Allocation discussions are continuing among the remaining potentially
     responsible paities.

     Multiple future events, such as remedy design and remedy implementation involving agency action or approvals
     related to the Calcasieu River Estuary will be required and considerable unce1tainty exists regarding the timing of
     these future events. Final resolution of these events is expected to occur over an extended pe1iod of time.
     However, based on cm-rently available information, design approval could occur in 2012. The remedy
     implementation could occur during 2013 to 2015, with some pe1iod of long-tenn monito1ing for remedy
     effectiveness to follow. In addition, the PPG Chlor-alkali and De1ivatives Business's obligation related to any
     potential remediation will be dependent in part upon the final allocation of responsibility among the potentially
     responsible parties. Negotiations with respect to this allocation are ongoing, but the outcome is uncertain. No
     assurances as to the ultimate costs or timing of any payments required in connection with these alleged violations
     can be provided.

     As of June 30, 2012, the PPG Chlor-alkali and Derivatives Business had reserves for environmental
     contingencies totaling $33 million of which $5 million was classified as a current liability. The reserve at
     June 30, 2012 included $32 million for environmental contingencies associated with the Calcasieu River Estuary
     and two operating plant site locations of the PPG Cblor-alkali and Derivatives Business and $1 million for other
     enviromnental contingencies. Pre-tax charges against income for environmental remediation costs for the six
     months ended June 30, 2012 totaled $1 million. Cash outlays related to such environmental remediation
     aggregated $3 million in the six months ended June 30, 2012. Management expects cash outlays for
     enviromnental remediation to range from $9 million to $20 million per year through 2014 and $3 million to
     $5 million per year through 2016. The expected increase in spending through 2014 is primarily attributable to
     remediation of the Calcasieu River Estuary. Capital expenditures for environmental control projects were
     $2 million, $1 million and $1 million in 2011, 2010 and 2009, respectively, and are expected to total $1 million
     in 2012 and $9 million in 2013. The planned increase in capital expenditures in 2013 primarily relates to

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     spending that may be necessary to comply with the yet to be released final Boiler MACT regulations. No
     assurances can be provided as to the extent of capital expenditures, or the timing thereof, required for the PPG
     Chlor-alkali and De1ivatives Business to comply with any final Boiler MACT regulations.

     For more infonnation about the PPG Chlor-al.kali and Derivatives Business's environmental matters, see Note 16,
     "Commitments and Contingent Liabilities," to the audited combined financial statements of the PPG Chlor-alkali
     and Derivatives Business as of and for the year ended December 31, 2011, as updated in Note 16 to the unaudited
     condensed combined financial statements of the PPG Chlor-al.kali and Derivatives Business as of and for the six
     months ended June 30, 2012, each appearing elsewhere in this document.

     Legal Proceedings
     PPG is involved in a number of lawsuits and claims, both actual and potential, including some that it has asse11ed
     against others, in which substantial monetary damages are sought and that relate to the PPG Chlor-alkali and
     Derivatives Business. These lawsuits and claims relate to contract, environmental, product liability and other
     matters mising out of the conduct of the PPG Chlor-alkali and Derivatives Business's current and past business
     activities.

     The results of any future litigation and the above lawsuits and claims m·e inherently unpredictable. However,
     PPG management believes that, in the aggregate, the outcome of all known lawsuits and claims involving the
     PPG Chlor-alkali and De1ivatives Business will not have a mate1ial effect on the PPG Chlor-alkali and
     Derivatives Business's consolidated financial position or liquidity; however, such outcome may be mate1ial to
     the results of operations of any particular period in which costs, if any, are recognized.

     PPG received a Consolidated Compliance Order and Notice of Proposed Penalty (''CO/NOPP") from LDEQ in
     February 2006 alleging violation of various requirements of the Lake Charles facility's air permit, based largely
     upon permit deviations self-reported by PPG. The CO/NOPP did not contain a proposed civil penalty. PPG filed
     a request for hearing and has engaged LDEQ in settlement discussions. In Ap1il 2009, PPG offered to settle all of
     its self-repo11ed air permit deviations through the first half of 2008 for a proposed penalty of $130,000. LDEQ
     responded to this settlement offer by asking PPG to make another offer that included all self-repo11ed air permit
     deviations through the end of 2009. PPG increased its offer to settle this matter to $171,000. LDEQ rejected this
     settlement offer and requested that PPG propose a new settlement offer to include one or more Beneficial
     Environmental Projects ("BEP") as a supplement to any civil penalty. Following additional meetings and
     discussions with LDEQ, on May 8, 2012 PPG submitted a revised settlement offer consisting of a proposed
     penalty of $250,000 and a BEP. The BEP would consist of the installation of enhanced leak detection equipment
     and a repair program that would be conducted over a three-year period. PPG estimates the cost of the BEP would
     be $220,000. LDEQ again requested PPG revise its settlement offer, and PPG, on behalf of the PPG Chlor-alkali
     and Derivatives Business, has now increased the offer to settle the CO/NOPP for a total of $300,000, plus the
     performance of two additional BEPs that will increase the total expenditure for those projects to at least
     $320,000. In connection with the Separation and Distribution, any liability described in this paragraph would be a
     liability of the PPG Chlor-alkali and Derivatives Business.

     Employees
     The average number of persons employed by the PPG Chlor-alkali and Derivatives Business during 2011 was
     about 2,000. Most of the PPG Chlor-alkali and Derivatives Business's hourly workers are represented by
     collective bargaining agreements. These contracts expire at various times over the next several years.
     Management believes that its relationships with its employees and their representative organizations are good.

     Board of Directors
          The board of directors of Georgia Gulf immediately after the Merger is expected to consist of the seven
     existing Georgia Gulf board members and three new members to be designated by PPG, including Michael H.

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     McGarry, who is an executive vice president of PPG with responsibility for the PPG Chlor-alkali and Derivatives
     Business through the consummation of the Merger, as well as PPG's global aerospace products and automotive
     refinish businesses. Mr. McGarry also has responsibility for PPG's Asia Pacific region and its global information
     technology and environmental, health and safety fm1ctions . He will remain in the employ of PPG after
     the Merger.




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      MANAGEMENT'S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF
            OPERATIONS FOR THE PPG CHLOR-ALKALI AND DERIVATIVES BUSINESS

     Overview
     The PPG Chlor-alkali and Derivatives Business produces chlor-alkali and derivative products, including chlorine,
     caustic soda, vinyl chlo1ide monomer, chlo1inated solvents, calcium hypochlo1ite, ethylene dichloride,
     hydrochloric acid and phosgene de1ivatives. Most of these products are sold directly to manufacturing companies
     in the chemical processing, plastics, including PVC, paper, minerals, metals and water treatment industries. The
     PPG Chlor-alkali and Derivatives Business operates manufacturing facilities in the U.S., Canada, and Taiwan.
     The PPG Chlor-alkali and Derivatives Business consists of one operating and one reportable segment.


     Sepa ration of the PPG Chlor-a lkali a nd Derivatives Business from PPG Industr ies, Inc.
     On July 19, 2012, PPG announced that its Board of Directors approved definitive agreements under which PPG will
     separate the PPG Chlor-alkali and De1ivatives Business and merge it with Merger Sub. The terms of the
     Transactions require PPG, prior to the Distribution, to transfer the PPG Chlor-al.kali and Derivatives Business to
     Splitco and then distribute to PPG shareholders all of the shares of Splitco common stock held by PPG, through a
     spin-off or split-off, and then immediately merge Merger Sub with and into Splitco, whereby the separate corporate
     existence of Merger Sub will cease and Splitco will continue as the surviving company and a wholly-owned
     subsidiary of Georgia Gulf in a tax efficient Reverse MoITis Tmst transaction. Immediately upon completion of the
     Merger, which has been approved by the boards of both companies, PPG shareholders will own at least 50.5 percent
     of the shares of Splitco after the Merger, and pre-merger existing Georgia Gulf stockholders will own no more than
     49.5 percent of the shares. In the transaction, PPG will transfer certain related environmental liabilities, pension
     assets and liabilities and other post-employment benefits ("OPEB,.) obligations to Splitco. The Transactions are
     subject to approval by Georgia Gulf stockholders and customary closing conditions, relevant tax authority rulings
     and regulatory approvals.


     Results of Oper a tions
     Comparison of Results of Operations for the Six Months E nded June 30, 2012 and J une 30, 2011
     The following discussion compares the combined operating results of the PPG Chlor-al.kali and Derivatives
     Business for the six months ended June 30, 2012 and June 30, 2011.

                                                                                                   Sb: Month s
                                                                                                 Ended J one 30,
               (Millions)                                                                        2012      2011

               Net sales                                                                        $851      $893
               Cost of sales, exclusive of depreciation and amortization                         574       613
               Selling, general and administrative                                                59        60
               Depreciation and amortization                                                      21        20
               Research and development
               Business restmcturing
               Other charges                                                                         4        7
               Other earnings                                                                       (7)     (13)
                   Income before income taxes                                                     198       205
               Income tax expense                                                                  68        67
                                                                                                          --
               Net income attributable to the controlling and noncontrolling interests            130       138
                    Less: net income attributable to noncontrolling interests                      (7)       (6)
               Net income (attlibutable to the PPG Chlor-alkali and De1ivatives Business)       $123      $132
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     Performance Overview
           Sales decreased five percent in the first six months of 2012 to $851 million compared to $893 million for
     the first six months of 2011. Lower volumes decreased sales 5 percent and lower selling prices decreased sales
     two percent. Sales decreased due to moderately lower selling prices for chlorine and chlorine derivative products
     due to lower demand, partly offset by higher caustic prices. The May 2011 Equa-Chlor acquisition increased
     sales by two percent in the first six months of 2012.

          Cost of sales, exclusive of depreciation and amo1iization, decreased by $39 million for the first six months
     of 2012 to $574 million compared to $613 million for the first six months of 2011 . The decrease was equally due
     to lower input costs driven by lower natural gas p1ices and the lower sales volumes. These factors were pmiially
     offset by higher manufacturing costs and the cost of sales of acquired businesses. Cost of sales as a percentage of
     sales for the first six months of 2012 decreased approximately one percent compared with the first six months of
     2011 due lm·gely to the lower cost of natural gas.

          Selling, general and administrative expenses decreased by $1 million in the first six months of 2012
     compared to the first six months of 2011. The decrease was due to cost management actions in response to lower
     volumes, offset by overhead inflation and increases in these costs related to the acquired business. These
     expenses remained relatively flat as a percent of sales at 6.7 percent in the first six months of 2011 and 6.9
     percent in the first six months of 2012.

          The business restructming charge of $1 million in the first six months of 2012 represents severance costs
     associated with 22 people to further reduce the future PPG Chlor-alkali and Derivatives Business cost strncture.
     The business also expects to incur additional costs of approximately $2 million directly associated with the
     restructuring plans for demolition that will be charged to expense as incurred. Future cost savings upon full
     implementation of the restrncturing actions are expected to be $2 million on an annual basis.

          Other charges decreased to $4 million in the first six months of 2012 from $7 million in the first six months
     of 2011, due largely to lower environmental remediation charges during the six months ended June 30, 2012.

           Other earnings decreased to $7 million in the first six months of 2012 from $13 million for the first six
     months of 2011 . This decrease was primarily due to the absence of the $10 million bargain purchase gain related
     to the acquisition of Equa-Chlor during the second quarter of 2011, partially offset by incremental income from
     the lease of Marcellus Shale drilling rights on the PPG Chlor-al.kali and Derivatives Business's property.

          The effective tax rate on pretax earnings for the six months ended June 30, 2012 was 34.3 percent compared
     to 32.7 percent in the first six months of 2011. The effective tax rate for the first six months of 2012 includes a
     38 percent tax benefit on the $1 million business restructming charge. The effective tax rate on the remaining
     pre-tax earnings was 34.4 percent for the first six months of 2012. The effective rate for the first six months of
     2011 included the impact of the non-taxable bargain purchase gain resulting from the Equa-Chlor acquisition.
     The effective tax rate on the remaining pre-tax earnings was 34.3 percent for the first six months of 2011.

         Looking ahead to the third quarter of 2012, management of the PPG Chlor-alkali and Derivatives Business
     expects chlorine demand to remain muted, which should hold operating rates for chlorine and caustic at their
     second qumier levels. The previously announced caustic p1ice increase is being implemented in the third quaiier.
     Lower year-over-yem· natural gas costs m·e expected to provide benefits.




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     Comparison of Results of Operations for the Years Ended December 31, 2011 and 2010 and December 31,
     2010 and 2009
         The following discussion compares combined operating results of the PPG Chlor-alkali and Derivatives
     Business for 2011 with 2010, and for 2010 with 2009.


     Performance in 2011 Compared with 2010
          (Millions)                                                                              2011       2010
          Net sales                                                                              $1,741     $1 ,441
          Cost of sales, exclusive of depreciation and amortization                               1,224      1,117
          Selling, general and administrative                                                       123         102
          Depreciation and amortization                                                              41          39
          Research and development                                                                    2           2
          Other charges                                                                              10          11
          Other earnings                                                                            (27)         (7)
              Income before income taxes                                                            368        177
          Income tax expense                                                                        122         65
          Net income attributable to the controlling and noncontrolling interests                   246        112
               Less: net income attributable to noncontrolling interests                            (13)        (7)
          Net income (attributable to the PPG Chlor-alkali and Derivatives Business)             $ 233      $ 105
                                                                                                 ---        ---

     Performance Overview
          Net sales in 2011 totaled $1,741 million compared to $1,441 million in 2010, an increase of21 percent.
     Higher selling prices and the sales of the acquired Equa-Chlor business were the key d1ivers of the increased
     sales. Selling p1ices increased sales by 18 percent. The improved selling prices in 2011, which were p1immily
     driven by caustic soda and chlorine de1ivatives, were achieved due to continued strong demand in chlorine
     derivatives and a tightening supply of caustic soda as a result of the global industiial recovery, which continued
     in 2011. Volmnes in total and the impact of foreign currency were flat yem·-over-year; however, increased
     volumes of ce11ain lower margin chlorine de1ivative products were offset by the declines in chlorine and caustic
     volumes. The decline in chlorine volume was due to the negative impact of unscheduled production outages early
     in 2011 as well as decreased chlo1ine demand in the fomih quarter of the yem· due to customer inventory
     management and lower chlo1ine and derivative expo11s. Caustic volumes were down year-over-yem· due to the
     lack of product availability as a result of market factors impacting chlorine demand and production levels.

          Cost of sales, exclusive of depreciation and amortization, increased by $107 million in 2011 to
     $1 ,224 million compared to $1 ,117 million in 2010. About 20 percent of the increase was driven by inflation,
     particularly increases in ethylene and other raw material costs. Natural gas unit costs were lower year-over-year.
     Higher manufacturing and maintenance costs contributed nearly 40 percent of the increase. Capacity utilization
     was lower during 2011 due to planned and unplanned production outages, as well as lower chlorine demand in
     the fourth quarter due to customer inventory management and lower chlorine derivative exports, resulting in
     unfavorable manufacturing throughput variances and higher maintenance expenses. Additionally, about 25
     percent of the increase in cost of sales was due to sales growth from acquisitions. Tue remaining increase in cost
     of sales was driven equally by the negative sales margin mix and higher outbound freight cost due to the
     increased shipment of chlorine by rail. Cost of sales as a percentage of sales was 70.3 percent in 2011 compared
     to 77.5 percent in 2010. This improvement retlects the benefit of selling price increases, with some offset by the
     impact of inflation and higher manufacturing and maintenance expenses on cost of sales.

         Selling, general and administrative expenses increased by $21 million to $123 million in 2011 compared to
     $102 million in 2010. Higher distribution and freight costs, resulting from cost inflation and increased usage of

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     higher cost chlorine rail transportation, contributed about 75 percent of the increase while the remainder was due
     equally to the Equa-Chlor acquisition and overhead cost inflation. Selling, general and administrative expenses as
     a percentage of sales were 7.1 percent in 2011, which was consistent with 2010.

         Other charges decreased $ 1 million to $ 10 million in 2011 from $ 11 million in 2010 due principally to
     lower environmental remediation expense in 2011 at the Natrium operating plant site.

          Other income increased $20 million to $27 million in 2011 from $7 million in 2010 due primarily to the
     $ 10 million bargain purchase gain resulting from the Equa-Chlor acquisition, income from leasing Marcellus
     Shale d1illing rights on property owned by the PPG Chlor-alkali and Derivatives Business and a $5 million gain
     on the sale of excess land at our N atrium facility .

           The effective tax rate on pretax earnings in 2011 was 33.2 percent compared to 36.7 percent in 2010. The
     2011 rate includes the impact of the non-taxable bargain purchase gain resulting from the Equa-Chlor
     acquisition. The effective tax rate was 34.3 percent on the remaining pretax earnings in 2011. The 2010 tax rate
     was higher due to the inclusion of expense of $12 million resulting from the reduction of the PPG Chlor-alkali
     and Derivatives Business' s previously provided deferred tax asset related to its liability for retiree medical costs.
     The deferred tax asset was reduced because the U.S. healthcare legislation enacted in March 2010 included a
     provision that reduced the amount ofretiree medical costs that will be deductible after December 31, 2012. The
     effective rate was 29 .9 percent on the remaining pretax earnings in 2010. The increase in the tax rate on the
     remaining pretax earnings in 2011 is mainly the result of an increase in higher-taxed U.S. earnings as a percent of
     total earnings.


     Performance in 2010 Compared with 2009

          (Millions)                                                                                 2010         2009
          Net sales                                                                                $1,441     $1 ,282
          Cost of sales, exclusive of depreciation and amo11ization                                 1,117      1,001
          Selling, general and administrative                                                         102         100
          Depreciation and amortization                                                                39          40
          Research and development                                                                      2           2
          Business restructuring                                                                                    6
          Otber charges                                                                                 11          9
          Other earnings                                                                                (7)       (12)
              Income before income taxes                                                               177       136
          Income tax expense                                                                            65
                                                                                                              - -43
                                                                                                                  -
          Net income attributable to the controlling and noncontrolling interests                      112        93
               Less: net income ataibutable to noncona·olling interests                                 (7)       (5)
          Net income (attributable to the PPG Chlor-alkali and Derivatives Business)               $ 105      $     88
                                                                                                   ---        ---

     Performance Overview
          Net sales in 2010 totaled $1 ,441 million compared to $1 ,282 million in 2009, an increase of 12 percent.
     Sales improved 15 percent due to higher volumes, primarily caustic products, retlecting tbe partial recovery in
     demand from the impact of tbe global recession, which was somewhat offset by a 3 percent decline in sales
     pricing for tbe year. The decline in price reflects lower caustic pricing which was largely offset by price increases
     in chlorine and chlorine derivative products.

           Cost of sales, exclusive of depreciation and amo11ization, increased by $116 million in 2010 to
     $1 , 117 million compared to $1 ,00 1 million in 2009. Over 80 percent of tbe increase was due to higher sales
     volume during 2010. About 20 percent of the increase was driven by raw material inflation, partially offset by a
     decrease of nearly 10 percent in manufacturing costs, which was a result of tbe 2009 restructuring actions and

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     additional cost savings initiatives. Foreign currency increased cost of sales by low single digit percents. Cost of
     sales as a percentage of sales was 77 .5 percent in 2010, consistent with the 78. l percent in 2009.

          Selling, general and administrative expenses increased by $2 million to $102 million in 2010 compared to
     $100 million in 2009. Selling, general and administrative expenses as a percentage of sales were 7 .1 percent in
     2010, slightly down from 7.8 percent in 2009, as incremental volmne growth was achieved with limited increases
     in these costs.

          During the first quarter of 2009, the PPG Chlor-alkali and Derivatives Business finalized a restructuring
     plan to reduce its cost structure and recorded a charge of $6 million for severance costs related to 42 people.

          Other charges increased $2 million to $11 million in 2010 from $9 million in 2009 due principally to higher
     enviromnental remediation costs in 2010 related to the Natrium operating plant site. Other earnings decreased
     $5 million in 2010 due primarily to the absence of 2009 hurricane-related insurance recoveries.

          The effective tax rate on pretax earnings in 2010 was 36.7 percent compared to 31.6 percent in 2009. The
     2010 rate includes expense of $ 12 million resulting from the reduction of the PPG Chlor-alkali and Derivatives
     Business's previously provided deferred tax asset related to its liability for retiree medical costs. The deferred tax
     asset was reduced because U.S. healthcare legislation enacted in March 2010 included a provision that reduced
     the amount of retiree medical costs that will be deductible after December 31 , 2012. The rate was 29.9 percent on
     the remaining pretax earnings in 2010. The decrease in the tax rate on the remaining pretax earnings in 2010 is
     mainly the result of statutory rate decreases in Taiwan and Canada.

     Liquidity and Capital Resources
     In No1ih Ame1ica, under PPG's centralized cash management system, the cash requirements of the PPG Chlor-
     alkali and Derivatives Business are provided directly by PPG and cash generated by the PPG Chlor-alkali and
     Derivatives Business is generally remitted directly to PPG. Taiwan Chlo1ine lndustiies, Ltd. ("TCI") which is
     part of the PPG Chlor-alkali and De1ivatives Business, does not paiticipate in any centralized PPG cash
     management program, maintains cash and cash equivalent balances to fund its local operations and periodically
     pays dividends to its owners.

     During the three years ended December 31, 2011, 2010 and 2009 and during the six months ended June 30, 2012,
     the PPG Chlor-alkali and De1ivatives Business generated sufficient cash from operating activities to fund its
     capital spending, acquisitions and dividends to non-conti·olling interests.

     The following table sets forth a summary of cash flows for the six months ended June 30, 2012 and June 30,
     2011 and the years ended December 31 , 2011 , December 31, 2010 and December 31, 2009:
     (in millions)                                           S ix Months Ended                  Year Ended
                                                             June30, J une30,    December 31,   December 31,   December 31,
                                                               2012      2011       2011           2010           2009
     Net cash from (used for):
     Operating Activities                                     $102      $106        $ 276          $142          $ 133
     Investing Activities                                     $(22)     $(48)       $ (86)         $(43)         $ (22)
     Financing Activities                                     $ (95)    $ (63)      $(174)         $ (95)        $(123)

          Cash from operations for the six months ended June 30, 2012 was comparable with the six months ended
     June 30, 2011 due to relatively consistent year-over-year earnings. The cash remitted to PPG is reported as a use
     of cash from financing activities. The absence of acquisition cash spending in 2012 included in investing
     activities resulted in more cash being remitted to PPG as a use of cash for financing activities.

           Higher earnings increased cash from operations dming the year ended December 31, 2011 as compared to
     the p1ior year period. The May 2011 acquisition of the Equa-Chlor business accounts for the higher use of cash
     for investing activities in the year ended December 31, 2011 and six months ended June 30, 2011.

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          No deferred U.S. income taxes have been provided on the undistributed earnings of non-U.S. subsidimies,
     which amounted to $25 million as of both December 31, 2011and2010. These earnings are considered to be
     reinvested for an indefinite period of time or will be repa11iated when it is tax efficient to do so. It is not
     practicable to determine the deferred tax liability on these m1distributed earnings.

         Cash from operations are expected to continue to be sufficient to fund operating activities and capital
     spending, including acquisitions and to pay dividends to non-controlling interests.

     Off-Balance Sheet Arrangements
          The PPG Cblor-alkali and Derivatives Business does not have any off-balance sheet arrangements other
     than the contractual obligations that are listed below and a guarantee related to credit risk on interest rate swaps
     of RS Cogen as discussed in Note 16, "Commitments and Contingent Liabilities," of the audited combined
     statements of the PPG Chlor-alkali and Derivatives Business, as updated in Note 16 to the unaudited condensed
     combined financial statements of the PPG Chlor-alkali and Derivatives Business as of and for the six months
     ended June 30, 2012, in each case, included elsewhere in this document.

     Quantita tive and Qualitative Disclosures About Market Risk
          The PPG Cblor-alkali and Derivatives Business is exposed to market risk related to changes in natural gas
     prices. It may enter into derivative financial instruments in order to manage or reduce this risk. A detailed
     description of this exposure and the business's risk management policies are provided in Note 12, "Derivative
     Financial lnslli.tments and Hedge Activities," to the audited combined financial statements of the PPG Cblor-
     alkali and Derivatives Business as of and for the year ended December 31, 2011, as updated in Note 12 to the
     unaudited condensed combined financial statements of the PPG Cblor-alkali and Derivatives Business as of and
     for the six months ended June 30, 2012, in each case, included elsewhere in this document.

           The fair value of natural gas swap contracts in place as of June 30, 2012 was a liability of $1 million, and as
     of December 31, 2011 and December 31 , 2010 was a liability of $6 million and $21 million, respectively. These
     contracts were entered into to reduce the business's exposure to higher prices of natural gas. A 10% reduction in
     the price of natural gas would have bad an unfavorable effect on the fair value of these contracts by increasing
     the liability by $1 million and $3 million, at December 31 , 2011 and 2010, respectively. There were no other
     material changes in the PPG Cblor-alkali and Derivatives Business's exposure to market risk from December 31,
     2011 to June 30, 2012.

     Contractual Obligations
         The following table summarizes significant contractual obligations of the PPG Cblor-alkali and Derivatives
     Business as of December 31, 2011:

                                                                                              Obligations Doe In:
                                                                                                  2013-    2015-
     (millions)                                                                   Total   2012    2014     2016     Thereafter
     Unconditional purchase commitments from RS Cogen (1)                         $257    $ 23    $ 47    $ 47        $140
     Unconditional purchase commitments (2)                                        165      92      61       5           7
     Operating leases (3)                                                           35      14      13       6           2
     Asset retirement obligations (4)                                                 9                                   9
     Equa-Cblor purchase price hold back (5)                                         3         3
     Pension contributions (6)                                                       1    1
                                                                                  -- --
                                                                                  $470 $130 $124          $ 58        $158
                                                                                  -- -- -- --                         --
     (1) These amounts represent the commitment of the PPG Cblor-alkali and Derivatives Business to purchase
           electricity and steam from RS Cogen discussed in Note 8, "Investments," of the audited combined
           statements of the PPG Cblor-alkali and Derivatives Business and Note 8, "Variable Interest Entities," of the

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           unaudited condensed combined financial statements of the PPG Chlor-alkali and De1ivatives Business, each
           included elsewhere in this document.
     (2)   P1ior to the completion of the Transactions, the purchasing functions for the PPG Chlor-alkali and
           De1ivatives Business have been performed by PPG's centralized purchasing function . The unconditional
           purchase commitments are p1incipally take-or-pay obligations related to the purchase of certain mate1ials,
           including industrial gases, natural gas, coal and electricity, consistent with customary industry practice.
     (3)   Operating leases represent the minimum rental commitments under non-cancellable operating leases. The
           PPG Chlor-alkali and Derivatives Business has no capital leases.
     (4)   This amount represents a legal obligation associated with the retirement of a tangible long-lived asset that
           was incurred upon the acquisition, construction, development or normal operation of that long-lived asset.
     (5)   This amount represents the purchase price for the Equa-Chlor acquisition held in escrow pending
           satisfaction of any indemnity claims by the PPG Chlor-alkali and Derivatives Business through May 2013.
     (6)   Includes the estimated contribution for 2012 only, as PPG is unable to estimate the pension contributions
           beyond 2012.


     Critical Accounting Estimates
           Management of the PPG Chlor-alkali and Derivatives Business has evaluated the accounting policies used
     in the preparation of the financial statements and related notes presented elsewhere in this document and believes
     those policies to be reasonable and appropriate. Management of the PPG Chlor-alkali and Derivatives Business
     believes that the most critical accounting estimates made in the preparation of the PPG Chlor-alkali and
     Derivatives Business's financial statements are those related to accounting for contingencies, m1der which the
     PPG Chlor-alkali and De1ivatives Business accrues a loss when it is probable that a liability has been incurred
     and the amount can be reasonably estimated, and to accounting for pensions and other postretirement benefits
     because of the importance of management judgment in making the estimates necessary to apply these policies.

           Contingencies, by their nature, relate to Lmce11ainties that require management to exercise judgment both in
     assessing the likelihood that a liability has been incurred as well as in estimating the amount of potential loss.
     The most important contingencies impacting the PPG Chlor-alkali and Derivatives Business's financial
     statements are those related to environmental remediation and to pending, impending or overtly threatened
     litigation against the PPG Chlor-alkali and De1ivatives Business. For more information on these matters, see
     Note 16, "Commitments and Contingent Liabilities," of the audited combined financial statements of the PPG
     Chlor-alkali and De1ivatives Business and as updated in Note 16 to the unaudited condensed combined financial
     statements as of and for the six months ended June 30, 2012, in each case included elsewhere in this document.

           Accounting for pensions and other postretirement benefits involves estimating the cost of benefits to be
     provided well into the future and attributing that cost over the time period each employee works. To accomplish
     this, extensive use is made of assumptions about inflation, investment returns, mortality, turnover, medical costs
     and discount rates. Other than in Taiwan, the PPG Chlor-alkali and Derivatives Business sponsors no defined
     benefit pension plans; however, certain employees of the PPG Chlor-alkali and Derivatives Business participate
     in PPG's defined benefit pension and welfare benefit plans, which are referred to collectively, with the plan in
     Taiwan, in this critical accounting estimates section as the defined benefit pension and welfare benefit plans
     related to the PPG Chlor-alkali Derivatives Business. PPG has established a process by which its management
     reviews and selects these assumptions annually. See Note 15, "Pensions and Other Postretirement Benefits," of
     the audited combined financial statements of the PPG Chlor-alkali and Derivatives Business included elsewhere
     in this document.

          The discount rate used in accounting for the PPG Chlor-alkali and Derivatives Business's pension and other
     postretirement benefit plans is determined by reference to a current yield curve and by considering the timing and
     amount of projected future benefit payments. The discount rate assumption at December 31, 2011 and for 2012 is
     4.50% for the PPG Chlor-alkali and Derivatives Business's U.S. defined benefit pension and other postretirement
     benefit costs. A change in the discount rate of 75 basis points, with all other assumptions held constant, would

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     impact the PPG Chlor-alkali and De1ivatives Business's 2012 net pe1iodic benefit expense for defined benefit
     pension and other postretirement benefit plans by approximately $1 million.

          The expected return on plan assets assumption used in accounting for the PPG Chlor-alkali and Derivatives
     Business's pension plans is determined by evaluating the mix of investments that comprise plan assets and
     external forecasts of future long-term investment returns. For 2011, the return on plan assets assumption for
     PPG's U.S . defined benefit pension plans was 8.0 percent. This assumption will be lowered to 7.5 percent for
     2012. A change in the rate of return of 75 basis points, with other assumptions held constant, would impact the
     PPG Chlor-alkali and Derivatives Business's 2012 net periodic pension expense by approximately $3 million.

          As part of the PPG Chlor-alkali and Derivatives Business's ongoing financial reporting process, a
     collaborative effort is undertaken involving PPG Chlor-alkali and Derivatives Business managers with functional
     responsibility for financial accounting, enviromnental, legal and employee benefit matters. The results of these
     efforts provide management with the necessary information on which to base their judgments on these
     contingencies and to develop the estimates and assumptions used to prepare the financial statements.

          PPG believes that the amounts recorded in the audited combined financial statements and related notes and
     the condensed combined financial statements for the six months ended June 30, 2012 presented elsewhere in this
     document related to these contingencies, pensions and other postretirement benefits are based on the best
     estimates and judgments of the appropriate PPG Chlor-alkali and Derivatives Business management, although
     actual outcomes could differ from these estimates.




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                         SELECTED HISTORICAL AND PRO FORMA FINANCIAL DATA

     Selected Historical Combined Financial Data of' the PPG Chlor-alkali and Derivatives Business
          Splitco is a newly-formed holding company organized for the purpose of holding the PPG Chlor-alkali and
     Derivatives Business and consummating the Transactions with Georgia Gulf. The following data, insofar as it
     relates to each of the years 2007 through 2011 , has been derived from annual financial statements, including the
     combined balance sheets at December 31 , 2011 and December 31 , 2010 and the related combined statements of
     income for each ot the three years in the pe1iod ended December 31, 2011 and notes thereto appearing elsewhere
     herein. The data as of December 31, 2009 and as of and for the years ended December 31, 2008 and
     December 31, 2007 has been derived from unaudited combined financial information not included or
     incorporated by reference into this document. The data as of and for the six months ended June 30, 2012 and
     2011 has been de1ived from unaudited condensed combined financial statements included herein and is not
     necessarily indicative of the results or financial condition for the remainder of the year or any future pe1iod. This
     information is only a summary and you should read the table below in conjunction with ''Management's
     Discussion and Analysis of Financial Condition and Results of Operations for the PPG Chlor-alkali and
     Derivatives Business" and the financial statements of the PPG Chlor-alkali and Derivatives Business and the
     notes thereto included elsewhere in this document.

                                                          Sh: Months Ended
                                                               June30,                  Year Ended December 31,
                                                           2012      2011     2011         2009
                                                                                        2010     2008                2007
     (in millions)
                                                         -- --                        --- ---   ---
     Combined Statement of Income Data:
     Net revenue                                          $851      $893     $1,741   $1,441    $1,282    $1,845   $1,547
     Net income (attributable to the PPG Chlor-alkali
       and Derivatives Business)                          $123      $132     $ 233    $ 105     $    88   $ 200    $ 148
     Combined Balance Sheet Da ta:
     Total assets                                         $766      $716     $ 734    $ 621     $ 601     $ 684    $ 676
     Long-term obligations                                $320      $274     $ 320    $ 268     $ 264     $ 350    $ 219


     Selected Consolidated Historical Financial Data of PPG
          The following selected historical consolidated financial data of PPG as of and for each of the years in the
     five year period ended December 31 , 2011 has been derived from the audited consolidated financial statements of
     PPG. The following selected historical consolidated financial data of PPG as of and for each of the six month
     periods ended Jm1e 30, 2012 and 2011 has been derived from the unaudited condensed consolidated financial
     data of PPG, incorporated by reference herein, and is not necessarily indicative of the results or financial
     condition for the remainder of the year or any futLu-e period. This information is only a summary and should be
     read in conjunction with the financial statements of PPG and the notes thereto and the ''Management's
     Discussion and Analysis of Financial Condition and Results of Operation" section contained in PPG' s annual
     report on Form 10-K for the year ended December 31, 2011, and quarterly report on Form 10-Q for the qum1er
     ended June 30, 2012, each of which is incorporated by reference into this document. See "Where You Can Find
     More Information; Incorporation By Reference".




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                                                Six Mouths Ended
                                                     Juue30,                         Year Ended Det-ember 31,
                                                 2012       2011       2011        2010         2009      2008       2007
                                                                    (In miUious, except per share data)
     Statement of Income Data:
     Net sales                                $ 7,707    $ 7,519    $14,885    $13,423     $12,239     $15,849     $12,220
     Income from continuing operations,
       net of tax                                  375        568      1,095        769         336         538        856
     Loss from discontinued operations                                                                                 (22)
     Net income (attributable to PPG)              375        568      1,095        769         336         538        834
     Basic EPS:
     Income from continuing operations            2.45       3.57       6.96        4.67       2.04        3.27       5.20
     Loss from discontinued operations                                                                               (0.13)
     Net income (attributable to PPG)             2.45       3.57       6.96        4.67       2.04        3.27       5.07
     Diluted EPS:
     Income from continuing operations            2.42       3.52       6.87        4.63       2.03        3.25       5.16
     Loss from discontinued operations                                                                               (0.13)
     Net income (attributable to PPG)             2.42       3.52       6.87        4.63       2.03        3.25       5.03
     Dividends per share                          1.16       1.12       2.26        2.18       2.13        2.09       2.04
     Balance Sheet Data:
     Total assets                               14,817     15,267    14,382      14,975      14,240     14,698      12,629
     Long-term debt                              2,964      3,613     3,574       4,043       3,074      3,009       1,201


     Selected Historical Consolidated Financial Data of Georgia Gulf
          The following selected historical consolidated financial data of Georgia Gulf for the years ended
     December 31, 2011, 2010 and 2009, and as of December 31, 2011 and 2010, has been de1i ved from Georgia
     Gulf's audited consolidated financial statements as of and for the years ended December 31, 2011, 2010 and
     2009 incorporated by reference into this docmnent. The selected histo1ical consolidated financial data of Georgia
     Gulf as of December 31, 2009, and as of and for the years ended December 31, 2008 and 2007, has been de1i ved
     from Georgia Gulfs audited consolidated financial statements which are not included in or incorporated by
     reference into this document. The following selected historical consolidated financial data as of and for the six
     month pe1iods ended June 30, 2012 and 2011 has been de1ived from the unaudited condensed consolidated
     financial statements of Georgia Gulf, which are incorporated by reference in this document. The selected
     historical combined financial data presented below is not necessarily indicative of the results or financial
     condition that may be expected for any future period or date. You should read the table below in conjunction
     with the financial statements of Georgia Gulf and the notes thereto and the "Management's Discussion and
     Analysis of Financial Condition and Results of Operations'' section contained in Georgia Gulf's annual report on
     Form 10-K for the year ended December 31, 2011 and quarterly report on Form 10-Q for the period ended
     June 30, 2012, each of which is incorporated by reference into this document. See "Where You Can Find More
     Information; Incorporation by Reference.''




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                                             As of and for the                                      As of and for the
                                        Six Mouths Ended June 30,                               Year Ended December 31,
                                            2012           2011                 2011         2010         2009        2008              2007
     (In thousands, except per shar e
     data, percentages and
     employees)
          Results of Operations:
          Net sales              $ 1,727,642 $1,6 19,648 $3,222,884 $2,818,040 $1,990,09 1 $2,916,477 $3,157,270
          Cost of sales            l ,537,336  1,460,953 2,9 19,625 2,543,638 1,778,998 2,7 17,409 2,851,426
          Selling, general and
            administrative
            expenses                   99,456     86,669     168,221     160,03 1 182,937     168,572    225,607
          Long-lived asset
            impairment charges                                 8,3 18              2 1,804    175,201    158,293
          Transaction related
            costs, restructuring
            and other, net             11,581       l ,025     3,271         102    6,858      2 1,973     3,659
          (Gains) losses on sale
            of assets                 (17,386)    ( l , 150)  ( l , 150)                62    (27,282)     1,304
          Operating income (loss)            96,655          72,151         124,599          114,269          (568)   (139,396)         (83,019)
          Interest expense                  (29, 106)       (33,575)        (65,645)         (69,795)    (13 1,102)   (134,513)        (134,568)
          Loss on redemption and
             other debt costs                                ( l , 100)          (4,908)                 (42,797)
          Gain on debt exchange                                                                          400,835
          Foreign exchange (loss)
             gain                              (402)           (940)              (786)         (839)      ( 1,400)     (4,264)           6,286
          Interest income                       170             186                280           322           583       1,308              805
          Income (loss) from
            continuing
            operations before
            taxes                           67,3 17         36,722              53,540       43,957      225,55 1     (276,865)        (2 10,496)
          Provision (benefit) for
            income taxes(l)                  18,384         10,007               (4,217)       1,279       94,492      (21,695)          34,188
          Income (loss) from
            continuing
            operations                      48,933          26,7 15             57,757       42,678      131,059      (255,170)        (244,684)
          T,oss from discontinnf>,<I
             operations, net of tax                                                                                                     (10,864)
          Net income (loss)             $   48,933      $   26,715 $            57,757 $     42,678 $ 131,059 $ (255,170)$ (255,548)
          Basic earnings (loss)
            per share:
          Income (loss) from
            continuing
            operations                  $      1.41     $      0.77 $              l .66 $      1.22 $       8.27 $    ( l 9 l.21) $    (186. l 7)
          Loss from discontinued
            operations                                                                                                                    (7.91)
          Net income (loss)             $      1.4 1    $      0.77 $              1.66 $       1.22 $       8.27 $    (191.2 1) $      (194.08)




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                                            As of and for the                                        As of and for the
                                       Six Mouths Ended June 30,                                 Year Ended December 31,
                                           2012           2011                2011            2010         2009        2008                    2007
     (In thousands, except per share
     data, percentages and
     employees)
          Diluted earnings (loss)
            per share:
          Income (loss) from
            continuing
            operations            $          1.40     $       0.77 $             1.66 $           1.22 $           8.26 $       (191.2 1) $    (186.17)
          Loss from discontinued
            operations                                                                                                                           (7.91)
          Net income (loss)                  1.40             0.77               1.66             1.22             8.26         (191.2 1)      (194.08)
          Dividends per common
            share                 $          0.08     $                 $        -       $                $                $       6.00 $         8.00
          Financial Highlights:
          Net working capital          $ 448,658      $ 481,935 $ 384,729 $ 400,447 $ 340,721 $ 225,187 $ 200,745
          Property, plant and
            equipment, net                634,053           663,873           640,900          653,137          687,570          760,760   967,188
          Total assets                  1,723,508         1,893,695         1,644,21 1       1,665,701        1,604,640        1,610,401 2,201,664
          Total debt                      497,665           666,265           497,464          577,557          632,569        1,302,677 1,269,359
          Lease financing
            obligation                    109,287          115,867           109,899          112,385          106,436           91,473       112,649
          Asset securitization(2)                                                                                               111,000       147,000
          Net cash (used in)
            provided by
            operating                     (14,989)         (72,438)          187,449          183,799              723           41,392       128,557
          Net cash (used in)
            provided by
            investing activities          (18,954)         (95,162)         (136,510)          (44,645)         (26,025)         24,569        21,589
          Net cash (used in)
            provided by
            financing activities             (266)          86,266            (85,658)         (55,719)         (29,099)         15,402       (150,906)
          Depreciation and
            amortization                   44,975           51,842           101,522           99,691          117,330          143,718       150,210
          Capital expenditures             40,699           23,692            66,382           45,714           30,085           62,545        83,670
          Acquisition, net of cash
            acquired                                        71,623            71,371
          Maintenance
            expenditures                  101,950           75,269           109,317          137,448          104,472          109,130       111,187
     Other Selected Data:
         Adjusted EBITDA(3)            $ 129,765      $ 115,631 $ 222,896 $ 201,322 $ 155,062 $ 156,162 $ 225,272
         Weighted average
           common shares
           outstanding-basic               34,346           33,971            34,086           33,825           14,903            1,378          1,374
         Weighted average
           common shares
           outstanding-diluted             34,521           33,992            34,122           33,825           14,908            1,378          1,374
         Common shares
           outstanding                     34,279           33,983            34,236           33,962           33,718            1,379          1,376
         Return on sales                       2.8%             l .6%             l.8%             1.5%            5.8%             (8.7)%         (8.1)%
         Employees                          3,846            4,014             3,744            3,619            3,489            4,463          5,249



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     (1) Provision for income taxes for 2007 includes the effect of a $43.4 million valuation allowance on deferred tax
         assets in Canada.
     (2) During 2009, the asset securitization facility was replaced with the ABL Revolver.
     (3) Georgia Gulf supplements its financial statements prepared in accordance with GAAP with Adjusted EBITDA
         (Earnings Before Interest, Taxes, Depreciation, and Amortization, cash and non-cash restructuring charges and
         certain other charges, if any, related to financial restructuring and business improvement initiatives, gains (loss) on
         substantial modification of debt and sales of certain assets, certain purchase accounting and certain non-income
         tax reserve adjustments, professional fees related to a previously disclosed and withdrawn unsolicited offer to
         acquire Georgia Gulf and the Merger, goodwill, intangibles, and other long-lived asset impairments, and interest
         expense related to the OMERS sale-leaseback transaction) because investors commonly use Adjusted EBITDA as
         a main component of valuation analysis of cyclical companies such as Georgia Gulf. Adjusted EBITDA is not a
         measurement of financial performance under GAAP and should not be considered as an alternative to net income
         (loss) as a measure of performance or to cash provided by operating activities as a measure of liquidity. In
         addition, Georgia Gulfs calculation of Adjusted EBITDA may be different from the calculation used by other
         companies and, therefore, comparability may be limited. A reconciliation of Adjusted EBITDA to net income
         (loss) determined in accordance with GAAP is provided below:

                                             Six Months Ended
                                                  J o ne30,                           Year Ended December 31,
     (in thousands)                          2012          2011          2011      2010       2009        2008          2007
     Net income (loss)                     $ 48,933 $ 26,715 $ 57,757 $ 42,678 $ 131,059 $(255,170) $(255,548)
     Loss from discontinued
       operations, net of tax                                                                                           10,864
     (Benefit) provision for income
        taxes                                 18,384      10,007         (4,217)     1,279      94,492    (21 ,695)     34,188
     Interest income                            (170)       (186)          (280)      (322)       (583)    (1 ,308)       (805)
     Gain on debt exchange                                                                    (400,835)
     Loss on redemption and other
       debt costs                                          1,100         4,908                 42,797
     Interest expense                        29,106       33,575        65,645     69,795     131 ,102    134,513      134,568
     Depreciation and amortization
       expense                               44,975       51 ,842       101,522    99,691     117,690     143,718      150,210
     Long-lived asset impairment
       charges                                                            8,318                21 ,804    175,201      158,293
     Restructuring costs                     11,581        1,025          3,271       102       6,858      21 ,973       3,659
     (Gains) losses on sale of assets       (17,386)      (1,150)        (1,150)                    62    (27,282)       1,304
     Other(a)                                (5,658)      (7,297)       (12,878)   (11,901)    10,616     (13,788)     (11,461)
     Adj usted EBITDA                      $129,765 $115,631 $222,896 $201,322 $ 155,062 $ 156,162 $ 225,272

     (a) Other for all periods includes loan cost amortization, which is included in both the depreciation and
         amortization expense line item and interest expense line item above, and lease financing obligation interest.
         Other for the period ended June 30, 2011 also includes a $4.4 million reversal of non-income tax reserves,
         partially offset by $2.9 million acquisition costs and inventory purchase accounting adjustment. Other for
         the year ended December 31, 2011 also includes $3.0 million acquisition costs and inventory purchase
         accounting adjustment, partially offset by $4.4 million reversal of non-income tax reserves. Other for the
         year ended December 31, 2009 also includes $13.9 million of equity compensation related to the 2009
         equity and performance incentive plan, $13.l million of operational and financial restructuring consulting
         fees, partially offset by $9.6 million of loan cost amortization.




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     Retroactive Presentation for Change in Accounting Principles
     In the year ended December 31, 2011, Georgia Gulf adopted the accounting standards update regarding the
     presentation of comprehensive income. This accom1ting standards update was issued to increase the prominence
     of items repo11ed in other comprehensive income. The following is additional disclosure infonnation related to
     the presentation of comprehensive income for Georgia Gulf's supplemental guarantor information that is
     presented on a condensed consolidating basis for the parent company, combined guarantor subsidimies and
     combined non-guarantor subsidimies for each of the three yem·s ended December 31, 2011, 2010 and 2009 (in
     thousands):

                                                                 Parent     Guarantor     Non-Guarantor
                                                                Company    Subsidiaries    Subsidiaries   Eliminations   Consolidated
     Comprehensive income (loss)
     for the year ended:
     December 31 , 2011 . .. . . . . .. . . . . .. . . . . ..   $ 39,816   $145,112         $ 23,652      $(168,764)      $ 39,816
     December 31 , 2010 . .. . . . . .. . . . . .. . . . . ..   $ 46,782   $112,963         $ 11,672      $(124,635)      $ 46,782
     December 31 , 2009 . .. . . . . .. . . . . .. . . . . ..   $146,427   $ 40,190         $(67,528)     $ 27,338        $146,427


     Unaudited Pro Forma Condensed Combined Financial Statements of Georgia Gulf and the PPG Chlor-
     a lkali and Derivatives Business
          The following Unaudited Pro Fonna Condensed Combined Financial Statements present the combination of
     the historical financial statements of Georgia Gulf and the PPG Chlor-alkali and Derivatives Business adjusted to
     give effect to: (1) the Merger and (2) all related transactions, including borrowings under the Term Facility, the
     issuance of the Debt Securities and the Distribution contemplated by the Merger Agreement and the Separation
     Agreement (the "Financing Transactions").

          The Unaudited Pro Forma Condensed Combined Statements of Income for the six months ended June 30,
     2012 and for the fiscal year ended December 31, 2011 combine the historical Consolidated Statements of Income
     of Georgia Gulf and the histo1ical Combined Statements of Income for the PPG Chlor-alkali and Derivatives
     Business, giving effect to the Merger as if it had been consummated on January 1, 2011, the beginning of the
     earliest period presented. The Unaudited Pro Forma Condensed Combined Balance Sheet combines the historical
     Condensed Consolidated Balance Sheet of Georgia Gulf and the histo1ical Condensed Combined Balance Sheet
     of the PPG Chlor-alkali and Derivatives Business as of June 30, 2012, giving effect to the Merger as if it had
     been consmnmated on June 30, 2012.

          The Unaudited Pro Forma Condensed Combined Financial Statements were prepared using the acquisition
     method of accounting with Georgia Gulf considered the acquirer of the PPG Chlor-alkali and Derivatives
     Business. Under the acquisition method of accounting, the purchase price is allocated to the underlying tangible
     and intangible assets acquired and liabilities assumed based on their respective fair market values with any
     excess purchase price allocated to goodwill. The pro forma purchase price allocation was based on an estimate of
     the fair market values of the tangible and intangible assets and liabilities related to the PPG Chlor-alkali and
     Derivatives Business. In arriving at the estimated fair market values, Georgia Gulf has considered the appraisals
     of independent consultants which were based on a preliminary and limited review of the assets related to the PPG
     Chlor-alkali and Derivatives Business to be transferred. Following the effective date of the Merger, Georgia Gulf
     expects to complete the purchase price allocation after considering the appraisal of the PPG Chlor-alkali and
     Derivatives Business's assets at the level of detail necessary to finalize the required purchase price allocation.
     The final purchase price allocation may be different than that reflected in the pro forma purchase price allocation
     presented herein, and this difference may be material.

          The PPG Chlor-alkali and Derivatives Business's historical combined financial statements have been
     "carved-out'' from PPG's consolidated financial statements and reflect assumptions and allocations made by
     PPG. The PPG Chlor-alkali and Derivatives Business's historical combined financial statements include all

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     revenues, costs, assets and liabilities that are directly attributable to the PPG Chlor-alkali and De1ivatives
     Business. In addition, certain expenses reflected in the PPG Chlor-alkali and De1ivatives Business' combined
     financial statements are an allocation of corporate expenses from PPG. Such expenses include, but are not limited
     to, centralized PPG support functions including legal, accounting, tax, treasury, payroll and benefits
     administration, information technology and purchasing. The actual costs that may have been incurred if the PPG
     Chlor-alkali and De1ivatives Business had been a stand-alone company would be dependent on a number of
     factors including the chosen organizational structure and strategic decisions made as to information technology
     and infrastructure requirements. As such, the PPG Chlor-alkali and Derivatives Business's combined financial
     statements do not necessarily reflect what the PPG Chlor-alkali and Derivatives Business's financial condition
     and results of operations would have been had the PPG Chlor-alkali and Derivatives Business operated as a
     stand-alone company during the periods or at the date presented.

          The Unaudited Pro Forma Condensed Combined Financial Statements do not reflect the costs of any
     integration activities or benefits that may result from realization of future cost savings from operating efficiencies
     or revenue synergies expected to result from the Merger.

          The Unaudited Pro Forma Condensed Combined Financial Statements should be read in conjunction with:
          •    the accompanying notes to the Unaudited Pro Forma Condensed Combined Financial Statements;
               Georgia Gulf's audited and unaudited historical consolidated financial statements and related notes for
               the year ended December 31 , 2011 and the six months ended June 30, 2012, respectively, which are
               incorporated by reference into this document; and
               the PPG Chlor-alkali and Derivatives Business's audited and unaudited historical combined financial
               statements for the year ended December 31 , 2011 and the six months ended June 30, 2012,
               respectively, which are included elsewhere in this document.




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                                     GEORGIA GULF CORPORATION AND SUBSIDIARIES
                        UNAUDITED PROFORMA CONDENSED COMBINED BALANCE SHEET
                                                         As of June 30, 2012
                                                             (In millions)

                                                                       Historical          Pro Forma Adjustments
                                                                              PPC Chlor-
                                                                              alkali and Acquisition     Financing                ProForma
                                                               Goorgia Gulf Derivatives Adjustments    Adjustments                Condensed
                                                               Corporation Business       (Note 2)        (Note 3)                Combined
   Assets
   Cash and cash equivalents                                     $     55.4    $     17.0    $ (225.0) A         $200.5       A   $      36.3
                                                                                                (11 .6) B
   Receivables, net of allowance for doubtful accounts                388.0        268.0         (7.3) c                               648.7
   Inventories                                                        284.3         68.0         51.3 D                                403.6
   Prepaid expenses and other                                          14.3                      12.4 F                                 26.7
   Deferred income taxes                                               17.9                       3 .6  F                               21.5
   Other assets, net                                                                 16.0       (16.0) F
       Total current assets                                           759.9        369.0          (192.6)            200.5            1,136.8
   Property, plant and equipment, net                                 634.l        366.0           383.4 G                            1,384.6
                                                                                                     l.l   E
   Investments                                                                       17.0           (0 .7) E
                                                                                                   (16.3) F
   Goodwill                                                           214 .1                     1,346.2 H                            1,560.3
   Intangible assets, net                                              45.0           5.0          796 .9  I                            846.9
   Deferred income taxes                                                4.0                                                               4.0
   Other assets, net                                                   66.4           9 .0          (0.4)    E        24.5    A         115.8
                                                                                                    16.3     F
        Total Assets                                             $1,723.5      $ 766.0       $2,333.9            $225.0           $5,048.4
                                                                               ---                               --
   Lia bilities a nd Stockl10lders' Equity
   Accounts payable                                              $ 209.2       $ 117.0       $      (7 .3)   c   $                $ 322.9
                                                                                                     4 .0    F
   Interest payable                                                    20.8                                                              20.8
   Income taxes payable                                                 1.9                          3 .6    F                            5.5
   Accrued compensation                                                19 .8        21.0            11.1     F                           51.9
   Other accrued liabilities                                           59 .5        68.0           (18.7)    F                          128.0
                                                                                                    19 .2    J
        Total cuffent liabilities                                     311 .2       206.0           11.9                                 529 .1
   Long-term debt                                                     497 .6                      675.0      A       225.0    B       1,397 .6
   Lease financing obligation                                         109.3                                                             109 .3
   Liability for unrecognized income tax benefit                       19 .6                                                             19 .6
   Deferred income taxes                                              181.0                         3 .4     F                          627.0
                                                                                                  442.6      J
   Other non-cuffent liabilities                                       64.2        320.0           (3.4)     F                         380.8
        Total liabilities                                            1,182.9       526.0         1,129.5             225.0            3,063.4
   Commitments and contingencies
   Stockholders' equity:
   Conunon stock                                                        0 .3                         0.4     K                            0 .7
   Additional paid-in capital                                         486.3                      1,368.9     K                        1,855.2
   Accumulated other comprehensive loss, net of tax                   (18.1)       (195.0)         195.0     K                          (18.l)
   Retained earnings (deficit)                                         72.l                        (11 .6)   K                           60.5
   Parent company investment                                                       424.0          (424.0)    K
   Nonconu·olling interest                                                          11.0            75.7     K                           86.7
        Total stockholders' equity                                    540.6        240.0         1,204.4                              1,985.0
                                                                               ---
        Total liabilities and stockholders' equity               $1,723.5      $ 766.0       $2,333.9            $225.0           $5,048.4
                                                                               ---                               --
               See accompanying Notes to the Unaudited Pro Forma Condensed Combined Financial Statements

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                               GEORG IA GULF CORPORATION AND SUBSIDIARIES
                 UNAUDITED PROFORMA CONDENSED COMBINED STATEMENT OF INCOME
                                               Six Months ended June 30, 2012
                                              (In m illions, except per share data)

                                                                 Historical             Pro Forma Adjustments
                                                                        PPG Chlor-
                                                                    alkal.i aod Acqu isition           Financing        ProForma
                                                       Georgia Golf Derivatives Adjustments           Adjustments       Condensed
                                                       Corporation   Business     (Note 2)              (Note 3)        Combined

     Net Sales                                           $1,727.6        $851.0        $(26. l)   L     $ -             $2,552.5
     Operating costs and expenses:
         Cost of sales                                       1,537.3      574.0          10.5     M                         2,121.8
         Selling, general and administrative                    99.5       59.0          33.8     N                           192.3
         Transaction related costs, restrncturing
            and other, net                                      11.6           1.0       (7.5)    0                             5.1
         Depreciation and amortization                                        21.0      (20.3)    M
                                                                                         (0.7)    N
          Research and development                                              1.0      (0.2)    M
                                                                                         (0.8)    N
          Other charges                                                         4.0                                             4.0
          Other earnings                                                       (7.0)                                           (7.0)
          Gains {loss) on sale of assets                       (17.4)                                                         (17.4)
                 Total operating costs and expenses          1,631.0      653.0          14.8                               2,298.8
                                                                                       --
     Operating income (loss)                                    96.6          198.0     (40.9)                               253.7
     Interest expense                                          (28.9)                                    (28.7)     c        (57.6)
     Foreign exchange loss                                      (0.4)                                                         (0.4)
     Income before income taxes                                67.3           198.0     (40.9)           (28.7)              195.7
     Provision (benefit) for income taxes                      18.4            68.0     (15.3)    p      (10.8)     D         60.3
     Net income                                                48.9           130.0     (25.6)           (17.9)              135.4
     Less: net income attributable to
       noncontrolling interest                                                  7.0      (2.1)    Q                             4.9
     Net income attributable to controlling
       shareholders                                      $     48.9      $123.0        $(23.5)          $(17.9)         $ 130.5
                                                                         --            --              --
     Earnings per share:
         Basic                                           $      1.41                                                    $      1.87
         Diluted                                         $      1.40                                                    $      1.86
     Weighted average common shares:
         Basic                                                 34.3                      35.2     R                           69.5
         Diluted                                               34.5                      35.2     R                           69.7

            See accompanying Notes to the Unaudited Pro Forma Condensed Combined Financial Statements




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                                GEORGIA GULF CORPORATION AND SUBSIDIARIES
                 UNAUDITED PROFORMA CONDENSED COMBINED STATEMENT OF INCOME
                                                Year ended December 31, 2011
                                              (In millions, except per share data)

                                                             Historical                  Pro Forma Adjustments
                                                                         PPG Chlor-
                                                                 alkal.i aud          Acquisitiou        Financing        ProForma
                                                    Georgia Golf Derivati ves         Adjustments       Adjustments       Condensed
                                                    Corporation   Business             (Note 2)           (Note 3)        Combined
     Net Sales                                       $3,222.9            $ 1,741.0      $(88.2)     L     $ -             $4,875 .7
     Operating costs and expenses:
         Cost of sales                                   2,919.6          1,224.0        (19.0)     M                         4,124.6
         Selling, general and administrative               168.2            123.0         68.9      N                           360.l
         Long-lived asset impairment charges                 8.3                                                                  8.3
         Transaction, related costs,
            restructuring and other, net                     3.3                                                                  3.3
         Depreciation and amortization                                       41.0        (39.8)     M
                                                                                          (1.2)     N
          Research and development                                            2.0         (0.6)     M
                                                                                          (1.4)     N
          Other charges                                                      10.0                                                10.0
          Other earnings                                                    (27.0)                                              (27.0)
          Gains (loss) on sale of assets                    (1.1)                                                                (1.1)
                 Total operating costs and
                   expenses                            3,098.3            1,373.0          6.9                                4,478.2
     Operating income (loss)                              124.6             368.0        (95.1)                                 397.5
     Interest expense                                     (65.7)                                           (57.3)     c        (123.0)
     Loss on redemption and other debt costs               (4.9)                                                                 (4.9)
     Foreign exchange loss                                 (0.8)                                                                 (0.8)
     Interest income                                        0.3                                                                   0.3
     Income before income taxes                             53.5            368.0        (95 .1)           (57.3)              269.l
     (Benefit) provision for income taxes                   (4.3)           122.0        (35 .7)    p      (21.5)     D         60.5
     Net income                                             57.8            246.0        (59.4)            (35.8)              208.6
     Less: net income attributable to
       noncontrolling interest                                               13.0         (4.2)     Q                             8.8
     Net income attributable to controlling
       shareholders                                  $      57.8         $ 233.0        $(55 .2)          $(35.8)         $ 199.8
                                                                                        --               --
     Earnings per share:
         Basic                                       $      1.66                                                          $     2.85
         Diluted                                     $      1.66                                                          $     2.85

     Weighted average common shares:
         Basic                                             34.1                           35 .2     R                           69.3
         Diluted                                           34.1                           35 .2     R                           69.3

            See accompanying Notes to the Unaudited Pro Forma Condensed Combined Financial Statements


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                              GEORGIA GULF CORPORATION AND SUBSIDIARIES
                             NOTES TO THE UNAUDITED PRO FORMA CONDENSED
                                    COMBINED FINANCIAL STATEMENTS
                                   (In millions, except per shar e data and percentages)

     Note 1. Basis of' Presentation
          The accompanying Unaudited Pro Forma Condensed Combined Financial Statements present the proforma
     consolidated financial position and results of operations of the combined company based upon the historical
     financial statements of each of Georgia Gulf and the PPG Chlor-alkali and Derivatives Business, after giving
     effect to the Merger and all related transactions, including the Financing Transactions and adjustments described
     in these notes, and are intended to reflect the impact of the Merger and the Financing Transactions on Georgia
     Gulf's consolidated financial statements. The accompanying Unaudited Pro Forma Condensed Combined
     Financial Statements have been prepared using and should be read in conjunction with the respective audited and
     unaudited consolidated or combined (as the case may be) financial statements of each of Georgia Gulf and the
     PPG Chlor-alkali and Derivatives Business for the fiscal year ended December 31, 2011 and as of and for the six
     months ended June 30, 2012. The accompanying Unaudited Pro Forma Condensed Combined Financial
     Statements are presented for illustrative purposes only and do not reflect the costs of any integration activities or
     benefits that may result from realization of future costs savings due to operating efficiencies or revenue synergies
     expected to result from the Merger. In addition, throughout the periods presented in the Unaudited Pro Forma
     Condensed Combined Financial Statements, the operations of the PPG Chlor-alkali and Derivatives Business
     were conducted and accounted for as part of PPG. The PPG Chlor-alkali and Derivatives Business's audited and
     unaudited condensed financial statements have been derived from the PPG Chlor-alkali and De1ivatives
     Business's histo1ical accounting records and reflect significant allocations of direct costs and expenses. All of the
     allocations and estimates in such financial statements are based on assumptions that the management of PPG
     believes are reasonable. The PPG Chlor-alkali and Derivatives Business's financial statements do not necessarily
     represent the financial position of the PPG Chlor-alkali and Derivatives Business had it been operated as a
     separate independent entity.

          The Unaudited Pro Forma Condensed Combined Statements of Income combine the historical Consolidated
     Statements of Income of Georgia Gulf and the historical Combined Statements of Income of the PPG Chlor-
     alkali and Derivatives Business for the six months ended June 30, 2012 and for the year ended December 31,
     2011, to reflect the Merger and all related transactions, including the Financing Transactions, as if they had
     occurred as of January 1, 2011. The Unaudited Pro Forma Condensed Combined Balance Sheet combines the
     historical Condensed Consolidated Balance Sheet of Georgia Gulf and the historical Condensed Combined
     Balance Sheet of the PPG Chlor-alkali and Derivatives Business as of June 30, 2012, giving effect to the Merger
     and all related transactions including the Financing Transactions and adjustments desc1ibed in these notes, as if
     they had been consummated on June 30, 2012.

          The Unaudited Pro Forma Condensed Combined Financial Statements were prepared using the acquisition
     method of accounting with Georgia Gulf considered the acquirer of the PPG Chlor-alkali and Derivatives
     Business. The audited and unaudited historical combined financial statements of the PPG Chlor-alkali and
     Derivatives Business have been adjusted to retlect certain reclassifications in order to conform to Georgia Gulf's
     financial statement presentation.

     Note 2. Acquisition Adjustments
          The Unaudited Pro Forma Condensed Combined Balance Sheet has been adjusted to reflect the allocation of
     the preliminary estimated purchase price to identifiable assets to be acquired and liabilities to be assumed, with
     the excess recorded as goodwill. The purchase price allocation in these Unaudited Pro Forma Condensed
     Combined Financial Statements is based upon an estimated purchase price of approximately $2,269.3 million.
     This amount was derived in accordance with the Merger Agreement, as described fmiher below, based on the
     closing p1ice of Georgia Gulf common stock on August 23, 2012.

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          The following represents the preliminary estimate of the purchase p1ice to be paid in the Merger:

                         Equivalent new shares issued (par value $0.01)                      $ 35.2
                         Georgia Gulf common stock price on August 23, 2012                  $ 38.90
                         Stock consideration transfeITed                                         1,369.3
                         Distributions to PPG                                                      900.0
                         Total preliminary purchase price                                    $2,269.3

          The purchase p1ice will be computed using the value of Georgia Gulf common stock on the closing date,
     therefore the actual purchase p1ice will fluctuate with the market price of Georgia Gulf common stock until the
     Merger is closed. As a result, the final purchase price could differ significantly from the current estimate, which
     could mate1ially impact the Unaudited Pro Forma Condensed Combined Financial Statements.

         The following table provides sensitivities to changes in purchase price due to changes in the per share price
     of Georgia Gulf common stock:
                                                                                      Calculated
                                                           Price of                    Value of       Combined        Total
                                                         Georgia Gulf     Shares        Stock         Distribution   Purchase
                                                        Common S tock    Exchanged   Consideration      to PPG        Price
     As of August 23, 2012                                  $38.90         35.2       $1,369.3             900.0     $2,269.3
     Decrease of 10%                                        $35.01         35.2       $1,232.4             900.0     $2,132.4
     Increase of 10%                                        $42.79         35.2       $1,506.2             900.0     $2,406.2

     The preliminary estimated purchase price is allocated as follows:

                         Cash and cash equivalents                                           $      17.0
                         Receivables                                                               260.7
                         Inventories                                                               119.3
                         Prepaid expenses and other                                                 12.4
                         Deferred income taxes                                                       3.6
                         Property, plant and equipment                                             750.0
                         Goodwill                                                                1,346.2
                         Intangible assets                                                         801.9
                         Other assets, net                                                          25.4
                         Accounts payable                                                         (113.7)
                         Income taxes payable                                                       (3.6)
                         Accrued compensation                                                      (32.1)
                         Other accrued liabilities                                                 (68.5)
                         Deferred income taxes                                                    (446.0)
                         Other non-cm-rent liabilities                                            (316.6)
                         Noncontrolling interest                                                   (86.7)
                         Total preliminary estimated purchase price allocation               $2,269.3

          The Unaudited Pro Forma Condensed Combined Balance Sheet reflects the following adjustments:
         (A) Represents the distribution of $225.0 in cash and the $675 .0 of Debt Secmities for a combined total of
     $900.0 in connection with the Distribution to PPG.

          (B) In connection with the Merger, Georgia Gulf expects to incur approximately $11.6 of cash expenses for
     deal related costs that will be paid subsequent to June 30, 2012. These costs, which primarily consist of
     professional and legal fees, are exclusive of the approximately $24.5 in debt issuance costs described in
     Note 3(A).

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         (C) Represents the elimination of intercompany payables and receivables between Georgia Gulf and the
     PPG Chlor-alkali and De1ivatives Business.

          (D) A $51.3 increase in inventory to reflect the estimated fair value of the PPG Chlor-alkali and Derivatives
     Business, including the elimination of last-in, first-out ("LIFO") reserves. Georgia Gulf accounts for inventory
     on a first-in, first-out ("FIFO") basis.

          (E) P1ior to the Merger, Georgia Gulf and the PPG Chlor-alkali and Derivatives Business each owned a fifty
     percent interest in PHH, a manufacturing joint venture, which Georgia Gulf accounted for using the equity
     method. As a result of the Merger, Georgia Gulf will obtain control of PHH. Adjustments were recorded to
     reclassify the Georgia Gulf or PPG Chlor-alkali and Derivatives Business in historical equity investment
     balances of $0.6 and $0.7, respectively, to the following line items:

          Property, plant and equipment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    $ 1.1
          Other assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          0.2
          Total . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    $1.3

         {F) Reclassifications were made to conform the balances of the PPG Chlor-alkali and De1ivatives Business's
     to Georgia Gulf's financial statement presentation.

          (G) A $383.4 increase in property, plant and equipment to reflect the estimated fair value of the PPG Chlor-
     alkali and Derivatives Business's property, plant and equipment. For purposes of dete1mining the impact on the
     Unaudited Pro Fonna Condensed Combined Statements of Income, the fair value of prope1ty, plant and
     equipment is being depreciated over an estimated weighted-average useful life of 10 years.

         (H) Reflects the preliminary adjustment to goodwill of $ 1,346.2. The goodwill created in the Merger is not
     expected to be deductible for tax purposes.

         (I) Represents the elimination of $5.0 of existing intangible assets of the PPG Chlor-alkali and Derivatives
     Business and the recording of $801.9 identifiable intangible assets attributable to the Merger.

          The estimated intangible assets atnibutable to the Merger are comprised of the following:
                                                                                                   Annual                Quarterly              Estimated Weighted
                                                                                                 Amortization           Amortization                Average Life
                                                                                Amount            Expense                 Expense                     (Years)
          Technology                                                            $ 32.0               $ 1.8                   $ 0.5                         17.5
          Trade names                                                             20.0                 1.6                     0.4                         12.5
          Customer relationships                                                 749.9                68.2                    17.0                         11.0
                                                                                ---                                          --
                                                                                $801.9               $7 1.6                  $17.9
                                                                                ---                  --                      --
          The estimated fair values for this pro forma presentation for technology and trade names were measured
     using the relief-from-royalty method. This method assumes the technology and trade names have value to the
     extent that the owner is relieved of the obligation to pay royalties for the benefits received from them. Significant
     assumptions required to develop estimates using this method are revenue growth rates for the related brands, the
     appropriate royalty rate, an appropriate discount rate and obsolescence of technology.

           The estimated fair values for this pro fomrn presentation for customer relationships were measured using the
     multi-period excess earnings method. The principle behind the multi-period excess earnings method is that the
     value of an intangible is equal to the present value of the incremental after-tax cash flows attributable to the
     subject intangible asset, after taking charges for the use of other assets employed by the business. Significant
     assumptions required for this method are revenue growth rates and profitability related to customers, customer
     attrition rates, contributory asset charges and an appropriate discount rate.

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         The use of different methodologies or assumptions could result in materially different values.

          (J) Reflects an adjustment to deferred tax liabilities representing the deferred income tax liability based on
     the global blended statutory tax rate of 37 .5% multiplied by the fair value adjustments made to the assets to be
     acquired and liabilities to be assumed, excluding goodwill. For purposes of these Unaudited Pro Fomrn
     Condensed Combined Financial Statements, a global blended statutory tax rate of 37.5% has been used. This
     does not reflect Georgia Gulfs expected effective tax rate, which will include other tax charges and benefits, and
     does not take into account any historical or possible future tax events that may impact the combined company.
     The adj ustment was calculated as follows:

                    Current portion of deferred tax liability:
                        Inventory fair value adj ustment                                          $   51.3
                        Statutory tax rate                                                            37.5%
                         Current deferred tax liability adjustment                                $   19.2
                    Non-current portion of deferred tax liability:
                        Identifiable intangible assets fair value adj ustment                     $ 796.9
                        Property, plant and equipment fair value adjustment                         383.4
                              Total                                                               $ 1,180.3
                         Statutory tax rate                                                           37.5%
                         Non-current deferred tax liability adjustment                            $ 442.6


          (K) Stockholders' equity and parent company investment has been adjusted for the following:
          •    Issuance of shares of Georgia Gulf common stock valued at $1,369.3 as consideration for the Merger.
               Of the new stock issued, $0.4 will be recorded as par value of common stock and $ 1,368.9 will be
               recorded as additional paid-in capital.
               Elimination of the PPG Chlor-alkali and Derivatives Business's parent company investment of $424.0
               and the accumulated other comprehensive loss, net of tax of $(195.0).
          •    A $75.7 increase to reflect the estimated fair value of the PPG Chlor-alkali and Derivatives Business's
               noncontrolling interest.
               A $11 .6 decrease to retained earnings to reflect cash expenses for deal related costs that will be paid
               subsequent to Jm1e 30, 2012 as described in Note 2(B).

         The Unaudited Pro Forma Condensed Combined Statements of Income reflect the following adjustments:
           (L) Revenue from intercompany sales between the PPG Chlor-alkali and Derivatives Business and Georgia
     G ulf of $26.1 for the six months ended June 30, 2012 and $88.2 for the year ended December 31 , 2011 was
     eliminated.

          (M) Cost of sales was adj usted as follows:
          •    An increase to reflect reclassification of the PPG Chlor-alkali and De1ivatives Business's histo1ical
               depreciation cost from the depreciation and amo1tization line item of $20.3 for the six months ended
               June 30, 2012 and $39 .8 for the year ended December 31, 2011 .
               An increase in depreciation expense of $19.2 for the six months ended June 30, 2012 and $38.3 for the
               year ended December 31, 2011 resulting from an increase in the value of the PPG Chlor-alkali and
               Derivatives Business's property, plant and equipment, as desc1ibed in Note 2(G).




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          •    A decrease due to the removal of histo1ical amortization of p1ior service cost and actumial losses
               related to the PPG Chlor-alkali and Derivatives Business's defined benefit pension plans and other
               postretirement benefit plans of $9.2 for the six months ended June 30, 2012 and $13.9 for the year
               ended December 31, 2011.
               An elimination to remove the cost associated with sales between the PPG Chlor-alkali and Derivatives
               Business and Georgia Gulf of $24.0 for the six months ended June 30, 2012 and $87.8 for the year
               ended December 31 , 2011, including intercompany profit in ending inventory of $2.l for the six
               months ended June 30, 2012 and $0.4 for the year ended December 31, 2011 .
               An increase to reflect the reclassification of PPG Chlor-alkali and Derivatives Business's historical
               research and development costs from the research and development line item of $0.2 for the six months
               ended June 30, 2012 and $0.6 for the year ended December 31 , 2011.
               An increase of $4.0 for the six months ended June 30, 2012 and for the year ended December 31, 2011
               to adjust for changes in the PPG Chlor-alkali and Derivatives Business's LIFO inventory reserve
               resulting from the conformance of the PPG Chlor-alkali and Derivatives Business's inventory
               methodology of LIFO to FIFO.

          (N) Selling, general and administrative expenses were adjusted as follows:
               The PPG Chlor-alkali and Derivatives Business's historical amortization of intangible assets of $0.7 for
               the six months ended June 30, 2012 and $1.2 for the year ended December 31 , 2011 was reclassified
               from the depreciation and amortization line item and then eliminated.
               An increase in amortization expense of $35.8 for the six months ended June 30, 2012 and $71.6 for the
               year ended December 31, 2011 resulting from adjustments to intangible assets described in Note 2(1).
          •    A decrease due to the removal of histo1ical amortization of p1ior service cost and actumial losses
               related to the PPG Chlor-alkali and Derivatives Business's defined benefit pension plans and other
               postretirement benefit plans of $2.8 for the six months ended June 30, 2012 and $4.l for the year ended
               December 31, 2011.
               An increase to reflect the reclassification of the PPG Chlor-alkali and Derivatives Business's historical
               research and development costs from the research and development line item of $0.8 for the six months
               ended June 30, 2012 and $1.4 for the year ended December 31 , 2011.

          (0) Direct, incremental deal related costs of $7.5 reflected in the historical financial statements of Georgia
     Gulf for the six months ended June 30, 2012 were removed due to their non-recuning nature. These costs
     primarily consist of professional and legal fees.

           (P) For purposes of these Unaudited Pro Fonna Condensed Combined Financial Statements, a global
     blended statutory tax rate of 37.5% has been used. This does not reflect Georgia Gulf's effective tax rate, which
     will include other tax items such as state and foreign taxes as well as other tax charges and benefits, and does not
     take into account any historical or possible future tax events that may impact the combined company.

           (Q) Net income attributable to noncontrolling interests was decreased by $2.1 for the six months ended
     June 30, 2012 and $4.2 for the year ended December 31 , 2011 to reflect amortization of fair value adjustments
     attributable to the noncontrolling interest.

          (R) The adjustment to both weighted average shares outstanding and diluted weighted average shares
     outstanding is to reflect the 35 .2 Georgia Gulf shares expected to be issued in the Merger.

     Note 3. Financing Adjustments
         Upon consummation of the Merger and the Financing Transactions contemplated as a part of the
     Transactions, on a pro fonna consolidated basis, Georgia Gulf expects to incur approximately $900.0 in

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     additional debt, expected to be comp1ised of the $225.0 Term Facility and $675 .0 aggregate p1incipal amount of
     the Debt Secmities. The exact amount of each of the Tenn Facility and Debt Securities will depend upon the tax
     basis of the PPG Chlor-alkali and Derivatives Business. The proceeds of the Term Facility and the Debt
     Securities will be transferred to PPG as paii of the Distiibution. In connection therewith, the shares of Splitco
     common stock then-outstanding are expected to be automatically conve11ed into the greater of 35.2 shares of
     Georgia Gulf common stock and at least 50.5 percent of outstandi ng Georgia Gulf common stock after giving
     effect to such issuance. Georgia Gulf's pre-Merger stockholders will continue to hold the remaining
     approximately 49.5 percent of Georgia Gulf's common stock .

         The Unaudited Pro Forma Condensed Combined Balance Sheet reflects the following adjustments:
          (A) Represents the proceeds of $225.0 from the term loans under the Term Facility less expected debt
     issuance costs incmTed of $24.5 (for both the $225 .0 Term Facility and $675.0 Debt Secmities). These debt
     issuance costs, which are expected to be paid with existing cash on hand, are expected to be capitalized and
     amo11ized using the effective interest method over the life of the Tenn Facility and the Debt Secmities.

         (B) As desc1ibed above, in connection with the consummation of the Transactions, on a pro forma
     consolidated basis, Georgia Gulf expects to incur approximately $900.0 in additional debt, expected to be
     comprised of the $225.0 Term Facility and $675 .0 aggregate p1incipal amount of the Debt Securities. The actual
     amount of each of the Term Facility and Debt Secmities will depend upon the tax basis of the PPG Chlor-alkali
     and Derivatives Business.

         The Unaudited Pro Forma Condensed Combined Statements of Income reflect the following adjustments:
          (C) To include an estimate of interest expense on additional debt issued in connection with the Transactions.

          A summary of the adjustments is as follows:

                                                                          Pr incipal   Six Months Ended      Year Ended
                                                                  Rate    Amoun t        June 30, 2012    December 31, 2011
     Composition of new debt and related interest expense
        Term Loan                                                 4.50%    $225 .0          $ 5.1              $10.l
        Debt Secmities                                            6.50%     675 .0           21.9               43.9
             Total new debt                                                 900.0            27.0               54.0
          Amortization of new debt issuance costs                                             1.7                 3 .3
                                                                                            $28.7              $57.3

          For each one-eighth of 1% (12.5 basis points) change in the estimated interest rate associated with the
     $900.0 of borrowings, interest expense would increase or decrease by $0.6 and $1 . l for the six months ended
     June 30, 2012 and the year ended December 31, 2011, respectively.

           (D) For purposes of these Unaudited Pro Forma Condensed Combined Financial Statements, a global
     blended statutory tax rate of 37.5% has been used. This does not reflect Georgia Gulf's effective tax rate, which
     will include other tax charges and benefits, and does not take into account any historical or possible future tax
     events that may impact the combined company.


     Note 4. Items Not Included
          The following expected material nonrecuning charges related to the Merger and all related transactions,
     including the Financing Transactions, are not included or provided for in the Unaudited Pro Fonna Condensed
     Combined Statements of Income:
          •    An estimated $5.3 increase in cost of sales related to the estimated fair market value step-up adjustment
               of the PPG Chlor-alkali and Derivatives Business' s inventory.

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          •    $11.6 of cash expenses for deal related costs that will be paid subsequent to June 30, 2012.
               Certain costs associated with Transition Services Agreement, the Shared Facilities, Services and
               Supply Agreement and other Additional Agreements, professional fees, consultants, information
               technology implementation, relocation and severance which may be incurred in connection with the
               integration of Georgia Gulf and the PPG Chlor-alkali and Derivatives Business.

          Georgia Gulf expects to increase availability under the New ABL Revolver by $200.0, subject to applicable
     borrowing base availability and other conditions. The New ABL Revolver is expected to charge a fee of 37 .5
     basis points on any portion of the facility that is undrawn.

          The Unaudited Pro Forma Condensed Combined Financial Statements also do not reflect benefits that may
     result from the realization of approximately $115.0 million of annualized cost synergies expected to be frilly
     realized in the first two years as a result of the Merger.

          As of December 31, 2011, Georgia Gulf had a valuation allowance of $101 .3 recorded on its deferred tax
     assets. This valuation allowance relates predominately to Georgia Gulf's Canadian deferred tax assets. As paii of
     the purchase price allocation process resulting from the Merger, it is possible that deferred tax liabilities will be
     recorded in the Canadian jurisdiction that, if recorded, could result in a release of a portion of the valuation
     allowance. Any release of a valuation allowance on Georgia Gulf's pre-Merger deferred tax assets will be
     recorded in the income statement in the pe1iod that the Merger is completed; however no such adjustment is
     included in the Unaudited Pro Forma Condensed Combined Financial Statements due to its nomecuning nature.

          No gain or loss was recorded to reflect the remeasurement of Georgia Gulf's previously held equity interest
     in PHH as a result of Georgia Gulf obtaining control of PHH through the Merger.




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                     HISTORICAL PER SHARE DATA, MARKET PRICE AND DIVIDEND DATA

     Compa ra tive Historical a nd Pro Forma Per Share Data
          The following table sets forth certain historical and pro forma per share data for Georgia Gulf. The historical
     data has been derived from and should be read together with the audited consolidated financial statements of
     Georgia Gulf and related notes thereto contained in Georgia Gulf's annual report on Form 10-K for the fiscal
     year ended December 31 , 2011 , and Georgia Gulf's unaudited condensed consolidated financial statements and
     related notes thereto contained in Georgia Gulf's quarterly repo11 on Porm 10-Q for the period ended June 30,
     2012, which are incorporated by reference into this document. See "Where You Can Find More Information;
     Incorporation by Reference." The proforma data has been de1ived from the unaudited proforma condensed
     combined financial statements of Georgia Gulf and the PPG Chlor-alkali and De1ivatives Business included
     elsewhere in this document.

          This comparative histo1ical and proforma per share data is being provided for illustrative pm·poses only.
     Georgia Gulf may have pe1formed differently had the Transactions occurred prior to the pe1iods presented. You
     should not rely on the proforma per share data presented as being indicative of the results that would have been
     achieved had Georgia Gulf and the PPG Chlor-alkali and Derivatives Business been combined dming the periods
     presented or of the future results or financial condition of Georgia Gulf to be achieved following the
     Transactions.

                                                                                  As of and for the         As of and for the
                                                                                 S ix Months Ended            Year Ended
                                                                                    June 30, 2012          December 31, 2011
                                                                               Historkal Pro Forma       Historkal Pro Forma
     (shares in thousands)
     Basic earnings per share                                                  $     1.41   $     1.87   $     1.66   $     2.85
     Diluted earni ngs per share                                               $     1.40   $     1.86   $     1.66   $     2.85
     Weighted average common shares outstanding- Basic                             34,346       69,546       34,086       69,286
     Weighted average common shares outstanding- Diluted                           34,521       69,721       34,122       69,321


     Historical Common Stock Market Price and Dividend Data
         Historical market price data for Splitco bas not been presented as the PPG Cblor-alkali and Derivatives
     Business is currently operated by PPG and there is no established trading market in Splitco common stock.
     Shares of Splitco common stock do not currently trade separately from PPG common stock.

           Shares of PPG common stock currently trade on the NYSE m1der the symbol "PPG." On July 18, 2012, the
     last trading day before the announcement of the Transactions, the last sale price of PPG common stock reported
     by the NYSE was $104.19. On             , 2012, the last trading day prior to the public announcement of this
     exchange offer, the last sale p1ice of PPG common stock repo1ied by the NYSE was$             . On        , 2012,
     the last trading day p1ior to this document, the last sale p1ice of PPG common stock repo11ed by the NYSE was
     $

          Shares of Georgia Gulf common stock currently trade on the NYSE under the symbol ·'GGC." On July 18,
     2012, the last trading day before the announcement of the Transactions, the last sale price of Georgia Gulf
     common stock reported by the NYSE was $28.85 . On                 , 2012, the last trading day prior to the public
     announcement of this exchange offer, the last sale p1ice of Georgia Gulf common stock reported by the NYSE
     was $      . On         , 2012, the last trading day p1ior to the date of this document, the last sale price of Georgia
     Gulf common stock repo11ed by the New York Stock Exchange was $




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          The following table sets forth the high and low sale p1ices of PPG common stock and Georgia Gulf common
     stock on the NYSE for the periods indicated as well as the dividends per share paid by PPG to holders of PPG
     common stock and Georgia Gulf to holders of Georgia Gulf common stock for these pe1iods. The quotations are
     as reported in published financial sources.

                                                                                            Georgia
                                                                          PPG Common       Gulf Per      Georgia Golf
                                                                               Stock                    Common Stock
                                                      PPG Per Share                          Share
                                                        Dividends         High       Low   Dividends    High      Low
     Year Ending December 31, 2012
     First Quarter                                        $0.57       $ 96.40     $83.27    $-         $35 .56   $20.24
     Second Quarter                                       $0.59       $107.95     $91.85    $0.08      $37.24    $23.80
     Third Quarter (through August 23, 2012)              $0.59       $114.62     $99.12    $-         $39.54    $24.52
     Year Ended December 31, 2011
     First Quarter                                        $0.55       $   96.56   $78.75    $-         $38.15    $23.68
     Second Quarter                                       $0.57       $   97.81   $82.76    $-         $40.59    $22.57
     Third Quarter                                        $0.57       $   93.85   $68.27    $-         $25 .35   $13.69
     Fourth Quarter                                       $0.57       $   90.00   $66.43    $-         $20.83    $12.19
     Year Ended December 31, 2010
     First Quarter                                        $0.54       $   66.63   $56.96    $-         $19.08    $13.91
     Second Quarter                                       $0.54       $   72.24   $59.01    $-         $21.79    $13.26
     Third Quarter                                        $0.55       $   73.99   $59.69    $-         $17.00    $11.11
     Fourth Quarter                                       $0.55       $   84.59   $72.10    $-         $24.75    $15.61


     Georgia Gulf Dividend Policy
          On May 21, 2012, Georgia Gulf declared a cash dividend of $0.08 per share, Georgia Gulf's first dividend
     since 2008. This dividend was paid on July 10, 2012. Pursuant to the Merger Agreement, Georgia Gulf has
     agreed not to pay a qum1erly dividend of greater than $0.08 per share until after the consummation of the Merger
     and indicated its intent to pay quarterly dividends from and after the closing of the Merger at no less than the
     current rate of $0.32 per share per annum, although the payment of cash dividends in the future will be at the
     discretion of Georgia Gulf's bom·d of directors . The declaration of any cash dividends, and the amount thereof,
     will depend on many factors, including Georgia Gulfs financial condition, capital requirements, funds from
     operations, the dividend taxation level, Georgia Gulf's stock price, future business prospects, and any other
     factors, as Georgia Gulf's board of directors may deem relevant. Additionally, the ABL Revolver and the
     indenture governing the 9 percent notes place significant restiictions on Georgia Gulfs ability to pay dividends,
     and other indebtedness Georgia Gulf may incur in the future, including the New ABL Revolver, may contain
     similar restrictions.


     PPG Dividend Policy
          Under PPG's Restated Articles of Incorporation, as amended, the Board of Directors has the authority to
     determine the quarterly dividend rate. PPG has paid uninterrupted annual dividends since 1899, and 2011 marked
     the 40th consecutive year of increased annual dividend payments to shareholders.




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                                                  THE TRANSACTIONS

           On July 19, 2012, Georgia Gulf and PPG announced that they, along with Splitco and Merger Sub, had
     entered into the Merger Agreement, and that PPG and Splitco had entered into the Separation Agreement, which
     together provide for the combination of Georgia Gulf's business and the PPG Chlor-alkali and De1ivatives
     Business. In the Transactions, PPG will transfer the PPG Chlor-alkali and De1ivatives Business to Splitco, a
     newly formed wholly-owned subsidiary of PPG. P1ior to the Distribution, PPG will receive the cash proceeds of
     approximately $225 .0 million from borrowings under the Term Facility through a distribution in connection with
     the Separation and prior to the consummation of the Merger. PPG will also receive approximately $675.0 million
     in Debt Securities, which are expected to be issued by Splitco to PPG prior to the Distribution, and then expected
     to be transferred on or about the closing date of the Merger to investment banks and/or commercial banks in
     satisfaction of the debt obligations of PPG described in the section of this document entitled "Debt Financing-
     PPG Bridge Facility."

           On the closing date of the Merger, PPG will distribute shares of Splitco common stock to its participating
     shareholders in an exchange offer. If the exchange offer is consummated but is not fully subscribed, PPG will
     distribute the remaining shares of Splitco common stock on a pro rata basis to PPG shareholders whose shares of
     PPG common stock remain outstanding after consummation of the exchange offer. If there is a pro rata
     distribution, the exchange agent will calculate the exact number of shares of Splitco common stock not
     exchanged in the exchange offer and to be distributed on a pro rata basis, and the number of shares of Georgia
     Gulf common stock into which the remaining shares of Splitco common stock will be converted in the Merger
     will be transfeffed to PPG shareholders (after giving effect to the consummation of the exchange offer) as
     promptly as practicable thereafter. Immediately after the Distribution and on the closing date of the Merger,
     Merger Sub will merge with and into Splitco, whereby the separate corporate existence of Merger Sub will cease
     and Splitco will continue as the surviving company and as a wholly-owned subsidiary of Georgia Gulf. In the
     Merger, each share of Splitco common stock will be converted into the right to receive Georgia Gulf common
     stock based on the exchange ratio set fo1ih in the Merger Agreement, as desc1ibed in the section of this document
     entitled "The Merger Agreement- Merger Consideration."

          Georgia Gulf expects to issue 35 .2 million shares of Georgia Gulf common stock in the Merger, although
     the exact number of shares to be issued in the Merger will not be known until the closing date. Based upon the
     repo11ed closing sale price of $        per share for Georgia Gulf common stock on the NYSE on
     2012, the most recent practicable date p1ior to the date of this document, the total value of the shares to be issued
     by Georgia Gulf and the amomlt of cash to be received by PPG in the Transactions, including the Term Facility
     and the Debt Secmities, which will be the obligations of Splitco and, following the consummation of the Merger,
     will be guaranteed by Georgia Gulf, would have been approximately $                 million. The value will depend
     on the market price of shares of Georgia Gulf common stock at the time of determination.

          After the Merger, Georgia Gulf will own and operate the PPG Chlor-alkali and Derivatives Business
     through Splitco, which will be Georgia Gulf's wholly-owned subsidiary, and will also continue its current
     businesses. All shares of Georgia Gulf common stock, including those issued in the Merger, will be listed on the
     NYSE under Georgia Gulf's current trading symbol "GGC."

          Below is a step-by-step description of the sequence of material events relating to the Transactions.


     Step l     Separation
               PPG will transfer to Splitco, a newly formed, direct wholly-owned subsidiary of PPG, the PPG Chlor-
               alkali and Derivatives Business.




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     Step 2    lncurrence of Debt
              P1ior to the Disnibution, Splitco will incur new indebtedness in the form of the Tenn Facility in the
              amount of approximately $225 .0 million and issue approximately $675 .0 million in aggregate p1incipal
              amount of Debt Secmities to PPG. PPG will ultimately receive the cash proceeds from the
              approximately $225.0 million term loan under the Term Facility through a distribution in connection
              with the Separation and prior to the consummation of the Merger. PPG is then expected to transfer the
              Debt Securities on or about the closing date of the Merger to investment banks and/or commercial
              banks in satisfaction of the debt obligations of PPG described in the section of this document entitled
              "Debt Financing- PPG Bridge Facility." The Debt Securities are subsequently expected to be sold by
              the investment banks and/or commercial banks to third-party investors as described below. PPG is
              expected to receive approximately $900.0 million in cash from the Term Facility and Debt Securities.

     Step 3    Distribution- Exchange Offer
              PPG will offer to PPG shareholders the right to exchange all or a portion of their shares of PPG
              common stock for shares of Splitco common stock in an exchange offer.
              If the exchange offer is consummated but is not fully subsCiibed, PPG will distiibute the remaining
              shares of Splitco common stock on a pro rata basis to PPG shareholders whose shares of PPG common
              stock remain outstanding after consummation of the exchange offer. If there is a pro rata distiibution,
              the exchange agent will calculate the exact number of shares of Splitco common stock not exchanged
              in the exchange offer and to be disnibuted on a pro rata basis, and the number of shares of Georgia
              Gulf common stock into which the remaining shares of Splitco common stock will be converted in the
              Merger will be transferred to PPG shareholders (after giving effect to the consummation of the
              exchange offer) as promptly as practicable thereafter.
              The exchange agent will hold, for the account of the relevant PPG shareholders, the global certificate(s)
              representing all of the outstanding shares of Splitco common stock, pending the consummation of the
              Merger. Shares of Splitco common stock will not be traded during this period.
              As previously noted, Splitco has prepared this document under the assumption that the shares of
              Splitco will be distributed to PPG shareholders pursuant to a split-off. Based on market conditions prior
              to closing, PPG will detennine whether the Splitco shares will be distiibuted to PPG's shareholders in a
              spin-off or a split-off and, once a final decision is made, this document may be amended to reflect that
              decision, if necessary.

     Step 4    Merger
              Immediately after the Distribution, and on the closing date of the Merger, Merger Sub will merge with
              and into Splitco, whereby the separate corporate existence of Merger Sub will cease and Splitco will
              continue as the surviving company and a wholly-owned subsidiary of Georgia Gulf. In the Merger,
              each share of Splitco common stock will be converted into the right to receive Georgia Gulf common
              stock based on the exchange ratio set forth in the Merger Agreement, as described in the section of this
              document entitled "The Merger Agreement- Merger Consideration." Following the consummation of
              the Merger, Georgia Gulf and certain of its subsidiaries will guarantee the Term Facility and the Debt
              Securities.
              Immediately after consummation of the Merger, at least 50.5% of Georgia Gulf common stock is
              expected to be held by pre-Merger holders of PPG common stock and no more than 49.5% of Georgia
              Gulf common stock is expected to be held by pre-Merger Georgia Gulf stockholders.

     Step 5    Sale of Debt Securities to Third-Party Investors
              As described in Step 2 above, Georgia Gulf and PPG expect the Debt Securities to be a·ansferred by
              PPG on or about the closing date of the Merger to investment banks and/or commercial banks in the

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               Debt Exchange in exchange for debt obligations of PPG described in the section of this document
               entitled "Debt Financing- PPG Bridge Facility." The Debt Secmities will then be sold by the
               investment banks and/or commercial banks to third-party investors pursuant to an exemption from
               registration m1der the Securities Act in either a private placement or a "Rule 144A" transaction.

          Set forth below are diagrams that graphically illustrate, in simplified form, the existing corporate structure,
     the corporate structure immediately following the Distribution, and the corporate structure immediately
     following the consummation of the Transactions contemplated by the Merger Agreement.


                     Existing Structure                           Structure Following the Separation and the Distribution
                                                                                  but Before the Merger




           PPG (Owns the
           PPG Chlor-alkall
                                    Georgia Gulf                                        Splitco (Owns the     Georgia Gulf
           and Derivatives
              Business)                                                 PPG             PPG Chlor-alkali
                                                                                         and Derivatives
                                                                                        Business and is the
                                                                                       Obligor under the
                                                                                         Term Facility
                                                                                      and Debt Securities)
               Splltco              Mer ger Sub
                                                                                                              Merger Sub




                                      Structure Immediately Following the Transactions




                                                  ~50.5%                       ~49.5%




                                PPG                          Georgia Gulf




                                                            Splltco (Owns the
                                                           PPG Chlor-alkall and
                                                        Derivatives Business and
                                                      Is the Obllgor under the Term
                                                      Facility and Debt Securities)




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          After completion of all of the steps desc1ibed above:
           •   Georgia Gulf's wholly-owned subsidiary, Splitco, will hold the assets and liabilities of the PPG Chlor-
               alkali and Derivatives Business and will be the obligor under the Term Facility and the Debt Securities,
               which will be guaranteed by Georgia Gulf and certain of its subsidiaries; and
           •   PPG will receive the approximately $225.0 million in cash proceeds from the Term Facility and will
               exchange the approximately $675 .0 million in Debt Securities for debt obligations of PPG in the Debt
               Exchange (and the Debt Securities will then be sold to third-party investors), resulting in PPG
               receiving approximately $900.0 million in cash from the Transactions.

     Immediately after consummation of the Merger, at least 50.5% of Georgia Gulf common stock is expected to be
     held by pre-Merger holders of PPG common stock and no more than 49.5% of Georgia Gulf common stock is
     expected to be held by pre-Merger Georgia Gulf stockholders. In connection with the Transactions, Georgia
     Gulf, Merger Sub, PPG and/or Splitco have entered into or will enter into the Additional Agreements relating to,
     among other things, certain tax matters, certain employee matters, the provision of certain transition services
     during a transition period following the consummation of the Transactions, and the sharing of facilities, services
     and supplies. See "Other Agreements.''

          Various factors were considered by Georgia Gulf and PPG in negotiating the terms of the Transactions,
     including the equity ownership levels of Georgia Gulf stockholders and the PPG shareholders receiving shares of
     Georgia Gulf common stock in the Distribution. The principal factors considered by the parties negotiating the
     terms of the Transactions were the strategic and financial benefits that could be expected to be achieved by
     combining Georgia Gulf and the PPG Chlor-alkali and Derivatives Business relative to the future prospects of
     Georgia Gulf on a standalone basis, the relative actual results of operations and prospects of Georgia Gulf and of
     the PPG Chlor-alkali and De1ivatives Business, synergies expected to be realized in the combination, as well as
     other alternatives that may be available to Georgia Gulf, and the risks and unce1tainties associated with the
     Transactions and with such alternatives, and the other factors identified in the sections of this document entitled
     "The Transactions- Background of the Transactions" and ''The Transactions- Georgia Gulf's Reasons for the
     Transactions." PPG also considered, among other things, the value to PPG and PPG's shareholders that could be
     realized in the Transactions as compared to the value to PPG and PPG's shareholders that could be realized if the
     Transactions did not occur, the proposed tax treatment of the Transactions, and the other factors identified in the
     section of this document entitled "The Transactions- PPG's Reasons for the Transactions."


     Determination of Number of Shares of Splitco Common Stock to be Distributed to PPG Shareholders
          PPG is offering to exchange all shares of Splitco common stock for shares of PPG common stock validly
     tendered and not properly withdrawn. Pursuant to an amendment to the Merger Agreement dated August 31,
     2012, Splitco will authorize the issuance of a number of shares of Splitco common stock such that the total
     number of shares of Splitco common stock outstanding immediately prior to the effective time of the Merger will
     equal the greater of (i) 35,200,000 shares or (ii) the product of (x) the number of shares of Georgia Gulf common
     stock issued and outstanding immediately prior to the effective time of the Merger multiplied by (y) 1.02020202,
     subject to adjustment under certain circumstances.


          No Fractional Shares; Exchange of Certificates
          In the conversion of shares of Splitco common stock into shares of Georgia Gulf common stock, no
     fractional shares of Georgia Gulf common stock will be delivered to holders of Splitco common stock. All
     fractional shares of Georgia Gulf common stock that a holder of shares of Splitco common stock would
     otherwise be entitled to receive as a result of the Merger will be aggregated by the transfer agent. The transfer
     agent will cause the whole shares obtained thereby to be sold on behalf of such holders of shares of Splitco
     common stock that would otherwise be entitled to receive such fractional shares of Georgia Gulf common stock
     in the Merger, in the open market or otherwise as reasonably directed by PPG, and in no case later than five

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     business days after the Merger. The transfer agent will make available the net proceeds thereof, after deducting
     any required withholding taxes and brokerage charges, commissions and transfer taxes, on a pro rata basis,
     without interest, as soon as practicable to the holders of Splitco common stock that would otherwise be entitled
     to receive such fractional shares of Georgia Gulf common stock in the Merger.

           Upon consummation of the Merger, shares of Splitco common stock will no longer be outstanding and will
     automatically be canceled and retired. P1ior to the Merger, Georgia Gulf will deposit with the transfer agent the
     certificates or book-entry authorizations representing the shares of Georgia Gulf common stock issuable in the
     Merger. To the extent not previously distributed in connection with the Distribution, the transfer agent will mail
     to each holder of record of Splitco common stock a letter of transmittal and instructions for use in effecting the
     surrender of any certificates in the Merger.


     Background of' the Transactions
          PPG has been a long-time supplier of chlorine to Georgia Gulf. In addition, since 1999, PPG and Georgia
     Gulf have been partners in a joint venture that owns and operates a VCM manufacturing plant in Lake Charles,
     Louisiana.

           Georgia Gulf has periodically considered potential strategic transactions involving the PPG Chlor-alkali and
     Derivatives Business in light of these long-standing commercial relationships, and the potential benefits to
     Georgia Gulf to enhance its integration into chlorine supply. Similarly, PPG has periodically considered potential
     strategic transactions involving the PPG Chlor-alkali and De1ivatives Business, including the possibility of a
     spin-off or divestiture. From time to time over a number of years, representatives of Georgia Gulf and PPG
     engaged in preliminary discussions regarding potential strategic opportunities involving the two businesses,
     including a merger using a Reverse Monis Trust structure. While those discussions never progressed beyond the
     preliminary stage, Georgia Gulf continued to consider a potential combination with the PPG Chlor-alkali and
     Derivatives Business as an attractive oppo1tunity for long-term value creation.

           In 2009, Georgia Gulf completed an equity-for-debt exchange that substantially reduced Georgia Gulf's
     outstanding debt and resulted in the issuance to its then bondholders of shares representing approximately 96% of
     its common stock after completion of the exchange. In conjunction with the recapitalization, the board of
     directors of Georgia Gulf was reconstituted with the addition of new directors comprising a majority of the
     number of directors. In early 2010, the board of directors of Georgia Gulf and management conducted an
     extensive review of Georgia Gulf's businesses and strategic oppo1tunities. As paii of that planning process,
     Georgia Gulf identified the enhancement of its integration into chlo1ine supply as a p1incipal strategic objective.
     In addition, in May 2010, Georgia Gulf and PPG entered into a confidentiality agreement in connection with
     discussions be tween the companies regarding manufacturing and shared services business opportunities relating
     to chlor-alkali products, ethylene and PVC.

           In February 2011, Georgia Gulf publicly announced its goal to substantially augment its access to chlorine
     supply and to pursue a level of vertical integration that would enhance Georgia Gulf's operating rates throughout
     business cycles, allow Georgia Gulf to take advantage of the expansion of natural gas-fired cogeneration to lower
     its energy costs and improve its position to capitalize on other growth opportunities.

           In furtherance of that objective, in the spring and summer of 2011, Georgia Gulf's management, with the
     assistance of Barclays Capital Inc. ("Barclays''), analyzed the use of a Reverse Morris Trust transaction structure
     to effect a combination of Georgia Gulf with the PPG Chlor-alkali and Derivatives Business. Georgia Gulf's
     management, with the assistance of Barclays, examined the tax-driven requirements for the structure of such a
     transaction, the possible value of the PPG Chlor-alkali and Derivatives Business, the effects on Georgia Gulf's
     businesses from such a combination, the types of potential operating and other synergies that could be achieved
     in such a transaction, and the resulting capitalization of Georgia Gulf. On several occasions between August and
     October 2011 Paul Carrico, Georgia Gulf's president and chief executive officer, and Charles Bunch, PPG's

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     chairman and chief executive officer, engaged in discussions regarding the existing chlo1ine supply agreement
     between the pmiies and a potential combination of Georgia Gulf and the PPG Chlor-alkali and Derivatives
     Business.

          At a regularly scheduled meeting on September 14, 2011, as part of its strategic review process, the board of
     directors of Georgia Gulf considered various potential opportunities to enhance Georgia Gulf's integration into
     chlorine supply, as well as other possible strategic alternatives.

          Subsequent to that September meeting of the board of directors of Georgia Gulf, through the end of 2011,
     Georgia Gulf, together with Bm·clays, continued to analyze vaiious opportunities for Georgia Gulf to develop and
     implement its strategic objective to augment its integration in chlo1ine supply. The board of directors of Georgia
     Gulf was updated on these effo11s at vmious meetings during this period. Also dming this pe1iod, preliminary
     discussions were held between Georgia Gulf and PPG about possible terms for a new long-term chlorine supply
     agreement between the companies. In late November 2011, Mr. Carrico and Greg Thompson, Georgia Gulfs
     chief financial officer, together with representatives of Barclays, met with Mr. Bunch and David Navikas, PPG's
     senior vice president, finance and chief financial officer, together with representatives of Lazm·d Freres & Co.
     LLC (''Lazm·d"), PPG's financial advisor, to discuss the potential combination of the two businesses through a
     Reverse Morris Trust merger structure.

          At a regular meeting of the board of directors of PPG held on December 8, 2011, members of PPG
     management informed the board of directors of PPG of the preliminary discussions between PPG and Georgia
     Gulf, and discussed the possibility of a transaction with Georgia Gulf involving the PPG Chlor-alkali and
     Derivatives Business.

          Following discussions in November and December 2011 between representatives of Georgia Gulf and PPG,
     on December 20, 2011 , Georgia Gulf and PPG entered into a confidentiality agreement to facilitate further
     discussions of a possible transaction. Beginning in December 2011, and continuing up to the execution of the
     Merger Agreement in July 2012 representatives of Georgia Gulf engaged in a comprehensive due diligence
     review of the PPG Chlor-alkali and Derivatives Business, and representatives of PPG conducted a similar review
     of Georgia Gulf.

          Following confidential discussions with Georgia Gulf that had been initiated by Westlake Chemical
     Corporation ("Westlake'') in September 2011 , in January 2012, Westlake publicly proposed to acquire Georgia
     Gulf for $30.00 per share in cash, and subsequently publicly increased its proposed price to $35.00 per share.
     Following discussions and the exchange of information between Georgia Gulf and Westlake in March and April
     2012 under a confidentiality agreement, Westlake's chief executive officer verbally indicated that. although he
     did not yet have authorization from the Westlake bom·d of directors for such a proposal, Westlake might be
     prepared to consider increasing its proposal to as much as $40.75 per shm·e if Georgia Gulf would indicate that it
     would accept that proposal. Georgia Gulf informed Westlake that the board of directors of Georgia Gulf
     considered such a proposal to be financially inadequate and not in the best interests of Georgia Gulf and its
     stockholders, but that, while no decision had been made to sell Georgia Gulf, the board of directors of Georgia
     Gulf would give consideration to any increased offer that Westlake may make. On May 4, 2012, Westlake
     announced that it had withdrawn its proposal to acquire Georgia Gulf.

          On January 18, 2012, members of each of the management teams of PPG and Georgia Gulf, along with their
     respective financial advisors, Lazard and Barclays, held a meeting, at which the representatives of PPG presented
     a review of the PPG Chlor-alkali and Derivatives Business, including its key products, industry developments,
     back office operations, potential synergies and a location-by-location analysis, together with preliminary
     financial information. Georgia Gulf management updated the board of directors of Georgia Gulf on these
     discussions at a meeting held on January 19, 2012.

         On January 20, 2012, Lazard confirmed to Georgia Gulf PPG's interest in the possibility of pursuing the
     combination of Georgia Gulf and the PPG Chlor-alkali and Derivatives Business, and requested that Georgia

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     Gulf provide a w1itten indication of the principal terms that would be acceptable to Georgia Gulf.

          On February 7, 2012, members of Georgia Gulfs management, together with representatives of Barclays,
     updated the board of directors of Georgia Gulf on the due diligence activities that had been conducted to date,
     and on the ongoing discussions with representatives of PPG, and reviewed possible terms of such a transaction.
     The board of directors of Georgia Gulf autho1ized management to continue discussions with PPG.

           On Pebruary 10, 2012, Georgia Gulf furnished PPG with a non-binding outline of terms for a possible
     combination of Georgia Gulf and the PPG Chlor-alkali and Derivatives Business through a Reverse Morris Trust
     merger. The Georgia Gulf proposal to PPG contemplated, among other things, $500 million of cash consideration
     to be received by PPG, and the issuance to PPG shareholders of 35.2 million shares of Georgia Gulf common
     stock, valued at $1.12 billion based on the prior day's closing price. Georgia Gulf's proposal also outlined the
     liabilities of the PPG Chlor-alkali and Derivatives Business that it was willing to assume in the transaction.

           At its regular meeting on February 16, 2012, the board of directors of PPG received a presentation from
     PPG management about the market dynamics and longer-term industry outlook for the chlor-alkali industry and
     strategic options for the business. The board of directors of PPG also received an update on the discussions with
     Georgia Gulf, and discussed the proposal submitted by Georgia Gulf on February 10, 2012. Based on these
     discussions, the board of directors of PPG determined that the proposal submitted on February 10, 2012 was not
     adequate as a basis for proceeding with the transaction. PPG communicated this determination to Georgia Gulf.

          At a February 29, 2012 meeting of the board of directors of Georgia Gulf, Mr. Carrico provided an update
     on developments relating to the possible transaction with PPG. The board of directors of Georgia Gulf also
     discussed other possible transactions to enhance Georgia Gulf's integration into chlorine supply.

         On March 6, 2012, follow ing further discussions between representatives of Georgia Gulf and PPG,
     Georgia Gulf submitted a revised indication of interest to PPG, which contemplated an increase in the cash
     consideration to be received by PPG to $800 million, together with 35 .2 million shares of Georgia Gulf
     common stock, valued at $1.11 billion based on the prior day's closing price. Georgia Gulf also revised its
     proposal regarding the liabilities of the PPG Chlor-alkali and Derivatives Business that it was willing to
     assume in the transaction.

          On March 19, 2012, PPG sent a counterproposal to Georgia Gulf that provided for cash consideration of
     $1.0 billion to PPG, together with 35.2 million shares of Georgia Gulf common stock, valued at $1.2 billion
     based on the p1ior day·s closing price. This letter also attached a proposed revised term sheet, including a revised
     proposal with respect to the liabilities of the PPG Chlor-Alkali and De1ivatives Business that PPG believed
     Georgia Gulf should assume in the transaction. In addition, PPG proposed that, coincident with the execution of
     the definitive agreements for the Transactions, the existing chlorine supply contract between Georgia Gulf and
     PPG be amended to provide for a new five year term, in lieu of the contract's current provision that would allow
     Georgia Gulf to terminate the agreement effective as of the end of 2014 or the end of any later year, with advance
     notice of not less than 24 months.

          On March 25, 2012, Mr. Carrico updated the board of directors of Georgia Gulf on the PPG counterproposal,
     as well as other alternatives to achieve a desired increased level of integration into chlorine supply.

          On April 4, 2012, representatives of PPG and Georgia Gulf, including each company's respective advisors,
     met to discuss the structure and terms of the possible transaction. At the meeting, the representatives of Georgia
     Gulf presented an overview of Georgia Gulf's business and key products, industry developments and operations.
     They also discussed the PPG Chlor-alkali and De1ivatives Business and reviewed in detail the synergies that
     could be achieved through a combination with Georgia Gulf. Georgia Gulf's management updated the board of
     directors of Georgia Gulf on the progress of those discussions at an April 9, 2012 meeting.

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           On April 11, 2012, Georgia Gulf made a counterproposal which provided for cash consideration to be
     received by PPG in the possible transaction of $875 million, together with 35.2 million shares of Georgia Gulf
     common stock, valued at $1 .12 billion based on the prior day's closing price, and did not provide for any
     extension of the chlorine supply agreement with PPG. Georgia Gulf also revised its proposal regarding the
     liabilities of the PPG Chlor-alkali and Derivatives Business that it was willing to assume in the transaction.

          On April 16, 2012, PPG sent a counterproposal to Georgia Gulf that provided for cash consideration of $925
     million to be received by PPG in the possible transaction, together with 35 .2 million shares of Georgia Gulf
     common stock, valued at $1.11 billion based on the prior day's closing price. This letter also attached a proposed
     revised term sheet, including a revised proposal with respect to the liabilities of the PPG Chlor-Alkali and
     Derivatives Business that PPG believed Georgia Gulf should assume in the transaction. In addition, PPG
     proposed that, concurrent with the execution of the definitive agreements providing for a transaction, Georgia
     Gulf's right to terminate the existing chlorine supply agreement between the parties with advance notice be
     amended to provide that Georgia Gulf could not terminate the agreement effective prior to the end of 2016.

          On April 17, 2012, Mr. Carrico and Mark Noetzel, the chairman of the board of directors of Georgia Gulf,
     met with Mr. Bunch to discuss the possible transaction, including PPG's request that it be entitled to designate
     three members to be appointed to the board of directors of Georgia Gulf if the possible transaction is
     consummated.

           On April 18, 2012, Georgia Gulf provided PPG with a counterproposal to its April 16, 2012 proposal that
     provided for $900 million in cash consideration to be received by PPG, together with 35 .2 million shares of
     Georgia Gulf common stock, valued at $1 .17 billion based on the prior day's closing p1ice, and did not include
     any proposal to amend the chlorine supply agreement. Georgia Gulf also revised its proposal with respect to the
     liabilities of the PPG Chlor-alkali and Derivatives Business that it was willing to assume in the transaction. This
     letter also attached a proposed revised term sheet.

          At meetings on Ap1il 16, 25 and 27, 2012, the board of directors of Georgia Gulf received further updates
     from management, Barclays and Jones Day, legal counsel for Georgia Gulf, on the due diligence activities and
     status of discussions with PPG. The board of directors of Georgia Gulf also discussed other possible strategic
     alternatives, including opportunities to enhance Georgia Gulf's ve1tical integration in chlo1ine supply.

         At a regular meeting on April 19, 2012, the board of directors of PPG received a presentation from PPG
     management assessing portfolio options for the PPG Chlor-alkali and De1ivatives Business given industry
     dynamics. Management reviewed with the board of directors of PPG two alternatives: the proposed Reverse
     Morris Trnst transaction with Georgia Gulf or retaining the PPG Chlor-alkali and Derivatives Business. At this
     meeting, the board of directors of PPG unanimously provided its support for PPG management proceeding with
     negotiations with Georgia Gulf for a possible Reverse Morris Trust transaction and to attempt to finalize these
     negotiations on the terms discussed with the board of di.rectors of PPG at that meeting.

          On May 10, 2012, following further discussions between representatives of Georgia Gulf and PPG, Georgia
     Gulf and PPG reached an agreement in principle on the primary structure and terms of a possible combination of
     Georgia Gulf and the PPG Chlor-alkali and Derivatives Business, subject to further due diligence, agreement on
     numerous other terms of the transaction, and negotiation of definitive agreements. The agreement in principle
     contemplated that PPG shareholders would receive 35.2 million shares of Georgia Gulf common stock, valued at
     $1 .17 billion based on the prior day's closing price, representing approximately 50.5% of the Georgia Gulf
     common stock that would be outstanding following the Merger, and PPG would receive $900 million in cash
     (subject to downward adjustment in the event PPG's interest in a non-U.S. joint venture could not be conveyed at
     closing due to the failure to secure third-party consents, if necessary). The parties also contemplated that PPG
     would be entitled to designate individuals to fill three new seats on the board of directors of Georgia Gulf, with
     the identities of such designees to be mutually agreed. In addition, the parties contemplated that the term of the
     existing chlo1ine supply agreement would be extended in certain circumstances.

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          Mr. Carrico updated the board of directors of Georgia Gulf on the progress of the possible PPG transaction
     at a meeting on May 22, 2012. The discussion included an update on strategic objectives, Georgia Gulfs
     competitive position both with and without the PPG Chlor-alkali and De1ivatives Business, the proposed material
     terms of the transaction that had been discussed to date, and the status of the due diligence review process, as
     well as a review of potential financing structures.

          Dming the first three weeks of June 2012, representatives of Jones Day and Wachtell Lipton, legal counsel
     for PPG, engaged in various negotiations about the terms of the Merger Agreement and the Separation
     Agreement and discussed drafts of those agreements.

          At a meeting on June 18, 2012, Georgia Gulf's management updated the board of directors of Georgia Gulf
     on the status of the negotiations with PPG, as well as the potential financing arrangements for the possible
     transaction. The Georgia Gulf board of directors also determined that, in order to further assist the board of
     directors of Georgia Gulf in its assessment, consideration and evaluation of the potential transaction with PPG,
     and in light of Barclays' potential participation in the financing for PPG as part of the possible transaction,
     Georgia Gulf should engage an additional investment banking firm to provide financial advisory services. After
     having interviewed several financial advisory firms that were not currently rendering any advisory services or
     providing any financing commitments to either Georgia Gulf or PPG, the board of directors of Georgia Gulf
     determined to engage Houlihan Lokey Financial Advisors, Inc. ("Houlihan Lokey") to perform certain financial
     advisory services for Georgia Gulf.

          On June 27, 2012, PPG and Georgia Gulf executed a letter agreement in which they confirmed their
     intention to enter into a Reverse Morris Tmst transaction on the preliminary terms agreed to on May 10, 2012
     and such other terms as might be agreed by the parties. Also on June 27, 2012, PPG filed with the IRS the request
     to receive a p1ivate letter ruling to the effect that ce11ain portions of the transactions contemplated by the
     Separation Agreement and the Merger Agreement will qualify as a "reorganization" under the relevant sections
     of the Code.

          On June 27 and 28, 2012, representatives of Georgia Gulf and PPG, and their respective legal advisors, met
     in person to negotiate terms of the transaction agreements. Throughout the rest of June and early July 2012,
     representatives of Georgia Gulf and PPG continued to discuss the terms of a possible transaction and to negotiate
     the drafts of the definitive transaction documents.

          On July 10, 2012, the board of directors of Georgia Gulf met to consider the possible transaction. Members
     of Georgia Gulf management reviewed the strategic rationale, the progress of negotiations between the pai1ies,
     the due diligence activities undertaken by Georgia Gulf and its advisors, and the proposed financing for the
     Transactions. Georgia Gulf's legal advisors reviewed the principal terms of the draft transaction agreements and
     discussed the unresolved issues. Also at this meeting, Barclays and Houlihan Lokey separately reviewed with the
     board of directors of Georgia Gulf financial aspects of the proposed transaction. The board of directors of
     Georgia Gulf then directed management, with the assistance of Georgia Gulf's advisors, to continue negotiation
     of the remaining transaction and financing documents.

           Between July 11 and July 18, 2012, representatives of Georgia Gulf and PPG, and their respective legal
     advisors, continued to negotiate the terms of the definitive documents providing for the possible Transactions, as
     well as the proposed financing commitments. Additionally, the parties and their respective advisors completed
     their due diligence activities.

           Following continued negotiations during the period from July 11 , 2012 to July 18, 2012, the parties finalized
     the terms of the definitive documents for the Transactions and the related financing commitments, and agreed to
     submit the Transactions for review and approval by their respective boards of directors.



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           On July 18, 2012, the board of directors of Georgia Gulf met, together with representatives of management
     and Georgia Gulf's legal and financial advisors, to review the final structure and terms of the Transactions and
     the financing arrangements. Georgia Gulf's legal advisors reviewed the p1incipal terms of the Merger Agreement
     and related documents. Houlihan Lokey then reviewed the financial terms of the Merger for the board of
     directors of Georgia Gulf. In addition, representatives of Barclays reviewed the financial terms of the Merger for
     the board of directors of Georgia Gulf. Following further discussion, the board of directors of Georgia Gulf, by
     unanimous vote of all members present, determined that the Merger Agreement and the proposed transaction
     with PPG were advisable, fair to and in the best interests of Georgia Gulf and its stockholders, approved the
     Merger Agreement and unanimously recommended that Georgia Gulf stockholders approve the issuance of
     shares of Georgia Gulf common stock pursuant to the Merger and approve any other transactions contemplated
     by the Merger Agreement, including the Merger.

          Also on July 18, 2012, the board of directors of PPG met, together with representatives of management and
     PPG's legal and financial advisors, to review the final structure and terms of the Transactions and the financing
     arrangements. PPG's management provided information with respect to the terms, structure, impact and strategic
     rationale of the Transactions. Representatives of Lazard made a presentation to the board of directors of PPG
     regarding the Transactions and their economic terms and potential impact on PPG, and a representative of
     Wachtell Lipton made a presentation with respect to the terms of the proposed agreements. Following further
     discussion, the board of directors of PPG, by unanimous vote of all members present, determined that the Merger
     Agreement and the Transactions were advisable and in the best interests of PPG and its shareholders, approved
     the Merger Agreement, Separation Agreement, the financing of the Transactions and the form of the other
     transaction agreements.

          Following their respective board meetings, Georgia Gulf and PPG received the executed debt commitments
     and related letters from the lenders committing to provide financing for the Transactions. Georgia Gulf, PPG and
     Splitco, as the case may be, then signed the Merger Agreement, the Separation Agreement and the applicable
     ancillary agreements.

         On July 19, 2012, before the opening of trading on the NYSE, Georgia Gulf and PPG issued press releases
     announcing the Transactions.

     Georgia Gulf's Reasons for the Transactions
          In reaching its decision to approve the Merger Agreement and recommend that Georgia Gulf stockholders
     approve the issuance of Georgia Gulf shares in the Merger, the board of directors of Georgia Gulf considered,
     among other things, the strategic and financial benefits that could be expected to be achieved by combining
     Georgia Gulf and the PPG Chlor-alk.ali and Derivatives Business relative to the future prospects of Georgia Gulf
     on a standalone basis, the relative actual results of operations and prospects of Georgia Gulf and of the PPG
     Chlor-alkali and Derivatives Business, synergies expected to be realized in the combination, as well as other
     alternatives that may be available to Georgia Gulf, and the risks and uncertainties associated with the
     Transactions and with such alternatives.

         In that process, the board of directors of Georgia Gulf considered the following factors as generally
     supporting its decision to approve the Merger Agreement and recommend that Georgia Gulf stockholders
     approve the issuance of Georgia Gulf shares in the Merger:
           •   the increased size, economies of scale and total capabilities of Georgia Gulf after the Transactions,
               which are expected to enable it to improve its cost structure and increase profitability;
           •   the increased integration due to a significant increase in chlorine production flexibility and capacity,
               which is expected to result in a more vertically integrated business and present new opportunities for
               organic growth, including growth in VCM- and PVC-related sales;
           •   the anticipated 70% integration to natural gas fired cogeneration, expected to result in a combined
               company with a low cost integrated chlor-alkali production platform;

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           •   the diversification of Georgia Gulf's product portfolio as a result of additional downstream product
               offe1ings;
           •   the expectation that Georgia Gulf will be well positioned to secure favorable terms of ethylene supply
               due to its increased size and scale;
           •   the enhanced strategic and market position of the combined company, beyond that achievable by
               Georgia Gulf alone;
               t.he expe(;LaLion lltal Georgia Gulf afLer t.he Transa(;Lions will adrieve annualized (;OSL synergies of
               approximately $115 million within two years from the consummation of the Transactions from, among
               other things, operating rates optimization, more favorable procurement of raw materials, inputs and
               services, freight and logistics optimization, reduced overhead costs and information technologies
               savings;
           •   the expectation of enhanced cash tlow generation that, if realized, would provide Georgia Gulf greater
               financial tlexibility than it would have as a standalone company, even after taking into account the
               additional indebtedness incurred in connection with the Transactions;
           •   the significant increase in total equity market capitalization of Georgia Gulf, which is expected to also
               increase the trading volume, and therefore the liquidity, of its common stock;
           •   the geographic and product synergies of major facilities, including the Lake Charles assets of the PPG
               Chlor-alkali and Derivatives Business;
           •   the fact that the Merger Agreement and the aggregate consideration to be paid by Georgia Gulf
               pursuant to the Merger Agreement were the result of extensive arms-length negotiations bet\veen
               representatives of Georgia Gulf and of PPG;
           •   the fact that the Merger Agreement allows the board of directors of Georgia Gulf to accept a superior
               proposal upon payment of a termination fee and reimbursement to PPG of certain expenses under
               certain circumstances; and
           •   the separate discussions with Barclays and Houlihan Lokey with respect to the financial terms of the
               Merger pursuant to the Merger Agreement.

          The board of directors of Georgia Gulf considered the following factors as generally weighing against its
     decision to recommend the Merger Agreement:
           •   the possibility that the increased revenues, earnings and efficiencies expected to result from the
               Transactions would fail to materialize;
           •   the challenges inherent in separating the operations of the PPG Chlor-alkali and De1ivatives Business
               from PPG and integrating Splitco into Georgia Gulf, given the size of the PPG Chlor-alkali and
               Derivatives Business relative to Georgia Gulf and its operations;
           •   the iisk that the Transactions and the integration process may divert management attention and
               resources away from operational matters;
           •   the dilution of the ownership interests of Georgia Gulf's cmTent stockholders that would result from
               the issuance of Georgia Gulf common stock in the Merger;
           •   the significant one-time costs expected to be incmTed in order to achieve the anticipated synergies that
               Georgia Gulf expects from the Transactions;
           •   the substantial indebtedness that Georgia Gulf and its subsidiaries would incur in connection with the
               Transactions and related financing transactions;
           •   that consummation of the Merger is conditioned on the successful consummation of the Debt
               Exchange, as more fully described in the section of the document entitled "The Merger Agreement-
               Financing";

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           •   the potential payment of termination fees or the reimbursement of PPG's transaction expenses that
               Georgia Gulf would be required to make in ce11ain circmnstances under the Merger Agreement;
           •   the restrictions imposed on Georgia Gulf's ability to take certain corporate actions under the terms of
               the Tax Matters Agreement to be entered into by Georgia Gulf and PPG, which could reduce its ability
               to engage in certain future business transactions that might be advantageous;
           •   the risks inherent in requesting regulatory approval from multiple government agencies in multiple
               jurisdictions. as more fully described in the section entitled "-Regulatory Approvals" or that
               governmental authorities could attempt to condition their approval of the Transactions on compliance
               with ce11ain burdensome conditions or that regulatory approvals may be delayed; and
           •   the possibility that the Transactions may not be consummated and the potential adverse consequences,
               including substantial costs that would be incurred and potential damage to Georgia Gulf's reputation, if
               the Transactions are not completed.

          The foregoing discussion of the information and factors considered by the board of directors of Georgia
     Gulf is not exhaustive, but includes the mate1ial factors considered by the board of directors of Georgia Gulf,
     including factors that support the Transactions as well as those that weigh against them. In view of the wide
     variety of factors considered by the board of directors of Georgia Gulf in connection with its evaluation of the
     Transactions and the complexity of these matters, the board of directors of Georgia Gulf did not consider it
     practical to, nor did it attempt to, quantify, rank or otherwise assign relative weights to the specific factors that it
     considered in reaching its decision. Rather, the board of directors of Georgia Gulf based its recommendation on
     the totality of the information presented to and considered by it. The board of directors of Georgia Gulf evaluated
     the factors described above with the assistance of Georgia Gulf's senior management and legal and financial
     advisors. In considering the factors described above, individual members of the board of directors of Georgia
     Gulf may have given different weights to other or different factors.

           This explanation of the factors considered by the board of directors of Georgia Gulf is in part forward-
     looking in nature and, therefore, should be read in light of the factors discussed in the sections of this document
     entitled "Cautionary Statement on Forward-Looking Statements" and "Risk Factors."

          After careful consideration, the board of directors of Georgia Gulf resolved that the Transactions
     contemplated by the Merger Agreement are advisable and in the best interests of Georgia Gulf and approved the
     Merger Agreement, the Merger and the other Transactions.


     Georgia Gulf's Stockholders Meeting
           Under the terms of the Merger Agreement, Georgia Gulf is required to call a meeting of its stockholders for
     the purpose of voting upon the issuance of shares of Georgia Gulf's common stock in the Merger and related
     matters as promptly as practicable following the date on which the SEC has cleared Georgia Gulf's proxy
     statement and, if required by the SEC as a condition to the mailing of Georgia Gulf's proxy statement, the
     registration statement of Georgia Gulf has been declared effective. Georgia Gulf will ask its stockholders to vote
     on this matter at the special meeting of Georgia Gulf stockholders by delivering Georgia Gulf's proxy statement
     to its stockholders in accordance with applicable law and its organizational documents.


     PPG's Reasons for the Transactions
          As discussed in the section of this document entitled "The Transactions- Background of the Transactions,"
     from time to time PPG's board of directors and senior management have reviewed PPG's portfolio of businesses
     and considered possible disposition and merger opportunities. As a result of that process, PPG decided that the
     success of the PPG Chlor-alkali and De1ivatives Business would be maximized if it combined with Georgia Gulf
     and that, without the PPG Chlor-alkali and De1ivatives Business, PPG could better concentrate on its remaining
     businesses and continue PPG's strategic transfonnation into a coatings and specialty materials business.

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          In addition, in reaching its decision to approve the Merger Agreement and the Transactions, PPG's board of
     directors consulted with PPG's senior management as well as PPG's legal and financial advisors and considered
     a wide vaiiety of factors, including the significant factors listed below, as generally suppo1ting its decision:
               the expectation that the Separation, Distribution and Merger generally would result in a tax-efficient
               disposition of the PPG Chlor-alkali and Derivatives Business for PPG and PPG's shareholders, while a
               sale of the PPG Chlor-alkali and Derivatives Business for cash generally would result in a taxable
               disposition for PPG;
               since a portion of the merger consideration is payable in the form of Georgia Gulf common stock, PPG
               shareholders would have the opportunity to participate in the combined Georgia Gulf and PPG Chlor-
               alkali and Derivatives Business after the Transactions. In that regard, the board of directors of PPG
               understood that general stock market conditions and the performance of Georgia Gulf's business may
               cause the value of the merger consideration to fluctuate , perhaps significantly, but was of the view that
               on a long-term basis it would be desirable for PPG shareholders to have an opportunity to retain some
               continuing investment in Georgia Gulf after the Transactions;
          •    the ability of each of PPG's and the PPG Chlor-alkali and De1ivatives Businesses' management to
               concentrate on the expansion and growth of their respective businesses following the Separation,
               allowing each group of management to pursue the development of business strategies most approp1iate
               to their respective operations;
               Georgia Gulf's business prospects and expected synergies after giving effect to the proposed
               acquisition of the PPG Chlor-alkali and Derivatives Business and the re-positioning of the PPG Chlor-
               alkali and Derivatives Business to be part of an integrated chemicals and building products company;
               the financial analyses and advice related to the Transactions presented to PPG's board at the PPG board
               meeting on July 18, 2012, including presentations by senior management, PPG's financial advisor,
               Lazard Freres & Co. and PPG's legal counsel, Wachtell, Lipton, Rosen & Katz;
               the reports of PPG's senior management regarding their due diligence review of Georgia Gulf's
               business; and
          •    the review by the board of directors with PPG's management and legal and financial advisors of the
               structure and terms of the Merger Agreement, the Separation Agreement and the Additional
               Agreements, including the parties' representations, warranties and covenants, the conditions to their
               respective obligations and the termination provisions, as well as the likelihood of consummation of the
               Transactions and the board's evaluation of the likely time period necessary to close the Transactions.

          In the course of its deliberations, the PPG board of directors also considered a variety of risks and other
     potentially negative factors, including the following:
          •    while the Transactions are expected to be completed, there is no assurance that all conditions to the
               pmties' obligations to complete the Transactions will be satisfied or waived, and as a result, it is
               possible that the Transactions might not be completed;
               risks relating to integrating the PPG Chlor-alkali and Derivatives Business with Georgia Gulf's current
               operations and the potential effects on the value of the Georgia Gulf common stock to be received in
               the Merger as noted above;
          •    that PPG, p1ior to the completion of the Transactions, is required to conduct the PPG Chlor-alkali and
               Derivatives Business in the ordinary course, subject to specific limitations and exceptions, which could
               delay or prevent PPG from unde1taking business oppo1tunities that may arise prior to the completion of
               the Transactions;
          •    the effect of divesting the PPG Chlor-alkali and De1ivatives Business pursuant to the Transactions on
               PPG's future earnings per share and cash from operating activities pending deployment of the cash
               received upon the closing of the Transactions; and

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          •    risks of the type and nature desc1ibed under the section of this document entitled ''Risk Factors."
           PPG's board of directors considered all of these factors as a whole and, on balance, concluded that they
     supported a favorable detennination to approve the Merger Agreement, the Separation Agreement, the Additional
     Agreements and the Transactions. The foregoing discussion of the information and factors considered by the
     board of directors of PPG is not exhaustive. In view of the wide variety of factors considered by the board in
     connection with its evaluation of the Transactions and the complexity of these matters, the board did not consider
     it practical to, nor did it attempt to, quantify, rank or otherwise assign relative weights to the specific factors that
     it considered in reaching its decision. The board evaluated the factors described above, among others, and
     reached a consensus to approve the Merger Agreement, the Separation Agreement, the Additional Agreements
     and the Transactions. In considering the factors desc1ibed above and any other factors, individual members of the
     board may have viewed factors differently or given different weight or me1it to different factors.

     Interests of' Certain Persons in the Transactions
          As of            , 2012, PPG's directors and executive officers owned approximately         % of the
     outstanding shares of PPG's common stock and, as of such date, Georgia Gulf's directors and executive officers
     owned approximately         % of the outstanding shares of Georgia Gulf common stock. None of Georgia Gulf's
     or Splitco's executive officers will receive any severance or other compensation as a result of the Transactions.
     The directors and officers of PPG, Splitco and Georgia Gulf will receive no extra or special benefit that is not
     shared on a pro rata basis by all other holders of PPG common stock or Georgia Gulf common stock in
     connection with the Transactions. As with all holders of shares of PPG common stock, if a director or officer of
     PPG, Splitco or Georgia Gulf owns shares of PPG common stock, directly or indirectly, such person may
     participate in the exchange offer on the same terms as other holders of shares of PPG common stock.

     Accounting Treatment of the Merger
          ASC 805, Business Combinations, requires the use of the acquisition method of accounting for business
     combinations. In applying the acquisition method, it is necessary to identify both the accounting acquiree and the
     accounting acquiror. In a business combination effected through an exchange of equity interests, such as the
     Merger, the entity that issues the interests (Georgia Gulf in this case) is generally the acquiring entity. In
     identifying the acquiring entity in a combination effected through an exchange of equity interests, however, all
     pertinent facts and circumstances must be considered, including the following:
               The relative voting interests of Georgia Gulf after the Transactions. In this case, PPG shareholders
               participating in the exchange offer (and pro rata distribution, if any) are expected to receive at least
               50.5% of the equity ownership and associated voting rights in Georgia Gulf after the Transactions.
          •    The composition of the governing body of Georgia Gulf after the Transactions . In this case, the board
               of directors of Georgia Gulf immediately following the Merger will consist of the members of the
               board of directors of Georgia Gulf immediately prior to the consummation of the Merger. In addition,
               as of the consummation of the Merger, Georgia Gulf will increase the size of its board of directors by
               three members, and three individuals selected by PPG and approved by the Nominating and
               Governance Committee of the board of directors of Georgia Gulf will be appointed to fill the
               vacancies.
               The composition of the senior management of Georgia Gulf after the Transactions. In this case,
               Georgia Gulf's executive officers following the Merger will consist of Georgia Gulf's executive
               officers immediately prior to the Merger.

           Georgia Gulf's management has determined that Georgia Gulf will be the accounting acquiror in the Merger
     based on the facts and circumstances outlined above and the detailed analysis of the relevant GAAP guidance.
     Consequently, Georgia Gulf will apply acquisition accounting to the assets acquired and liabilities assumed of
     Splitco upon consummation of the Merger. Upon consummation of the Merger, the historical financial statements
     will reflect only the operations and financial condition of Georgia Gulf.

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     Regulatory Approvals
           Under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended (the "HSR Act''), and the
     rules promulgated under the HSR Act by the Federal Trade Commission, the parties must file notification and
     report forms with the U.S. Federal Trade Commission and the Antitrust Division of the Department of Justice
     and observe specified waiting period requirements before consummating the Merger. Georgia Gulf and PPG each
     filed the requisite notification and report forms with the Federal Trade Commission and the Antitrust Division on
     August 15, 2012.

           Under the Competition Act in Canada, the parties must file a pre-Merger notification and observe the
     specified waiting pe1iod requirements before consummating the Merger, unless the parties are exempted from
     such requirements through the issuance of an Advance Ruling Certificate (an ''ARC"), or a ''no-action" letter
     together with a waiver of the notification and waiting pe1iod requirements. On August 27, 2012, the pm1ies
     submitted a request to the Commissioner of Competition in Canada for an ARC or, in the alternative, a
     " no-action" letter.


     Federal Securities Law Consequences; Resale Restrictions
           Georgia Gulf common stock issued in the Merger will not be subject to any restiictions on a·ansfer arising
     under the Secmities Act, except for shares issued to any PPG shareholder who may be deemed to be an
     "affiliate" of Splitco for pm·poses of Rule 145 under the Securities Act.


     No Appraisal or Dissenters ' Rights
           None of Georgia Gulf, Merger Sub, PPG or Splitco stockholders will be entitled to exercise appraisal rights
     or to demand payment for their shares in connection with the Transactions.




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                                              THE MERGER AGREEMENT

          The following is a summary of the mate1ial provisions of the Merger Agreement, which smnmary is
     qualified in its entirety by the Merger Agreement, a copy of which is attached as Annex A to this document.
     Stockholders of Georgia Gulf and PPG are urged to read the Merger Agreement in its entirety. This summary of
     the Merger Agreement has been included to provide Georgia Gulf stockholders with information regarding its
     terms. This summary of the Merger Agreement is not intended to provide any other factual information about
     Georgia Gulf, Merger Sub, PPG or Splitco following the consummation of the Merger.

          The Merger Agreement contains representations and warranties of PPG solely for the benefit of Georgia
     Gulf and representations and warranties of Georgia Gulf and Merger Sub solely for the benefit of PPG and
     Splitco. These representations and warranties have been qualified by certain information that has been disclosed
     to the other parties to the Merger Agreement and that is not reflected in the Merger Agreement. In addition, these
     representations and warranties may be intended as a way of allocating risks among parties if the statements
     contained therein prove to be incorrect, rather than as actual statements of fact. Accordingly, Georgia Gulf
     stockholders and PPG shareholders should not rely on the representations and warranties as characterizations of
     the actual state of facts. Moreover, information underlying the representations and warranties may have changed
     since the date of the Merger Agreement, which subsequent information may or may not be fully reflected in the
     companies' public disclosures.


     The Merger
           Under the Merger Agreement and in accordance with the DGCL, at the effective time of the Merger, Merger
     Sub will merge with and into Splitco. As a result of the Merger, the separate corporate existence of Merger Sub
     will terminate and Splitco will continue as the surviving corporation and as a wholly owned subsidiary of
     Georgia Gulf and will succeed to and assume all the rights, powers and privileges and be subject to all of the
     obligations of Merger Sub in accordance with the DGCL. The certificate of incorporation and bylaws of Splitco
     in effect immediately prior to the Merger will be amended and restated in their entirety and, as so amended and
     restated, will be the certificate of incorporation and bylaws of Splitco following the consummation of the Merger.

          Under the terms of the Merger Agreement, the officers of Splitco before the Merger will be the initial
     officers of Splitco after the Merger and the directors of Merger Sub before the Merger will be the initial directors
     of Splitco after the Merger.

          Alternatively, in lieu of the Merger, Georgia Gulf may, with the p1ior consent of PPG, elect instead to effect
     a merger of Splitco directly with and into Georgia Gulf, with Georgia Gulf being the sm-viving corporation in
     such merger. The parties have agreed that, if Georgia Gulf elects to effect such merger of Splitco with and into
     Georgia Gulf, they will work together in good faith to effect such merger and the other transactions contemplated
     by the Merger Agreement. If Splitco is not so merged directly with and into Georgia Gulf, then Georgia Gulf
     may be obligated to indemnify PPG against certain Canadian taxes. See "Other Agreements- Tax Matters
     Agreement."


     Closing; Effective Time
          Under the terms of the Merger Agreement, the closing of the Merger will take place at 10:00 a.m., Eastern
     Time, on the third business day after the date on which the conditions precedent to the Merger are satisfied or
     waived (other than those to be satisfied at closing), unless otherwise agreed upon by Georgia Gulf and PPG.
     However, if the marketing period has not ended at the time of satisfaction or waiver of the conditions precedent
     to the Merger (other than those to be satisfied at closing), then the closing will occur instead on the date
     following the satisfaction or waiver of such conditions that is the earlier to OCCLU' of (a) any date before or dming
     the marketing period as may be specified by Georgia Gulf and PPG on no less than three business days ' prior

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     notice and {b) three business days after the date that is the final day of the marketing pe1iod, or at such other
     place, date and time as Georgia Gulf and PPG agree. See " - Financing- Marketing Period."
          Georgia Gulf and PPG expect that the closing of the Distribution will occur on the same day as the closing
     of the Merger, and the closing of the Separation will occur at least two days prior to the closing of the
     Distribution.
           At the closing of the Merger, Georgia Gulf and PPG will cause to be filed a ce1tificate of merger with the
     Secretary of State of the State of Delaware to effect the Merger. The Merger will become effective at the time of
     filing of such certificate of merger or at such later time as Georgia Gulf, PPG, Splitco and Merger Sub may agree
     and provide in the certificate of merger.

     Merger Consideration
           The Merger Agreement provides that, at the effective time of the Merger, each issued and outstanding share of
     Splitco common stock (except shares of Splitco common stock held by Splitco as treasury stock) will be
     automatically converted into a number of shares of Georgia Gulf common stock equal to the exchange ratio in the
     Merger. The exchange ratio in the Merger is equal to the greater of (a) 35,200,000 shares or (b) the product of
     (1) the number of shares of Georgia Gulf common stock issued and outstanding immediately prior to the effective
     time of the Merger multiplied by (2) 1.02020202, divided by the number of shares of Splitco common stock issued
     and outstanding immediately prior to the effective time of the Merger. Pursuant to an amendment to the Merger
     Agreement dated August 31, 2012, Splitco will authorize the issuance of a number of shares of Splitco common
     stock such that the total number of shares of Splitco common stock outstanding immediately prior to the Merger
     will be that number that results in the exchange ratio in the Merger equaling one. The calculation of the merger
     consideration as set forth in the Merger Agreement is expected to result, p1ior to the elimination of fractional shares,
     in PPG's shareholders immediately prior to the Merger collectively holding at least 50.5% of the outstanding equity
     interests of Georgia Gulf immediately following the Merger and Georgia Gulf's stockholders immediately prior to
     the Merger collectively holding no more than 49.5% of such equity interests, except as desCiibed below. See ''The
     Transactions- Detennination of Number of Shares of Splitco Common Stock to be Distributed to PPG
     Shareholders."
           Pursuant to a top-up provision in the Merger Agreement, in the event that counsel to PPG cannot deliver the
     Distribution Tax Opinion because, immediately after the Merger, the percentage of outstanding shares of Georgia
     Gulf common stock to be received by Splitco shareholders with respect to Splitco common stock that was not
     acquired directly or indirectly pursuant to a plan (or series of related transactions) which includes the Distribution
     (within the meaning of Section 355(e) of the Code) would be less than 50.5% of all outstanding shares of
     Georgia Gulf common stock (determined before any adjustment pursuant to the top-up provision), then the
     aggregate nmnber of shares of Georgia Gulf common stock into which the shares of Splitco common stock will
     be converted will be increased such that the number of shares of Georgia Gulf common stock to be received by
     Splitco shareholders with respect to such Splitco common stock that was not acquired directly or indirectly
     pursuant to a plan (or se1ies of related transactions) which includes the Distribution (within the meaning of
     Section 355(e) of the Code) will equal 50.5% of all outstanding shares of Georgia Gulf common stock. In such
     event, Splitco may increase the number of shares of Splitco common stock that it issues, in which case each share
     of Splitco common stock will be exchanged for the iight to receive one share of Georgia Gulf common stock in
     the Merger, and Splitco's stockholders immediately p1ior to the Merger could collectively hold in excess of
     50.5% of the outstanding equity interests of Georgia Gulf immediately following the Merger. If such an increase
     is necessary solely by reason of actions of PPG, then the amount of the Special Distiibution that Splitco
     distiibutes to PPG pursuant to the Separation Agreement will be adjusted as desc1ibed in the Merger Agreement.
           No fractional shares of Georgia Gulf common stock will be issued pursuant to the Merger. All fractional
     shares of Georgia Gulf common stock that a holder of shares of Splitco common stock would otherwise be
     entitled to receive as a result of the Merger will be aggregated by the distribution agent, and the distribution agent
     will cause the whole shares obtained by such aggregation to be sold in the open market or otherwise as
     reasonably directed by PPG, and in no case later than five business days after the effective time of the Merger.
     The distribution agent will make available the net proceeds of the sale, after deducting any required withholding

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     taxes and brokerage charges, commissions and transfer taxes, on a pro rata basis, without interest, as soon as
     practicable following the Merger to the holders of Splitco common stock that would otherwise be entitled to
     receive such fractional shares of Georgia Gulf common stock in the Merger.

          The merger consideration and cash in lieu of fractional shares (if any) paid in connection with the Merger
     will be reduced by any applicable tax withholding.

     Issuance of Splitco Common Stock to PPC
            Pursuant to an amendment to the Merger Agreement dated August 31, 2012, Splitco will authorize the issuance
     of a number of shares of Splitco common stock such that the total nmnber of shares of Splitco common stock
     outstanding immediately prior to the effective time of the Merger will equal the greater of (i) 35,200,000 shares or
     (ii) the product of (x) the nmnber of shares of Georgia Gulf common stock issued and outstanding immediately
     p1ior to the effective time of the Merger multiplied by (y) 1.02020202. However, pursuant to the amendment, in the
     event that com1sel to PPG cannot deliver the Distiibution Tax Opinion because, immediately after the Merger, the
     percentage of outstanding shares of Georgia Gulf common stock to be received by Splitco shareholders with respect
     to Splitco common stock that was not acquired directly or indirectly pursuant to a plan (or series of related
     transactions) which includes the Distiibution (within the meaning of Section 355{e) of the Code) would be less than
     50.5% of all outstanding shares of Georgia Gulf common stock {determined before any adjustment pursuant to the
     top-up provision or the amendment), then, in lieu of an adjustment to the exchange ratio in the Merger contemplated
     by the top-up provision discussed above, Splitco may increase the number of shares of Splitco common stock that it
     issues, in which case the exchange ratio in the Merger will be fixed at one, such that the number of shares of
     Georgia Gulf common to be received by Splitco shareholders with respect to such Splitco common stock that was
     not acquired directly or indirectly pursuant to a plan (or series of related transactions) which includes the
     Distribution (within the meaning of Section 355(e) of the Code) will equal 50.5% of all outstanding shares of
     Georgia Gulf common stock. If such an increase is necessary solely by reason of actions of PPG, then the amount of
     the Special Distribution that Splitco distributes to PPG pursuant to the Separation Agreement will be adjusted as
     described in the Merger Agreement.

     Distribution of Per Share Merger Consideration
          Prior to the effective time of the Merger, Georgia Gulf will deposit with the distribution agent certificates or
     book-entry authorizations representing the shares of Georgia Gulf common stock for the benefit of the PPG
     shareholders who received shares of Splitco common stock in the Distribution and for distribution in the Merger
     upon conversion of the Splitco common stock.

          At the effective time of the Merger, all issued and outstanding shares of Splitco common stock will be
     converted into the right to receive shares of Georgia Gulf common stock as described above under "- Merger
     Consideration." Immediately thereafter, the distribution agent will distribute the shares of Georgia Gulf common
     stock to each person who was entitled to receive Splitco common stock in the Distribution. Each person entitled
     to receive Splitco common stock in the Distribution will be entitled to receive in respect of such shares of Splitco
     common stock a certificate or book-entry authorization representing the number of whole shares of Georgia Gulf
     common stock that such bolder has the right to receive pursuant to the Merger (and cash in lieu of fractional
     shares of Georgia Gulf common stock as described above under "-Merger Consideration'') (and any dividends
     or distributions and other amounts as described below under "- Distributions With Respect to Shares of Georgia
     Gulf Common Stock After the Effective Time of the Merger").

     Treatment of PPG Equity Awards
          Each option to purchase shares of PPG common stock held by a current employee of the PPG Cblor-alkali
     and Derivatives Business that is scheduled to vest after December 31, 2013 will be conve1ted into an option to
     purchase shares of Georgia Gulf common stock. Each such option will otherwise be subject to the same terms
     and conditions after the Merger as the tem1s and conditions applicable to such PPG option immediately p1ior to

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     the Merger, subject to an adjustment to maintain the spread value of such option immediately before and after the
     Merger. The total number of shares of PPG common stock covered by PPG options that will convert into Georgia
     Gulf options will not exceed 75,700.

          Each PPG perfonnance based restricted stock unit award granted in 2011 and 2012, the vesting of which is
     based upon continued service and the satisfaction of pe1formance goals, that is held by a cmTent employee of the
     PPG Chlor-alkali and De1ivatives Business will be converted into a restiicted stock unit award of Georgia Gulf,
     the vesting of which will be based upon continued service and not the satisfaction of performance goals. The
     conversion of each PPG performance based restricted stock unit award into a restricted stock unit award of
     Georgia Gulf will be based on 150% of the target number of shares of PPG common stock subject to the award.
     Except as noted above, each converted restricted stock unit will be subject to the same terms and conditions
     applicable to such award immediately before the Merger and after the Merger, subject to an adjustment to
     maintain the value of the awards immediately before and after the Merger. The total number of shares of PPG
     common stock covered by PPG performance based restricted stock unit awards that will convert into Georgia
     Gulf restricted stock units will not exceed 25,750.


     Distributions With Respect to Shares of Georgia Gulf' Common Stock After the Effective Time of the
     Merger
           No dividend or other distributions declared or made after the effective time of the Merger with respect to
     Georgia Gulf common stock with a record date after the effective time of the Merger will be paid with respect to
     any shares of Georgia Gulf common stock that are not able to be distributed by the distribution agent promptly
     after the effective time of the Merger, whether due to a legal impediment to such distribution or otherwise.
     Subject to the effect of applicable laws, following the distribution of any such previously undistributed shares of
     Georgia Gulf common stock, the following amounts will be paid to the record holder of such shares of Georgia
     Gulf common stock, without interest:
               at the time of the Distribution, the amount of cash payable in lieu of fractional shares of Georgia Gulf
               common stock to which such holder is entitled pursuant to the Merger Agreement and the amount of
               dividends or other distributions with a record date after the effective time of the Merger theretofore
               paid with respect to such whole shares of Georgia Gulf common stock; and
          •    at the approp1iate payment date, the amount of dividends or other distributions with a record date after
               the effective time of the Merger but p1ior to the distiibution of such shares and a payment date
               subsequent to the Disnibution of such shares payable with respect to such whole shares of Georgia
               Gulf common stock.

          Georgia Gulf is required under the Merger Agreement to deposit all such amounts with the distribution agent.


     Termination of the Distribution Fund
          Any portion of the amounts deposited with the distribution agent under the Merger Agreement (the
     "Distribution Fund'') that remains undistributed to the former stockholders of Splitco on the one-year anniversary
     of the effective time of the Merger will be delivered to Georgia Gulf upon demand, and any former stockholders
     of Splitco who have not received shares of Georgia Gulf common stock as described above may thereafter look
     only to Georgia Gulf for payment of their claim for Georgia Gulf common stock and any dividends, distributions
     or cash in lieu of fractional shares with respect to Georgia Gulf common stock (subject to any applicable
     abandoned property, escheat or similar law).


     Post-Closing Georgia Gulf Board of Directors and Officers
         The Merger Agreement provides that the Georgia Gulf board of directors will take all actions necessary
     such that, effective as of the effective time of the Merger, the Georgia Gulf board of directors will be increased

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     by three members, and three persons selected by PPG and approved by the Nominating and Governance
     Committee of the Georgia Gulf board of directors will be elected by the Georgia Gulf board of directors to fill
     the vacancies created. In accordance with the Merger Agreement, these individuals will also be nominated for
     re-election to the board of directors of Georgia Gulf at Georgia Gulfs 2013 annual meeting of stockholders.

          Additionally, the executive officers of Georgia Gulf immediately p1ior to the consummation of the Merger
     are expected to be the executive officers of Georgia Gulf immediately following the consummation of the
     Merger.


     Stockholders Meeting
           Under the terms of the Merger Agreement, Georgia Gulf is required to call a meeting of its stockholders for
     the purpose of voting upon the issuance of shares of Georgia Gulf's common stock in the Merger and related
     matters as promptly as practicable following the date on which the SEC has cleared this document and, if
     required by the SEC as a condition to the mailing of this document, the registration statement of Georgia Gulf
     has been declared effective. Georgia Gulf will ask its stockholders to vote on this matter at the special meeting of
     Georgia Gulf stockholders by delivering this document to its stockholders in accordance with applicable law and
     its organizational documents. Georgia Gulf is required to call such a stockholders meeting for the purpose of
     voting upon the issuance of shares of Georgia Gulf common stock in the Merger and related matters, regardless
     of whether the board of directors of Georgia Gulf has made a Change in Recommendation (as defined below).


     Representations and Warranties
         In the Merger Agreement, each of Georgia Gulf and Merger Sub has made representations and warranties to
     PPG and Splitco, and PPG has made representations and warranties to Georgia Gulf relating to Splitco and TCI.
     These representations and warranties relate to, among other things:
               due organization, good standing and qualification;
               capital structure;
               authority to enter into the Merger Agreement (and Additional Agreements) and no contlicts with or
               violations of governance documents, other obligations or laws;
               financial statements and absence of undisclosed liabilities;
               absence of certain changes or events;
               absence of investigations or litigation;
          •    compliance with applicable laws;
          •    accuracy of information supplied for use in this document, the registration statement of Georgia Gulf
               filed by Georgia Gulf and the registration statement of Splitco filed by Splitco with respect to the
               Separation and the Distribution;
          •    environmental matters;
          •    tax matters;
          •    employee benefit matters and compliance with the Employee Retirement Income Security Act of 1974;
          •    labor matters;
          •    intellectual prope1ty matters;
               material contracts;
               payment of fees to brokers or finders in connection with the Merger Agreement, the Separation
               Agreement and the Additional Agreements;

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          •    approval by the board of directors;
          •    interests in real property;
               human health and safety; and
               the absence of any other representations.

          Georgia Gulf and Merger Sub have also made representations and warranties to PPG and Splitco relating to
     the opinions of Georgia Gulf's financial advisors, the required vote of Georgia Gulf stockholders on the
     transactions contemplated by the Merger Agreement (including the issuance of shares of Georgia Gulf's common
     stock in the Merger), the absence of ownership by Georgia Gulf of any shares of PPG or Splitco common stock
     and the absence of any stockholder rights plan, "poison pill," anti-takeover plan or other similar device. Georgia
     Gulf and Merger Sub have also made representations and warranties to PPG and Splitco relating to the financing
     contemplated by a commitment letter, dated as of July 18, 2012 (the "Splitco Commitment Letter"), with
     Barclays Bank PLC, JPMorgan Chase Bank, N.A. and J.P. Morgan Securities LLC (the "Commitment Parties").

           PPG also made representations and warranties to Georgia Gulf relating to the sufficiency of assets
     conllibuted to Splitco, the absence of ownership by PPG or Splitco of any shares of Georgia Gulf capital stock
     and the financing contemplated by a commitment letter, dated as of July 18, 2012, with the Commitment Patties
     (the ''PPG Commitment Letter"). See ''Debt Financing- PPG B1idge Facility." PPG has also made
     representations and warranties to Georgia Gulf regarding PPG's authority to enter into the Merger Agreement
     (and the Additional Agreements), the absence of conflicts with or violations of governance documents, other
     obligations or laws and the payment of fees to brokers or finders in connection with the Merger Agreement,
     Separation Agreement and Additional Agreements. PPG has also made representations and warranties to Georgia
     Gulf relating to TCI. The representations and warranties regarding TCI relate to:
          •    valid existence;
          •    capital structure;
               financial statements;
               absence of certain changes or events;
          •    absence of investigations or litigation;
          •    compliance with applicable laws;
               environmental matters; and
               mate1ial conm1c~ .

          Many of the representations and warranties contained in the Merger Agreement are subject to a "material
     adverse effect" standard, knowledge qualifications, or both, and none of the representations and warranties
     survive the effective time of the Merger. The Merger Agreement does not contain any post-closing
     indemnification obligations with respect to these matters.

          Under the Merger Agreement, a material adverse effect means, with respect to Splitco or Georgia Gulf, as
     applicable, any change, development, event, occm-rence, effect or state of facts that, individually or in the
     aggregate with all such other changes, developments, events, occurrences, effects or states of facts is materially
     adverse to the business, financial condition or results of operations of the PPG Chlor-alkali and Derivatives
     Business taken as a whole (in the case of Splitco) or Georgia Gulf and its subsidiaries taken as a whole (in the
     case of Georgia Gulf). However, any change, development, event, occm-rence, effect or state of facts arising out
     of or resulting from any of the following will be deemed either to constitute, or be taken into accomlt in
     determining whether there is, a material adverse effect:
          •    capital market conditions generally or general economic conditions, including with respect to interest
               rates or currency exchange rates;

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        •   geopolitical conditions or any outbreak or escalation of hostilities, acts of war or terro1ism occuning
            after the date of the Merger Agreement (except to the extent that such change, development, event,
            occurrence, effect or state of facts has a materially dispropo1tionate effect on the PPG Chlor-alkali and
            Derivatives Business (in the case of Splitco) or Georgia Gulf and its subsidiaries taken as a whole (in
            the case of Georgia Gulf), as compared with other pmticipants in the industiies in which the PPG
            Chlor-alkali and De1ivatives Business operates (in the case of Splitco) or Georgia Gulf and its
            subsidiaries operate (in the case of Georgia Gulf) (in which case the incremental dispropo1tionate
            impact or impacts may be deemed either alone or in combination to constitute, or be taken into account
            in determining whether there is a material adverse effect));
            any hurricane, tornado, flood, earthquake or other natural disaster occurring after the date of the
            Merger Agreement (except to the extent that such change, development, event, occurrence, effect or
            state of facts has a materially disproportionate effect on the PPG Chlor-alkali and Derivatives Business
            (in the case of Splitco) or Georgia Gulf and its subsidiaries taken as a whole (in the case of Georgia
            Gult), as compared with other participants in the industries in which the PPG Chlor-alkali and
            Derivatives Business operates (in the case of Splitco) or Georgia Gulf and its subsidiaries operate (in
            the case of Georgia Gult) (in which case the incremental disproportionate impact or impacts may be
            deemed either alone or in combination to constitute, or be taken into account in determining whether
            there is, a material adverse effect));
            any change in applicable law or GAAP (or authoritative interpretation thereof) which is proposed,
            approved or enacted after the date of the Merger Agreement (except to the extent that such change,
            development, event, occurrence, effect or state of facts has a materially dispropo1tionate effect on the
            PPG Chlor-alkali and Derivatives Business (in the case of Splitco) or Georgia Gulf and its subsidiaries
            taken as a whole (in the case of Georgia Gulf), as compm·ed with other pmticipants in the industries in
            which the PPG Chlor-alkali and Derivatives Business operates (in the case of Splitco) or Georgia Gulf
            and its subsidiaiies operate (in the case of Georgia Gulf) (in which case the incremental
            dispropo1tionate impact or impacts may be deemed either alone or in combination to constitute, or be
            taken into account in determining whether there is, a mate1ial adverse effect));
        •   general conditions in the industries in which the PPG Chlor-alkali and Derivatives Business operates
            (in the case of Splitco) or Georgia Gulf and its subsidiaries operate (in the case of Georgia Gulf)
            (except to the extent that such change, development, event, occurrence, effect or state of facts has a
            mate1ially disproportionate effect on the PPG Chlor-alkali and De1ivatives Business (in the case of
            Splitco) or Georgia Gulf and its subsidiaries taken as a whole (in the case of Georgia Gulf), as
            compared with other paiticipants in the industiies in which the PPG Chlor-alkali and De1ivatives
            Business operates (in the case of Splitco) or Georgia Gulf and its subsidiaiies operate (in the case of
            Georgia Gulf) (in which case the incremental disproportionate impact or impacts may be deemed either
            alone or in combination to constitute, or be taken into account in determining whether there is, a
            material adverse effect));
            the announcement and pendency of the Merger Agreement and the other Transactions, including any
            lawsuit in respect of the Merger Agreement, compliance with the covenants or agreements contained in
            the Merger Agreement, and, unless it involves (1) a breach by PPG of its representations and
            warranties related to Splitco's authority to enter into the Merger Agreement (and the Additional
            Agreements) without conflicting with certain other obligations or requiring certain consents or
            approvals or (2) a breach by Georgia Gulf of its representations and warranties regarding its authority
            to enter into the Merger Agreement (and the Additional Agreements) without cont1icting with certain
            other obligations or requiring certain consents or approvals, any loss of or change in relationship with
            any customer, supplier, distributor, or other business partner, or departure of any employee or officer,
            of the PPG Chlor-alkali and Derivatives Business (in the case of Splitco) or Georgia Gulf or any of its
            subsidiaries (in the case of Georgia Gulf); and
        •   in the case of Splitco, ( 1) any of the assets or liabilities not intended to be transfeITed, assigned or
            assmned as the case may be to or by Splitco pm·suant to the Sepm·ation Agreement or (2) any labor

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               dispute, labor arbitration proceeding or labor organizational effort pending or threatened or any
               slowdown or work stoppage in effect or threatened with respect to employees of Splitco, in any such
               case, so long as the plant at which any such labor dispute, labor arbitration proceeding, labor
               organization effort or slowdown or work stoppage is occurring continues to operate.


     Conduct of Business Pending Closing
           Each of the parties has m1dertaken to pe1fonn customary covenants in the Merger Agreement that place
     resnictions on it and its subsidiaries until the effective time of the Merger. In general, each of Georgia Gulf, PPG
     (to the extent of the PPG Chlor-alkali and De1ivatives Business only) and Splitco agrees that p1ior to the effective
     time of the Merger, except to the extent required by law, consented to by the other party (which consent may not
     be unreasonably withheld, conditioned or delayed), disclosed in their respective disclosure letters, or otherwise
     expressly permitted or contemplated by the Merger Agreement and the Additional Agreements, it will conduct its
     business in the ordinary course consistent with past practice, and use commercially reasonable efforts to conduct
     its operations in compliance with all applicable laws, and maintain its current business organization, maintain
     iights and franchises, keep available the services of its current officers and key employees and maintain its
     relationships with key customers and key suppliers. In addition, Georgia Gulf has agreed that p1ior to the
     effective time of the Merger, except to the extent required by law, disclosed in their respective disclosure letters,
     consented to by the other party (which consent may not be unreasonably withheld, conditioned or delayed except
     as otherwise indicated in the Merger Agreement) or otherwise expressly permitted or contemplated by the
     Merger Agreement and the Additional Agreements, it will not take the following actions:
          •    declaring dividends or making disnibutions in respect of any shares of its capital stock except for the
               declaration and payment of (1) regular quarterly cash dividends not in excess of $0.08 per share of
               Georgia Gulf common stock and (2) cash dividends or distiibutions paid on or with respect to a class of
               capital stock all of which shares of capital stock of the applicable corporation are owned directly or
               indirectly by Georgia Gulf;
          •    splitting, combining or reclassifying any capital stock or issuing or autho1izing or proposing the
               issuance of any other securities in respect of, in lieu or, or in substitution for, shares of its capital stock;
               or redeeming, repurchasing otherwise acquiiing, or permitting any subsidiary to redeem, repurchase or
               otherwise acquire, any shares of its capital stock, except as required by the terms of the secmities
               outstanding on the date of the Merger Agreement or any securities issued after the date of the Merger
               Agreement not in violation of the Merger Agreement or as required by the te1ms of a benefit plan;
          •    issuing, delive1ing, selling, or autho1izing any shares of its capital stock or any securities convertible
               into or exchangeable for capital stock, other than (a) the issuance of shares of Georgia Gulf common
               stock upon the exercise of stock options or vesting of restricted stock units that are outstanding on the
               date of the Merger Agreement; (b) the issuance of stock by any wholly owned subsidiary of Georgia
               Gulf to its parent or another wholly owned subsidiary; and (c) granting stock options or granting
               restricted stock units with respect to up to 500,000 shares of Georgia Gulf common stock in the
               ordinary course of business, consistent with Georgia Gulf's past practices;
               amending its certificate of incorporation;
          •    acquiring or agreeing to acquire by merger or consolidation, or by purchasing a substantial equity
               interest in or a substantial po11ion of the assets of, or by any other manner, any business or any
               corporation, partnership, limited liability entity, joint venture, association or other business
               organization or division thereof or otherwise acquiring or agreeing to acquire any mate1ial assets
               (excluding the acquisition of assets used in the operations of the business of Georgia Gulf and the
               Georgia Gulf Subsidiaiies in the ordinary course consistent with past practice, which assets do not
               constitute a business unit, division or all or substantially all of the assets of the transferor), in any such
               case, if such acquisition would reasonably be expected to, individually or in the aggregate, prevent or
               materially delay satisfaction of any of the conditions to the Merger;

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        •   except in the ordinary COLU'Se of business, consistent with past practice or as specifically set forth in the
            Merger Agreement, selling, leasing, licensing, disposing of or otherwise encumbering assets (including
            the capital stock of its subsidimies), but excluding, inventory and obsolete equipment in the ordinary
            COLU'Se of business consistent with past practice or not in an amount exceeding $20.0 million in the
            aggregate;
            incurring any indebtedness or guaranteeing or otherwise becoming contingently liable for any
            indebtedness or issuing or selling any debt securities or warrants or rights to acquire any debt securities
            or entering into any mate1ial lease of real prope1iy or entering into any interest rate hedge, other than
            ( l) under the Credit Agreement, dated as of December 22, 2009, by and among Georgia Gulf and
            Royal Group, Inc., as borrowers, the lenders patty thereto, and General Elecnic Capital Corporation, as
            adminisn·ative agent, in an amount not to exceed $300.0 million and (2) in the ordinary COLU'Se of
            business consistent with past practice and not exceeding $20.0 million in the aggregate;
            (1) granting any material increases in the compensation of any director, officer or employee, except in
            the ordinary course of business consistent with past practice; (2) paying or agreeing to pay to any
            director, officer or employee, whether past or present, any pension, retirement allowance or other
            employee benefit not required or contemplated by any of the existing benefit, severance, termination,
            pension or employment plans, contracts or arrangements as in effect on the date of the Merger
            Agreement, except for the right to receive certain retention and bonus payments that are related to the
            transactions contemplated by the Merger Agreement that Georgia Gulf may agree to pay and pay to
            select executives and other employees, which will in no event exceed $10.0 million in the aggregate;
            (3) except in the ordinm)' course of business consistent with past practice, ente1i ng into any new, or
            mate1ially amending any existing, employment or severance or termination, contract with any director,
            officer or employee; (4) accelerating the vesting of, or the lapsing of restrictions with respect to, any
            stock options or other stock-based compensation; or (5) becoming obligated under any new pension
            plan, welfare plan, multiemployer plan, employee benefit plan, severance plan, benefit arrangement or
            similar plan or arrangement that was not in existence on the date of the Merger Agreement, or
            amending any such plan or arrangement in existence on the date of the Merger Agreement if such
            amendment would have the effect of materially enhancing any benefits thereunder;
            establishing, adopting, terminating, entering into or amending any collective bargaining agreement or
            other arrangement with a labor union, labor organization or works council for the benefit of any current
            or former directors, officers or employees or any of their beneficiaries, except, in each case, (1) as is
            necessary to comply with applicable law, or (2) as would not result in a material increase in the cost of
            maintaining such collective bargaining agreement or other arrangement;
            authorizing, recommending, proposing or announcing an intention to adopt a plan of complete or
            partial liquidation or dissolution;
        •   making any mate1ial change in accounting methods or yem-, except as required by law;
            other than in the ordinary course consistent with past practice, making, changing or revoking any
            material tax elections or settling, compromising or abandoning any material tax liability;
        •   except in the ordinary COLU'Se of business, consistent with past practice, settling or compromising any
            actions, suits, arbitrations or proceedings (including any employee giievances) or paying, discharging
            or satisfying any mate1ial claims, liabilities or obligations except (1) the payment, discharge or
            satisfaction (in accordance with their terms) of any such claims, liabilities or obligations reflected or
            reserved against in, or contemplated by Georgia Gulf's financial statements or (2) settlement or
            compromise of litigation if it does not involve a gi·ant of injunctive relief and any amounts paid
            (including as reimbursement of legal fees and expenses) does not exceed $5.0 million;
        •   ente1i ng into any joint venture, pmt nership or other similar business arrangement for the production of
            chlo1i ne or caustic soda, or building or establishing a plant for the production of chlorine or caustic
            soda;

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          •    enteting into or amending any agreement or arrangement with any affiliate of Georgia Gulf or any
               subsidiary of Georgia Gulf (other than with wholly owned subsidiaries of Georgia Gull) on terms less
               favorable to Georgia Gulf or such subsidiary of Georgia Gulf, as the case may be, than could be
               reasonably expected to have been obtained with an unaffiliated third pmiy on an aim's-length basis;
               (1) terminating or failing to use commercially reasonable efforts to renew any material contract,
               (2) modifying, amending, waiving, releasing or assigning any material rights or claims thereunder, or
               (3) entering into certain material contracts not consistent with past practice, in each case except in the
               ordinary course of business or as required by law; or
          •    agreeing or committing to do any of the foregoing actions.

          In addition, each of PPG (to the extent of its PPG Chlor-alkali and Derivatives Business only) and Splitco
     has agreed that ptior to the effective time of the Merger, except to the extent required by law, disclosed in their
     respective disclosm·e letters, consented to by the other pmiy {which consent may not be unreasonably withheld,
     conditioned or delayed except as otherwise indicated in the Merger Agreement) or otherwise expressly pennitted
     or contemplated by the Merger Agreement and the Additional Agreements, it will not take the following actions:
          •    splitting, combining or reclassifying any capital stock or issuing or authotizing or proposing the
               issuance of any other securities in respect of, in lieu of, or in substitution for, shares of its capital stock;
               or redeeming, repurchasing otherwise acquiiing, or permitting any subsidiary to redeem, repurchase or
               otherwise acquire, any shares of its capital stock, except as required by the terms of the secmities
               outstanding on the date of the Merger Agreement or any securities issued after the date of the Merger
               Agreement not in violation of the Merger Agreement or as required by the terms of a benefit plan;
          •    issuing, deliveting or selling, or authorizing any shares of capital stock, any debt with voting rights or
               any securities convertible into, or any tights, wm-rants or options to acquire, any such shm·es, debt with
               voting tights or convetiible securities, including additional options or other equity-based awards that
               could be converted into any option to acquire such securities, other than the issuance of stock by any
               wholly owned subsidiary of Splitco to its parent or another wholly owned subsidiary;
               amending the certificate of incorporation or bylaws, or similar organizational documents of an entity to
               be transferred as part of the PPG Chlor-alkali and Derivatives Business;
          •    acquiring or agreeing to acquire by merger or consolidation, or by purchasing a substantial equity
               interest in or a substantial potiion of the assets of, or by any other manner, any business or any
               corporation, partnership, limited liability entity, joint venture, association or other business
               organization or division thereof, in each case that would be an asset transfeITed to Splitco in the
               Separation (excluding the acquisition of assets used in the operations of the business of Splitco or its
               subsidiaries in the ordinary course consistent with past practice, which assets do not constitute a
               business unit, division or all or substantially all of the assets of the transferor);
               except in the ordinary course of business, consistent with past practice or as specifically set forth in the
               Merger Agreement, selling, leasing, licensing, disposing of or otherwise encumbering assets (including
               the capital stock of certain subsidiaries), but excluding inventory and obsolete equipment in the
               ordinary course of business consistent with past practice or not exceeding $2.0 million in the aggregate;
          •    incLming any indebtedness or gum·anteeing or otherwise becoming contingently liable for any
               indebtedness or issuing or selling any debt securities or warrants or tights to acquire any debt secmities
               or entering into any matetial lease of real propetiy or entering into any interest rate hedge, other than
               (1) liabilities that would not be assumed by Splitco in the Separation, (2) liabilities incurred in the
               ordinary course of business consistent with past practice, or (3) other liabilities not exceeding $500,000
               in the aggregate;
          •    (1) granting any material increases in the compensation of any director, officer or employee, except in
               the ordinary course of business consistent with past practice; (2) paying or agreeing to pay to any
               director, officer or employee, whether past or present, any pension, retirement allowance or other

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                employee benefit not required or contemplated by any of the existing benefit, severance, termination,
                pension or employment plans, contracts or arrangements as in effect on the date of the Merger
                Agreement, except for the right to receive the retention and bonus payments for select employees of
                Splitco set forth in the Employee Matters Agreement; (3) except in the ordinary COLu-se of business
                consistent with past practice, entering into any new, or materially amending any existing, employment
                or severance or termination, contract with any director, officer or employee; or (4) becoming obligated
                under any new pension plan, welfare plan, multiemployer plan, employee benefit plan, severance plan,
                benefit arrangement or similar plan or arrangement that was not in existence on the date of the Merger
                Agreement, or amending any such plan or arrangement in existence on the date of the Merger
                Agreement if such amendment would have the effect of materially enhancing any benefits thereunder,
                except with respect to an action that applies uniformly to all similarly situated employees of PPG and
                its subsidiaries;
        •       establishing, adopting, terminating, entering into or amending any collective bargaining agreement or
                other arrangement with a labor union, labor organization or works council for the benefit of directors,
                officers or employees or any of their beneficiaiies, except, in each case, ( 1) as is necessary to comply
                with applicable law, (2) as would not result in a material increase in the cost of maintaining such
                collective bargaining agreement or other arrangement, (3) in connection with an action that applies
                unifonnly to all similarly situated employees of PPG and its subsidiaries, (4) as contemplated by the
                Employee Matters Agreement, or (5) as set fo1ih in the disclosure letter delivered by PPG to Georgia
                Gulf immediately p1ior to the execution of the Merger Agreement;
        •       authorizing, recommending, proposing or announcing an intention to adopt a plan of complete or
                pmtial liquidation or dissolution;
                making any material change in accounting methods or year, except as required by law and to the extent
                it relates to the PPG Chlor-alkali and Derivatives Business;
        •       other than in the ordinm-y course consistent with past practice, making, changing or revoking any
                mate1ial tax elections in respect of the PPG Chlor-alkali and Derivatives Business that would bind
                Splitco or a Splitco subsidiary for periods following the effective time of the Merger or settling,
                compromising or abandoning any mate1ial tax liability for which Splitco or a Splitco subsidim-y would
                be responsible under the Tax Matters Agreement;
                except in the ordinary course of business, consistent with past practice, settling or compromising any
                actions, suits, arbitrations or proceedings (including any employee grievances) or paying, discharging
                or satisfying any material claims, liabilities or obligations except (1) the payment, discharge or
                satisfaction (in accordance with their terms) of any such claims, liabilities or obligations reflected or
                reserved against in, or contemplated by, Splitco's financial statements, or incmTed in the ordinm-y
                COLu-se of business since the date of such financial statements or (2) settlement or compromise of
                litigation if it does not involve a grant of injunctive relief and any amounts paid (including as
                reimbursement of legal fees and expenses) do not exceed $2.0 million in the aggregate;
                entering into or amending any agreement or arrangement that will be assumed by Splitco in the
                Separation with any affiliate of PPG or any subsidiary of PPG (other than Splitco or a subsidiary of
                Splitco);
            •   (1) terminating or failing to use commercially reasonable efforts to renew any mate1ial contract
                (including any contract that provides for annual payments in excess of $2.0 million by or to Splitco),
                (2) modifying, amending, waiving, releasing or assigning any material iights or claims therem1der, or
                (3) entering into ce11ain mate1ial contracts (including any contract that provides for annual payments in
                excess of $2.0 million by or to Splitco), in each case except in the ordinary COLu-se of business
                consistent with past practice or as required by law;
        •       issuing to current Splitco employees any additional PPG stock options or PPG phantom stock unit
                awards that would be conve1ted into Georgia Gulf stock options or Georgia Gulf phantom stock unit

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               awards pursuant to the Merger Agreement, or modifying or waiving the terms of any such outstanding
               options or awards, or modifying or waiving the terms of any PPG stock plan as applied to any such
               outstanding options or awards;
          •    failing to make certain capital expendittu-es for the PPG Chlor-alkali and Derivatives Business; or
          •    agreeing or committing to do any of the foregoing actions.

     Tax Matters
           The Merger Agreement contains certain additional representations, warranties and covenants relating to the
     preservation of the tax-free status of: (1) the Separation and the Disnibution; (2) the Merger; and (3) the receipt by
     PPG of the Debt Secmities or the exchange by PPG of the Debt Securities in full satisfaction of debt obligations of
     PPG ptu-suant to the Debt Exchange. Additional representations, waffanties and covenants relating to the tax-free
     status of the Transactions are contained in the Tax Matters Agreement. PPG, Splitco and Georgia Gulf agree to use
     their reasonable best effo11s to (1) cause the Separation and the Distiibution, taken together, to qualify as a
     "reorganization" within the meaning of Section 368(a){l){D) of the Code; (2) cause the Merger to qualify as a
     "reorganization" within the meaning of Section 368(a) of the Code; and (3) facilitate the issuance of the P1ivate
     Letter Ruling. Indemnification for taxes generally is governed by the temlS, provisions and procedtu-es described in
     the Tax Matters Agreement. See ''Other Agreements-Tax Matters Agreement."

     SEC Filings
          The parties agreed to prepare appropriate documents, including a proxy statement of Georgia Gulf on
     Schedule 14A, a registration statement on Form S-4 of Georgia Gulf, and a registration statement on Form S-4
     and S-1 (or such other appropriate registration form or forms to be designated by PPG) of Splitco and to file them
     with the SEC, and Georgia Gulf and Splitco, as the case may be, have agreed to use their reasonable best efforts
     to have these documents cleared by the SEC and have their respective registration statements declared effective
     by the SEC as promptly as reasonably practicable after such filings or at such other time as PPG, Splitco and
     Georgia Gulf may agree.

          Georgia Gulf is required under the ten11S of the Merger Agreement to mail its proxy statement to its
     stockholders as promptly as practicable after the SEC clears that proxy statement and, if required by the SEC, the
     registration statements desc1ibed above are declared effective.

          If PPG elects to complete the Distribution by way of an exchange offer, Georgia Gulf, PPG and Splitco are
     required under the tem1s of the Merger Agreement to prepare, and PPG is obligated to file with the SEC, a
     Schedule TO as promptly as practicable after the date on which the registration statement with respect to the
     Separation and the Distribution is declared effective and to the extent such filing is required by applicable law.

     Regulatory Matters
          The Merger Agreement provides that each party to the Merger Agreement will use reasonable best efforts to
     take or cause to be taken all action and to do, or cause to be done, and to assist and cooperate with the other
     parties in doing or causing to be done, all things necessary, proper or advisable under the Merger Agreement and
     applicable laws to consummate the Merger as soon as practicable, including preparing and filing as promptly as
     practicable all documentation to effect all necessary applications, notices, petitions, filings and tax ruling
     requests and to obtain as promptly as practicable all consents, waivers, licenses, orders, registrations, approvals,
     permits, rulings, authorizations and clearances necessary or advisable to be obtained from any governmental
     authority. Additionally, each party to the Merger Agreement has agreed to take all reasonable steps as may be
     necessary to obtain all required approvals and to take reasonable efforts to share information protected from
     disclostu-e under the attorney-client p1ivilege, work product doctiine, joint defense p1ivilege or any other
     privilege in a manner so as to preserve the applicable p1ivilege. Each paiiy to the Merger Agreement has also
     agreed to (1) make all required fi lings under the HSR Act, (2) make appropriate filings, if required, with foreign

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     regulatory authorities in accordance with applicable foreign competition laws with respect to the transactions
     contemplated by the Merger Agreement and (3) make all other necessary filings with any other governmental
     authority relating to the Merger. Each of Georgia Gulf and Merger Sub, on the one hand, and PPG and Splitco,
     on the other hand, have agreed to use its reasonable best efforts to (1) cooperate in all respects with each other in
     connection with any filing or submission and in connection with any investigation or other inquiry, including any
     proceeding initiated by a private pmiy, (2) promptly inform the other party of any communication received by
     such pmiy from the Antitrust Division of the Depaiiment of Justice, the Federal Trade Commission or any other
     governmental authority and of any material communication received or given in connection with any proceeding
     by a private party and (3) permit the other party to review in advance any communication to be given by it to, and
     consult with each other in advance of any meeting or material telephone call with, the Antitrust Division of the
     Department of Justice, the Federal Trade Commission or any other govenunental authority or in connection with
     any proceeding by a private party, with any other person, and give the other party the opportunity to attend and
     participate in such meetings and conferences.

           In addition, each of the parties has agreed to take, or cause to be taken, any and all steps and to make any
     and all undertakings necessary to avoid or eliminate each and every impediment under any antitrust, merger
     control, competition or trade regulation law that may be asserted by any governmental authority with respect to
     the Merger so as to enable the closing of the Merger to occur as soon as reasonably possible, including
     proposing, negotiating, committing to, and effecting, by consent decree, hold separate order, or otherwise, the
     sale, divestiture, licensing or disposition of such assets or businesses of Splitco (or Splitco's subsidiaries) or
     Georgia Gulf (or Georgia Gulf's subsidiaries), as applicable, or otherwise taking or committing to take actions
     that limit Splitco's or its subsidiaries' or Georgia Gulfs or Georgia Gulf's subsidiaries', as applicable, freedom
     of action with respect to, or their ability to retain, any of the businesses, product lines or assets of Splitco (or
     Splitco's subsidiaiies) or Georgia Gulf (or Georgia Gulf's subsidiaries), in each case, as may be required in order
     to avoid the entry of, or to effect the dissolution of, any injunction, temporary restraining order, or other order in
     any suit or proceeding, which would otherwise have the effect of preventing the closing (provided that the
     effectiveness of any such sale, divestiture, license or disposition or action or commitment must be contingent on
     consummation of the Merger). However, the parties to the Merger Agreement will not have to take any such
     action that would result in, or would reasonably be expected to result in, a mate1ial adverse effect on the PPG
     Chlor-alkali and De1ivatives Business, and PPG will not be required to agree to any sale, divestiture, licensing or
     disposition of any asset or business, or resniction or change in the ownership, conduct or operation of any assets
     or business that are not included in the PPG Chlor-alkali and De1ivatives Business.


     No Solicitation
          The Merger Agreement contains detailed provisions restricting Georgia Gulf's ability to seek an alternative
     transaction. Under these provisions, Georgia Gulf bas agreed that it and its subsidiaries will not, and it will use
     reasonable best efforts to cause its and its subsidiaries' officers, directors, employees, agents and representatives
     not to:
               initiate or solicit, or knowingly facilitate, assist or encourage, directly or indirectly, any inquiries with
               respect to, or the encouragement or making of, any acquisition proposal;

               except in limited circumstances, engage in negotiations or discussions with, furnish access to its
               properties, books and records or provide any information or data to, or cooperate with, any person
               relating to an acquisition proposal;

               except in limited circumstances, approve, endorse or recommend, or propose publicly to approve,
               endorse or recommend, an acquisition proposal;

          •    execute or enter into any letter of intent, agreement in p1inciple, merger agreement, acquisition
               agreement or other similm· agreement relating to an acquisition proposal (other than a confidentiality
               agreement);

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          •    waive, terminate, modify or fail to enforce any provision of any ·'standstill" obligation of any person
               other than PPG;
               take any action to make the provisions of any "fair price," "moratorium,'' "control share acquisition,''
               "business combination" or other similar anti-takeover statute or regulation inapplicable to any
               transactions contemplated by an acquisition proposal; or
          •    resolve, propose or agree to do any of the foregoing.

          Georgia Gulf has also agreed to cease any solicitations, discussions or negotiations with any person that has
     made or indicated an intention to make an acquisition proposal (except PPG, Splitco and their respective
     representatives).

          T he Merger Agreement provides that the term "acquisition proposal" means any proposal regarding:
          •    any merger, consolidation, share exchange, business combination, recapitalization or other similar
               transaction or se1ies of related transactions involving Georgia Gulf, or involving any of its subsidiaries
               the assets of which constitute 25% or more of the total consolidated assets, or the revenues of which
               represent 25% or more of the total consolidated revenues, of Georgia Gulf and its subsidiaries, taken as
               a whole;
               any direct or indirect purchase or sale, lease, exchange, transfer or other disposition of the consolidated
               assets (including stock of any of the direct and indirect subsidiaries of Georgia Gulf) of Georgia Gulf
               and its subsidiaries, taken as a whole, constituting 25% or more of the total consolidated assets of
               Georgia Gulf and its subsidiaiies, taken as a whole, or accounting for 25% or more of the total
               consolidated revenues of Georgia Gulf and its subsidiaries, taken as a whole, in any one transaction or
               in a series of transactions; or
               any direct or indirect purchase or sale of or tender offer, exchange offer or any similar transaction or
               series of related transactions engaged in by any person involving 25% or more of the outstanding
               shares of Georgia Gulf common stock.

           Notwithstanding the foregoing, prior to the vote of Georgia Gulf stockholders to approve the issuance of shares
     of Georgia Gulfs common stock in the Merger, if Georgia Gulf receives a bona fide written acquisition proposal
     that did not result from a breach of the restrictions described in this section entitled " -No Solicitation" and the
     Georgia Gulf board of directors determines in good faith, after consultation with outside legal counsel and a
     financial advisor, that such acquisition proposal could reasonably lead to the receipt of a superior proposal, Georgia
     Gulf may furnish certain information pursuant to a confidentiality agreement that contains provisions that are no
     less restiictive to such person, and no less favorable to Georgia Gulf, than those contained in the confidentiality
     agreement between Georgia Gulf and PPG or participate in discussions or negotiations with the person making the
     relevant acquisition proposal. All information that is provided to the person making the acquisition proposal must
     have been previously provided or made available to PPG or provided or made available to PPG substantially
     concuITently with the time it is so furnished to the person making the acquisition proposal.

           The Merger Agreement provides that the te1m ·'supe1ior proposal" means any bona fide w1itten offer made by
     a third paity to acquire, directly or indirectly, by merger, consolidation or other business combination or other
     similar acquisition transaction, for consideration consisting of cash and/or secmities, at least a majo1ity of the shares
     of the Georgia Gulf common stock then outstanding or all or substantially all of the assets of Georgia Gulf and the
     subsidiaiies of Georgia Gulf, with respect to which the Georgia Gulf board of directors (after consultation with
     outside legal counsel and a financial advisor) has determined in its good faith judgment that the consummation of
     the transactions contemplated by such w1itten offer (x) would be more favorable to Georgia Gulf's stockholders
     than the Merger, after taking into account all the tem1s and conditions of such proposal and the Merger Agreement
     (including any changes to the terms of the Merger Agreement proposed in writing by PPG to Georgia Gulf in
     response to such proposal or otherwise) and (y) would be reasonably likely to be completed on the terms proposed
     on a timely basis, taking into account all financial, legal, regulatory and other aspects of such proposal.

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          The Merger Agreement provides that Georgia Gulf will promptly, and in any event within one business day
     after receipt, notify PPG of the receipt by Georgia Gulf of an acquisition proposal and provide to PPG copies of
     any written mate1ials evidencing such proposal, and Georgia Gulf must keep PPG reasonably informed of the
     status and material terms and conditions of any such acquisition proposal. Georgia Gulf must also promptly
     provide to PPG (and in any event within one business day) any mate1ial modification to the terms of any
     acquisition proposal and must notify PPG of any determination by the Georgia Gulf board of directors that an
     acquisition proposal constitutes a supe1ior proposal.

          Neither Georgia Gulf nor any of its subsidiaries may enter into any contract that prohibits Georgia Gulf
     from complying with its obligations in the sections of this document entitled "The Merger Agreement- No
     Solicitation" and "The Merger Agreement- Board Recommendation."

     Board Recommendation
          Georgia Gulf has agreed in the Merger Agreement that it and its board of directors will not:
         •     withhold, withdraw, amend, change, qualify or modify in a manner adverse to PPG, or publicly
               propose to withhold, withdraw, amend, change, qualify or modify in a manner adverse to PPG, its
               recommendation that Georgia Gulf's stockholders vote in favor of the issuance of shares of Georgia
               Gulf's common stock in the Merger;
          •    approve, endorse, adopt or recommend to Georgia Gulf's stockholders any acquisition proposal, or
               publicly propose to approve, adopt or recommend to Georgia Gulf's stockholders any acquisition
               proposal; or
               enter into any agreement, letter of intent, or agreement in principle requiring Georgia Gulf to abandon,
               terminate or fail to consummate the transactions contemplated by the Merger Agreement or breach its
               obligations thereunder.

          Notwithstanding the foregoing, the Georgia Gulf board of directors, at any time prior to obtaining
     stockholder approval of the issuance of shares of Georgia Gulf's common stock in the Merger, (1) may withhold,
     withdraw, amend, change, qualify or modify in a manner adverse to PPG, or publicly propose to withhold,
     withdraw, amend, change, qualify or modify in a manner adverse to PPG, its recommendation that Georgia
     Gulf's stockholders vote in favor of the issuance of shares of Georgia Gulf common stock pursuant to the
     Merger, or (2) approve, endorse, adopt or recommend to Georgia Gulf's stockholders any acquisition proposal, or
     publicly propose to approve, adopt or recommend to Georgia Gulf's stockholders any acquisition proposal, if the
     following conditions are satisfied:
               the Georgia Gulf board of directors has received a bona fide written acquisition proposal that it
               determines in good faith (after consultation with outside legal counsel and a financial advisor)
               constitutes a superior proposal; and
               the Georgia Gulf board of directors has determined in good faith (after consultation with outside legal
               counsel) that the failure to (1) withhold, withdraw, amend, change, qualify or modify in a manner
               adverse to PPG, or publicly propose to withhold, withdraw, amend, change, qualify or modify in a
               manner adverse to PPG, its recommendation that Georgia Gulf's stockholders vote in favor of the
               issuance of shares of Georgia Gulf's common stock in the Merger or (2) approve, endorse, adopt or
               recommend to Georgia Gulf's stockholders any acquisition proposal, or publicly propose to approve,
               adopt or recommend to Georgia Gulf's stockholders any acquisition proposal, would be reasonably
               likely to constitute a breach of its fiduciary duties under applicable law.

         Georgia Gulf and its board of directors may not take the actions described above (a "Change in
     Recommendation") unless:
          •    Georgia Gulf has notified PPG in writing of its intention to take such action at least five business days p1ior
               to taking such action, which notice must include ce1tain information required by the Merger Agreement;

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          •    if requested by PPG, Georgia Gulf and its representatives must have made themselves available to
               discuss with PPG and its representatives any proposed modifications to the terms and conditions of the
               Merger Agreement and negotiated in good faith with PPG during the notice pe1iod to enable PPG to
               propose changes to the terms of the Merger Agreement intended to cause the supe1ior proposal to no
               longer constitute a supe1ior proposal;
               the Georgia Gulf board of directors must have considered in good faith (after consultation with legal
               counsel and a financial advisor) any changes to the Merger Agreement proposed in writing by PPG and
               determined that the supe1ior proposal would continue to constitute a superior proposal it such changes
               were to be given effect; and
               in the event of any change to any of the financial terms (including the form or amount of consideration) or
               any material terms of the superior proposal, Georgia Gulf must, in each case, have delivered to PPG an
               additional notice and copies of the relevant proposed transaction agreement and other material documents,
               and a new three business day notice period will commence upon such delivery, during which time the
               above described obligations will generally apply (provided that, if any superior proposal is received less
               than five business days prior to, or changes to the superior proposal are proposed less than three business
               days prior to, the meeting of Georgia Gulf's stockholders, then the five business day or three business day
               period, as applicable, contemplated above will be shortened such that it will expire as of the close of
               business on the day preceding the stockholders meeting, unless such stockholders meeting is postponed).

          T he Merger Agreement provides that Georgia Gulf is not prohibited from (1) taking and disclosing to its
     stockholders a position contemplated by Rule 14d-9 or Rule 14e-2(a) promulgated m1der the Exchange Act or
     (2) making any disclosure to its stockholders if the Georgia Gulf board of directors determines in good faith
     (after consultation with its outside legal counsel) that failure to do so would be inconsistent with applicable law.


     Financing
          Under the Separation Agreement, PPG agreed to use its commercially reasonable effo11s to take such steps
     as may be necessary to permit the conveyance by PPG of the TCI Interests to Splitco in the Separation. If PPG
     does not convey the TCI Interests to Splitco in the Separation, then the Special Disnibution will be reduced by
     $ 130.0 million.


       Splitco Financing
          Pursuant to the Separation Agreement and in connection with the Separation, PPG is entitled to receive the
     Special Distribution immediately prior to the Distribution. Tue cash portion of the Special Distribution will
     consist of approximately $225 .0 million in cash unless PPG elects to (a) reduce such amount prior to the
     commencement of the marketing period described below (but in no event will such cash portion be less than
     $200.0 million exclusive of the $12.0 million to be added if the TCI Interests are conveyed to Splitco in the
     Separation) or (b) increase such amount after considering in good faith the estimated adj usted tax bases of the
     assets to be transferred by PPG to Splitco and the estimated amount of liabilities to be assumed by Splitco in the
     Separation (but in no event will such cash portion be greater than $260.0 million exclusive of the $12.0 million to
     be added if the TCI Interests are conveyed to Splitco in the Separation). Simultaneously with the execution of the
     Merger Agreement, Georgia Gulf (on behalf of Splitco) entered into the Splitco Commitment Letter providing
     for new term loans under the Term Facility in an aggregate principal amount of approximately $225 .0 million,
     the proceeds of which will be used to finance the cash portion of the Special Distribution (the "Splitco
     Financing'') and pay the fees and expenses incurred in connection with the Transactions. Following the
     consummation of the Transactions, Georgia Gulf and certain of its subsidiaries will guarantee the term loans
     under the Term Facility. See "Debt Financing- Senior Secured Term Loan Facility."

          The Merger Agreement provides that if any portion of the Splitco Financing becomes unavailable on the
     terms and conditions contemplated in the Splitco Commitment Letter and the related fee letters, Georgia Gulf

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     and Splitco will use their reasonable best efforts to aiTange alternative debt financing for the purposes of the
     Splitco Financing in an amount not less than the cash portion of the Special Disuibution. Georgia Gulf may also,
     with PPG's p1ior written consent (which consent may not be unreasonably withheld, conditioned or delayed),
     arrange for alternative financing for the Splitco Financing from a third paity or parties if the alternative financing
     meets certain cri te1ia provided in the Merger Agreement. In addition, Georgia Gulf will be responsible for all
     out-of-pocket, third party fees and expenses related to the Splitco Financing.


        PPG Fi11a11ci11g
          In addition to the cash distributed in the Special Distribution, the Special Distribution will also consist of
     debt instruments of Splitco having a principal amount equal to (a) $900.0 million (minus $ 130.0 million if the
     TCI Interests are not transferred to Splitco in the Separation) less (b) the amount of cash distributed in the
     Special Distribution, subject to adjustment as described in the Separation Agreement and the Merger Agreement.
     Simultaneously with the execution of the Merger Agreement, PPG entered into the PPG Commitment Letter
     providing for senior unsecured bridge loans that are expected to be approximately $675 .0 million (the ''PPG
     Debt"). The parties to the Merger Agreement anticipate that the PPG Debt will be issued by PPG at least
     five days prior to the date of' the s pecial meeting (or, if later, five days before the date PPG's board of'
     directors declares the distribution of' Splitco stock effecting the Distribution or five days before the date of'
     the commencement of' the exchange offer).

           PPG anticipates that it will exchange the Splitco debt instmments in the form of Debt Secmities in full
     satisfaction of the PPG Debt that will be incurred by PPG prior to the Distribution. In the event certain conditions are
     satisfied (including consummation of the Separation and the Merger in accordance with the Merger Agreement and
     the Separation Agreement) and the PPG Debt has not been repaid in full prior to the date the Merger closes because
     the Debt Securities could not be placed with an interest rate below an agreed cap, the PPG Debt will be repaid on the
     date the Merger closes with the Exchange Loans or Exchange Notes in full satisfaction of such PPG Debt. Pursuant
     to the Merger Agreement, each of the parties to the Merger Agreement bas agreed to use its reasonable best efforts to
     cause the Debt Exchange to be consummated with the holders of the PPG Debt. Consummation of the Debt
     Exchange is a condition to the consummation of the Merger. See "-Conditions to the Merger."

          The Merger Agreement provides that PPG may not agree to amend or modify the PPG Commitment Letter
     without the prior written consent of Georgia Gulf if such amendments or modifications would reasonably be
     expected to reduce the amomlt of the PPG Debt below an amount equal to $900.0 million (minus $130.0 million if
     the TCI Interests are not transferred to Splitco in the Separation) less the amomlt of cash distributed in the Special
     Distiibution. The Merger Agreement also provides that if any po1tion of the PPG Debt becomes unavailable on the
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     best efforts to arrange alternative debt financing for the purposes of the PPG Debt in an amount not less than an
     amount equal to $900.0 million (minus $ 130.0 million if the TCI Interests are not transferred to Splitco in the
     Separation) less the amount of cash distributed in the Special Distribution. In addition, Georgia Gulf will be
     responsible for all out-of-pocket, third party fees and expenses related to the PPG Debt.


        Marketing Period
          Georgia Gulf is entitled to a marketing pe1iod prior to the closing of the Merger to provide it a reasonable
     and approp1iate period of time dming which it can market and place the Debt Secmities contemplated by the
     Merger Agreement.

          For the purposes of the Merger Agreement, " marketing pe1iod" means the first pe1iod of 20 consecutive
     business days (or 15 consecutive business days if commenced on or after January 2, 2013) commencing after the
     date of the Merger Agreement and throughout which:
          •     Georgia Gulf shall have previously received from Splitco all of the ·'required financial information"
                (consisting of certain financial infornrntion of Splitco required to be provided by Splitco under the

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               Merger Agreement) and dming which period such information shall remain compliant in all material
               respects at all times with the applicable provisions of Regulations S-X and S-K under the Secmities
               Act; and
               the mutual conditions to each party's obligation to effect the Merger shall have been satisfied or
               waived, and nothing has occurred and no condition exists that would cause any of the conditions to
               PPG's and Splitco's obligation to effect the Merger (other than the condition relating to the Debt
               Exchange) to fail to be satisfied.

          For purposes of determining the marketing period, (1) November 23, 2012 will not be deemed to be a
     business day and (2) the entirety of the marketing period must occur prior to December 19, 2012, or after
     January 2, 2013 (provided that, in the case of this clause (2), the marketing period must be completed prior to
     February 14, 2013 or otherwise not commence until the audited financial statements of both Georgia Gulf and
     Splitco for the fiscal year ending December 31 , 2012 are available). In addition, in any event, the marketing
     period will not be deemed to have commenced if prior to the completion of the marketing period:
          •    Splitco's auditors have withdrawn their audit opinion contained in the required financial information,
               in which case the marketing period shall not be deemed to commence unless and until a new
               unqualified audit opinion is issued with respect thereto by Splitco's auditors or another independent
               public accounting firm reasonably acceptable to Georgia Gulf;
               the financial statements included in the required financial information that is available to Georgia Gulf
               on the first day of the marketing period would not be sufficiently current on any day during such period
               to satisfy the requirements of Rule 3-12 of Regulation S-X under the Securities Act to pe1mit a
               registration statement using such financial statements to be declared effective by the SEC on the last
               day of such period, or not sufficient for the underw1iters or initial purchasers of the Debt Secmities to
               receive a customary comfort letter, in which case the marketing period shall not be deemed to
               commence until the receipt by Georgia Gulf of updated required financial information that would be
               required under Rule 3-12 of Regulation S-X under the Secmities Act to permit a registration statement
               using such financial statements to be declared effective by the SEC on the last day of such new 20
               consecutive business day pe1iod; or
               PPG or Splitco issues a public statement indicating its intent to restate any historical financial
               statements of Splitco or that any such restatement is under consideration or may be a possibility, in
               which case the marketing period shall not be deemed to commence unless and until such restatement
               bas been completed and the relevant SEC reports have been amended or PPG has announced that it has
               concluded that no restatement shall be required in accordance with GAAP.

          The marketing pe1iod shall end on any earlier date that is the date on which the Splitco Financing is funded.

     Covenant Not to Compete
          PPG has agreed that, for two years after the date of the effective time of the Merger, it and its subsidiaries
     will not engage in any of the businesses in which the PPG Chlor-alkali and Derivatives Business is engaged in as
     of the effective date of the Merger (the "Restricted Business'') anywhere throughout the world without the prior
     written consent of Georgia Gulf. Notwithstanding the foregoing:
          •    none of PPG and its subsidiaries will be prohibited from engaging in the business conducted by PPG or
               its subsidiaries (excluding the PPG Cblor-alkali and Derivatives Business) on the effective date of the
               Merger;
          •    none of PPG and its subsidiaries will be prohibited from owning 5% or less of any class of capital stock
               or other equity interest of any person engaged in the Restricted Business;
          •    if PPG completes a business combination transaction with a person, which transaction results in the
               holders of the voting secmities of PPG outstanding immediately prior to the consummation of such

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               transaction owning less than 50% of the voting power of the voting secmities of PPG or the surviving
               entity in the transaction or any parent of such entity outstanding immediately after the consummation
               of such transaction, the acquiror or any of its subsidiaiies or affiliates {but not PPG or any of its
               subsidiaries) may engage in any Restricted Business;
               PPG may acquire interests in or securities of any person as an investment by their pension funds or
               funds of any other benefit plan of PPG whether or not such person is engaged in any Restricted
               Business;
          •    PPG may acquire interests in or securities of any person that derived 20% or less of its total revenues in
               its most recent fiscal year from activities that constitute Restricted Businesses (provided that such
               person may not use the PPG name in connection with the activities that constitute Restricted
               Businesses);
          •    PPG may perfo1m its obligations under the Merger Agreement and the Transaction Agreements; and
               if the TCI Interests are not transferred to Splitco, PPG may continue to bold the TCI Interests and take
               any actions in connection with its ownership in TCI.


     Non-Solicitation of' Employees
          PPG and Georgia Gulf have each agreed that, for two years following the date of closing of the Merger, it
     will not, without the p1ior written consent of the other paity, solicit to hire, hire or enter into a consulting
     agreement with, certain employees of the other party. The restrictions in the preceding sentence shall not apply to
     general solicitations (such as advertisements) for employment placed by a party or such party's subsidiary and
     not specifically targeted at the other party's employees. In addition, neither party is restricted from responding to
     or hiring any employee of the other party or such party's subsidiaries who contacts the other party without any
     prior solicitation (other than as under the general solicitation exception described above).


     Certain Other Covenants and Agreements
         The Merger Agreement contains certain other covenants and agreements, including covenants (with certain
     exceptions specified in the Merger Agreement) relating to:
               audited financial statements for the PPG Cblor-alkali and Derivatives Business that PPG is required to
               provide to Georgia Gulf as soon as reasonably practicable after the date of the Merger Agreement,
               financial statements for periods not covered by such audited financial statement that PPG is required to
               provide after the end of the applicable fiscal period, and monthly financial statements that PPG is
               required to provide promptly after the end of each calendar month;
               Georgia Gulf's intention to pay quarterly dividends after the closing of the Merger at no less than $0.32
               per share of Georgia Gulf common stock per annum;
               actions to be taken by the independent auditors of each of Georgia Gulf and PPG;
          •    guarantee agreements to be entered into by Georgia Gulf to the extent required to obtain a release of a
               guarantee of PPG or any of its subsidiaries as contemplated by the Separation Agreement;
          •    Splitco autho1izing the issuance of a number of shares of Splitco common stock such that the total
               nmnber of shares of Splitco common stock outstanding immediately prior to the effective time of the
               Merger will equal the total number of shares of PPG common stock outstanding immediately prior to
               the effective time of the Merger;
          •    avoiding the application of any "fair p1ice," "moratorium," "control share acquisition" or other form of
               antitakeover statute or regulation;
          •    a prohibition against exercising any options to purchase Georgia Gulf common stock dming the three
               business days p1ior to the effective date of the Merger;

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          •    any press release or public announcement relating to the Transactions;
               the defense of any litigation that may arise with respect to the Transactions, in connection with which
               none of PPG, Splitco or Georgia Gulf will settle any action, suit or proceeding or fail to perfect on a
               timely basis any right to appeal any judgment rendered or order entered against such party without
               having previously consulted with the other parties;
          •    advising the other patties if the representations and warranties of the patty in the Merger Agreement
               have become untrue or inaccurate or if the party bas failed to comply with or satisfy in any material
               respect any covenant, condition or agreement that could be complied with or satisfied by it at such time
               under the Merger Agreement (provided, however, that no such notification will affect the
               representations, warranties, covenants or agreements of the parties or the conditions to the obligations
               of the parties under the Merger Agreement);
          •    access to each other's officers, employees, accountants, properties and records;
               steps required to be taken to cause any disposition of Splitco common stock or acquisitions of Georgia
               Gulf common stock resulting from the Transactions by each individual who is subject to the reporting
               requirements of Section 16(a) of the Exchange Act with respect to Georgia Gulf or Splitco to be
               exempt under Rule 16b-3 promulgated under the Exchange Act; and
          •    the parties' obligation between the signing of the Merger Agreement and the Separation to negotiate in
               good faith to agree upon definitive terms for certain agreements related to the Transactions, including
               the Transition Services Agreement and the Shared Facilities, Services and Supply Agreement, among
               others, and that all pricing for the services provided under such agreements will be consistent with the
               economics in the financial statements of the PPG Cblor-alkali and Derivatives Business provided by
               PPG to Georgia Gulf prior to the signing of the Merger Agreement.


      Conditions to the Merger
           The obligations of Georgia Gulf, PPG, Merger Sub and Splitco to consummate the Merger are subject to the
      satisfaction of the following conditions:
          •    the consummation of the Separation and the Distiibution in accordance with (1) the Separation
               Agreement, (2) the Private Letter Ruling and (3) the Distribution Tax Opinion;
               the expiration or termination of any applicable waiting period under the HSR Act;
          •    the receipt of ce1tain approvals or notices under the Competition Act (Canada);
          •    the effectiveness of the registI·ation statement of Georgia Gulf and the registration statement of Splitco
               and the absence of any stop order or proceedings seeking a stop order with respect thereto;
               the receipt of all necessary permits and authorizations under state securities or "blue sky'' laws, the
               Securities Act and the Exchange Act relating to the issuance and trading of shares of Georgia Gulf
               common stock to be issued pursuant to the Merger, and the effectiveness of such permits and
               authorizations;
          •    the approval for listing on the NYSE of the shares of Georgia Gulf common stock and such other
               shares required to be reserved for issuance pursuant to the Merger;
               the approval by Georgia Gulf stockholders of the issuance of shares of Georgia Gulf's common stock
               in the Merger; and
          •    the absence of comi orders or orders of other governmental authorities prohibiting the Separation, the
               Distribution or the Merger.

          The conditions listed above are referred to as the "Joint Conditions to the Merger.''


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           PPG's and Splitco's obligation to effect the Merger is subject to the satisfaction or, to the extent permitted
      by law, waiver of the following conditions:
           •    the performance or compliance in all mate1ial respects by Georgia Gulf of all obligations and
                covenants required to be pe1formed or complied with by it prior to the effective time of the Merger;
           •    the truth and correctness in all material respects of Georgia Gulf's representations and warranties,
                subject to specified materiality thresholds, as of the closing date of the Merger;
                the receipt by PPG of a certificate, dated as of the effective time of the Merger, of a senior officer of
                Georgia Gulf certifying the satisfaction by Georgia Gulf of the conditions desc1ibed in the preceding
                two bullet points;
           •    the receipt by PPG and Splitco of the Merger Tax Opinion from PPG's tax counsel, dated as of the
                closing date of the Merger;
           •    the receipt by PPG and Splitco of the P1ivate Letter Ruling, in form and substance reasonably
                satisfactory to PPG and Splitco, which ruling is still valid and in full force and effect; and
           •    the consummation of the Debt Exchange in full satisfaction of the PPG Debt in an amount equal to
                (a) $900.0 million (minus $130.0 million if the TCI Interests are not transferred to Splitco in the
                Separation) less {b) the amount of cash distributed in the Special Distribution, subject to adjustment as
                described in the Separation Agreement and the Merger Agreement.
           We refer to the conditions listed above as the "Additional Conditions to the Merger for PPG's Benefit.''
           Georgia Gulf's and Merger Sub's obligation to effect the Merger is subject to the satisfaction or, to the
      extent permitted by law, waiver of the following conditions:
                the performance or compliance in all material respects by PPG and Splitco of all obligations and
                covenants required to be performed or complied with by them prior to the effective time of the Merger;
                the truth and correctness in all material respects of PPG's representations and warranties, subject to
                specified materiality thresholds, as of the closing date of the Merger;
                the receipt by Georgia Gulf of a certificate, dated as of the effective time of the Merger, of a senior
                officer of each of PPG and Splitco certifying the satisfaction by PPG and Splitco of the conditions
                described in the preceding two bullet points;
                the receipt by Georgia Gulf of a Merger Tax Opinion from Georgia Gulf's tax counsel, dated as of the
                closing date of the Merger;
                the entry by Splitco and PPG (or a subsidiary of Splitco and PPG) into the Separation Agreement and
                applicable Additional Agreements and, to the extent applicable, performance in all material respects by
                Splitco and PPG of all obligations under the Separation Agreement and the applicable Additional
                Agreements to be performed prior to the effectiveness of these Additional Agreements; and
                the achievement of certain targets for the income before income taxes of the PPG Chlor-alkali and
                Derivatives Business for the fiscal years 2010 and 2011 as reported in the audited combined financial
                statements of the PPG Chlor-alkali and Derivatives Business for fiscal years 2010 and 2011 when
                delivered pursuant to the Merger Agreement (the "Income Before Taxes Targets'').
          We refer to the conditions listed above as the "Additional Conditions to the Merger for Georgia Gulf's
      Benefit."

      Termination
           The Merger Agreement may be terminated at any time prior to the consummation of the Merger by the mutual
      written consent of PPG and Georgia Gulf. Also, subject to specified qualifications and exceptions, either PPG or
      Georgia Gulf may terminate the Merger Agreement at any time prior to the consummation of the Merger if:
                the Merger has not been consummated by May 18, 2013;
           •    any governmental entity has issued an order, decree or ruling or taken any other action permanently
                restraining, enjoining, or otherwise prohibiting the Transactions, and the order, decree, ruling or other
                action has become final and nonappealable; or

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          •    Georgia Gulf's stockholders failed to approve the issuance of shares of Georgia Gulf's common stock
               in the Merger at the Georgia Gulf special meeting (including any adjournment, continuation or
               postponement of the Georgia Gulf special meeting).

          In addition, subject to specified qualifications and exceptions, PPG may terminate the Merger Agreement if:
               Georgia Gulf has breached or failed to perform in any material respect any of its representations,
               warranties, covenants or other agreements contained in the Merger Agreement, which breach or failure
               to perform (1) would result in a failure ot a Joint Condition or an Additional Condition to the Merger
               for PPG's Benefit and (2) cannot be cured by May 18, 2013; or
               the Georgia Gulf Board of Directors has effected a Change in Recommendation.

          In addition, subject to specified qualifications and exceptions, Georgia Gulf may terminate the Merger
      Agreement if:
          •    either PPG or Splitco has breached or failed to perform in any material respect any of its
               representations, warranties, covenants or other agreements contained in the Merger Agreement, which
               breach or failure to perform (1) would result in a faihu-e of a Joint Condition or an Additional
               Condition to the Merger for Georgia Gulf's Benefit and (2) the failure cannot be cured by May 18,
               2013;or
               PPG has not delivered the audited combined financial statements of the PPG Chlor-alkali and
               Derivatives Business for fiscal years 2010 and 2011 by the date that is 120 days after the date of the
               Merger Agreement, or, upon delivery of such financial statements, the Income Before Taxes Targets
               are not met.

           If the Merger Agreement is terminated, the Merger Agreement will terminate without any liability on the
      part of any party except as desc1ibed below in the section of this document entitled ·'-Termination Fee Payable
      in Certain Circumstances," provided that nothing in the Merger Agreement will relieve any pmiy of liability for
      fraud or willful breach of the Merger Agreement or the Separation Agreement prior to termination.


      Termination Fee Payable in Certain Circumstances
           The Merger Agreement provides that, upon termination of the Merger Agreement under specified
      circumstances, ce11ain termination fees may be payable. The circumstances under which termination fees may be
      payable include:
          •    (A) if an acquisition proposal with respect to Georgia Gulf has been made to Georgia Gulf or its
               stockholders, or such acquisition proposal becomes publicly known or any person has publicly
               annom1ced an intention to make an acquisition proposal, and (B) thereafter the Merger Agreement is
               terminated (1) by either pmiy because the Merger has not been consmnmated by May 18, 2013, (2) by
               PPG due to a breach by Georgia Gulf of its covenants under the Merger Agreement or (3) by either
               pmiy after a faihu-e to obtain the approval by Georgia Gulf stockholders of the issuance of shares of
               Georgia Gulf's common stock in the Merger (and, in the case of this clause (3) only, such acquisition
               proposal or such announcement of an intention to make an acquisition proposal is publicly known and
               has not been irrevocably withdrawn at least five days p1ior to the Georgia Gulf stockholders meeting),
               and (C) within twelve months after such termination of the Merger Agreement, any acquisition of
               Georgia Gulf is consummated or any definitive agreement with respect to such acquisition is entered
               into, then, in any such case, Georgia Gulf must pay PPG a termination fee of $24.5 million;
               if the Merger Agreement is terminated by PPG following a Change in Recommendation by the Georgia
               Gulf Board of Directors that the stockholders of Georgia Gulf vote in favor of the issuance of shares of
               Georgia Gulf's common stock in the Merger, Georgia Gulf must pay PPG a termination fee of
               $24.5 million;

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           •     if the Merger Agreement is terminated after a failure to obtain the approval by Georgia Gulf
                 stockholders of the issuance of shares of Georgia Gulfs common stock in the Merger, Georgia Gulf
                 must reimbLu-se PPG and Splitco for their expenses in connection with the Transactions not to exceed
                 an amount agreed upon by the pm1ies; and
           •     if the Merger Agreement is terminated because PPG has not delivered the financial statements of the
                 PPG Chlor-alkali and Derivatives Business for fiscal years 2010 and 2011 by the date that is 120 days
                 after the date of the Merger Agreement, or, upon delivery of such financial statements, the Income
                 Before Taxes Targets are not met, PPG must reimburse Georgia Gulf for its expenses in connection
                 with the Transactions not to exceed an amount agreed upon by the parties.


      Expenses
          The Merger Agreement provides that, except as desc1ibed immediately above and in the section of this
      document entitled ·'-Financing," each pai1y will pay its own fees and expenses in connection with the Merger
      Agreement, the Merger and the other Transactions, except expenses that are to be shared equally by PPG and
      Georgia Gulf, which include:
                 certain expenses incurred in connection with the filing, printing and mailing of this document, a
                 registration statement to effect registration of the shares of Splitco common stock to be issued in
                 connection with the Distribution and the registration statement of Georgia Gulf relating to the shares of
                 its common stock to be issued in the Merger; and
           •     filing fees paid pursuant to the HSR Act and approp1iate filings, if required, with foreign regulatory
                 authorities.

            In addition, any fees and expenses incurred in connection with seeking third-party consents will be paid as
      set fo11h in the Separation Agreement. Georgia Gulf will be responsible for all out-of-pocket costs, third pai1y
      fees and expenses related to the Splitco Financing and the PPG Debt.


      Specific Performance
            If there is any actual or threatened default in, or breach of, any of the terms, conditions and provisions of the
      Merger Agreement or any of the other Transaction Agreements, the party who is, or is to be, aggrieved will have
      the right to specific performance of the transactions contemplated by the Merger Agreement or such other
      Transaction Agreement and injunctive or other equitable relief in respect of its rights under the Merger
      Agreement or the other Transaction Agreements, in addition to any and all other rights and remedies at law or in
      equity.

      Other Transaction Agreements
          Any provisions affecting PPG and Georgia Gulf, respectively, found in certain other agreements executed in
      connection with the Transactions (including, among others, the Separation Agreement, the Employee Matters
      Agreement, the Transition Services Agreement and the Tax Matters Agreement) shall be binding upon PPG and
      Georgia Gulf, respectively, as if they were parties thereto.


      Amendments
           The Merger Agreement may be amended by the pai1ies at any time before or after the stockholders of
      Georgia Gulf approve the issuance of the shares of Georgia Gulf common stock in the Merger, but after such
      approval, no amendment which by law or under the rules of any relevant stock exchange or automated inter-
      dealer quotation system requires further stockholder approval may be made to the Merger Agreement without
      obtaining such further approval. All amendments to the Merger Agreement must be in writing and signed by
      each party.

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                                            THE SEPARATION AGREEMENT

            The following is a summary of the mate1ial provisions of the Separation Agreement. This smnmary is
      qualified in its entirety by the Separation Agreement, dated as of July 18, 2012, which is incorporated by
      reference in this document. Stockholders of PPG and Georgia Gulf are urged to read the Separation Agreement in
      its entirety. This description of the Separation Agreement has been included to provide PPG shareholders and
      Georgia Gulf stockholders with information regarding its terms. The rights and obligations of the parties are
      governed by the express terms and conditions of the Separation Agreement and not by this summary or any other
      information included in this document. It is not intended to provide any other factual information about Georgia
      Gulf, Merger Sub, PPG or Splitco. Information about Georgia Gulf, Merger Sub, PPG and Splitco can be found
      elsewhere in this document and in the documents incorporated by reference into this document. See also "Where
      You Can Find More Information; Incorporation by Reference."

           Descriptions regarding the assets and liabilities conveyed to Splitco and retained by PPG contained in the
      Separation Agreement are qualified by certain information that has been exchanged between PPG and Splitco
      and that is not reflected in the Separation Agreement. Accordingly, PPG shareholders and Georgia Gulf
      stockholders should not rely on the general descriptions of assets and liabilities in the Separation Agreement, as
      they may have been modified in important ways by the information exchanged between PPG and Georgia Gulf.

      Overview
            The Separation Agreement provides for the Separation of the PPG Chlor-alkali and Derivatives Business
      from PPG. Among other things, the Separation Agreement specifies which assets of PPG and certain of its
      subsidiaries related to the PPG Chlor-alkali and De1ivatives Business are to be transferred to, and which
      liabilities of PPG and certain of its subsidiaries related to the PPG Chlor-alkali and Derivatives Business are to be
      assumed by, Splitco and its subsidiaries, and sets forth when and how these transfers and assumptions will occur.
      The Separation Agreement also includes procedures by which PPG and Splitco will become separate and
      independent companies. The matters addressed by the Separation Agreement include, without limitation, the
      matters desc1ibed below.

           In consideration for the conveyance by PPG of the specified assets and liabilities relating to the PPG Chlor-
      alkali and Derivatives Business, Splitco will:
                issue to PPG shares of Splitco common stock which, along with any other shares of Splitco common
                stock owned by PPG, will constitute all of the outstanding stock of Splitco; and
           •    make the Special Distiibution to PPG.

      Issuance of Splitco Common Stock to PPG Shareholders
           In consideration for the conveyance by PPG of the specified assets and liabilities relating to the PPG Chlor-
      alkali and Derivatives Business (1) the Splitco board of directors and PPG, as Splitco's sole shareholder, will
      adopt an amendment to Splitco' s certificate of incorporation to increase the authorized shares of Splitco common
      stock, and Splitco will issue to PPG a number of shares of Splitco common stock, which together with the shares
      of Splitco common stock already owned by PPG, will constitute all of the issued and outstanding shares of
      Splitco common stock outstanding at the effective time of the Separation and (2) the Splitco board of directors
      will establish a record date preceding the Distribution and authorize Splitco to distribute to PPG the Special
      Distribution, which will be payable no later than immediately prior to the Distribution.

      Transfer of' the Assets and Assumption of' Liabilities
           Generally, subject to the terms and conditions contained in the Separation Agreement:
                PPG or a subsidiary of PPG will transfer to Splitco or a subsidiary of Splitco generally all assets primarily
                relating to the PPG Cblor-alkali and Derivatives Business, and Splitco or a subsidiary of Splitco will
                generally assume all liabilities related primarily to the PPG Chlor-alkali and Derivatives Business;

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           •    PPG will retain all assets and liabilities that are not transferred to Splitco in the Separation; and
           •    following the Disnibution, the pm1ies will transfer any misallocated assets or liabilities to such other
                pm1y as such pm1y would have been entitled to under the Separation Agreement.

           The assets to be transferred or assigned to Splitco or one of its subsidiaries include the following, to the
      extent they are owned by PPG or its subsidiaries at the effective time of the Separation:
           •    all invento1ies of materials, pai1s, raw mate1ials, packaging mate1ials, stores, supplies, work-in-process,
                goods in transit, and finished goods and products that are, in each case, used or held for use primarily
                in the PPG Chlor-alkali and Derivatives Business;
                certain real property used in the PPG Chlor-alkali and Derivatives Business;
           •    all contracts that are related p1immily to the PPG Chlor-alkali and De1ivatives Business and ce11ain
                con11·acts for the sole benefit of Splitco into which certain shm·ed contracts are separated pLu-suant to the
                Separation Agreement;
           •    all approvals, consents, franchises, licensees, permits, registrations, authorizations and certificates or
                other rights issued or granted by any governmental authority and all pending applications therefor that
                are, in each case, used primarily in or held primaiily for the benefit of the PPG Chlor-alkali and
                Derivatives Business;
           •    all business records and other documentation and materials related primarily to the PPG Chlor-alkali
                and De1ivatives Business;
           •    all tangible personal property that is used or held for use p1imaiily in the PPG Chlor-alkali and
                Derivatives Business;
           •    equity interests of certain specified subsidimies and other investments of PPG;
                all patents and applications therefore, trademarks and intellectual property that is used or held for use
                primarily in the PPG Chlor-alkali and Derivatives Business, including those listed on specified
                schedules;
                all rights in all telephone numbers and post office boxes used or held primarily for use in the PPG
                Chlor-alkali and Derivatives Business, all websites maintained primarily for the PPG Chlor-alkali and
                Derivatives Business and the content, information and databases contained therein (except for
                specifically enumerated excluded assets) and all uniform product codes used or held for use primarily
                in the PPG Chlor-alkali and Derivatives Business;
           •    all cash and cash equivalents in Splitco bank accounts not withdrawn p1ior to the effective time of the
                Separation;
                all trade accounts and notes receivable and other amounts receivable arising from the sale or other
                disposition of goods, or the performance of services, by the PPG Chlor-alkali and Derivatives
                Business;
                all prepaid expenses, prepaid property taxes, security deposits, credits, deferred charges and advanced
                payments that are, in each case, related primarily to the PPG Chlor-alkali and Derivatives Business
                (other than certain prepaid amounts in connection with workers' compensation and other policies
                related to liabilities retained by PPG);
           •    all rights with respect to third patty warranties and guaranties that are, in each case, related p1immily to
                the PPG Chlor-alkali and De1ivatives Business and all related claims, credits, rights of recovery and
                other similar iights as to such third parties;
           •    all rights to causes of action, lawsuits, judgments, claims and demands that are, in each case, related
                primarily to the PPG Chlor-alkali and Derivatives Business, including items listed on specified
                schedules, but not including any counter-claims in connection with an underlying claim that is not
                related primarily to the PPG Chlor-alkali and Derivatives Business;

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           •    PPG's fee and/or leasehold interest, as applicable in and to the Starks and Sulphur Mines Salt Dome
                Facilities in Calcasieu Paiish, Louisiana which service the PPG Chlor-alkali and Derivatives Business
                at the Lake Charles, Louisiana site (including any and all personal property, pipelines and other
                equipment owned by PPG in connection therewith);
           •    PPG's fee and/or leasehold interest, as applicable, in and to the Orange Line ethylene pipeline which
                services the PPG Chlor-alkali and Derivatives Business at the Lake Charles, Louisiana site (including
                the real prope11y and equipment (including any and all personal property, pipelines and other
                equipment owned by PPG in connection therewith));
                licenses for certain intellectual property owned by PPG; and
                all assets expressly identified in the Separation Agreement or any Additional Agreement as assets to be
                acquired by Splitco and all other assets (other than specifically enumerated excluded assets) owned by
                PPG that are used or held for use primarily in, or related primarily to, the PPG Chlor-alkali and
                Derivatives Business.

           The Separation Agreement provides that the assets to be transferred or assigned to Splitco or one of its
      subsidiaries will not in any event include any of the following:
           •    the assets listed on a specified schedule or not included as an acquired asset of Splitco;
           •    intellectual prope11y in which PPG or any of its subsidimies or the Splitco Group has any iight, title or
                interest, other than intellectual prope11y that is used or held for use primaiily in the PPG Chlor-alkali
                and Derivatives Business (other than certain trademark registrations and applications therefor listed on
                a specified schedule) and certain intellectual property rights related to titanium dioxide or to the
                development, production, manufacture or finishing of titanium dioxide products;
                any cash or cash equivalents in Splitco bank accounts withdrawn prior to the effective time of the
                Separation;
                any dividends declared by TCI, PHH Monomers, LLC and RS Cogen but not yet paid as of the
                effective time of the Separation, except to the extent such dividends are included as assets in working
                capital;
                except as otherwise provided in the Separation Agreement, all insurance policies, binders and claims
                and rights thereunder and all prepaid insurance premiums;
                any real property interests of PPG not expressly identified in the Separation Agreement or any
                Additional Agreement as real property interests to be acquired by Splitco or its subsidiaries, certain real
                prope11y interests designated as being retained by PPG and other real prope11y on a specified schedule;
                and
           •    all assets that m·e expressly contemplated by the Separation Agreement or any Additional Agreement to
                be retained by PPG and each of its subsidiaries (excluding Splitco and its subsidiaiies) at the effective
                time of the Separation.

          The liabilities that are to be assumed by Splitco or one of its subsidiaries include the following:
                all liabilities that are identified on a specified schedule;
                all liabilities relating primarily to the PPG Chlor-alkali and Derivatives Business or any of the assets
                that are to be assigned or transferred to Splitco or one of its subsidiaries pursuant to the Separation
                Agreement;
                all trade and other accounts payable related primarily to the PPG Chlor-alkali and Derivatives Business;
           •    all operating expenses and other current liabilities (including liabilities for services and goods for
                which an invoice has not been received p1ior to the Separation) related primarily to the PPG Chlor-
                alkali and Derivatives Business;

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         •   all liabilities under the contracts that are related primarily to the PPG Chlor-alkali and Derivatives
             Business, including the contracts that relate both to Splitco and the PPG Chlor-alkali and De1ivatives
             Business, respectively, to the extent related to the PPG Chlor-alkali and De1ivatives Business;
             all liabilities arising from commitments, quotations, proposals and bids to purchase or acquire raw
             materials, components, supplies or services related primarily to the PPG Chlor-alkali and Derivatives
             Business;
             all liabilities arising from commitments, quotations, proposals and bids to sell products or provide
             services related primarily to the PPG Chlor-alkali and De1ivatives Business;
             all liabilities with respect to any return, rebate, discount, credit, recall warranty, customer program, or
             similar liabilities relating primarily to products of the PPG Chlor-alkali and Derivatives Business;
             all liabilities for death, personal injury, advertising injury and other injury to persons or property
             damage relating to past, current or future use of or exposure to any of the products designed,
             manufactured, serviced or sold or services performed by or on behalf of the PPG Chlor-alkali and
             Derivatives Business;
         •   all liabilities relating p1imarily to the PPG Chlor-alkali and De1ivatives Business or any assets that are
             to be assigned or transferred to Splitco to the extent that the same constitutes a past, current or future
             tort, breach of contract or violation of, or non-compliance with, any law or any approval or other 1ight
             granted from a governmental authority;
             all liabilities relating to workers' compensation or claims for occupational health and safety,
             occupational disease, or occupational injury, or other claim relating to health, safety, disease or injury
             with respect to ce11ain cm-rent and former employees of the PPG Chlor-alkali and De1ivatives Business
             or other persons who are or were employed, hired or engaged by or to provide services to the PPG
             Chlor-alkali and De1ivatives Business;
         •   all liabilities for any lawsuit or governmental proceeding related p1immily to the PPG Chlor-alkali and
             Derivatives Business;
             all liabilities under the Splitco Financing and all other indebtedness for borrowed money of Splitco as
             of the effective time of the Separation;
         •   all indebtedness to which PPG is subject by viI1ue of its ownership interests in RS Cogen, PHH, and,
             under certain circumstances, TCI;
         •   all liabilities, known or unknown, for environmental conditions relating primarily to activities or
             operations at any of ce11ain scheduled real properties of the PPG Chlor-alkali and De1ivatives Business
             (including any release of certain hazardous materials occurring before, at or after the Separation that
             has migrated, is migrating or in the future migrates from certain property transferred to Splitco in the
             Separation) or any violation of environmental law arising out of the PPG Chlor-alkali and Derivatives
             Business at any such properties and all liabilities of environmental conditions at any third-party site
             relating primarily to hazardous materials generated at such properties;
         •   all liabilities to the extent arising out of (a) the activities or operation of the PPG Chlor-alkali and
             Derivatives Business or the ownership or use of the assets transferred to Splitco under the Separation
             Agreement after the Sepm·ation by Splitco, Splitco's subsidiaries or Georgia Gulf, (b) the activities or
             operations of any other business conducted by Splitco, Splitco's subsidiaiies or Georgia Gulf and its
             subsidiaries at any time after the Separation (including any liabilities relating to any act or failure to act
             by any director, officer, employee, agent or representative of Splitco, Splitco's subsidimies or Georgia
             Gulf (whether or not such act or failure to act is or was within such person's authority)) or (c) any of
             the terminated or discontinued businesses that were operated on certain scheduled real properties of the
             PPG Chlor-alkali and Derivatives Business;
             all liabilities expressly contemplated by the Separation Agreement or any Additional Agreement to be
             assumed or retained by or allocated to any of Splitco, Splitco's subsidiaries or Georgia Gulf;

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           •    all liabilities of any of Splitco, Splitco's subsidiaries, Georgia Gulf or Georgia Gulf's subsidiaiies
                under the Separation Agreement or any Additional Agreement; and
                all liabilities relating to, arising out of or resulting from (a) any action or failure to take action within
                the control of Georgia Gulf, (b) any event involving the capital stock or assets of Georgia Gulf or
                (c) any breach by Georgia Gulf of any representation, warranty or covenant made in the Tax Matters
                Agreement that causes the tax-free status of the Transactions to be lost.

           The Separation Agreement provides that the liabilities that are to be assumed by Splitco or one of its
      subsidiaries will not in any event include any of the following:
                any liabilities relating to any of the assets that will not be transferred or assigned to Splitco or one of its
                subsidiaries pursuant to the Separation Agreement;
           •    all liabilities relating to, arising out of or resulting from the contamination in the Ohio River which was
                the subject of or related to, directly or indirectly, sediment sampling conducted or to be conducted by
                or on behalf of PPG (along with any associated follow-up sampling or testing), as and to the extent set
                forth in ce11ain schedules, but not including liabilities for on-site remediation or other remediation
                outside of the Ohio River;
                all liabilities relating to, arising out of or resulting from natural resource damages and other third party
                tort (only) damage claims related to the Calcasieu River Estuary, other than (i) liabilities in the
                Calcasieu Estuary related to remediation, including contribution or similar claims for costs of
                remediation and (ii) liabilities aiising out of any release of hazardous materials by Splitco, Splitco's
                subsidiaries or Georgia Gulf into the Ohio River or the Calcasieu Estuary after the Separation;
                all liabilities relating to, arising out of, or resulting from any real property owned, leased or operated
                prior to the Separation by PPG or its affiliates relating to the PPG Chlor-alkali and Derivatives
                Business (other than certain scheduled real properties of the PPG Chlor-alkali and Derivatives Business
                and other than real property expressly identified by the Separation Agreement or Additional
                Agreements as assets to be acquired by Splitco, Splitco's subsidiaries or Georgia Gult), certain real
                property scheduled to be retained by PPG or any business or operation conducted prior to the
                Separation that is not included in the PPG Chlor-alkali and Derivatives Business, including (i) all
                liabilities relating to, arising out of, or resulting from any environmental conditions or any violation of
                environmental law at any such locations, and (ii) all liabilities relating to, arising out of or resulting
                from any environmental conditions at any third-party site arising from, related to or resulting from
                hazardous materials from any such locations or businesses or operations;
                all liabilities that are expressly provided by the Separation Agreement, the Merger Agreement or any
                Additional Agreements as liabilities to be retained or assumed by PPG or any of PPG's subsidiaries
                (other than Splitco or its subsidiaries);
           •    all liabilities relating to, arising out of or resulting from (i) any action or failure to take action within
                the control of PPG or it subsidimies, (ii) any event involving the capital stock or assets of PPG or
                (iii) any breach by PPG of any representation, warranty or covenant made in the Tax Matters
                Agreement that causes the tax-free status of the Transactions to be lost;
                all liabilities of PPG and its subsidiaries (excluding Splitco) constituting an obligation to defend,
                indemnify or hold harmless any third-party insurers that issued insurance policies to PPG (including
                without limitation any indemnity obligations that PPG has assumed or may assume in connection with
                the Chapter 11 bankruptcy reorganization of Pittsburgh Corning Corporation);
           •    all liabilities of certain scheduled subsidimies of PPG that are unrelated to the PPG Chlor-alkali and
                Derivatives Business (including liabilities related to titanium dioxide or to the development,
                production, manufacture or finishing of titanium dioxide products);



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           •    all liabilities relating to, arising out of or resulting from the indemnification of any director, officer,
                agent or employee of PPG or any of its affiliates who was a director, officer, agent or employee of PPG
                or any of its affiliates on or prior to the consummation of the Merger to the extent such director,
                officer, agent or employee is or becomes a named defendant in (i) any shareholder derivative suit
                against PPG arising from the transactions contemplated by the Separation Agreement or the Merger
                Agreement or (ii) any lawsuit or governmental proceeding related to liabilities that are not to be
                assmned by Splitco m1der the Separation Agreement; and
           •    all liabilities relating to, arising out of or resulting from claims for or relating to exposm·e to asbestos at
                any real property that is an asset of Splitco p1ior to the Separation, whether such claim is made before
                or after the Separation, subject to ce11ain scheduled terms.

      Transfer of the PPG Cblor-alkali and Derivatives Business
            The Separation Agreement requires PPG and Splitco to deliver certain documents to the other party to effect
      the transfer of the PPG Chlor-alkali and De1ivatives Business to Splitco.

          On the effective date of the Separation, PPG or its subsidiaries are required to deliver the following
      documents to Splitco:
                a Tax Matters Agreement, a Transition Services Agreement, an Electric Generation, Distribution and
                Transmission Facilities Lease, a Shared Facilities, Services and Supply Agreement, a Servitude
                Agreement, a Shared Facilities Agreement for Monroeville, a Master Terminal Agreement and certain
                sales agreements providing for the ongoing supply of certain chemicals between the pm1ies;
                all necessary transfer documents relating to the assets to be transferred or assigned to Splitco (or to be
                retained by PPG, as the case may be) and the liabilities to be assumed by Splitco (or to be retained by
                PPG, as the case may be); and
           •    resignations of each of the individuals who serve as an officer or director of the Splitco Group as set
                forth on a specified schedule in their capacity as such and the resignations of any other persons that
                will be employees of any member of the PPG Group after the effective time of the Separation and that
                are directors or officers of any member of the Splitco Group, to the extent requested by Splitco.

           On the effective date of the Sepm·ation, Splitco is required to deliver the following documents to PPG:
                in each case where any member of the Splitco Group is to be a party to the Tax Matters Agreement,
                Transition Services Agreement, Electric Generation, Distribution and Transmission Facilities Lease,
                Shared Facilities, Services and Supply Agreement, Servitude Agreement, Shared Facilities Agreement
                for Monroeville, Master Te1minal Agreement and certain sales agreements providing for the ongoing
                supply of certain chemicals between the parties, the executed agreement;
           •    all necessm-y transfer documents relating to the assets to be transferred or assigned to Splitco (or to be
                retained by PPG, as the case may be) and the liabilities to be assumed by Splitco (or to be retained by
                PPG, as the case may be); and
                resignations of each of the individuals who serve as an officer or director of the PPG Group as set forth
                on a specified schedule in their capacity as such and the resignations of any other persons that will be
                employees of any member of the Splitco Group and that are directors or officers of any member of the
                PPG Group, to the extent requested by PPG.

      Intercompany Arrangements and Guaranties
           Except for certain agreements such as the Separation Agreement, the Merger Agreement and the Additional
      Agreements, all contracts between Splitco or any member of the Splitco Group, on the one hand, and PPG and
      any member of the PPG Group, on the other hand, will be terminated as of the effective time of the Separation.
      Splitco and PPG also will settle all intercompany accounts at the effective time of the Separation. On or p1ior to

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      the effective time of the Separation, the patties (with the reasonable cooperation of the applicable other party)
      will use their reasonable best effo1ts to have the applicable other patty removed as a guarantor or obligor for any
      liability which such party retains pursuant to the Separation Agreement. If the parties are unable to obtain such
      removal, they will indemnify the pmty retaining such guarantee or obligation and will pay, perform and
      dischm·ge ftilly all the obligations or other liabilities of such guarantor or obligor thereunder.

      Consents and Delayed Transfers
            The Separation Agreement provides that PPG and Splitco will use their respective commercially reasonable
      efforts to obtain any required third-party consents or governmental approvals required in connection with the
      Separation or the Distribution; provided, that except for certain exceptions (including the transfer of the TCI
      Interests as discussed in ·'- Transfer of the TCI Interests"), neither PPG nor Splitco will be required to make any
      payments or offer or grant any accommodation (financial or otherwise) to any third party or governmental
      authority to obtain any such consent or governmental approval, except to the extent that a member of the other
      party agrees to reimburse and make whole PPG or Splitco, as the case may be. The transfer of any specific asset
      to either Splitco or PPG in connection with the Separation will automatically be deferred until all legal
      impediments are removed and all necessm-y consents and governmental approvals have been obtained, subject to
      certain exceptions. The pmty retaining such asset will hold such asset for the benefit of the other (at such other
      party's expense) until properly conveyed. The obligations of the pmties to obtain such consents will generally
      terminate on the two-yem· anniversm-y of the effective date of the Separation.

           If any conveyance of assets or liabilities to Splitco and its subsidiaries or PPG and its subsidiaries pursuant
      to the Separation Agreement would be a violation of applicable laws or require any third-pmty consent or
      governmental approval in connection with the Separation, the Distribution or other transactions contemplated
      under the Separation Agreement, then such conveyance will automatically be deferred until all legal or
      contractual impediments are removed or such third-pmty consents or governmental approvals have been
      obtained. Either pmty may elect to require conveyance of ce1tain assets or liabilities under the Separation
      Agreement despite the legal or contractual impediment, but such party would be responsible for any liabilities
      that may atise from such conveyance, except where the parties jointly agree to effect such conveyance, in which
      case any such liabilities would be shared equally between Splitco and PPG. If such legal or contractual
      impediments are removed or the required third-pmty consent and/or governmental approvals are obtained, the
      transfer of the applicable asset or liability will be effected promptly in accordance with the terms of the
      Separation Agreement.

           If PPG fails to obtain any required governmental approvals associated with the subdivision of any real
      property that is to be transferred to Splitco from real property that is to be retained by PPG in the Separation or
      the parties have not exercised their respective rights to transfer such real property despite the legal impediment as
      described above, PPG and Splitco or a subsidiary of Splitco will enter into a lease agreement, with terms as
      provided in the Separation Agreement, effective as of the Separation pursuant to which Splitco or its designated
      subsidiary, as applicable, will lease from PPG the applicable real property from and after the Separation until
      such time, if any, as PPG has received the applicable governmental approval. Upon receipt of such governmental
      approval, the temporary lease agreement will terminate and PPG will convey the real property to Splitco, or its
      designated subsidiary or affiliate.

      Shared Contracts
           The Separation Agreement provides that PPG and Splitco will use their respective commercially reasonable
      efforts to separate contracts that are listed on a specified schedule and any other contract that relates both to the
      PPG Chlor-alkali and De1ivatives Business and the businesses conducted by the PPG Group p1ior to the effective
      time of the Separation that are not included in the PPG Chlor-alkali and Derivatives Business, which are referred
      to as the "shared contracts," into separate contracts effective as of the effective time of the Separation so that
      from and after the effective time of the Separation, the Splitco Group will have the sole benefit and liabilities
      with respect to each shared contract to the extent related to the PPG Chlor-alkali and Derivatives Business and

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      the PPG Group will have the sole benefit and liabilities with respect to each shared contract to the extent not
      related to the PPG Chlor-alkali and Derivatives Business. The assets to be transferred or assigned to the Splitco
      Group will not include shared contracts unrelated to the PPG Chlor-alkali and De1ivatives Business. To the
      extent any counterparty to any shared contract is entitled to consent to the separation of the shared contract, and
      has not provided its consent, PPG and Splitco will use their respective commercially reasonable efforts promptly
      to develop and implement arrangements to make the po1tion of the shared contract related to the PPG Chlor-
      alkali and Derivatives Business available for use by (and for the benefit of) Splitco in accordance with the
      procedure described in ·'- Consents and Delayed Transfer" above. If and when any required consents are
      obtained, the shared contract will be separated as described above. Tue obligations of PPG and Splitco with
      respect to shared contracts terminate on the two-year anniversary of the effective time of the Separation. Splitco
      and PPG will generally share equally any costs related to separating the shared contracts.


      Transfer of the TCI Interests
           Subject to certain scheduled terms, PPG will use its commercially reasonable efforts to take such steps as
      may be necessary to permit the conveyance of all the shares of TCI owned by PPG as of immediately prior to the
      effective time of the Merger {the ·'TCI Interests") to Splitco at or p1ior to the effective time of the Separation. In
      the event that PPG does not convey the TCI Interests at or prior to the effective time of the Separation to Splitco,
      the Special Disnibution will be reduced by $130 million and the TCI Interests (and any assets relating to the TCI
      Interests) will not be considered one of the assets to be transferred or assigned to Splitco or one of its subsidimies
      pursuant to the Separation Agreement.


      No Representations or Warranties
           Under the Sepm·ation Agreement, other than as expressly provided therein, neither PPG nor any member of
      the PPG Group will make any representations or warranties, express or implied, as to any matter whatsoever,
      including as to the condition or the value of any asset or liability, the existence of any secmity interest of any
      asset, the absence of defenses from counterclaims, or any implied warranties of merchantability and fitness for a
      particular purpose. Under the Separation Agreement (other than expressly provided therein), the PPG Chlor-
      alkali and Derivatives Business will take the assets and liabilities allocated to it "as is, where is," and bear the
      economic risk relating to conveyance of, title to or the assumption of those assets and liabilities. None of the
      foregoing has any impact on the representations and warranties made by PPG and any member of the PPG Group
      in the Merger Agreement or any ancillm-y agreement. See "The Merger Agreement- Representations and
      Warranties" for a desc1iption of the representations and warranties related to the PPG Chlor-alkali and
      Derivatives Business which m·e contained in the Merger Agreement.

      Mutual Releases and Indemnification
            Without limiting the pmties' rights and obligations under the Separation Agreement and the Additional
      Agreements and subject to certain other exceptions noted below, both PPG and Splitco (and the members of their
      respective Groups) will release each other and specified related parties from any and all liabilities existing or
      mising from any acts or events occurring (or failing to occur) at or before the effective time of the Separation or
      any conditions existing or alleged to have existed on or before the effective time of the Separation. The
      Separation Agreement, however, provides that neither PPG nor Splitco will be released from the following
      liabilities:
                any rights a person may have to enforce the obligations established by the Separation Agreement, the
                Merger Agreement or any Additional Agreement;
           •    any liability the release of which would result in the release of any person other than a person released
                pursuant to this provision;
           •    any liability assumed, 1:1·ansferred, assigned or allocated to a Group of which a person is a member in
                accordance with the Separation Agreement, the Merger Agreement or any Additional Agreements;

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           •    any liability for unpaid amounts for products or services or refunds owing on products or services due
                on a value-received basis for work done by a member of one Group, at the request or on behalf of a
                member of the other Group;
           •    any liability that PPG or Splitco may have with respect to indemnification or contribution pursuant to
                the Separation Agreement for claims brought against the parties by third persons; or
           •    any liability for fraud or willful misconduct.

            In addition, under the Separation Agreement, Splitco and each member of the Splitco Group will, in general,
      be jointly and severally liable to indemnify PPG and each of its subsidiaiies against certain liabilities from losses
      relating to, aiising out of or resulting from (whether p1ior to or following the effective time of the Separation):
           •    any failure of Splitco or any member of the Splitco Group to discharge or comply with any liabilities
                assmned by Splitco, its subsidiaries or Georgia Gulf under the Separation Agreement;
           •    any breach by Splitco or any member of the Splitco Group of any agreement or obligation to be
                pe1fonned by such persons pursuant to the Separation Agreement, the Merger Agreement or any
                Additional Agreement unless such agreement expressly provides for separate indemnification therein;
                and
           •    the enforcement by PPG, each member of the PPG Group, and all persons who are or have been
                shareholders, directors, partners, managers, managing members, officers, agents or employees of any
                member of the PPG Group (in each case, in their respective capacities as such) or, in the event the TCI
                Interests are transferred to Splitco at or prior to the effective time of the Separation Agreement, TCI, in
                each case, together with their respective heirs, executors, administrators, successors and assigns of their
                rights to be indemnified.

          Further, under the Separation Agreement, PPG and any of its subsidiaries will indemnify Splitco and any
      member of the Splitco Group against certain liabilities from claims relating to, arising out of or resulting from
      (whether prior to or following the effective time of the Separation):
                any failure by PPG or any other member of the PPG Group or any other person to discharge or comply
                with any liabilities retained by PPG or members of the PPG Group under the Separation Agreement;
                any breach by PPG or any other member of the PPG Group of any agreement or obligation to be
                performed by such persons pursuant to the Separation Agreement, the Merger Agreement or any
                Additional Agreement unless such agreement expressly provides for separate indemnification therein;
                and
                the enforcement by Splitco, each member of the Splitco Group, and all persons who are or have been
                shareholders, directors, partners, managers, managing members, officers, agents or employees of any
                member of the Splitco Group (in each case, in their respective capacities as such), in each case,
                together with their respective heirs, executors, administrators, successors and assigns of their rights to
                be indemnified under the Separation Agreement.

           Under the Separation Agreement, indemnification payments will be reduced by any insurance proceeds or
      other amounts actually recovered from unaffiliated third-parties by or on behalf of the indemnitee in respect of
      the related loss. The existence of a claim by an indemnitee for payment from an insurer or against a third party in
      respect of any indemnifiable loss will not, however, delay any payment pursuant to the indemnification
      provisions contained in the Separation Agreement and otherwise determined to be due and owing by the
      indemnifying party. Rather, the indemnifying party will make payment in full of the amount determined to be
      due and owing by it, and the indemnitee will assign to the indemnifying party its entire claim for insurance
      proceeds or against such third party.

          In the absence of a final resolution to the contrary, any amount payable by Splitco to PPG under the
      Separation Agreement will be treated as occuning immediately p1ior to the Separation, as an inter-company

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      disnibution, and any amount payable by PPG to Splitco under the Separation Agreement will be treated as
      occurring immediately prior to the Separation, as a disllibution or contribution to capital. Notwithstanding the
      foregoing, any indemnification amounts will be decreased to take into account the present value of any tax
      benefit made allowable to the indemnitee (or an affiliate) mising from the incurrence or payment of the relevant
      indemnified item.

           The amount that any indenmifying party may be required to provide to or on behalf of an indenmitee will be
      decreased or increased, as the case may be, to take into account the present value of any tax benefit or cost to the
      indemnitee (or an affiliate thereof) arising from the incurrence or payment of the relevant indemnified item.

      Post-Closing Working Capital Adjustment
           The Separation Agreement provides for a working capital adjustment to the extent that the actual working
      capital of Splitco as of the effective date of the Separation is greater or less than its target working capital as of
      such date, which adjustment will be further adjusted in the event the TCI Interests are transferred to Splitco. If
      the actual working capital transferred to Splitco by PPG in the Separation exceeds the target working capital
      amount described in the Separation Agreement, then Splitco will pay to PPG the difference between the actual
      working capital amount and the target working capital amount by increasing the Below Basis Amount and the
      Above Basis Amount by the absolute value of such difference. If the actual working capital amount transferred to
      Splitco by PPG in the Separation is less than the target working capital amount set forth in the Separation
      Agreement, then PPG will pay to Splitco the difference between the actual working capital amount and the target
      working capital amount by reducing the Below Basis Amount and the Above Basis Amow1t by the absolute value
      of such difference.

      Covenants
           The Separation Agreement addresses additional obligations of PPG and Splitco relating to, among others,
      the exchange of information, ownership of information, record retention, compensation for providing infonnation
      and production of witnesses, and the privileged nature of information, and includes covenants relating to PPG's
      use of names retained by Splitco, and the removal of tangible assets 11·ansferred to Splitco and PPG from facilities
      11·ansferred to Splitco or retained by PPG, as applicable. Ce11ain obligations and covenants m·e described below.

           Further Assurances
            Each of PPG and Splitco agrees to cooperate with each other and use commercially reasonable effo11s, prior
      to, at and after the effective time of the Sepm·ation, to take all actions and to do all things reasonably necessary
      on Lheir parL under appfo;abk law or <.:onLra<.:LUal obligaLions LU <.:onsurmnale and make effe<.:Live Lhe Lransa<.:Lions
      contemplated by the Separation Agreement, the Merger Agreement and the Additional Agreements as promptly
      as reasonably practicable.

           Exchange of Information
            Except as otherwise provided in the Transition Services Agreement, each party will provide access to
      information shared between members of the Splitco Group and the PPG Group related to the PPG Chlor-alkali
      and Derivatives Business until the later of {i) a period of six years following the effective time of the Separation
      and (ii) the expiration of the relevant statute of limitations to certain shared information in its possession or
      con11·ol.

           Intellectual Property
          Splitco will generally take all actions necessary to ensure that no member of the Splitco Group operates the
      PPG Chlor-alkali and Derivatives Business utilizing the name, trademarks or goodwill of any member of the PPG
      Group; provided that members of the Splitco Group may refer to the PPG Group and trademarks of the PPG
      Group in connection with describing the historical relationship of the Splitco Group to the PPG Group.

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           Insurance
           From and after the effective date of the Separation, none of Splitco nor any other member of the Splitco
      Group will have any tights with respect to any insurance policies of PPG and its subsidimies in effect at the
      effective time of the Separation, except that PPG will, if requested by Splitco, use commercially reasonable
      efforts to asset1, on behalf of Splitco, claims for any loss, liability or damage with respect solely to the Splitco
      assets or liabilities under ''claims made" insurance policies for which indemnification is sought from Splitco
      under the Separation Agreement.

           Right of First Refusal Relating to Land at Natrium, West Virginia
           If at any time prior to the 20-year anniversary of the effective time of the Separation, PPG desires to sell all
      or a portion of certain land located in Natrium, West Virginia to a third party, Splitco will have a right of first
      refusal to purchase all or a portion of such land.

      Conditions to the Separation and Distribution
           The completion of the Separation and Distribution is conditional upon the fulfillment (or waiver by PPG,
      which is subject to the consent of Georgia Gulf) at or prior to the date of the Sepm·ation and Distiibution of the
      following conditions:
           •    each of the patties to the Merger Agreement has irrevocably confirmed to the others that the conditions
                to the Merger (other than the consummation of the Sepm·ation and the Distiibution) have been fulfilled,
                will be fulfilled at the effective time of the Merger, or are being waived by such party, as the case may
                be;
                PPG will have received the Private Letter Ruling and the Distribution T ax Opinion, each in form
                reasonably satisfactory to PPG; and
                PPG and Splitco have received all necessary permits and authorizations under state securities or "blue
                sky'' laws, the Securities Act and the Exchange Act in connection with the Distribution, and these
                permits and authorizations are in effect.

            In addition, each of PPG's and Splitco's obligations to effect the Distribution is subject to the satisfaction
      or, to the extent permitted by law, waiver of the following additional conditions:
                Splitco has issued to PPG additional shares of Splitco common stock as consideration for the
                conveyance by PPG to Splitco of specified assets and liabilities that are used in the PPG Chlor-alkali
                and Detivatives Business;
           •    PPG has received the Special Distribution; and
                Splitco will have assumed the liabilities it is required to assume pursuant to the Separation Agreement.

      Termination
           Prior to the closing of the Merger, the Separation Agreement will terminate without further action at any
      time before the effective time of the Merger upon the termination of the Merger Agreement. In the event of such
      a termination, neither party will have any further liability to the other party except as provided in the Merger
      Agreement.

      Parties in Interest
           The Separation Agreement provides that Georgia Gulf is a third party beneficiary and that the Separation
      Agreement may not be amended, and tights under the Separation Agreement may not be waived, without the
      wtitten consent of Georgia Gulf. As of the effective time of the Sepm·ation, Georgia Gulf will be subject to the
      obligations imposed on, and will be the beneficim)' of the rights of Splitco under the Sepm·ation Agreement.

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                                                     DEBT FINANCI NG

           In connection with the entry into the Merger Agreement, each of PPG and Georgia Gulf entered into ce1tain
      commitment letters with other parties thereto pursuant to which those parties agreed to provide various financing
      in connection with the Transactions. The terms of the debt financing, including any conditions thereto and
      covenants thereunder, will be set out in various definitive docmnentation to be entered into by the respective
      parties. The following is a desc1iption of the principal terms of the indebtedness to be incurred in connection with
      the Transactions, as set out in the applicable commitment letters, including pursuant to the Term Facility and the
      Debt Securities.


      Senior Secured Term Loan Facility
           Pursuant to the Splitco Commitment Letter, the Commitment Patties agreed to provide the Term Facility to:
           •    finance the cash po1tion of the Special Distribution; and
           •    pay fees and expenses incm-red in connection with the Transactions.

           The Commitment Parties currently expect that the size of the Term Facility will be approximately $225.0
      million. Tue Splitco Commitment Letter provides that the Commitment Parties will make the Term Facility
      available in a single draw on the closing date of the Merger. The commitments contemplated by the letter are in
      effect until May 18, 2013, and are subject to customary conditions, including, subject to exceptions, the absence
      of any material adverse effect on the PPG Chlor-alkali and Derivatives Business since December 31, 2011.
      Georgia Gulf has agreed to pay ce1tain fees to the Commitment Patties in connection with the Tenn Facility and
      has agreed to indemnify such parties against certain liabilities.

           The credit agreement governing the Te1m Credit Facility is expected to have several features similar to
      credit facilities of this nature, including, but not limited to:


        Maturity and Amortization
           Borrowings under the Term Facility are expected to mature on the earlier of (1) the fomth anniversary of the
      closing date of the Merger and (2) 91 days prior to the maturity of the 9 percent notes unless, at least 91 days
      prior to the maturity date of the 9 percent notes, the 9 percent notes are refinanced with notes having a matmity
      date at least six months after the fomth anniversary of the closing date of the Merger.

           The outstanding principal amount of the term loans under the Term Facility is expected to be payable in
      equal quarterly amounts of 1.0% per annum prior to the fomth anniversm)' of the closing date of the Merger,
      with the remaining balance, together with all amounts owed with respect thereto, payable on the matmity date.


        Interest Rates
          Amounts outstanding under the Term Facility m·e expected to bear interest, at Splitco's option, at a rate
      equal to:
           •    the Base Rate plus 1.75% per annum; or
           •    the reserve adjusted Eurodollar Rate plus 2.75% per annum;
      provided that at no time will the Base Rate be deemed to be less than 2.00% per annum or the reserve adjusted
      Eurodollar Rate be deemed to be less than 1.00% per annum.

            For purposes of this summary: (1) ''Base Rate" has a meaning customary and approp1iate for financings of
      this type, and the basis for calculating accrued interest for loans beating interest at the base rate will be

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      customary and appropriate for financings of this type and (2) ·'reserve adjusted Eurodollar Rate" means a
      fluctuating rate per annum equal to (a) the rate per annum determined by the administrative agent to be the
      offered rate appearing on the page of the Reuters Screen which displays an average B1itish Bankers Association
      Interest Settlement Rate applicable to U.S . dollar deposits or (b) if the rate in clause {a) above does not appear on
      such page or service or if such page or service is not available, the rate per annum determined by the
      administrative agent to be the offered rate on such other page or other service which displays an average British
      Bankers Association Interest Settlement Rate applicable to U.S. dollar deposits or (c) if the rates in clauses
      (a) and (b) are not available, the administrative agent's offered quotation rate to first class banks in the London
      interbank market, in each as adjusted for applicable reserve requirements.


        Prepayments
           Subject to certain conditions and exceptions, including but not limited to those to ensure compliance with
      the indenture governing the 9 percent notes, the credit agreement governing the Term Facility would require
      Splitco to prepay outstanding loans in certain circumstances, including (a) in an amount equal to 100% of the net
      cash proceeds from sales or dispositions of certain property or assets of Georgia Gulf and its subsidiaries in
      excess of certain amounts to be agreed, (b) in an amount equal to 100% of the net cash proceeds from property
      insurance or condemnation awards in excess of an amount to be agreed, and (c) in an amount equal to 100% of
      the net cash proceeds from the incurrence of additional debt other than debt permitted under the credit agreement
      governing the Term Facility. Splitco would also be required to prepay outstanding loans with specified
      percentages of excess cash tlow based on Georgia Gulf's leverage ratio. The credit agreement governing the
      Term Facility would contain other customary prepayment obligations.

           The credit agreement governing the Te1m Facility would also provide for voluntary prepayment of loans
      without premium or penalty, subject to certain conditions and exceptions, including an exception for certain
      prepayments or rep1icings of the Term Facility which may be made p1ior to the first anniversary of the closing
      date of the Merger, which exception requires the lenders holding term loans under the Term Facility to be paid an
      amount equal to 101 % of the amount of such loans repaid or repriced (or effectively refinanced).


        Covenants
            The Term Facility will contain customary affirmative covenants (subject to exceptions), including covenants
      related to: financial statements and other reports, existence, payment of taxes and claims, maintenance of
      properties, insurance, books and records, inspections, lenders' meetings, compliance with laws, environmental,
      subsidiaries, additional material real estate assets, additional collateral, further assurances, and maintenance of
      ratings (but no minimum rating requirement). The Term Facility will also contain customary negative covenants
      (subject to exceptions) that will restrict Georgia Gulf and its subsidiaries in their activities, including covenants
      related to: indebtedness, liens, no further negative pledges, restricted junior payments, restrictions on subsidiary
      distributions, investments, fundamental changes, disposition of assets, acquisitions, capital expenditures,
      contingent obligations, sales and lease-backs, transactions with affiliates, conduct of business, amendments or
      waivers of organizational documents, amendments or waivers with respect to certain indebtedness, and fiscal
      year. In addition, Georgia Gulf will be subject to a senior secured leverage ratio, to be defined in the definitive
      documentation, of 3.50 to 1.00.


        Guarantee/Collateral
           Obligations under the Term Facility will be unconditionally guaranteed by each of Splitco's existing and
      subsequently acquired or organized direct or indirect domestic subsidiaries and, after consummation of the
      Merger, Georgia Gulf and each of its existing and subsequently acquired subsidiaries that guarantee any other
      indebtedness of Georgia Gulf on the closing date of the Merger. The obligations under the Term Facility will be
      secured by all assets of the Splitco and the guarantors that secure the obligations in respect of the 9 percent notes
      as of the closing date of the Merger, and the guarantees thereof on an equal and ratable basis.

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        Events of Default
           The Term Facility is expected to contain the following events of default (and, as approp1iate, grace and cure
      periods): failure to make payments when due, default under certain other agreements, breach of ce1tain
      covenants, material breach of representations, other defaults under the Te1m Facility documentation, involuntary
      bankruptcy, voluntary bankruptcy, judgments and attachments, dissolution, employee benefit plans, change of
      control, guaranties, secmity documents, and failure of subordinated indebtedness to be subordinated, subject to
      customary qualifications and limitations for mate1iality.

      Splitco Debt Securities
            On July 18, 2012, Georgia Gulf entered into an engagement letter contemplating the issuance of the Debt
      Securities to PPG immediately prior to the Distiibution. The Debt Secmities are expected to have a maturity date
      of at least eight years and are expected to be non-callable for a period of at least five years. The Commitment
      Patties currently expect Splitco to issue approximately $675.0 million in aggregate principal amount of the Debt
      Securities. In addition, the Debt Secmities are expected to have an interest rate based on then current market
      conditions (but not to exceed an agreed cap) and customary covenants for high yield securities. These Debt
      Securities are also expected to be guaranteed by each of Splitco's existing and subsequently acquired or
      organized direct or indirect domestic subsidiaiies and, after consummation of the Merger, Georgia Gulf and each
      of its existing and subsequently acquired subsidiaiies that guarantee any other indebtedness of Georgia Gulf on
      the closing date of the Merger. Other terms of the Debt Securities will be established in accordance with the
      terms of the Merger Agreement.

           Under the Debt Exchange, Georgia Gulf and PPG expect the Debt Securities to be transferred by PPG on or
      about the closing date of the Merger to the Commitment Parties in satisfaction of debt obligations of PPG under
      the Bridge Facility. PPG has the right to condition the consummation of the Merger on the consummation of the
      Debt Exchange. See "- PPG Bridge Facility."

      PPG Bridge Facility
           Pursuant to the PPG Commitment Letter, subject to certain conditions, the Commitment Parties agreed to
      provide to PPG the PPG Debt, up to $675.0 million in aggregate principal amount of senior unsecured bridge
      loans, subject to increase or decrease depending on the tax basis of the PPG Chlor-alkali and Derivatives
      Business (the "PPG Bridge Facility''). Pursuant to the terms of the PPG Bridge Facility, the PPG Debt will
      mature 180 days after its incurrence (prepayable without penalty) and will bear interest at a floating rate. PPG
      anticipates that it will use the proceeds of the PPG Debt for general corporate purposes (which may include the
      repayment of debt).

           The Commitment Parties expect to enter into an exchange agreement pursuant to which the Commitment
      Parties will exchange the PPG Debt for the Debt Securities, provided that the Commitment Parties have held the
      PPG Debt for their own account for at least 14 days before such exchange. If the Debt Securities have not been
      issued and the PPG Debt has not been repaid in full prior to the date the Merger closes, subject to certain
      conditions, the PPG Debt will be repaid in full on such date with Exchange Loans (described below) or Exchange
      Notes (as described below) in an aggregate principal amount equal to the principal amount of the PPG Debt.
      Such repayment by PPG of PPG Debt with Exchange Loans will be in full satisfaction of such PPG Debt.

      Debt Exchange
           Below is a step-by-step list illustrating the sequence of material events relating to the Debt Exchange:
           Step 1-At least five days before Georgia Gulf's special meeting of its stockholders (or, if later, five days
           before the date PPG's board of directors declares the distribution of Splitco stock effecting the Disnibution
           or five days before the date of the commencement of the exchange offer), the Commitment Parties will
           provide PPG the PPG Debt in the fonn of the PPG Bridge Facility.

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           Step 2-Splitco will issue the Debt Secmities to PPG as part of the Special Disnibution in connection with
           the Separation and the Distribution.
           Step 3- At a time when the Commitment Parties have held the PPG Debt for at least 14 days for their own
           account, the Commitment Parties will exchange the PPG Debt for the Debt Securities pursuant to an
           exchange agreement to be entered into more than five days after the issuance of the PPG Debt.
           Step 4- It is anticipated that the Commitment Parties will sell, in a public offering or otherwise, the Debt
           Securities received in the Debt Exchange to third party investors pm·suant to an exemption from registration
           under the Securities Act (either in a p1ivate placement or a " Rule 144A" transaction).
           Set forth below are diagrams that graphically illustrate, in simplified form, the Debt Exchange.

                                              PPG                                                         Commitment
                                                                                                            Parties
                                                                    PPG Debt of $675.0
         Step 1:                                                    million pursuant to the
                                                                    PPG B ridge Facility




         Step 2:
                    Specified assets and               Special Distribut ion,
                    liabilities related to             consisting of S225.0
                    the PPG Chlor-alkali               million in cash and
                    and Derivatives                    the Debt Securities
                    B usiness


                                             Splitco

                                                                         Debt Securities

                                              PPG                                                         Commitment
         Step 3:
                                                                                                            Parties
                                                                    Retirement of PPG Debt          / /


                                                                                 Cash       /   /     Debt Securities

         Step 4:                                                                  Bond
                                                                                Investors




      Exchange Loans and Exchange Notes
           The PPG Commitment Letter provides that, to the extent that Splitco does not issue the Debt Securities on
      the closing date of the Merger, the Commitment Parties will exchange the PPG Debt for the Exchange Loans or
      Exchange Notes. The Exchange Loans or the Exchange Notes will mature eight years after the closing of the
      Merger. The Exchange Loans or the Exchange Notes bear interest at a rate equal to an agreed cap, subject to
      default interest, if any. The agreement governing the Exchange Loans or the Exchange Notes will contain
      customary covenants for high yield debt and events of default substantially consistent with (and no less favorable
      than) the corresponding covenants and events of default contained in the indenture governing the 9 percent notes.

          At any time after the first anniversary of the date the Exchange Loans (if any) are first exchanged for PPG
      Debt, the Exchange Loans (if any) may be exchanged in whole or in pm1, at the option of the lender, for
      Exchange Notes. The Exchange Notes will mature eight yem·s after the Merger closes, will be issued pursuant to

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      an indenture, will not be callable until the fifth anniversary of the Merger, will have an interest rate equal to an
      agreed cap, subject to default interest, and will contain customary covenants for high yield debt and events of
      default substantially consistent with (and no less favorable than) the corresponding covenants and events of
      default contained in the indenture governing the 9 percent notes.


      New ABL Revolver
           In connection with the Transactions, Georgia Gulf expects to refinance the ABL Revolver with a syndicate
      of banks led by General Electric Capital Corporation (the "New ABL Revolver"). Among other things, the New
      ABL Revolver is expected to increase revolver availability after the consummation of the Transactions to up to
      $500.0 million, subject to applicable borrowing base limitations and certain other conditions. Georgia Gulf
      expects to use the New ABL Revolver to fund working capital and operating activities, including any future
      acquisitions, after the Transactions are completed.




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                                                   OTHER AGREEMENTS

           Georgia Gulf, PPG, Splitco and Merger Sub or their respective subsidiaries, in each case as applicable, have
      entered into or, before the consummation of the Transactions, will enter into, ce11ain other agreements relating to
      the Transactions and various inte1im and on-going relationships between PPG, Splitco and Georgia Gulf. The
      material te1ms of these agreements are summarized below.


      Employee Matters Agreement
           In connection with the Transactions, Georgia Gulf, Splitco and PPG entered into an Employee Matters
      Agreement with respect to the transfer of employees engaged in the PPG Chlor-al.kali and Derivatives Business
      and related matters including terms of employment, benefits plans, retirement plans and collective bargaining
      agreements. This summary is qualified by reference to the complete text of the Employee Matters Agreement,
      which is incorporated by reference herein and is filed as an exhibit to the registration statement of which this
      document is a part.


           General Allocation of Splitco Employee Liabilities
            In general, Splitco will assume or retain, subject to certain exceptions (i) all Splitco benefit plans and the
      related liabilities thereunder, (ii) all liabilities with respect to retiree health and/or life insurance benefits for
      current and former employees of the PPG Chlor-alkali and Derivatives Business ("Splitco Employees''), (iii) all
      liabilities with respect to any actions or other legal proceedings by Splitco Employees with respect to their
      employment or termination of employment and (iv) any other liabilities assumed or retained by Splitco m1der the
      Employee Matters Agreement.


           Terms of Employment for Splitco Employees
            Splitco Employees covered by collective bargaining agreements will continue to receive compensation,
      benefits and terms of employment in accordance with the terms of the applicable collective bargaining
      agreement. Splitco Employees not covered by a collective bargaining agreement will receive until the one year
      anniversary of the Separation (or with respect to certain health and welfare plans, through December 31, 2013)
      (i) base compensation and bonus opportunities that, in each case, are no less favorable in the aggregate than those
      provided to Splitco Employees immediately before the Separation and (ii) all other compensation and benefits
      that are no less favorable in the aggregate than the other compensation and benefits provided to Splitco
      Employees immediately before the Separation. In addition, with respect to such Splitco Employees who are not
      covered by a collective bargaining agreement, while no severance benefits from employment are automatically
      payable upon the consummation of the Transactions, severance benefits that are no less favorable than those
      provided to the Splitco Employees who are not covered by a collective bargaining agreement immediately before
      the Separation will be provided by Splitco until the one-year anniversary of the Separation.

            Under the benefit plans of Georgia Gulf and/or Splitco, Splitco Employees will receive credit for their years
      of service with PPG to the same extent as they were entitled to credit for such service under any similar PPG
      benefit plan for all purposes, other than (i) under any benefit plan that is unavailable to new participants,
      (ii) under any frozen defined benefit plan or (iii) to the extent service credit would result in a duplication of
      benefits. In addition, Splitco Employees will be immediately eligible to participate, without any waiting time, in
      any corresponding benefit plans of Georgia Gulf and/or Splitco to the extent coverage is comparable to a PPG
      benefit plan in which the Splitco Employees participated. For the purposes of any medical, dental,
      pharmaceutical or vision plan, Georgia Gulf and Splitco will use their commercially reasonable efforts to cause
      all pre-existing condition exclusions and actively-at-work requirements of such plans to be waived.




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           Defined Contribution Retirement Plans Covering Splitco Employees
            PPG will retain all assets and liabilities under its U.S. and Canadian defined contribution retirement plans in
      respect of benefits accrued thereunder by Splitco Employees prior to the Transactions, and generally no assets or
      liabilities from the PPG plan will be transferred to Splitco. Splitco will establish U.S. and Canadian defined
      contribution plans that will accept eligible account balance rollovers from Splitco Employees.


           Dt!fined BenR.fit Plb.11s Covering Splitco Employees
           As soon as practicable following the Merger, Splitco will establish one or more defined benefit pension
      plans in order to provide benefits to the Splitco Employees and to accept the transfer of assets and liabilities from
      PPG's U.S . and Canadian defined benefit pension plans. After the Merger, a portion of the assets of the uusts
      funding the PPG defined benefit pension plans will be u·ansferred to the 1I11sts designated to fund the new Splitco
      defined benefit pension plans. The asset u·ansfer with respect to the U.S. defined benefit pension plans will be
      based on the requirements under Section 414(1) of the Code and the asset transfer with respect to the Canadian
      defined benefit pension plan will be based on applicable Canadian requirements.

           With respect to the U.S. defined benefit pension plans cove1ing Splitco Employees, the Employee Matters
      Agreement provides for an additional payment based on the present value of the liabilities corresponding to the
      Splitco Employees under those plans. If the present value of the liabilities, calculated in accordance with funding
      requirements, corresponding to the Splitco Employees under the U.S. defined benefit pension plans exceeds the
      value of the transfer pursuant to Section 414(1) of the Code, PPG is required to pay Georgia Gulf or Splitco an
      amount equal to such excess and Georgia Gulf or Splitco is required to deposit such amount into trust for the
      benefit of the Splitco Employees. If the value of the transfer pursuant to Section 414(1) of the Code exceeds the
      present value of the liabilities, calculated in accordance with funding requirements, corresponding to the Splitco
      Employees under the U.S. defined benefit pension plans, Georgia Gulf must pay to PPG an amount equal to the
      lesser of (x) $50 million or (y) such excess.


           Non-Qualified Deferred Compensation
            Effective as of the completion of the Merger, (i) Splitco is required to establish for certain eligible Splitco
      Employees who are not covered by a collective bargaining agreement certain U.S. and Canadian non-qualified
      retirement plans and deferred compensation plans substantially identical to the corresponding PPG plans,
      (ii) Splitco will assume the liabilities for all benefits under the corresponding PPG nonqualified retirement and
      deferred compensation plans with respect to the Splitco Employees who were participants in the corresponding
      PPG plans, and (iii) Splitco will pay such benefits to such participants.


           Collective Bargaining Agreements of Splitco Employees
            Splitco will assume the collective bargaining agreements covering certain Splitco Employees immediately
      after the Separation and Splitco will have, with certain exceptions, sole responsibility for all liabilities aiising
      under such collective bargaining agreements.


           Annual Bonuses and Retention Bonuses
           PPG will retain liability for annual bonuses for eligible Splitco Employees for periods through the date that
      the Merger occurs, and Splitco will be responsible for annual bonuses for eligible Splitco Employees for periods
      following the date that the Merger occurs. PPG will pay a portion of the costs relating to retention bonuses for
      specified Splitco Employees; Splitco will pay the balance of the costs relating to these retention bonuses.




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           Health and Welfare Plans; COBRA; HIPAA and WARN
           In general, with respect to liabilities incurred in respect of Splitco Employees under health and welfare
      plans, the Consolidated Omnibus Budget Reconciliation Act of 1985, as amended, or the requirements of the
      Worker Adjustment and Retraining Notification Act and the Health Insurance Portability and Accountability Act
      of 1996, PPG will retain such liabilities for events occurring p1ior to the closing of the Transactions and Splitco
      will assume such liabilities for events occurring after the closing.

           Flexible Spending Accounts and Vacation
           Splitco will establish a mirror flexible spending account arrangement to cover claims dming the remainder
      of the calendar year in which the closing of the Transactions occurs. PPG will transfer to the Splitco arrangement
      the net balances of any eligible Splitco Employee in a flexible spending account determined as of the closing.
      Splitco will honor unused vacation, personal days and sick days in the calendar year in which the closing of the
      Transactions OCCLffS.

      Tax Matters Agreement
            In connection with the Transactions, PPG, Splitco, and Georgia Gulf will enter into a Tax Matters
      Agreement that will govern the parties' respective iights, responsibilities, and obligations with respect to taxes,
      including taxes arising in the ordinary course of business, and taxes, if any, incurred as a result of any faihu-e of
      the Distribution to qualify as tax-free for U.S. federal income tax purposes. The Tax Matters Agreement will also
      set forth the respective obligations of the parties with respect to the filing of tax returns, the administration of tax
      contests and assistance and cooperation on tax matters. This summary is qualified by reference to the complete
      text of the form of the Tax Matters Agreement, which is incorporated by reference and is filed as an exhibit to the
      registration statement of which this document is a part.

            In general, the Tax Matters Agreement will govern the rights and obligations of PPG, on the one hand, and
      Splitco and Georgia Gulf, on the other hand, after the Distribution with respect to taxes for both pre- and post-
      Distribution periods. Under the Tax Matters Agreement, PPG generally will be responsible for pre-Distribution
      income and non-income taxes (including income and non-income taxes attributable to the PPG Chlor-alkali and
      Derivatives Business), and Splitco will be responsible for all post-Distribution income and non-income taxes
      attributable to the PPG Chlor-alkali and Derivatives Business. In certain circumstances and subject to certain
      conditions, Splitco will be responsible for certain taxes resulting from the Transactions. Furthermore, each party
      will be responsible for any taxes imposed on PPG that arise from the failure of the Distribution, the Merger and
      certain related transactions to qualify as tax-free transactions to the extent that such failure to qualify is
      atnibutable to certain actions (described below) taken by such pmty.

            T he Tax Matters Agreement will further provide that Splitco will indemnify PPG for (i) all taxes for which
      Splitco is responsible as described above, (ii) all taxes incurred by PPG or any subsidiary of PPG by reason of the
      breach by Splitco or Georgia Gulf of any of their respective representations, warranties or covenants under the
      Tax Matters Agreement and (iii) any costs and expenses related to the foregoing (including reasonable attorneys'
      fees and expenses). PPG will indemnify Splitco for (i) all taxes for which PPG is responsible as described above,
      (ii) all taxes incurred by Splitco or any subsidiary of Splitco by reason of a breach by PPG of any of its
      representations, warranties or covenants under the Tax Matters Agreement and (iii) any costs and expenses
      related to the foregoing (including reasonable attorneys' fees and expenses).

           In addition, the Tax Matters Agreement generally will prohibit Splitco, Georgia Gulf, and their affiliates from
      taking certain actions that could cause the Distribution, the Merger and certain related transactions to fail to qualify
      as tax-free transactions. In particular, for a two-year period following the date of the Distribution, Splitco may not:
           •    enter into any n·ansaction or series of transactions (or any agreement, understanding or m-rangement) as a
                result of which one or more persons would acquire {directly or indirectly) stock comprising 50% or more
                of the vote or value of Splitco (taking into accomlt the stock of Splitco acquired pursuant to the Merger);

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           •    redeem or repurchase any stock or stock rights;
                amend its certificate of incorporation or take any other action affecting the relative voting rights of its
                capital stock;
                merge or consolidate with any other person (other than pursuant to the Merger);
           •    take any other action that would, when combined with any other direct or indirect changes in
                ownership of Splitco capital stock (including pursuant to the Merger), have the effect of causing one or
                more persons to acquire stock comprising 50% or more of the vote or value of Splitco, or would
                reasonably be expected to adversely affect the tax-free status of the Transactions;
           •    liquidate or paitially liquidate;
           •    discontinue the active conduct of the PPG Chlor-alkali and Derivatives Business; or
                sell, transfer or otherwise dispose of assets (including stock of subsidiaries) that constitute more than
                30% of the consolidated gross assets of Splitco and/or its subsidiaries (subject to exceptions for, among
                other things, ordinary course dispositions and repayments or prepayments of Splitco debt).

           If Splitco intends to take any such restricted action, Splitco will be required to cooperate with PPG in
      obtaining a supplemental IRS ruling or an unqualified tax opinion reasonably acceptable to PPG to the effect that
      such action will not affect that status of the Distribution, the Merger and certain related transactions as tax-free
      transactions. However, if Splitco takes any of the actions above and such actions result in tax-related losses to
      PPG, then Splitco generally will be required to indemnify PPG for such losses, without regard to whether PPG
      has given Splitco prior consent.

           The Tax Matters Agreement will be binding on and inure to the benefit of any successor to any of the parties
      of the T ax Matters Agreement to the same extent as if such successor bad been an original party to the T ax
      Matters Agreement. Further, as of the effective time of the Merger, Georgia Gulf will be subject to the
      obligations and restrictions imposed on Splitco, including, without limitation, with respect to the indemnification
      obligations of Splitco and restrictions on Splitco described above.


      Transition Services Agreement
           In connection with the Transactions, PPG and Splitco will enter into the Transition Services Agreement, the
      material terms of which will provide that PPG will provide certain services to Splitco, and Splitco will provide
      certain services to PPG after the closing of the Transactions in support of the PPG Chlor-al.kali and Derivatives
      R11siness with suhsrnnti:illy the s:ime clegree of c:ire, s kill :incl cliligence with which the provicler performs such
      services for itself, consistent with past practices during the last six months.

           Under the Transition Services Agreement, transition services are to be provided for a period not to exceed
      24 months after the closing date of the Transactions unless otherwise terminated and will generally relate to the
      following:
           •    logistics;
                purchasing;
                finance systems, including access thereto;
           •    contract manufactming;
                information technology;
           •    human resources;
                tax; and
           •    payroll processing.

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           The patty providing the services under the Transition Services Agreement will defend, indemnify and hold
      the recipient of such services, its officers, directors, managers, partners, members, employees, agents, successors,
      assigns and affiliates, harmless against any actual or alleged losses, damages and expenses resulting from the
      provider or its subcontractors ' breach of the transition services agreement, gross negligence, willful misconduct
      or fraud with respect to the provision of such services. Under no circumstances will the party providing the
      services under the Transition Services Agreement, or any of its affiliates, have liability under the Transition
      Services Agreement in the aggregate in excess of the total amount of fees paid by the recipient of such services,
      or be otherwise required to pay out in damages, cost of settlement, or otherwise in excess of such amount.

            The Transition Services Agreement may be terminated by either party immediately upon notice to the other
      party if either party becomes insolvent or bankrupt, or makes an assigmnent for the benefit of creditors, or a
      receiver is appointed for either party. The Transition Services Agreement may also be terminated by the
      non-breaching party if a party defaults in any material respect in the performance of the agreement and fails to
      cure or take reasonable steps to cure the breach within 30 days after receiving notice of such breach. If the
      Transition Services Agreement is not terminated earlier, it will terminate on the expiration or termination of the
      last service to be performed thereunder.

           Under the Transition Services Agreement, the pmties will pay for the transition services provided within 30
      days of receipt of an invoice relating to such services.

      Shared Facilities, Services and Supply Agreement
            At the date of the Separation, PPG and Splitco will enter into the Shared Facilities, Services and Supply
      Agreement which provides for the long term sharing of facilities, provision of services and the supply of products
      in Lake Charles, Louisiana where Splitco will operate a chlor-alkali facility and PPG will operate a silicas
      facility . Each of these facilities currently uses common pipelines, roads, rail lines and rail spurs to deliver
      products to their respective facilities and the Shared Facilities, Services and Supply Agreement will provide for
      that common use to continue, as well as the common use of a parking facility . The Shared Facilities Agreement
      will also provide for the sale and delivery by Splitco to PPG of products such as steam, condensate, natural gas,
      process water, fire water and oxygen which are necessary to operate the silicas facility . The Shared Facilities,
      Services and Supply Agreement will also require Splitco to provide operation and maintenance services for
      PPG's leasehold interest in certain electricity infrastructure, other services such as access to existing effluent
      systems; warehouse receiving and storage; maintenance, repair and fuel services; railcar management, emergency
      services and the use of large equipment. The initial pricing for the services and products to be provided pursuant
      to the Shared Facilities, Services and Supply Agreement shall be consistent with the internal PPG pricing prior to
      the signing of the Merger Agreement.

      Servitude Agreement
            Pursuant to the Transactions, at the date of the Separation, PPG and Splitco will enter into the Servitude
      Agreement which will provide record evidence of various easements granted between PPG's retained silicas
      plant at Lake Charles, Louisiana ("Lake Charles'') and the remaining portion of the Lake Charles facility
      transferred to Splitco. The easements referenced in the Servitude Agreement include rights of access by PPG and
      Splitco on common roadways and railways serving the Lake Charles facility which will be located on one
      another's property. The above-referenced easements will also include the right to transmit steam, natural gas,
      oxygen, condensate, sanitary and storm sewer and other materials through pipelines located on the Lake Charles
      facility in support of PPG's and Splitco's respective operations at the Lake Charles facility.

      The Electric Generation, Distribution and Transmission Facilities Lease
           In connection with the Transactions, at the date of the Sepm·ation, PPG and Splitco will enter into the
      Electiic Generation, Disnibution and Transmission Facilities Lease which will provide PPG's silicas plant with
      an undivided leasehold interest in the powerhouse C generation facility in Lake Charles adequate to allow PPG's

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      silicas plant to self-supply its power requirements. The leasehold interest will also include an interest in the
      Splitco electric disnibution and transmission system adequate to deliver power from powerhouse C to PPG's
      silicas plant. The lease will be for an initial 20 year term with 5 year renewal options. In return, PPG' s silicas
      plant will pay a fixed monthly rental payment to Splitco. This lease will include a one-time option for PPG's
      silicas plant to increase its leased generation interest up to 10 MW upon prior w1itten notice effective October 30,
      2014.


      Chlorine, Liquid Caustic Soda and Hydrochloric Acid Sales Agreements
           At the date of the Separation, PPG and Georgia Gulf will enter into certain agreements pursuant to which
      Splitco will supply PPG and/or subsidiaries of PPG, and PPG and/or subsidiaries of PPG will supply Splitco, as
      the case may be, with chlorine, caustic soda, and hydrochloric acid. The initial term of the chlorine, liquid caustic
      soda, and hydrochloric acid sales agreements will be for 60 months beginning after the Distribution, and the
      agreements will continue after such initial term on a yearly basis unless or until terminated by either PPG or
      Georgia Gulf at the end of such initial term or any subsequent year term, upon prior written notice.


      Monroeville Shared Facilities Agreement
           In connection with the Transactions, at the date of the Separation, PPG and Splitco will enter into the
      Monroeville Shared Facilities Agreement which will provide for a 12-month lease (with an option to extend for
      up to 6 additional months) of a portion of PPG's Monroeville chemicals technical center to Splitco employees for
      offices and related use, at a rental rate of $100,000 per month (inclusive of all utilities). The Monroeville Shared
      Facilities Agreement will also permit Splitco to share with PPG certain laboratory, conference center and other
      space at the Monroeville chemicals technical center at a cost similar to the cost charged to the PPG Chlor-alkali
      and Derivatives Business for that use prior to the effective time of the Separation. PPG's and Splitco's employees
      and con11·actors will be required to keep confidential any proprietary information of the other pm1y which they
      may acquire in the course of their use of the shared facilities . PPG will be responsible for the maintenance and
      repair of the leased facilities .


      Master Terminal Agreement
            In connection with the Transactions, at the date of the Sepm·ation, the Master Terminal Agreement, entered
      into by and between PPG and Splitco, will allow Splitco to continue to use a facility related to the PPG Chlor-
      alkali and Derivatives Business located in Barberton, Ohio that will be retained by PPG {the ''Barberton
      Terminal") for the unloading of product from tanks to trucks for delivery to Splitco's customers. The tenn of the
      Master Terminal Agreement will be from the date of the Master Terminal Agreement until the earlier to occur of
      (1) the three-year anniversary of the Master Terminal Agreement or (2) the date on which the underlying
      agreements committing Splitco to supply certain products to the relevant customers terminate. T he Master
      Terminal Agreement will automatically renew annually thereafter unless cancelled by either PPG or Splitco by
      providing 180 days' prior written notice. Each party to the Master Terminal Agreement may terminate the
      agreement (1) for any reason with at least 90 days' prior written notice, (2) if the other party fails to carry out any
      material term of the agreement for a period of three days, with at least 60 days' prior written notice, and (3) if use
      of PPG's equipment and the Barberton Terminal is terminated by any governmental authority or in other similar
      circumstances, immediately.


      Chlorine Sales Agreement Amendment
           In connection with entering into the Merger Agreement, PPG and a subsidiary of Georgia Gulf entered into
      an amendment to an existing Chlorine Sales Agreement, pursuant to which PPG sells chlorine to Georgia Gulf.
      Prior to the execution of this amendment to the Chlo1ine Sales Agreement on July 18, 2012, the Chlorine Sales
      Agreement continued unless or until it was terminated by either party effective any December 31 on not less than
      twenty-four (24) months p1ior written notice to the other. Under the terms of this amendment, in the event the

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      Merger Agreement is te1minated {other than in certain circumstances) then the Chlo1ine Sales Agreement may
      not be te1minated by either paiiy prior to the three (3) year anniversary of the date the Merger Agreement is
      terminated and will be terminated on such date only if a pmiy delivers w1itten notice of its intention to terminate
      the agreement prior to the one ( 1) year anni versaiy of the date the Merger Agreement is terminated. If the Merger
      Agreement has been terminated (other than in certain circumstances), and neither paiiy delivers a termination
      notice prior to the one (1) yem· anniversm-y of the date the Merger Agreement is te1minated, then the term of the
      Chlorine Sales Agreement will continue on a year-to-year basis unless it is terminated by either party in
      accordance with the terms existing prior to this amendment.




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                                DESCRIPTION OF GEORGIA GULF CAPITAL STOCK

          The rights of Georgia Gulf stockholders are governed by Delaware law, the Georgia Gulf Articles and the
      Georgia Gulf Bylaws. For information on how to obtain a copy of the Georgia Gulf Articles and the Georgia
      Gulf Bylaws, see "Where You Can Find More Information; Incorporation by Reference.''

          The following description of Georgia Gulf's capital stock does not purport to be complete and is subject to,
      and qualified in its entirety by reference to, the complete text of the Georgia Gulf Articles, the Georgia Gulf
      Bylaws and the applicable provisions of Delaware law.

      Common Stock
          The Articles authorizes the issuance of up to 100 million shares of common stock, par value $0.01 per share.
      As of August 23, 2012, there were 34,529,305 shares of Georgia Gulf common stock issued and outstanding.

            Holders of Georgia Gulf common stock are entitled to one vote for each share held of record on matters
      submitted to a vote of stockholders. Holders of Georgia Gulf common stock do not have cumulative voting rights
      in the election of directors to the board of directors of Georgia Gulf. Except as set out below or as otherwise
      provided by law, any action to be taken by the stockholders may be taken by the affinnative vote of the holders
      of a majority of shares of Georgia Gulf common stock entitled to vote thereon. The Georgia Gulf A1iicles
      provides that ce11ain transactions proposed to be entered into between Georgia Gulf and a ''Controlling Person"
      (as defined in the Georgia Gulf Articles) must be approved by the affirmative vote of the holders of at least four-
      fiftbs of the shares of Georgia Gulf common stock not beneficially owned by such Controlling Person unless
      certain specified conditions are met or the transaction is approved by a majority of the "Continuing Directors" (as
      defined the Georgia Gulf Articles) at a time when Continuing Directors comprise a majority of the board of
      directors of Georgia Gulf. Tue Georgia Gulf Articles also require (1) the affirmative vote of the holders of at
      least four-fifths of the shares of Georgia Gulf common stock not beneficially owned by Controlling Persons to
      approve any amendment to the provisions thereof relating to the approval of any such transaction with a
      Controlling Person, unless certain specified conditions are met; (2) the approval by the holders of at least four-
      fifths of the outstanding shares of Georgia Gulf common stock to amend or repeal the provision of the Georgia
      Gulf Articles requiring that any actions to be taken by the holders of Georgia Gulf common stock may be taken
      only at a duly called annual or special meeting of stockholders, and relating to the ability to call a special meeting
      of stockholders only being granted to or at the direction of, a majority of Georgia Gulf's board of directors or the
      Chairman thereof; and (3) the approval by the holders of at least four-fifths of the outstanding shares of Georgia
      Gulf common stock to amend or repeal the Georgia Gulf Articles provision setting out such vote requirements.

           The Georgia Gulf Bylaws fmiher provide that the affirmative vote of the holders of 80% of the shares of
      Georgia Gulf stock entitled to vote on a matter, voting together as a single class, is required to amend any provision
      of the Georgia Gulf Bylaws relating to the calling, matters to be addressed, time and place of meetings of the
      Georgia Gulf stockholders, and relating to the nmnber, election, appointment and removal of directors, including the
      process for nomination of directors, as well as the bylaw provision setting out such vote requirements.

            Holders of Georgia Gulf common stock are entitled to receive dividends when, as and if declared by the board
      of directors of Georgia Gulf. In the event of Georgia Gulfs liquidation or dissolution, holders of Georgia Gulf
      common stock are entitled to share ratably in any of Georgia Gulfs assets remaining after payment of liabilities and
      any amounts due to holders of any preferred stock. Holders of Georgia Gulf common stock have no conversion,
      preemptive or other subscription rights, and there are no redemption or sinking fund provisions with respect to the
      common stock. Tue outstanding shares of Georgia Gulf common stock are fully paid and nonassessable.

           Georgia Gulf has adopted and maintains equity incentive and stock purchase plans pursuant to which Georgia
      Gulf is authorized to issue stock, stock options and other types of equity-based compensation to employees,
      directors, consultants and other persons who provide services to Georgia Gulf. As of August 23, 2012, Georgia Gulf
      had outstanding awards to acquire approximately 882,016 shares of its common stock under these plans, and had
      reserved approximately 1,188,162 additional shares of common stock for futLu-e issuances m1der these plans.

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      Preferred Stock
            The Georgia Gulf Articles authorizes the board of directors of Georgia Gulf to provide for the issuance of
      up to 75 million shares of preferred stock, par value $0.01 per share, from time to time, in one or more series, to
      designate the number of shares in such se1ies and fix the iights, powers, preferences and the relative
      participating, optional or other special rights and qualifications, limitations and restiictions of the shares of each
      series so established, including provisions concerning voting or consent, redemptions, dividends, dissolution or
      distiibution of assets, and conversion or exchange. As of August 23, 2012, there were LO million shares of
      Georgia Gulf preferred stock designated as junior participating preferred stock. These shares were designated in
      connection with Georgia Gulf's previously disclosed adoption of a rights agreement, which agreement has been
      terminated. There are no shares of preferred stock issued or outstanding, and Georgia Gulf has no current plans
      or arrangements to issue any shares of Georgia Gulf preferred stock.

           The rights of the holders of Georgia Gulf common stock are subject to, and may be adversely affected by,
      the rights of the holders of any shares of preferred stock that may be issued in the future . Georgia Gulf's board of
      directors may authorize the issuance of Georgia Gulf preferred stock with voting or conversion rights that could
      adversely affect the voting power or other rights of the holders of Georgia Gulf common stock. The issuance of
      any Georgia Gulf preferred stock, while providing flexibility in connection with possible acquisitions and other
      corporate purposes, could, among other things, have the effect of delaying, deferring or preventing a change in
      control of Georgia Gulf and may adversely affect the market price of Georgia common stock and the voting and
      other rights of the holders of Georgia Gulf common stock.

      Certain Anti-Takeover Effects of Provisions of the Articles and the Bylaws
           The Georgia Gulf Articles and the Georgia Gulf Bylaws include a number of provisions that may have the
      effect of deterring hostile takeovers or delaying or preventing changes in control of Georgia Gulf's board of
      directors, including the following:
                Supermajority Provisions. The Georgia Gulf Articles provides that certain transactions proposed to be
                entered into between Georgia Gulf and a "Controlling Person" (as defined in the Georgia Gulf Articles)
                must be approved by the affirmative vote of the holders of at least four-fifths of the shares of Georgia
                Gulf common stock not beneficially owned by such Controlling Person unless certain specified conditions
                are met or the transaction is approved by a majority of the "Continuing Directors" (as defined in the
                Georgia Gulf Articles) at a time when Continuing Directors comprise a majority of the board of directors
                of Georgia Gulf. The Georgia Gulf Articles also require (1) the affirmative vote of the holders of at least
                four-fifths of the shares of Georgia Gulf common stock not beneficially owned by Controlling Persons to
                approve any amendment to the provisions thereof relating to the approval of any such transaction with a
                Conti·olling Person, m1less ce1tain specified conditions are met; (2) the approval by the holders of at least
                four-fifths of the outstanding shares of Georgia Gulf common stock to amend or repeal the provision of
                the Georgia Gulf Articles requiting that any actions to be taken by the holders of Georgia Gulf common
                stock may be taken only at a duly called annual or special meeting of stockholders, and relating to the
                ability to call a special meeting of stockholders only being granted to or at the direction of, a majority of
                Georgia Gulf's board of directors or the Chairman thereof; and (3) the approval by the holders of at least
                four-fifths of the outstanding shares of Georgia Gulf common stock to amend or repeal the Georgia Gulf
                Alticles provision setting out such vote requirements. The Georgia Gulf Bylaws ftuther provide that the
                affinnative vote of the holders of 80% of the shares of stock entitled to vote on a matter, voting together
                as a single class, is required to amend any provision of the Georgia Gulf Bylaws relating to the calling,
                matters to be addressed, time and place of meetings of the stockholders, and relating to the nmnber,
                election, appointment and removal of directors, including the process for nomination of directors, as well
                as the bylaw provision setting out such vote requirements. The supe1majority voting requirements may
                deter a potential acquiror from attempting to obtain control of Georgia Gulf.
                Number of Directors; Removal of Directors; Director Vacancies. The number of directors constituting
                Georgia Gulf's board of directors may be set only by the affirmative vote of a majority of Georgia

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                Gulf's entire board of directors. In addition, the Georgia Gulf Bylaws provide that directors may be
                removed only for cause and only by the affinnative vote of the holders of a majority of the voting
                power entitled to vote thereon. Fmiher, the Georgia Gulf Articles and the Georgia Gulf Bylaws
                authorize only the board of directors to fill vacant directorships. These provisions prevent a stockholder
                from increasing the size of, and make it more difficult for a stockholder to change the composition of,
                Georgia Gulf's board of directors and gain control of Georgia Gulf's board of directors by filling any
                resulting vacancies with its own nominees.
           •    Stockholder Action; Special Meeting of Stockholders. The Georgia Gulf Articles provides that Georgia
                Gulf's stockholders may not take action by w1itten consent, but may take action only at annual or
                special meetings of Georgia Gulf stockholders. Georgia Gulf's stockholders are not permitted to
                cumulate their votes for the election of directors. The Georgia Gulf Bylaws fmiher provide that special
                meetings of Georgia Gulf's stockholders may be called only by or at the direction of a majority of
                Georgia Gulf's board of directors or the Chairman of Georgia Gulf's board of directors. These
                provisions may preclude a stockholder or group of stockholders from acting by w1itten consent or
                calling a special meeting to replace members of Georgia Gulf's board of directors, instead requiiing
                that any such action be taken at Georgia Gulf's annual meeting.
                Advance Notice Requirements for Stockholder Proposals and Director Nominations. The Georgia Gulf
                Bylaws provide advance notice procedures for stockholders seeking to bring business before Georgia
                Gulf's annual meeting of stockholders, or to nominate candidates for election as directors at Georgia
                Gulf's annual meeting of stockholders. The Georgia Gulf Bylaws also specify certain requirements as
                to the form and content of a stockholder's notice. These provisions may preclude Georgia Gulf's
                stockholders from bringing matters before Georgia Gulfs annual meeting of stockholders or from
                making nominations for directors at Georgia Gulf's annual meeting of stockholders.
                Issuance of Undesignated Preferred Stock. Georgia Gulf's board of directors has the authority, without
                further action by the stockholders, to issue up to 75 million shares of undesignated preferred stock with
                rights and preferences, including voting rights, designated from time to time by Georgia Gulf's board
                of directors. The existence of authorized but un.issued shares of preferred stock enables Georgia Gulf's
                board of directors to render more difficult or to discourage an attempt to obtain control of Georgia Gulf
                by means of a merger, tender offer, proxy contest or otherwise.


      Listing
           Georgia Gulf common stock trades on the NYSE under the trading symbol "GGC.''


      Transfer Agent
          The transfer agent and register for the Georgia Gulf common stock is Computershare Trust Company, N .A.


                                OWNERSHIP OF GEORGIA GULF COMMON STOCK

           The following table and footnotes set forth as of August 23, 2012, the beneficial ownership, as defined by
      regulations of the SEC, of Georgia Gulf common stock held by:
                each person or group of persons known to Georgia Gulf to own beneficially more than 5% of the
                outstanding shares of Georgia Gulf common stock;
           •    each director and named executive officer of Georgia Gulf; and
           •    all current directors and executive officers of Georgia Gulf as a group.




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                                                                                               Amount of Common
                                                                                                Stock Beneficially
                                                                                               Owned and Nature of      Percent of
      Name a nd Address of Beneficial Ow ner (l)                                              Beneficial Ownership(2)    Class(3)
      Paul D. Canico                                                                                  389,749(4)           1.12%
      Gregory C. Thompson                                                                             156,752(5)                *
      Mark J. Orcutt                                                                                   96,976(6)                *
      James L. Worrell                                                                                 76,454(7)                *
      Joseph C. Breunig                                                                                16,270(8)                *
      Patrick J. fleming                                                                                8,850(9)                *
      T . Kevin DeNicola                                                                                7,645                   *
      Robe11 M . Gervis                                                                                 7,645                   *
      Stephen E. Macadam                                                                                7,645                   *
      Mark L. Noetzel                                                                                   7,645                   *
      David N. Weinstein                                                                                7,645                   *
      All directors and executive officers as group (11 persons)                                      783,276(10)          2.26%
      JP Morgan Chase & Co.                                                                         3,825,086(11)        11.08%
      270 Park A venue
      New York, NY 10017
      Capital World Investors                                                                       3,461,187(12)        10.02%
      333 South Hope Street
      Los Angeles, CA 90071
      Dimensional Fund Advisors LP                                                                  1,967,799(13)          5.70%
      Palisades West, Building One
      6300 Bee Cave Road
      Austin, TX 78746
      The Vanguard Group, Inc.                                                                      1,802,344(14)          5.22%
      100 Vanguard Blvd.
      Malvern, PA 19355

      *    Represents less than 1% .
      (1)  The address of each of the directors and executive officers is c/o Corporate Secretary, Georgia Gulf
           Corporation, 115 Perimeter Center Place, Suite 460, Atlanta, Georgia 30346.
      (2)  Beneficial ownership as reported in the table has been detemlined in accordance with the rules of the SEC. Under
           those rules, a person is deemed to be a "beneficial owne1'' of a secmity if that person has or shares ·'voting power,"
           which includes the power to vote or to direct the voting of such secmity, or ''investment power," which includes the
           power to dispose of, or to direct the disposition of, such secmity. The person is also deemed to be a beneficial
           owner of any secmity of which that person has a tight to acquire beneficial ownership (such as by exercise of
           options) within 60 days. Under such rules, more than one person may be deemed to be a beneficial owner of the
           same securities, and a person may be deemed to be a beneficial owner of securities as to which he or she may
           disclaim any beneficial interest. Except as indicated in other notes to this table, directors and executive officers
           possessed sole voting and investment power with respect to all shares of common stock referred to in the table.
      (3) Based on 34,529,305 shares of Georgia Gulf's common stock outstanding as of August 23, 2012.
      (4)  Includes 24,488 shares that may be acquired upon exercise of vested options by Mr. Carrico, and 45 shares
           held in bis 401 (k) account.
      (5)  Includes 9,125 shares that may be acquired upon exercise of vested options by Mr. Thompson and 563
           shares in his 401(k) account.
      (6) Includes 8,554 shares that may be acquired upon exercise of vested options by Mr. Orcutt.
      (7)  Includes 6,041 shares that may be acquired upon exercise of vested options by Mr. Worrell.
      (8) Mr. Breunig does not hold any vested options.
      (9) Includes 822 shares that may be acquired upon exercise of vested options by Mr. Fleming.
      (10) See notes (4)-(9).
      (11) As reported on Amendment No. 3 to Schedule 13G filed with the SEC on March 7, 2012, JPMorgan
           Chase & Co. bas sole voting power with respect to 3,366,321 shares, shared voting power with respect to
           70,210 shares and sole dispositive power with respect to 3,754,876 shares.


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      (12) As reported on Amendment No. 8 to Schedule 13G filed with the SEC on February 10, 2012, Capital
           World Investors, a division of Capital Research and Management Company ("CRMC"), has sole voting
           power with respect to 3,461,187 shares. Capital World Investors is deemed to be the beneficial owner of
           such shares as a result of CRMC acting as investment advisor to various investment companies.
      (13) As reported on Schedule 13G filed with the SEC on February 14, 2012, Dimensional Fund Advisors LP
           has sole voting power with respect to 1,935,047 shares, no shared voting power and sole dispositive power
           with respect to 1,967 ,799 shares. Dimensional Fm1d Advisors is deemed to be the beneficial owner of such
           shares as a result of it acting as investment advisor to various investment companies and commingled
           group trusts and separate accounts.
      (14) As reported on Schedule 13G filed with the SEC on February 10, 2012, the Vanguard Group, Inc. has sole
           voting power with respect to 48,209 shares, no shared voting power, sole dispositive power with respect to
           1,754,135 shares and shared dispositive power with respect to 48,209 shares.


                       COMPARISON OF RIGHTS OF HOLDERS OF PPG COMMON STOCK
                                AND GEORGIA GULF COMMON STOCK

           PPG is a Pennsylvania corporation subject to the provisions of the Pennsylvania Business Corporation Law
      ("Pennsylvania law"). Georgia Gulf is a Delaware corporation subject to the provisions of the Delaware General
      Corporation Law ("Delaware law''). Holders of PPG common stock, whose rights are currently governed by
      PPG's Restated Articles of Incorporation, as amended (the "PPG Articles"), PPG's Bylaws, as amended and
      restated (the "PPG Bylaws") and Pennsylvania law, will, with respect to the shares validly tendered and
      exchanged immediately following this exchange offer, become shareholders of Georgia Gulf and their iights will
      be governed by Georgia Gulf's Restated Ce1tificate of Incorporation {the ''GGC Articles"), Georgia Gulf's
      Amended and Restated Bylaws {the "GGC Bylaws") and Delaware law.

           The following description smnmaiizes the mate1ial differences between the rights associated with PPG
      common stock and Georgia Gulf common stock that may affect PPG shareholders whose shares are accepted for
      exchange in this exchange offer and who will obtain shares of Georgia Gulf common stock in the Merger, but
      does not purpo1i to be a complete statement of all of those differences or a complete description of the specific
      provisions referred to in this summary. The identification of specific differences is not intended to indicate that
      other equally or more significant differences do not exist. The following desc1iption is qualified in its entirety by,
      and PPG shareholders should read carefully the relevant provisions of, Pennsylvania law, Delaware law, the PPG
      A1iicles, the PPG Bylaws, the GGC Articles and the GGC Bylaws. The PPG Articles have been publicly filed
      with the SEC as (a) exhibit 3 to PPG's filing on Form 10-Q for the pe1iod ended March 31, 1995 , (b) exhibit 3 to
      PPG's filing on Form 10-K for the period ended December 31, 1998 and (c) exhibit 3. lb to PPG's filing on Form
      10-Q for the period ended March 31, 2007 and the PPG Bylaws have been publicly filed with the SEC as exhibit
      3.2 to PPG's filing on Form 10-Q for the period ended March 31,2007, respectively. The GGC Articles and the
      GGC Bylaws have been publicly filed with the SEC as exhibit 3.1 to Georgia Gulf's filing on Form 10-Q for the
      period ended June 30, 2011 and as exhibit 3.2 to Georgia Gulf's filing on Form 10-Q for the period ended
      September 30, 2012, respectively. See also "Description of Georgia Gulf Capital Stock."

      Authorized Capital Stock
           The following table sets forth the authorized and issued capital stock of PPG and Georgia Gulf as of
      July 31 , 2012 without giving effect to this exchange offer.
                     Class of Set'llrity                                        Authorized      Outstanding
                     PPG:
                     Common Stock, $1.66-2/3 per share                        600,000,000       153,057,314
                     Preferred Stock, no par value                             10,000,000
                     Georgia Gulf:
                     Common Stock, par value $.01 per share                    100,000,000       34,520,260
                     Preferred Stock, par value $.01 per share                  75,000,000

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      SHAREHOLDER RIGHT                                PPG                               GEORGIA GULF
      Voting Rights                    Each shareholder is entitled to one     Each holder of Georgia Gulf
                                       vote for each share having voting       common stock is entitled to one
                                       power. The holders of PPG               vote for each share held of record
                                       common stock have the right of          on each matter submitted to a vote
                                       cumulative voting in elections of       of stockholders. The holders of
                                       directors.                              Georgia Gulf common stock do
                                                                               not have cumulative voting rights
                                                                               in the election of directors.

      Rights of Holders of Preferred   The PPG Articles provide that           The GGC Articles provide that
      Stock                            PPG's board of directors is             Georgia Gulfs board of directors
                                       authorized to fix and determine the     is authorized to determine the
                                       preferences, voting rights,             rights, powers, preferences, and
                                       qualifications, privileges,             the relative participating, optional
                                       limitations, options, conversion        or other special rights, and
                                       rights, restrictions and other          qualifications, limitations or
                                       special or relative rights of PPG's     restrictions thereof, including
                                       preferred stock to the fullest extent   concerning voting or consent,
                                       permitted by the laws of the            redemption, dissolution or the
                                       Commonwealth of Pennsylvania.           distribution of assets, conversion
                                                                               or exchange of any se1ies of
                                                                               preferred stock of Georgia Gulf.

      Number and Classification of     The PPG Articles set the number         The GGC A1ticles and the GGC
      Board of Directors               of board members at not less than       Bylaws provide that the number of
                                       9 nor more than 17. The exact           directors constituting the whole
                                       number is fixed by a majo1ity vote      board of directors of Georgia Gulf
                                       of the directors in office. There are   shall not be less than one. The
                                       3 classes of directors, each holding    exact number of directors
                                       office for 3 years. The current         constituting Georgia Gulfs board
                                       number of board members is 11.          of directors may be set only by the
                                                                               affirmative vote of a majo1ity of
                                                                               Georgia Gulfs entire board of
                                                                               directors. Georgia Gulf does not
                                                                               have a classified board of
                                                                               directors. The current number of
                                                                               members of the board of directors
                                                                               of Georgia Gulf is seven. The
                                                                               Merger Agreement provides that in
                                                                               connection with the Merger,
                                                                               Georgia Gulf will increase the size
                                                                               of its board of directors by three
                                                                               members, and that three
                                                                               individuals selected by PPG and
                                                                               approved by the Nominating and
                                                                               Governance Committee of the
                                                                               board of directors of Georgia Gulf
                                                                               will be appointed to fill the
                                                                               vacancies. In accordance with the
                                                                               Merger Agreement, these
                                                                               individuals will also be nominated

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      SHAREHOLDER RIGHT                               PPG                             GEORGIA GULF
                                                                            for re-election to the board of
                                                                            directors of Georgia Gulf at
                                                                            Georgia Gulfs 2013 annual
                                                                            meeting of stockholders.

      Removal of Directors            Under the PPG A1ticles, directors     Under the GGC Articles and the
                                      may be removed with or without        GGC Bylaws, directors may be
                                      cause by a vote of 80% of the         removed only for cause and only
                                      shares entitled to vote. No           by the affirmative vote of the
                                      individual director can be removed    holders of a majority of the voting
                                      (unless the entire board or any       power entitled to vote thereon.
                                      class of directors is being
                                      removed) if the votes cast against
                                      the removal would be sufficient, if
                                      voted cumulatively for that
                                      director, to elect the director.

      Vacancies on the Board of       The PPG Bylaws provide that           The GGC Bylaws provide that any
      Directors                       vacancies on the PPG board of         vacancies on the Georgia Gulf
                                      directors shall be filled only by a   board of directors can be filled
                                      majo1ity vote of the remaining        solely by the affirmative vote of a
                                      directors then in office, even        majo1ity of the remaining directors
                                      though less than a quorum, except     then in office, even though less
                                      that vacancies resulting from         than a quorum of the Georgia Gulf
                                      removal from office by a vote of      board of directors, or by a sole
                                      the shareholders may be filled by     remaining director.
                                      the shareholders at the same
                                      meeting at which such removal
                                      occurs.

      Special Meetings                The PPG Bylaws provide that           The GGC Bylaws provide that
                                      special meetings of the               special meetings of Georgia Gulf's
                                      shareholders may be called at any     stockholders may be called only at
                                      time by the board of directors or     the direction of a majo1ity of
                                      by the Chairman of the board of       Georgia Gulfs board of directors
                                      directors. Only matters referred to   or by the Chairman of Georgia
                                      in the notice of the special          Gulf's board of directors. Only
                                      meeting, and those which are          matters properly brought before a
                                      incidental or germane to such         special meeting may be discussed
                                      matters, may be discussed.            at such meeting. To be properly
                                                                            brought before a special meeting,
                                                                            business must be specified in the
                                                                            notice of the meeting or otherwise
                                                                            properly brought before the
                                                                            meeting in accordance with the
                                                                            GGC Bylaws.

      Shareholder Action by Written   The PPG Articles provide that any     The GGC Articles provide that any
      Consent                         action permitted to be taken by a     action required or permitted to be
                                      PPG shareholder must be effected      taken by Georgia Gulf
                                      at a duly called annual or special    stockholders must be effected at a

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      SHAREHOLDER RIGHT                                  PPG                              GEORGIA GULF
                                         meeting of the shareholders and        duly called annual or special
                                         may not be effected by w1itten         meeting of the stockholders, and
                                         consent of such shareholder.           may not be effected by any consent
                                                                                in writing of such stockholders.

      Quonun of Shareholders             Under the PPG Bylaws, at least a       Under the GGC Bylaws, the
                                         majority of the votes which all        holders of a majority of Georgia
                                         shareholders are entitled to cast on   Gulf's stock issued and
                                         a matter, represented in person or     outstanding and entitled to vote at
                                         by proxy, constitutes a quorum,        a stockholders meeting, present in
                                         unless otherwise required by law       person or represented by proxy,
                                         or by the Bylaws.                      will constitute a quorum at all
                                                                                meetings of the stockholders for
                                                                                the transaction of business.

      Advance Notice Procedures for a    A shareholder entitled to vote in      A stockholder of record entitled to
      Shareholder Proposal or Director   the election of the directors to be    vote at an annual meeting may
      Nomination                         elected may make a nomination so       request business to be brought
                                         long as written notice is given to     before such meeting, and a
                                         the Secretary at the principal         stockholder of record entitled to
                                         executive offices of the company       vote in the election of directors
                                         at least 90 days p1ior to the          may make a nomination of a
                                         meeting if the election is being       person for election as a director, in
                                         held at the annual meeting on the      each case, by providing written
                                         third Thursday in Ap1il or within      notice in proper form and with
                                         l 0 days of the first public           proper content as set fo1ih in the
                                         disclosure of a meeting for an         GGC Bylaws to the Secretary at
                                         election being held at a special       the principal executive offices of
                                         meeting of the shareholders or on a    Georgia Gulf not less than 60 nor
                                         date other than the third Thursday     more than 90 days prior to the first
                                         in April. A shareholder must           anniversary of the date on which
                                         provide written notice to the          Georgia Gulf first mailed its proxy
                                         Secretary at the p1incipal executive   materials for the preceding year's
                                         offices of the company at least 90     annual meeting of stockholders,
                                         days prior to an annual meeting        provided that if the date of the
                                         being held on the third Thursday in    annual meeting is advanced more
                                         April or within 10 days of the first   than 30 days prior to or delayed by
                                         public disclosure of the date of a     more than 30 days after the
                                         meeting being held on a date other     anniversary of the preceding year's
                                         than the third Thursday in April in    annual meeting, notice must be
                                         order to properly bring business       given no later than the 90th day
                                         before an annual meeting. For          prior to such annual meeting or the
                                         business other than nominations of     10th day following the date on
                                         director candidates properly           which public disclosure of the date
                                         brought before an annual meeting       of such meeting is first made. If in
                                         by a shareholder, such shareholder     connection with either a proposal
                                         must give timely notice thereof in     to bring business before an annual
                                         writing to the secretary and such      meeting or a proposed nomination
                                         business must otherwise be a           of a person for election as a
                                         proper matter for shareholder          director, a stockholder or
                                         action. To be timely, a                beneficial owner intends to deliver

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      SHAREHOLDER RIGHT                          PPG                               GEORGIA GULF
                                 shareholder's notice must be            a proxy statement and form of
                                 received by the Secretary at the        proxy to holders of at least the
                                 p1incipal executive offices of the      percentage of shm·es of Georgia
                                 Corporation not later than 90 days      Gulf common stock entitled to
                                 p1ior to such annual meeting,           vote that m·e required to approve
                                 provided that, if such annual           such proposal or elect such
                                 meeting is held on a date other         nominee(s), as the case may be, the
                                 than the third Thursday in April,       stockholder or beneficial owner
                                 such written notice must be given       must have delivered an affirmative
                                 within ten days after the first         statement of such intent to the
                                 public disclosure of the date of        Secretary of Georgia Gulf. If the
                                 such meeting. Such shareholder's        stockholder or beneficial holder
                                 notice must set forth (a) as to each    has indicated such intent in
                                 matter a brief description of the       connection with a proposed
                                 business desired to be brought          nomination of a person for election
                                 before the meeting, the reasons for     as a director, such holder must
                                 conducting such business at the         deliver such statement along with
                                 meeting and any material interest       the proxy statement and form of
                                 in such business of such                proxy to the holders of at least the
                                 shareholder; (b) the beneficial         percentage of shares of Georgia
                                 owner on whose behalf the notice        Gulf common stock entitled to
                                 is given and a specific                 vote that m·e required to approve
                                 representation that the shareholder     such nomination.
                                 intends to be present at the meeting
                                 in person or by proxy to present
                                 and speak as to such business; and
                                 (c) as to the shareholder giving the
                                 notice and the beneficial owner, if
                                 any, on whose behalf the notice is
                                 given certain identifying and
                                 shareholding information.

      Amendment of A1iicles of   Pennsylvania law provides that a        Delaware law provides that a
      Incorporation              corporation may amend its mticles       corporation may amend its
                                 following the adoption by the           certificate of incorporation upon
                                 board of directors of a resolution      the adoption of a resolution setting
                                 proposing the amendment, or             forth the proposed amendment by
                                 unless otherwise provided in the        the board of directors of a
                                 articles, by petition of shareholders   corporation and thereafter by the
                                 entitled to cast at least 10% of the    affirmative vote of holders of a
                                 votes, which petition will be           majority of the outstanding stock
                                 directed to the board of directors      entitled to vote and a majority of
                                 and filed with the secretary of the     the outstanding stock of each class
                                 corporation. The proposed               entitled to vote as a separate class,
                                 amendment will be submitted to a        unless the certificate of
                                 vote of the shareholders. Except        incorporation provides for a
                                 where approval is required by 80%       different vote of the stockholders.
                                 of the shareholders or where            The GGC Articles does not specify
                                 shareholder approval is not             a voting power requirement
                                 necessm-y, bom·d approval is            different than required by
                                 required for adoption of an             Delaware law to approve

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      SHAREHOLDER RIGHT                       PPG                              GEORGIA GULF
                              amendment. The PPG Articles            amendments to the GGC Articles,
                              require approval by 80% of the         except with respect to amendments
                              shareholders to amend the PPG          to the provisions thereof relating
                              Articles to declassify the board of    to: {i) certain business combination
                              directors, to amend the director       transactions; (ii) actions not being
                              removal provisions or to amend         taken other than at duly called
                              the business combination               annual or special meetings of
                              provisions. Majo1ity vote of the       stockholders; and (iii) the ability to
                              shareholders, except where             call a special meeting, each of
                              shareholder approval is not            which require the approval of the
                              necessary, and board approval is       holders of at least four-fifths of the
                              necessary for adoption of an           outstanding shares of Georgia Gulf
                              amendment.                             common stock. See " - Certain
                                                                     Anti-Takeover Effects of
                                                                     Provisions of the GGC A1ticles
                                                                     and the GGC Bylaws."

      Amendment of Bylaws     The PPG Bylaws can be amended          Except as otherwise provided by
                              or repealed by action of the board     law or by the GGC Articles or the
                              of directors at any regular or         GGC Bylaws, the GGC Bylaws
                              special meeting, except as             can be amended or repealed at any
                              otherwise provided by law, in the      meeting of stockholders called for
                              articles of incorporation, or in the   such purpose by the holders of a
                              bylaws, subject to the power of the    majo1ity of the shares of stock
                              shareholders to change such            entitled to vote on such matters
                              action.                                voting together as a single class or
                                                                     at any meeting of the board of
                                                                     directors of Georgia Gulf by the
                                                                     vote of a majo1ity of those
                                                                     directors (provided that no
                                                                     amendment adopted by the board
                                                                     of directors of Georgia Gulf may
                                                                     conflict with any amendment
                                                                     adopted by Georgia Gulf's
                                                                     stockholders), except with respect
                                                                     to amendments to the provisions of
                                                                     the GGC Bylaws relating to: (i) the
                                                                     calling, matters to be addressed,
                                                                     time and place of meetings of the
                                                                     stockholders, and (ii) the number,
                                                                     election, appointment and removal
                                                                     of directors, including the process
                                                                     for nomination of directors, as well
                                                                     as the GGC Bylaw provision
                                                                     setting out such vote requirements,
                                                                     each of which require the
                                                                     affirmative vote of the holders of
                                                                     at least 80% of the shares of stock
                                                                     entitled to vote on such matter,
                                                                     voting together, as a single class.
                                                                     See ''Georgia Gulfs Ce1tificate of
                                                                     Incorporation, Bylaws and
                                                                     Delaware Law"

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      SHAREHOLDER RIGHT                               PPG                               GEORGIA GULF
      Ce11ain Business Combinations   The PPG Articles provide that the       The GGC A1iicles provides that
                                      following transactions require an       the following transactions bel\veen
                                      80% shareholder vote, unless            Georgia Gulf and a "Controlling
                                      approved by a majority of the           Person" {defined as any person
                                      continuing directors or unless the      who beneficially owns a number of
                                      transaction meets specified price       shares of Georgia Gulf common
                                      and procedure requirements:             stock, whether or not such number
                                                                              includes shares not then issued,
                                      l) a merger or consolidation with
                                                                              which exceeds a number equal to
                                      an Interested Shareholder (defined
                                                                              10% of the outstanding shares of
                                      as a shareholder with beneficial
                                                                              Georgia Gulf common stock) must
                                      ownership of more than 20% of the
                                                                              be approved by the affirmative
                                      voting power of the then
                                                                              vote of the holders of at least four-
                                      outstanding shares of capital stock
                                                                              fifths of the shares of Georgia Gulf
                                      of PPG entitled to vote at an
                                                                              common stock not beneficially
                                      annual election of directors), or
                                                                              owned by such Controlling Person,
                                      with any other corporation which
                                                                              unless ce11ain specified conditions
                                      is an affiliate or associate of an
                                                                              are met or the transaction is
                                      Interested Shareholder;
                                                                              approved by a majority of the
                                      2) a sale, lease or other disposition   "Continuing Directors" (as defined
                                      of assets having a value over $10       in the GGC Articles) at a time
                                      million to or with an Interested        when Continuing Directors
                                      Shareholder or with an affiliate or     comprise a majo1ity of the board of
                                      associate of an Interested              directors of Georgia Gulf:
                                      Shareholder;
                                                                              1) any merger or consolidation of
                                      3) the issuance or sale to an           Georgia Gulf with or into a
                                      Interested Shareholder or an            Controlling Person, Affiliate (as
                                      affiliate or associate of an            defined in the GGC Articles) of a
                                      Interested Shareholder of securities    Controlling Person, Associate (as
                                      in exchange for consideration           defined in the GGC Articles) of a
                                      having a value in excess of $10         Controlling Person, or Affiliate;
                                      million;
                                                                              2) any sale, lease, exchange,
                                      4) a liquidation or dissolution         transfer, or other disposition,
                                      proposed by or on behalf of an          including without limitation a
                                      Interested Shareholder or an            mortgage or any other security
                                      affiliate or associate of an            device, of all or any Substantial
                                      Interested Shareholder; or              Part (as defined in the GGC
                                                                              A1iicles) of the assets of Georgia
                                      5) a reclassification,
                                                                              Gulf, to or with a Controlling
                                      recapitalization or other
                                                                              Person, Affiliate of a Controlling
                                      transaction that has the effect of
                                                                              Person, Associate of a Controlling
                                      disproportionately increasing the
                                                                              Person, or Affiliate;
                                      shareholdings of an Interested
                                      Shareholder or an affiliate or          3) any reclassification or
                                      associate of an Interested              recapitalization of Georgia Gulf
                                      Shareholder disproportionately.         common stock that would have the
                                                                              effect of increasing the voting
                                                                              power of a Controlling Person,
                                                                              Affiliate of a Controlling Person,
                                                                              Associate of a Controlling Person,
                                                                              or Affiliate; and

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      SHAREHOLDER RIGHT                                       PPG                              GEORGIA GULF
                                                                                     4) any agreement, contract, or
                                                                                     other arrangement providing for
                                                                                     any of the transactions desc1ibed
                                                                                     above.

                                                                                     The GGC A1iicles also require the
                                                                                     affirmative vote of the holders of
                                                                                     at least four-fifths of the shares of
                                                                                     Georgia Gulf common stock not
                                                                                     beneficially owned by Controlling
                                                                                     Persons to approve any
                                                                                     amendment relating to the
                                                                                     approval of any such transaction
                                                                                     with a Controlling Person, unless
                                                                                     certain specified conditions are
                                                                                     met.


      Dividends                              Under the PPG Articles, the board       Under the GGC Articles, the board
                                             of directors has the authority to       of directors of Georgia Gulf has
                                             determine the qumierly dividend         the autho1ity to declare dividends
                                             rate. PPG has paid m1intenupted         to holders of any Georgia Gulf
                                             annual dividends since 1899, and        preferred stock or common stock.
                                             2011 marked the 40th consecutive        On May 21, 2012, Georgia Gulf
                                             year of increased annual dividend       declm·ed a dividend of $0.08 per
                                             payments to shareholders. A             share, Georgia Gulfs first
                                             quarterly dividend of $0.59 was         dividend since 2008. This dividend
                                             paid on Jm1e 12, 2012. On July 19,      was paid on July 10, 2012.
                                             2012, a qumierly dividend of $0.59      Pursuant to the Merger Agreement,
                                             was declm·ed, to be paid on             Georgia Gulf has agreed not to pay
                                             September 12, 2012. PPG had a           a quarterly dividend of greater than
                                             shareholder iights plan adopted in      $0.08 per share until the closing of
                                             February 1998, which expired on         the Merger.
                                             Ap1il 30, 2008.

      Limitation of Liability of Directors   The PPG Articles allow for the          To the fullest extent permitted by
      and Officers                           elimination or limitation of the        Delaware law, the GGC Articles
                                             liability of directors to the fullest   eliminate the liability of a director
                                             extent permitted by the laws of         for monetary damages for breach
                                             Pennsylvania. No director liability     of fiduciary duty, except for
                                             for monetary damages for any            liability (1) for any breach of the
                                             action taken, or any failure to take    director's duty of loyalty to
                                             any action, as a director. This         Georgia Gulf or its stockholders,
                                             limitation does not apply to any        (2) for acts or omissions not in
                                             actions filed prior to January 27,      good faith or which involve
                                             1987 or to any breach of                intentional misconduct or a
                                             performance of duty occurring           knowing violation of law, (3)
                                             prior to January 27, 1987. The          under Section 174 of the Delaware
                                             PPG Bylaws fmiher allow for the         General Corporation Law, or (4)
                                             indemnification for all directors       for any transaction from which the
                                             and officers of PPG who m·e             director de1ived any improper

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      SHAREHOLDER RIGHT                                        PPG                             GEORGIA GULF
                                               involved in any manner in any         personal benefit. As permitted by
                                               threatened, pending or completed      Delaware law, the GGC Bylaws
                                               proceeding by reasons of the fact     provide that: (1) Georgia Gulf is
                                               that such person is or was a          required to indemnify its directors
                                               director or officer of PPG against    and officers to the fullest extent
                                               any expenses and liability actually   permitted by Delaware Law,
                                               and in good faith paid by such        subject to limited exceptions; (2)
                                               person in connection with such        Georgia Gulf is required to
                                               proceeding.                           advance expenses, as incurred, to
                                                                                     its directors and officers in
                                                                                     connection with a legal proceeding
                                                                                     to the fullest extent pennitted by
                                                                                     Delaware law, subject to limited
                                                                                     exceptions; and (3) the rights
                                                                                     conferred in the GGC Bylaws are
                                                                                     not exclusive.


      Certain Anti-Takeover Effects of' Provisions of' Georgia Gulf's Cer tificate of Incorporation, Bylaws and
      Delaware Law
           Provisions of the GGC Articles and the GGC Bylaws could make the acquisition of Georgia Gulf and the
      removal of incumbent directors more difficult. For a description of these provisions, see ''Description of Georgia
      Gulf Capital Stock-Certain Anti-Takeover Effects of Provisions of the Articles and the Bylaws."


                           CERTAIN RELATIONSHIPS AND RELATED TRANSACTIONS

           Georgia Gulf, PPG and Splitco or their respective subsidimies, in each case as applicable, have entered into
      or, before the consummation of the Transactions, will enter into, ancillary agreements relating to the Transactions
      and various inte1im and on-going relationships between PPG, Splitco and Georgia Gulf. See ''Other Agreements."


                                                     LEGAL MATTERS

           The validity of the shares of Splitco common stock offered hereby and certain legal matters with respect to
      the Transactions are being passed upon for Splitco by         . The validity of the shares of Georgia Gulf
      common stock, and certain tax matters, with respect to the Transactions are being passed upon for Georgia Gulf
      by Jones Day. Certain tax matters are being passed upon for PPG by Wachtell, Lipton, Rosen & Katz.


                                                          EXPERTS

           The financial statements of the PPG Chlor-alkali and Derivatives Business of PPG Industries, Inc. as of
      December 31 , 2011 and 2010, and for each of the three years in the period ended December 31 , 2011 included in
      this prospectus and the related financial statement schedule included elsewhere in this document have been
      audited by Deloitte & Touche LLP, an independent registered public accounting firm, as stated in their reports
      appearing herein and elsewhere in this document (which report expresses an unqualified opinion and includes an
      explanatory paragraph regarding the allocations of certain costs from PPG Industries, Inc.). Such financial
      statements and financial statement schedule are included in reliance upon the repo11s of such firm given upon
      their autho1ity as expe11s in auditing and accounting.


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      The financial statements and the related financial statement schedule incorporated in this prospectus by reference
      from the PPG lndusuies, Inc. Annual Report on Form 10-K for the year ended December 31, 2011, and the
      effectiveness of PPG Industries, Inc. 's internal control over financial reporting have been audited by Deloitte &
      Touche LLP, an independent registered public accounting firm, as stated in their repo11s, which are incorporated
      herein by reference. Such financial statements and financial statement schedule have been so incorporated in
      reliance upon the repo11s of such firm given their autho1ity as expe11s in accounting and auditing.

      The consolidated financial statements, and the related financial statement schedule, incorporated by reference
      into this document by reference from the Georgia Gulf Corporation Annual Report on Form 10-K as of and
      relating to the two years ended December 31, 2010 have been audited by Deloitte & Touche LLP, an independent
      registered public accounting firm, as stated in their report, which is incorporated herein by reference. Such
      financial statements and financial statement schedule have been so incorporated in reliance upon the reports of
      such firm given their authority as experts in accounting and auditing.

      The consolidated financial statements of Georgia Gulf Corporation appearing in Georgia Gulf Corporation's
      Annual Report (Form 10-K) for the year ended December 31 , 2011 (including schedule appearing therein), and
      the effectiveness of Georgia Gulf Corporation's internal control over financial reporting as of December 31, 2011
      have been audited by Ernst & Young LLP, independent registered public accounting firm, as set forth in their
      reports thereon, included therein, and incorporated herein by reference. Such consolidated financial statements
      are incorporated herein by reference in reliance upon such reports given on the authority of such firm as experts
      in accounting and auditing.




             WHERE YOU CAN FIND MORE INFORMATION; INCORPORATION BY REFERENCE

      Splitco has filed with the SEC a registration statement on Form S-4 and Form S-1 under the Secmities Act, of
      which this Prospectus- Offer to Exchange forms a pm1, to register with the SEC the shares of Splitco common
      stock to be delivered in this exchange offer to shareholders whose shares of PPG common stock are accepted for
      exchange. PPG will also file a Tender Offer Statement on Schedule TO with the SEC with respect to this
      exchange offer. This Prospectus- Offer to Exchange constitutes PPG's offer to exchange, in addition to being a
      prospectus of Splitco.

      Georgia Gulf will file a proxy statement that relates to the special meeting of Georgia Gulf shareholders to,
      among other things, approve the issuance of shares of Georgia Gulf common stock in the Merger. In addition,
      Georgia Gulf has filed a Registration Statement on Form S-4 to register the issuance of shares of its common
      stock that will be issued in the Merger.

      This document does not contain all of the information set forth in the registration statement, the exhibits to the
      registration statement or the Schedule TO, selected portions of which are omitted in accordance with the rules
      and regulations of the SEC. For further information pertaining to PPG and Splitco, reference is made to the
      registration statement and its exhibits.

      Statements contained in this document or in any document incorporated by reference into this document as to the
      contents of any contract or other document referred to within this document or other documents that are
      incorporated herein by reference are not necessarily complete and, in each instance, reference is made to the copy
      of the applicable contract or other document filed as an exhibit to the registration statement or otherwise filed
      with the SEC. Each statement in this Prospectus- Offer to Exchange regarding a contract or other document is
      qualified in all respects by such contract or other document.

      The SEC allows ce11ain infonnation to be "incorporated by reference" into this Prospectus- Offer to Exchange.
      The information incorporated by reference is deemed to be part of this Prospectus- Offer to Exchange, except

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      for any information superseded or modified by information contained directly in this document or in any
      document subsequently filed by PPG or Georgia Gulf that is also incorporated or deemed to be incorporated by
      reference. This Prospectus- Offer to Exchange incorporates by reference the documents set forth below that PPG
      or Georgia Gulf has filed with the SEC and any future filings by PPG or Georgia Gulf under sections 13{a),
      13(c), 14 or 15(d) of the Exchange Act from the date of this Prospectus- Offer to Exchange to the date that
      shares are accepted pLffSuant to this exchange offer (or the date that this exchange offer is terminated), except, in
      any such case, for any information therein which has been fm11ished rather than filed, which shall not be
      incorporated herein. Subsequent filings with the SEC will automatically modify and supersede infomrntion in
      this document. These documents contain important information about PPG, Georgia Gulf and their respective
      business and financial condition:
      PPG:
                 PPG's Annual Report on Form 10-K for the year ended December 31 , 2011;
                 PPG's Quarterly Report on Form 10-Q for the quarterly periods ended March 31, 2012 and June 30,
                 2012;
                 PPG's Definitive Proxy Statement filed on March 8, 2012; and
                 PPG's current reports on Form 8-K filed with the SEC on January 19, 2012, April 5, 2012,
                 April 19, 2012, April 25, 2012, July 19, 2012, August 3, 2012 and September 5, 2012.

      Georgia Gulf:
             •   Georgia Gulf's Annual Report on Form 10-K for the year ended December 31, 2011;
             •   Georgia Gulf's Quarterly Reports on Form 10-Q for the quarterly periods ended March 31, 2012 and
                 June 30, 2012;
             •   Georgia Gulf's Definitive Proxy Statement filed on April 16, 2012;
             •   Georgia Gulf's current reports on Form 8-K filed with the SEC on January 17, 2012, May 9, 2012,
                 May 21, 2012, May 23, 2012, July 19, 2012, August 2, 2012, August 8, 2012 and September 5, 2012;
                 and
             •   the description of Georgia Gulf common stock contained in Georgia Gulf's registration statement on
                 Form 8-A, declared effective by the SEC on May 15, 1990, as amended.

      You may read and copy all or any portion of the registration statement filed by Splitco at the offices of the SEC
      at the SEC's Public Reference Room at 100 F Street, N.E., Washington, D.C. 20549. Please call the SEC at
      1-800-SEC-0330 for further information about the public reference room. The SEC maintains a website,
      www.sec.gov, that contains reports, proxy and prospectus and other information regarding registrants, such as
      PPG and Georgia Gulf, that file electronically with the SEC. These periodic reports, proxy statements and other
      information will be available for inspection and copying at the SEC's public reference rooms and the SEC's
      website. You can also find additional information about PPG at www.PPG.com and about Georgia Gulf at
      www.ggc.com.

      PPG's documents incorporated by reference are available without charge upon request to the information agent,
                                 , telephone               . Georgia Gulf's documents incorporated by reference (other
      than exhibits or portions of exhibits not specifically incorporated by reference herein) are available without
      charge upon request to Georgia Gulf Corporation, Attn: Investor Relations, 115 Perimeter Center Place, Suite
      460, Atlanta, Georgia 30346, telephone: (770) 395-4500. In order to ensure timely delivery, any request should
      be submitted no later than              , 2012.

      PPG, Splitco and Georgia Gulf have not autho1ized anyone to give any information or make any representation
      about this exchange offer that is different from, or in addition to, that contained in this Prospectus- Offer to
      Exchange or in any of the materials that are incorporated by reference into this Prospectus-Offer to Exchange.

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      Therefore, if anyone does give you information of this sort, you should not rely on it. If you are in a jurisdiction
      where offers to exchange or sell, or solicitations of offers to exchange or purchase, the securities offered by this
      document are unlawful, or if you are a person to whom it is unlawful to direct these types of activities, then the
      offer presented in this document does not extend to you. The information contained or incorporated by reference
      in this document speaks only as of the date of this document or the incorporated document unless the information
      specifically indicates that another date applies.

            Indicative exchange ratios are available by contacting the information agent at the toll-free number provided
      on the back cover of the prospectus by 4:30 p.m., New York City time, on each day during the exchange offer
      period, calculated as though that day were the expiration date of this exchange offer. The final exchange ratio
      will be available both by contacting the information agent at the toll-free number provided on the back cover of
      the prospectus, by press release issued by PPG and at www.                 .com!             I by 4:30 p.m., New
      York City time, on the final day of the exchange offer period. During the period of the Valuation Dates, when the
      per share values of shares of PPG common stock and Georgia Gulf common stock are calculated for the purposes
      of this exchange offer, the information agent will provide the indicative exchange ratios based on indicative
      calculated per share values which will equal (i) on the first Valuation Date, the intra-day VWAP during the
      elapsed portion of that day, (ii) on the second Valuation Date, the intra-day VW AP during the elapsed portion of
      that day averaged with the actual daily VW AP on the first Valuation Date and (iii) on the third Valuation Date,
      the intra-day VW AP during the elapsed portion of that day averaged with the actual daily VW AP on the first
      Valuation Date and with the actual daily VW AP on the second Valuation Date.




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                         THE INFORMATION AGENT FOR THIS EXCHANGE OFFER IS:




           Questions and requests for assistance may be directed to the infonnation agent at the address and telephone
      numbers listed above. Additional copies of this prospectus, the letter of transmittal and other tender offer
      materials may be obtained from the information agent as set fo1ih above. You may also contact your broker,
      dealer, commercial bank, trust company or other nominee for assistance concerning the offer.


                              THE EXCHANGE OFFER AGENT FOR TIDS OFFER IS:




                         By Hand or Overnight Courier:                         By Mail:




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                                Report of Independent Registered Public Accounting Firm

      To the Board of Directors and Shareholders of PPG lndus11ies, Inc.:
      We have audited the accompanying combined balance sheet of the chlor-al.kali and derivatives business of
      PPG Industries, Inc. (the "PPG Chlor-alkali and Derivatives Business'') as of December 31 , 2011 and 2010, and
      the related combined statements of income, comprehensive income, changes in parent company equity, and cash
      flows for each of the three years in the period ended December 31, 2011 . These financial statements are the
      responsibility of the PPG Chlor-alkali and Derivatives Business's management. Our responsibility is to express
      an opinion on these financial statements based on our audits.

      We conducted our audits in accordance with the standards of the Public Company Accounting Oversight Board
      (United States). Those standards require that we plan and pe1fonn the audit to obtain reasonable assurance about
      whether the financial statements are free of material misstatement. The PPG Chlor-alkali and De1ivatives
      Business is not required to have, nor were we engaged to perfo1m, an audit of its internal control over financial
      repo1ting. Our audits included consideration of internal control over financial repo1iing as a basis for designing
      audit procedures that are approp1iate in the circmnstances, but not for the pm·pose of expressing an opinion on
      the effectiveness of the PPG Chlor-alkali and Derivatives Business's internal control over financial repo1iing.
      Accordingly, we express no such opinion. An audit also includes examining, on a test basis, evidence supporting
      the amounts and disclosures in the financial statements, assessing the accounting p1inciples used and significant
      estimates made by management as well as evaluating the overall financial statement presentation. We believe
      that our audits provide a reasonable basis for our opinion.

      In our opinion, such combined statements present fairly , in all material respects, the financial position of the
      PPG Chlor-alkali and Derivatives Business as of December 31, 2011 and 2010, and the results of its operations
      and its cash flows for each of the three years in the period ended December 31, 2011, in conformity with
      accounting principles generally accepted in the United States of America.

      As discussed in Note 2 and Note 13, the accompanying combined financial statements of the PPG Chlor-al.kali
      and Derivatives Business have been prepared from the separate records maintained by the PPG Cblor-alkali and
      Derivatives Business and include allocations of certain costs from PPG Industries, Inc. These allocations may not
      be reflective of the actual expense which would have been incurred bad the PPG Cblor-alkali and Derivatives
      Business operated as a separate entity apart from PPG Industries, Inc.


      /s/ Deloitte & Touche LLP
      Pittsburgh, Pennsylvania
      August 30, 2012




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                                PPG CHLOR-ALKALI AND DERIVATIVES BUSINESS
                                        COMBINED STATEMENT OF INCOME
                                                         (in millions)

                                                                                     For the Years Ended December 31
                                                                                     2011          2010        2009

      Net sales                                                                     $1,741      $1,441       $1,282
      Cost of sales, exclusive of depreciation and amortization                      1,224       1,117        1,001
      Selling, general and administrative (See Note 13)                                123         102          100
      Depreciation and amo11ization                                                     41          39           40
      Research and development                                                           2           2            2
      Business restructuring (See Note 10)                                                                        6
      Other charges (See Note 16)                                                       10           11           9
      Other earnings (See Note 19)                                                     (27)          (7)        (12)
          Income before income taxes                                                   368          177          136
      Income tax expense (See Note 14)                                                 122           65           43
                                                                                                             --
      Net income attributable to the controlling and noncontrolling interests          246          112           93
      Less: net income attributable to noncontrolling interests                        (13)          (7)          (5)
      Net income (attributable to the PPG Chlor-alkali and Derivatives Business)    $ 233       $ 105        $    88
                                                                                    --          --           --




       The accompanying notes to the combined financial statements are an integral part of this combined statement.

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                                PPG CHLOR-ALKALI AND DERIVATIVES BUSINESS
                             COMBINED STATEMENT OF COMPREHENSIVE INCOME
                                              (in millions)

                                                                                     For the Years Ended December 31
                                                                                     2011          2010        2009

      Net income attributable to the controlling and noncontrolling interests        $246        $112         $ 93
      Other comprehensive (loss) income, net ot tax (See Note 17):
          Unrealized currency translation adjustment                                    (2)         (2)           6
          Defined benefit pension and other postretirement benefit adjustments
             (See Note 15)                                                            (27)         (20)         27
          Net change- derivatives (See Note 12)                                                      8          16
                                                                                     --9         --
      Other comprehensive (loss) income, net of tax                                   (20)        (14)          49
      Total comprehensive income                                                     $226        $ 98         $142
      Less: amounts atllibutable to noncontrolling interests:
           Net income                                                                 (13)          (7)           (5)
           Unrealized currency translation adjustment                                               (1)           (1)
      Comprehensive income (attributable to the PPG Chlor-alkali and
        De1ivatives Business)                                                        $213        $ 90         $136
                                                                                     --          --           --




       The accompanying notes to the combined financial statements are an integral part of this combined statement.

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                                PPG CHLOR-ALKALI AND DERIVATIVES BUSINESS
                                              COMBINED BALANCE SHEET
                                                     (in millions)

                                                                                                        December 31
                                                                                                      2011       2010

      ASSETS
      Current assets:
          Cash and cash equivalents                                                               $      31      $       15
          Receivables-net (See Note 6)                                                                  224             192
          Inventories (See Note 6)                                                                       59              53
          Other                                                                                          21              30
                Total current assets                                                                      335           290
      Property (See Note 7)                                                                            1,888          1,808
      Less accumulated depreciation                                                                   (1 ,523)       (1,502)
                Prope1iy-net                                                                              365           306
      Investments (See Note 8)                                                                             15            13
      Cash held in escrow (See Note 4)                                                                      3
      Identifiable intangible assets (See Note 9)                                                           6            7
      Other assets                                                                                         10            5
                TOTAL                                                                             $     734      $     621
      LIABILITIES AND PARENT COMPANY EQUITY
      Current liabilities:
          Accounts payable, trade                                                                 $      115     $     106
          Accrued payroll                                                                                 30            27
          Other current liabilities (See Note 6)                                                          71            76
                Total current liabilities                                                               216            209
      Accrued pensions (See Note 15)                                                                     79             50
      Accrued other postretirement benefits (See Note 15)                                               168            148
      Accrued enviromnental liabilities (See Note 16)                                                    29             27
      Other liabilities                                                                                   44            43
                TOT AL LIABlLITIES                                                                       536           477
      COMMITMENTS AND CONTINGENT LIABILITIES (See Note 16)
      Parent company equity:
          Parent company investment (See Note 13)                                                        382           313
          Accumulated other comprehensive loss (See Note 17)                                            (201)         (181)
               Total parent company equity                                                               181           132
           Noncontrolling interests                                                                       17            12
                Total equity                                                                            198            144
                TOTAL                                                                             $     734      $     621




       The accompanying notes to the combined financial statements are an integral part of this combined statement.

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                                PPG CHLOR-ALKALI AND DERIVATIVES BUSINESS
                                      COMBINED STATEMENT OF CASH FLOWS
                                                  (in millions)

                                                                                        For the Years Ended December 31
                                                                                          2011        2010      2009

      Operating activities:
      Net income attiibutable to the controlling and nonconti·olling interests           $ 246      $112       $ 93
      Adj ustments to reconcile cash from operations:
           Depreciation and amo1tization                                                     41        39          40
           Pension expense (See Note 15)                                                     13        15          23
           Pension cash connibution (See Note 15)                                            (8)      (38)        (55)
           Business resni.1ctming expense (See Note 10)                                                             6
           Restructuring cash spending                                                                 (3)         (3)
           Charge related to change in U.S. tax law (See Note 14)                                      12
           Bargain purchase gain, net (See Note 4)                                           (9)
           Equity affiliate (earnings) loss, net of dividends received                       (1)                    3
      Change in ce1tain asset and liability accounts:
           (Increase) I decrease in receivables                                             (26)      (18)         24
           (Increase) I decrease in inventories                                              (4)        1           1
           (Increase) I decrease in other cunent assets                                      (2)        l           3
           Increase I (decrease) in accounts payable and accrued liabilities                 14        20          (1)
           (Increase) I decrease in noncurrent assets                                        (2)        7           1
           Increase I (decrease) in noncurrent liabilities                                    6       (11)         (2)
           Change in accrued tax and interest accounts                                       11        18          (4)
      Other                                                                                  (3)      (14)          4
                                                                                                               --
                Cash from operating activities                                              276       142         133
      Investing activities:
           Additions to prope1ty                                                            (64)      (40)        (24)
           Business acquisitions, net of cash balances acquired                             (25)       (3)         (2)
           Deposits placed in escrow                                                         (3)
           Proceeds from sale of prope1ty and investments                                     6                     4
                                                                                         --
                Cash used for investing activities                                          (86)      (43)        (22)
      Financing activities:
          Net cash remitted to PPG Industries, Inc.                                        (166)      (89)      (114)
          Dividends paid on subsidiary common stock to noncontrolling interests              (8)       (6)        (9)
                Cash used for financing activities                                         (174)      (95)      (123)
      Effect of currency exchange rate changes on cash and cash equivalents                             1
                                                                                                    --
      Net increase in cash and cash equivalents                                              16         5         (12)
      Cash and cash equivalents, beginning of period                                         15        10          22
                                                                                         --                    --
      Cash and cash equivalents, end of period                                           $ 31       $ 15       $ 10
                                                                                         --         --         --

       T he accompanying notes to the combined financial statements are an integral part of this combined statement.




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                                PPG CHLOR-ALKALI AND DERIVAT IVES BUSINESS
                   COMBINED STATEMENT OF CHANGES IN PARENT COMPANY EQUITY
                            For the Years ended December 31, 2011, 2010 and 2009
                                                 (in millions)

                                                                           Accumulated      Total
                                                               Parent          Other        Parent     Non-
                                                              Company     Comprehensive    Company   controlling   Total
                                                             Investment    Income (Loss)    Equity    Interest     Equity

      Balance-Jan. 1, 2009                                       $ 321       $(216)        $ 105       $ 13        $ 118
      Net income attiibutable to controlling and
        nonconti·olling interests                                  88                         88           5          93
      Other comprehensive income, net of tax                                     49           49                      50
      Stock-based compensation expense, net of tax
      Dividends paid on subsidiary common stock to
        nonconti·olling interests                                                                          (9)        (9)
      Net cash remitted to PPG Industries, Inc.                   (114)                      (114)                  (114)
      Balance- Dec. 31 , 2009                                    $ 296       $(167)        $ 129       $ 10        $ 139
      Net income attributable to controlling and
        noncontrolling interests                                   105                       105           7         112
      Other comprehensive (loss) income, net of tax                             (14)         (14)          1         (13)
      Stock-based compensation expense, net of tax                                             1                       1
      Dividends paid on subsidiary common stock to
        nonconti·olling interests                                                                          (6)        (6)
      Net cash remitted to PPG Industries, Inc.                    (89)                       (89)                   (89)
      Balance-Dec. 31, 2010                                      $ 313       $(181)        $ 132       $ 12        $ 144
      Net income attiibutable to controlling and
        nonconti·olling interests                                 233                        233          13         246
      Other comprehensive loss, net of tax                                      (20)         (20)                    (20)
      Stock-based compensation expense, net of tax                   2                         2                       2
      Dividends paid on subsidiary common stock to
        nonconti·olling interests                                                                          (8)        (8)
      Net cash remitted to PPG Industries, Inc.                   (166)                      (166)                  (166)
      Balance- Dec. 31 , 2011                                    $ 382       $(201)        $ 181       $ 17        $ 198
                                                                 --          --            --          --          --




       The accompanying notes to the combined financial statements are an integral part of this combined statement.

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                                PPG CHLOR-ALKALI AND DERIVATIVES BUSINESS
                                  NOTES TO COMBINED FINANCIAL STATEMENTS

      Note 1.     Description of Business
      The accompanying combined financial statements present the historical financial position, results of operations
      and cash flows of the chlor-alkali and de1ivatives business of PPG lndustiies, Inc. (the ''PPG Chlor-alkali and
      Derivatives Business") in accordance with U.S. generally accepted accounting principles (''U.S. GAAP").

      The PPG Chlor-alkali and Derivatives Business produces chlor-alkali and derivative products, including chlorine,
      caustic soda, vinyl chlo1ide monomer, chlo1i nated solvents, calcium hypochlo1ite, ethylene dichloride,
      hydrochloric acid and phosgene de1ivatives. Most of these products are sold directly to manufacturing companies
      in the chemical processing, plastics, including polyvinyl chlo1ide (PVC), paper, minerals, metals and water
      treatment industiies. The PPG Chlor-alkali and Derivatives Business operates manufactming facilities in the
      United States ("U.S."), Canada, and Taiwan. The PPG Chlor-alkali and De1ivatives Business consists of one
      operating and one reportable segment.

      Note 2.     Basis of Presentation
      These combined financial statements include the results of Taiwan Chlorine lndustiies, Ltd. ("TCI''), a subsidiary
      which is conn·olled by PPG Industries, Inc. (''PPG" or the ''Parent company") and in which PPG holds a 60
      percent ownership interest. In the accompanying combined financial statements, the outside shareholder's
      interests are shown as noncontrolling interests. The accompanying combined financial statements also include
      investments in certain companies in which PPG owns 20 percent to 50 percent of the voting stock and has the
      ability to exercise significant influence over the operating and financial policies of the investee, which are
      accounted for using the equity method of accounting. As a result, PPG's share of the earnings or losses of such
      equity affiliates is included in the accompanying combined statement of income and PPG' s share of these
      companies' shareholders' equity is included in Investments in the accompanying combined balance sheet.

      During the periods presented, the PPG Chlor-alkali and De1ivatives Business was under the control of PPG. The
      combined financial statements have been prepared from the separate records maintained by the PPG Chlor-alkali
      and Derivatives Business and include all direct costs of the PPG Chlor-alkali and Derivatives Business and costs
      allocated from PPG (see Note 13, ''Related Party Transactions"). However, the combined financial statements are
      not necessarily indicative of the financial position, results of operations and cash flows that would have existed if
      the PPG Chlor-alkali and De1ivatives Business had operated as a stand-alone entity dming the pe1iods presented.
      Had the PPG Chlor-alkali and Derivatives Business existed as a separate entity, its combined results of
      operations and financial position could have differed materially from those presented in the combined financial
      statements included herein.

      In No1ih Ame1ica, PPG uses a centralized approach to managing its cash and financing its operations. Cash
      deposits from the PPG Chlor-alkali and Derivatives Business's operations in No1ih Ame1ica are transferred to
      PPG on a regular basis and are netted against the Parent company investment component of Total parent
      company equity. TCI does not paiticipate in any cenn·alized PPG cash management program, maintains cash and
      cash equivalent balances to fund its local operations and periodically remits excess funds via dividends to the
      owners. There are no intercompany loan arrangements between TCI and PPG. Consequently, none of PPG's
      cash, cash equivalents, or debt has been allocated to the PPG Chlor-alkali and Derivatives Business in the
      accompanying combined financial statements. Cash and cash equivalents included in the accompanying
      combined balance sheet are primaiily held at TCI at December 31, 2011and2010, as the PPG Chlor-alkali and
      Derivatives Business's operations in U.S. and Canadian locations participate in centralized cash management
      programs.

      All PPG Chlor-alkali and De1ivatives Business intra-company transactions have been eliminated in the
      preparation of the accompanying combined financial statements.

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      Note 3.       Summary of Significant Accounting Policies
      Use of Estimates in the Preparation of the Financial Statements
      The preparation of financial statements in conformity with U.S. GAAP requires management to make estimates
      and assmnptions that affect the reported amounts of assets and liabilities and the disclosure of contingent assets
      and liabilities at the date of the financial statements, as well as the repo11ed amounts of income and expenses
      dming the reporting pe1iod. Actual outcomes could differ from those estimates.


      Revenue Recognition
      Revenue from sales is recognized when goods are shipped and title to inventory and risk of loss passes to the
      customer or when services have been rendered.


      Shipping and Handling Costs
      Amounts billed to customers for shipping and handling are reported in Net sales in the accompanying combined
      statement of income. Shipping and handling costs incurred by the PPG Chlor-alkali and Derivatives Business for
      the delivery of goods to customers are included in Cost of sales, exclusive of depreciation and amortization in the
      accompanying combined statement of income.


      Selling, General and Administrative Costs
      Amounts presented as Selling, general and administrative in the accompanying combined statement of income
      are comp1ised of selling, customer service, and distribution costs, as well as the costs of providing functional
      suppo1t in such areas as finance, law, human resources and planning (See Note 13, ·'Related Party
      Transactions"). Disnibution costs pe11ain to the movement to and storage of finished goods inventory at
      company-owned and leased warehouses, terminals and other disnibution facilities . Certain of these costs may be
      included in cost of sales by other companies, resulting in a lack of comparability with other companies.


      Legal Costs
      Legal costs are expensed as incurred.


      Foreign Currency Translation
      The functional currency of the non-U.S. operations of the PPG Chlor-alkali and Derivatives Business is their
      local currency. Assets and liabilities of those operations are translated into U.S. dollars using period-end
      exchange rates; income and expenses are translated using the average exchange rates for the reporting period.
      Unrealized currency translation adjustments are deferred in accumulated other comprehensive income (loss), a
      separate component of Total parent company equity.


      Cash Equivalents
      Cash equivalents are highly liquid investments (valued at cost, which approximates fair value) acquired with an
      original maturity of three months or less.


      Allowance for Doubtful Accounts
      The PPG Chlor-alkali and Derivatives Business provides an allowance for doubtful accounts to reduce
      receivables to their estimated net realizable value when it is probable that a loss will be incurred. Those estimates
      are based on histo1ical collection experience, current economic and market conditions, a review of the aging of
      accounts receivable and the assessments of current creditworthiness of customers.

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      Inventories
      U.S. inventories are stated at cost, using the last-in, first-out (''LIFO") method, which does not exceed market.
      The PPG Chlor-alkali and Derivatives Business's U.S. inventory is part of the applicable PPG LIFO pool. In the
      accompanying combined financial statements, the applicable PPG LIFO pool has been apportioned to the PPG
      Chlor-alkali and De1ivatives Business utilizing the ratio of gross carrying value of the inventory associated with
      the PPG Chlor-alkali and De1ivatives Business, in base dollars, as a percentage of the applicable PPG LIFO
      pool's total base dollar inventory, as of the applicable year-end date.

      All non-U.S. inventories are stated at cost, using the first-in, first-out ("FIFO") method, which does not exceed
      market. Cost is determined using standard factory costs, which approximate actual costs, excluding certain fixed
      costs such as depreciation and property taxes.

      Marketable Equity Securities
      The PPG Chlor-alkali and Derivatives Business's investments in marketable equity securities are recorded at fair
      market value and reported in Other current assets and Investments on the accompanying combined balance sheet
      with changes in fair market value recorded in income for those securities designated as trading securities.

      Property
      Property is recorded at cost. The PPG Chlor-alkali and Derivatives Business computes depreciation by the
      straight-line method based on the estimated useful lives of depreciable assets. Additional expense is recorded
      when facilities or equipment are subject to abnormal economic conditions or obsolescence. Significant
      improvements that add to productive capacity or extend the lives of properties are capitalized. Costs for repairs
      and maintenance are charged to expense as incurred. When prope1ty is retired or otherwise disposed of, the
      original cost and related accumulated depreciation balance are removed from the accounts and any related gain or
      loss is included in income. Prope1ty and other long-lived assets are reviewed for impairment whenever events or
      circumstances indicate that their carrying amounts may not be recoverable.

      Identifiable Intangible Assets
      Identifiable intangible assets acquired in business combinations are recorded based upon their fair value at the
      date of acquisition.

      Identifiable intangible assets with finite lives are amo1tized on a straight-line basis over their estimated useful
      lives (10 years) and are reviewed for impairment whenever events or circumstances indicate that their carrying
      amount may not be recoverable.

      Pensions and Other Postretirement Benefits
      Most of the PPG Chlor-alkali and Derivatives Business's employees are covered by PPG's defined benefit
      pension plans, and most of the PPG Chlor-alkali and Derivatives Business's employees in the U.S. and Canada
      are covered by PPG's welfare benefit plans that provide postretirement medical and life insurance benefits for
      those employees and their respective dependents. The liability and expense for these plans is calculated for each
      PPG operating location. For operating locations representing more than one PPG business, pension and
      postretirement medical expense and liabilities are allocated between those businesses based on the related
      headcount and salary costs. These costs are included in Cost of sales, exclusive of depreciation and amortization,
      Selling, general and administration and Research and development in the accompanying combined statement of
      income.

      Income Taxes
      The PPG Chlor-alkali and Derivatives Business's U.S., Canadian and certain other non-U.S. operating results are
      included in the income tax returns of PPG. The PPG Chlor-alkali and Derivatives Business accounts for income

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      taxes under the separate return method. Under this approach, the PPG Chlor-alkali and Derivatives Business
      determines its current tax liability and deferred tax assets and liabilities and related tax expense as if it were filing
      a separate tax retm1i.

      Asset Retirement Obligations
      An asset retirement obligation represents a legal obligation associated with the retirement of a tangible long-lived
      asset that is incurred upon the acquisition, consnuction, development or normal operation of that long-lived asset.
      Tue PPG Chlor-alkali and Derivatives Business recognizes asset retirement obligations in the period in which
      they are incurred, if a reasonable estimate of fair value can be made. The asset retirement obligation is
      subsequently adjusted for changes in fair value. The associated estimated asset retirement costs are capitalized as
      part of the carrying amount of the long-lived asset and depreciated over its useful life. The PPG Cblor-alkali and
      Derivatives Business's asset retirement obligations are primarily associated with closure of certain assets used in
      the chemicals manufacturing process.

      Tue accrued asset retirement obligation was $9 million as of both December 31, 2011 and 2010.

      Tue PPG Chlor-alkali and Derivatives Business's only conditional asset retirement obligation relates to the
      possible future abatement of asbestos contained in certain of the PPG Chlor-alkali and Derivatives Business
      production facilities . The asbestos in the PPG Chlor-alkali and Derivatives Business's production facilities arises
      from the application of normal and customary building practices in the past when the facilities were constructed.
      This asbestos is encapsulated in place and, as a result, there is no current legal requirement to abate it. Inasmuch
      as there is no requirement to abate, the PPG Chlor-alkali and Derivatives Business does not have any current
      plans or intentions to abate and therefore the timing, method and cost of future abatement, if any, are not known.
      Tue PPG Chlor-alkali and Derivatives Business has not recorded an asset retirement obligation associated with
      asbestos abatement, given the uncertainty concerning the timing of future abatement, if any.

      New Accounting Standards Adopted in 201 I
      In June 2011, the Financial Accounting Standards Board (the ''FASB") issued an amendment to the requirements
      for presenting comprehensive income. The new requirements are effective for the first interim or annual pe1iod
      beginning after December 15, 2011. The requirements of the standard are to be applied retrospectively. Tue
      standard requires other comprehensive income to be presented in a continuous statement of comprehensive
      income that would combine the components of net income and other comprehensive income, or in a separate, but
      consecutive, statement following the statement of income. The PPG Chlor-alkali and De1ivatives Business early
      adopted these new requirements as of December 31, 2011 for all periods presented, and the adoption of this
      guidance did not have an effect on its combined financial position as of December 31 , 2011 or 2010 or its
      combined results of operations or cash flows for the years ended December 31 , 2011 , 2010 or 2009.

      Accounting Standards to be Adopted in Future Years
      In May 2011, the FASB issued an amendment to its fair value measurement guidance and disclosure
      requirements to establish U.S. GAAP in common with the requirements of the International Financial Reporting
      Standards. The new requirements are effective for the first interim or annual period beginning after December 15,
      2011. The requirements are to be applied prospectively. The PPG Chlor-alkali and Derivatives Business is
      currently evaluating the new requirements; however, it does not expect that the adoption of this guidance will
      have a material effect on its combined financial position, results of operations or cash flows.

      Note 4.      Acquisitions
      In May 2011, the PPG Chlor-alkali and De1ivatives Business acquired the assets of Equa-Chlor, Inc. for $28
      million, of which $3 million is held in escrow pending satisfaction of any PPG indemnity claims through May of
      2013. The assets, liabilities, results of operations and cash flows of Equa-Chlor are included within the PPG

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      Chlor-alkali and De1ivatives Business financial statements from the date of acquisition. The excess fair value of
      the assets acquired and liabilities assumed, which consisted p1incipally of property and operating working
      capital, over the purchase p1ice resulted in a bargain purchase gain of $10 million. This gain was partially offset
      by a $1 million loss related to the step up to fair value of acquired inventory. The gain is repo11ed in Other
      earnings in the accompanying combined statement of income for the year ended December 31, 2011.

      In early 2006, the PPG Chlor-alkali and Derivatives Business acquired the North Ame1ican beaded caustic soda
      business of Oxy Vinyls, LP, which was principally comprised of customer contracts. The purchase price of the
      business included contingent payments which were payable, if earned, over a five year period following the date
      of acquisition. These payments totaled $6 million, and the final such payment was made in the first quarter of
      2011. The PPG Chlor-alkali and Derivatives Business's intangible assets are principally related to this
      acquisition.


      Note 5.       Fair Value Measurement
      Tue accounting guidance on fair value measurement establishes a hierarchy with three levels of inputs used to
      determine fair value. Level 1 inputs are quoted prices in active markets for identical assets and liabilities, are
      considered to be the most reliable evidence of fair value, and should be used whenever available. Level 2 inputs
      are observable prices that are not quoted on active exchanges. Level 3 inputs are unobservable inputs used for
      measuring the fair value of assets or liabilities.


      Assets and liabilities reported at fair value 011 a recurring basis:

           (Millions)                                                             Level 1   Level 2    Level 3    Total

           At December 31, 2011
           Short-term investments:
                Marketable equity securities                                       $         $-        $-         $ 1
           Investments:
                Marketable equity securities                                           4                             4
           Accounts payable and accrned liabilities:
                Natural gas swap contracts(a)                                                     6                  6
           At December 31, 2010
           Sho11-te1m investments:
                Marketable equity secmities
           Investments:
                Marketable equity securities                                           4                             4
           Accounts payable and accrned liabilities:
                Natural gas swap contracts(a)                                                     19                19
           Other liabilities:
                Natural gas swap contracts(a)                                                     2                  2

      (a) This entire balance is designated as a hedging instrument under U.S. GAAP.




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      Note 6 .      Working Capital Detail

                                                                                               December 31,
                       (Millions)                                                              2011         2010

                       Receivables
                           Trade-net(a)                                                        $201         $176
                           Equity affiliates                                                      4            4
                           Other-net                                                             19           12
                                                                                               --
                                    Total                                                      $224         $192
                                                                                               --           --
                       Inventories(b)
                           Finished products                                                   $ 52         $ 57
                           Raw materials                                                         12           14
                           Supplies                                                              45           36
                           LIFO Reserve                                                         (50)         (54)
                                    Total                                                      $ 59         $ 53
                                                                                               --           --
                       Other current liabilities
                           Customer rebates                                                    $ 14         $ 10
                           Other postretirement benefits                                         10           11
                           Taxes payable                                                          9            6
                           Fair value derivative                                                  6           19
                           Environmental remediation                                              6           12
                           Payable, equity affiliate                                              3            3
                           Other                                                                 23           15
                                                                                                            --
                                    Total                                                      $ 71         $ 76
                                                                                               --           --
      (a) The allowance for doubtful accounts was $2 million as of December 31 , 2011 and 2010, respectively.
      (b) Inventories valued using the LIFO method of inventory valuation comprised 92% and 91 % of total gross
          inventory values as of Dec. 31, 2011 and 2010, respectively. During the years ended December 31, 2010 and
          2009, certain inventories accounted for on the LIFO method of accounting were reduced, which resulted in
          the liquidation of certain quantities carried at costs prevailing in prior years. There was no effect on earni ngs
          in 2011 and the impact was expense of $0.5 million and $1 million, in 2010 and 2009, respectively.


      Note 7.       Property

                                                                                     Useful          December 31,
                                                                                      Lives
                 (Millions)                                                          (years)        2011           2010
                 Land and land improvements                                           5-30      $      63     $       59
                 Buildings                                                           20-40             93             89
                 Machinery and equipment                                              5-25          1,646          1,598
                 Furniture, fixtures and other                                        3-20             34             34
                 Construction in process                                                               52             28
                                                                                                              ---
                       Total                                                                    $1,888        $1,808
                                                                                               ---            ---




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      Note 8.      Investments
                                                                                                 December 31,
                     (Millions)                                                                  2011   2010
                     Equity affiliates                                                           $11        $ 9
                     Marketable equity securities                                                   4        4
                           Total                                                                 $ 15       $13

      The PPG Chlor-alkali and Derivatives Business includes PPG's 50 percent ownership interest in RS Cogen,
      L.L.C. ("RS Cogen"), which toll produces elec11icity and steam primarily for the PPG Chlor-alkali and
      Derivatives Business and PPG's joint venture partner. The joint venture was formed with a wholly-owned
      subsidiary of Entergy Corporation ("Entergy") in 2000 for the construction and operation of a $300 million
      process steam, natural gas-fired cogeneration facility in Lake Charles, LA, the majo1ity of which was financed by
      a syndicate of banks. As of December 31, 2011 and 2010, RS Cogen had bank debt outstanding of $183 million
      and $193 million, respectively. The PPG Chlor-alkali and De1ivatives Business's future commitment to purchase
      electricity and steam from the joint venture approximates $23 million per year subject to contractually defined
      inflation adjustments for the next 11 years. The purchases for the years ended December 31, 201 l, 2010 and
      2009 were $23 million in each year.

      RS Cogen is a variable interest entity under U.S. accounting guidance. The joint venture's critical operations are
      overseen by a management committee, which has equal representation from both PPG and Entergy. With the
      power to direct the activities of RS Cogen equally shared bet\veen RS Cogen's two owners, PPG does not
      consider itself to be the joint venture's primary beneficiary. Accordingly, PPG accounts for its investment in RS
      Cogen as an equity method investment.

      The following table summarizes the PPG Chlor-alkali and Derivatives Business's maximum exposure to loss
      associated with RS Cogen:

                           (Millions)
                           Investment in and advances to RS Cogen                                  $ 11
                           Take-or-pay obligation under power tolling arrangement                   257
                           Maximum exposure to loss as of December 31, 2011                        $268

      The equity affiliates have accumulated net losses; accordingly, the PPG Chlor-alkali and Derivatives Business
      has no share of undistiibuted net earnings related to these affiliates as of December 31, 2011 and 2010. There
      were no dividends received from these equity affiliates in 2011, 2010 or 2009.

      Note 9.      Identifiable Intangible Assets
      The PPG Chlor-alkali and Derivatives Business's identifiable intangible assets with finite lives relate to customer
      relationships and are being amortized over their estimated useful lives (10 years). At December 31, 2011 the
      gross carrying amount of these identifiable intangible assets was $10 million and the accumulated amortization
      was $4 million.

                                                                     De<.-ember 31, 2011                December 31, 2010
                                                                Gross                             Gross
                                                               Carrying   Accumul ated           Carrying    Accumulated
      (Millions)                                               Amount     Amortization     Net   Amount      Amortization   Net
      Customer-related intangibles                               $10            (4)        $6      $10            (3)       $7

      Amortization expense was $1 million in 2011, 2010 and 2009, respectively. The estimated future amortization
      expense of identifiable intangible assets is approximately $1 million per year, through 2016.

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